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                       Exhibit 36
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Risk factors for familial and sporadic ovarian cancer among
French Canadians: A case-control study
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OBJECTIVE: The objective was to compare risk factors between familial and sporadic ovarian cancer by
means of a case-control approach.
STUDY DESIGN: We conducted a case-control study among French Canadian women in Montreal during
1995-1996. One hundred seventy women 20 to 84 years old with histologically confirmed diagnoses of pri-
mary ovarian carcinomas or borderline tumors were interviewed concerning their reproductive, family, and
medical histories. During the same period 170 randomly selected population control subjects, frequency-
matched to the case patients according to age and ethnic group, were also interviewed. Unconditional logis-
tic regression methods were used for data analysis.
RESULTS: The major factors influencing the risk of development of ovarian cancer were as follows: (1) family
history of breast or ovarian cancer, (2) a late age at use of oral contraceptives (a protective effect), and (3) a
late age at last childbirth (a protective effect for familial case patients only).
CONCLUSION: These factors had equally great impacts in familial and sporadic cases, implying that the un-
derlying mechanisms of carcinogenesis in sporadic and familial ovarian cancer may be similar and that
hereditary ovarian cancer may be preventable. (Am J Obstet Gynecol 1998;179:403-10.)

Key words: Case-control, epidemiology, family history, ovarian cancer, risk factors




   Ovarian carcinoma is difficult to detect in its early                 cer.3-8 Factors associated with a reduced risk include high
stages and is resistant to therapy in later stages. Of the               parity, a history of tubal ligation or hysterectomy, and use
2000 patients with new cases of ovarian cancer diagnosed                 of oral contraceptives.8-10 Additional factors for which
every year in Canada, approximately 1350 (67.5%) will                    there is suggestive evidence include the use of talc, fertil-
die of the disease.1 The age-standardized incidence of                   ity drugs, and dietary factors.11-13
ovarian cancer in Canada for 1996 was estimated to be 12                    Mutations in both of the breast cancer genes, BRCA1
cases/100,000 at-risk population. The strongest risk fac-                and BRCA2, predispose women toward development of
tor for ovarian cancer is a positive family history of ovar-             ovarian cancer.14, 15 Ovarian cancer also appears as part
ian or breast cancer. Among common adult tumors, ovar-                   of the spectrum of tumors seen in the hereditary non-
ian cancer has among the highest proportions                             polyposis colorectal cancer syndromes.16 From epidemi-
attributable to susceptibility genes.2 Other risk factors in-            ologic studies and mutation surveys, it appears that be-
clude nulliparity, infertility, and a history of breast can-             tween 5% and 10% of ovarian cancers occur as a result of
                                                                         hereditary predisposition.14, 15, 17-19 Familial ovarian can-
From the Epidemiology Research Unit, Research Centre, Hôpital Hôtel-     cer usually occurs in association with breast cancer (be-
Dieu de Montréal,a the Division of Medical Genetics, Department of       cause of mutations in BRCA1 and BRCA2), occasionally
Medicine, Montreal General Hospital, McGill University,b the Institute   as ovarian cancer alone (BRCA120 or BRCA2), or with en-
du Cancer de Montréal/CHUM, Campus Notre-Dame,c and the
Department of Medicine, Women’s College Hospital.d                       dometrial, colon, and other solid tumors (hereditary
Supported by a Quebec Family Cancer Network grant from Fonds de la       nonpolyposis colorectal cancer syndrome).21 A family
Recherche en Santé du Québec. W.F. is funded by the Fast Foundation of   history of ovarian cancer is a strong risk factor for ovar-
the Montreal General Hospital. P.N.T. is a scholar of the Medical
Research Council of Canada and the Cancer Research Society of            ian cancer, increasing with the number of first-degree
Canada. A-M.M-M. is a senior scholar of Fonds de la Recherche en         relatives affected.2 For families with 1 affected first-
Santé du Québec.                                                         degree relative, the estimated lifetime risk increases 1.5
Received for publication July 23, 1997; revised November 25, 1997; ac-
cepted January 15, 1998.                                                 times to 3.6 times.2-5, 18, 22-25 The population lifetime risk
Reprint requests: William D. Foulkes, MB, PhD, Epidemiology Research     for ovarian cancer in North America is approximately
Unit, Research Centre, Campus Hôtel-Dieu, 3850 St Urbain, Montreal,      1:70. The risks rise with additional affected family mem-
Quebec, Canada H2W 1T8.
Copyright © 1998 by Mosby, Inc.                                          bers.
0002-9378/98 $5.00 + 0 6/1/89115                                            Families with ≥3 cases of ovarian cancer are generally

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Table I. Histologic characteristics of familial and                 method. To ensure that the age-distributions of case pa-
sporadic ovarian tumors                                             tients and control subjects were equal, a control subject
                        Familial     Nonfamilial       Total
                                                                    was selected for each case patient from the page in the
                        (n = 58)      (n = 111)     (N = 169)*      telephone directory where the case patient was listed.
                                                                    The names and addresses of 10 persons with the same
 Invasive              54 (93%)       93 (84%)          147         first 3 digits of the telephone number as the patient were
   Serous                  34             58            92
   Endometrioid             7             16            23          selected. These residences were then contacted by tele-
   Mucinous                 5             10            15          phone. If there was no answer the number was called 7
   Brenner                  1              0             1          more times during the day, the evening, and on week-
   Clear cell               4              5             9
   Mixed                    3              4             7          ends before being rejected. Respondents were ques-
 Borderline (total)     4 (7%)        18 (16%)           22         tioned to determine whether the household contained a
   Serous                   3             11            14          woman of self-reported French Canadian origin who
   Mucinous                 1              7             8
                                                                    matched the index case patient for age within 1 year and
  *One woman did not have information on second-degree rel-         who agreed to be interviewed by telephone. If not, the
atives, and it is therefore uncertain whether hers was a familial   procedure was repeated. A total of 750 households were
or sporadic case of ovarian cancer. The histologic examination
of her tumor revealed a serous adenocarcinoma of the ovary.         contacted to obtain the control subjects. Five hundred
                                                                    (66.7%) did not reply or had no eligible women resident,
                                                                    and 10.7% refused to participate. A total of 170 subjects
considered to represent examples of hereditary ovarian              were interviewed.
cancer. Although many risk factors for ovarian cancer                  Questionnaires. Questionnaires were administered in a
have been well documented, it is not yet known whether              standardized manner to all case patients and control sub-
these risk factors apply equally well to the hereditary sub-        jects. The questionnaire was developed, evaluated, and
group. Such knowledge would be important for women                  tested within the Quebec Cancer Genetics Network in
with a family history who were seeking information on               1995 and was used at all study centers (Notre-Dame
how to reduce their risk. To address this issue we ob-              Hospital and Hôtel-Dieu Hospital, Montreal). The 57
tained detailed family histories and other risk factor in-          questions concerned primarily reproductive factors (age
formation for 170 French Canadian women with ovarian                at menarche, age at first childbirth, parity, age and cause
cancer and 170 population-based French Canadian con-                of menopause) and medical history (use of hormone re-
trol subjects.                                                      placement therapy and oral contraceptives, tubal liga-
                                                                    tion, hysterectomy, other surgery), screening histories,
  Material and methods                                              and sociodemographic information (smoking, alcohol,
   Case patients. After institutional review board approval         education). A detailed family history of cancer was also
was obtained, a total of 231 French Canadian women                  taken in each case; this inquired about age of diagnosis
with a histologic diagnosis of ovary cancer were found              and type of cancer in all female and male first-, second-,
through the gynecologic oncology clinics of 2 large                 and third-degree relatives.
Montreal teaching hospitals in 1995 and 1996. Of these,                Statistical methods. In the case-control analysis of the
48 (21%) were excluded from the study because they                  data, relative risk estimates and corresponding 95% con-
died before the interview (21 case patients), they refused          fidence intervals were calculated by unconditional logis-
to participate or were unavailable for follow-up (12 case           tic regression and maximum likelihood estimation.
patients), or they could not be contacted (15 case pa-              Multivariate unconditional logistic regression was used to
tients). A total of 183 case patients were interviewed, rep-        allow for the simultaneous examination of multiple risk
resenting a response rate of 87% of the eligible living             factors. Tests of statistical significance were based on dif-
case patients. We later excluded 13 case patients because           ferences in the log likelihoods, and all P values are 2-
their ovarian tumors were not of epithelial origin, lead-           sided. Comparisons between continuously distributed
ing to a final total of 170 patients with ovarian carcinoma         variables were made with the Wilcoxon test. The Fisher
or with ovarian tumors of low malignant potential (bor-             exact test was used where appropriate. In the cohort
derline ovarian tumors). Of these case patients, 70%                analysis we used a univariate Cox proportional hazards
were interviewed directly in clinics and 30% were inter-            model. The statistical analysis was conducted with the
viewed by phone. Each case patient had a histologically             SAS software package (SAS Institute, Inc, Cary, NC).
confirmed primary invasive carcinoma or a borderline
tumor. Pathology records were systematically reviewed                 Results
and tumors were classified as either serous, mucinous,                 A total of 170 case patients with ovarian cancer and
endometrioid, clear cell, Brenner, or mixed tumors.                 170 population-based control subjects were interviewed
   Control subjects. Population-based control subjects              in 1995. Case patients were born between 1910 and 1969,
were obtained through a modified random-digit dialing               and their mean age at diagnosis was 53.7 years. Their
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Table II. Cumulative incidences of cancer to the age of 70 years among first-degree relatives of case patients and control
subjects
                                                                      Cox proportional hazards

    Site           Case relatives (%)      Control relatives (%)    RR                 95% CI              Significance

 Any
   Female                 25.5                    15.0              1.84              1.34-2.54             P = .0002
   Male                   19.4                    11.8              1.65              1.10-2.49             P = .015
   Both sexes             22.6                    13.5              1.77              1.38-2.28             P < .0001
 Breast                   12.6                     3.4              3.68              2.03-6.66             P < .0001
 Ovary                     2.7                     2.3              1.32              0.52-3.34             P = .56
 Prostate                  1.4                     0.9              1.67              0.28-10.0             P = .57
 Colon
   Female                  3.0                      2.4             1.09              0.43-2.74             P = .86
   Male                    5.0                      2.1             2.35              0.89-6.18             P = .08
   Both sexes              4.0                      2.3             1.59              0.82-3.06             P = .17
 Leukemia
   Female                  1.5                      0.2             6.22              0.75-51.67            P = .05
   Male                    0.40                     0.0              ∞                    —                 P = .15
   Both sexes              1.00                     0.1             8.25              1.03-66.01            P = .02

 RR, Relative risk; CI, confidence interval.


mean age at interview was 55.9 years, compared with a              ing genes and others were due to chance aggregations.
mean age of control subjects of 56.7 years. The distribu-          The disease of case patients with a negative family history
tion of the tumor types is presented in Table I.                   is referred to as sporadic.
   Family history. We recorded current age, age at death,             The average age at onset of the familial case patients
age at diagnosis of cancer, and cancer site in the relatives       was younger than that of the sporadic case patients (51.2
of case patients and control subjects. This enabled us to          vs 55.2 years; P = .04). The average age at onset of the in-
construct 2 historical cohorts, 1 composed of the rela-            vasive serous tumors was also younger for the familial can-
tives of case patients and the other of the relatives of con-      cers (54.0 years) than for the sporadic cancers (58.6
trol subjects. The cumulative incidence of cancer to the           years). The distributions of the histologic subtypes were
age of 70 years among the relatives of case patients com-          not different for the familial and sporadic invasive tumors
pared with those of control subjects is shown in Table II.         (Table I). Only 7% of tumors in the familial group were
The risk of cancer was significantly higher among both             borderline tumors, whereas 16% in the nonfamilial group
female and male relatives of the case patients than those          were borderline tumors (P = .09). Surprisingly, there was
of the control subjects.                                           no deficit of mucinous tumors among the familial ovarian
   The relative risk of any cancer was 1.77 among the rel-         cancer case patients (5/54 vs 10/93; Table I).
atives of case patients with respect to the relatives of con-         Reproductive, hormonal and other risk factors:
trol subjects (P < .0001). It is surprising that the relative      Univariate analyses. Although case patients and control
risks of any cancer were similar in the female and male            subjects did not significantly differ by age at menarche,
relatives of the index case patients and control subjects          familial case patients had menarche later (13.3 years)
(1.84 vs 1.65). There was a significant excess of breast           than did sporadic case patients (12.8 years, P = .038;
cancer (relative risk 3.68, P < .0001) but not ovarian can-        Table III). The mean ages at first childbirth were similar
cer (relative risk 1.32, P = .56) among the relatives of           for case patients and control subjects, but the mean age
women with ovarian cancer. An eightfold excess of                  at last childbirth was significantly younger for case pa-
leukemia among the relatives of case patients was ob-              tients (29.0 years) than for control subjects (30.9 years,
served (P = .017).                                                 P = .003), suggesting that late childbirth is protective.
   Families with a total of ≥4 cases of ovarian cancer or of       Additionally, the mean age at last childbirth was younger
breast cancer in members <55 years old are generally               for familial case patients (28.2 years) than for sporadic
considered to represent examples of hereditary cancer.             case patients (29.5 years, P = .19), suggesting that this
Seven of the 170 case patients (4.1%) fit into this cate-          protection may be stronger for familial case patients. The
gory. In the following analyses we refer to case patients          interval between first and last childbirth was significantly
with a positive family history as having familial cancer (≥1       longer for the control subjects (mean 4.3 years) than for
person with breast cancer diagnosed at <55 years old or 1          the case patients (mean 3.1 years, P = .032). Neither nul-
other case of ovarian cancer in addition to the proband,           liparity nor low parity was a significant risk factor in this
on the same side of the family). Fifty-eight women satis-          study.
fied this criterion. Some of these were due to predispos-             As expected, the proportion of ovarian cancer case pa-
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Table III. Reproductive factors and oral contraeptive use in control subjects, sporadic and familial ovarian cancer
                                                       Case versus control                                 Sporadic versus familial*

                                       Control                    Case                               Sporadic                Familial

                                 No.        Mean            No.          Mean         P        No.          Mean       No.        Mean        P†

 Age at menarche (y)             170        12.7            169          13.0        .16       111          12.8       57         13.3       .038
 Age at menopause‡ (y)            49        48.5             54          48.5        .99        39          48.5       15         48.3       .82
 Parity                          170         2.1            170           1.8        .16       111           1.8       58          1.8       .95
 Age at first childbirth (y)     126        25.2            122          24.6        .28        79          24.8       42         24.3       .51
 Age at last childbirth (y)      126        30.9            122          29.0        .0028      79          29.5       42         28.2       .19
 Total No. of                    170         4.3            170           3.1        .032      111           3.3       58          2.8       .47
  childbearing years
 Use of oral contraceptives      170        61.8            170          50.0        .038      111          46.8       58          55.2      .33
  (% yes)
 Oral contraceptive use          152             4.0        154            2.5       .0065     102              2.7    51           2.2      .51
  duration (y)
 Age at first oral contraceptive 101        26.3             81          23.1        .0055      49          23.1       31          23.2      .96
  use (y)
 Age at last oral contraceptive 87          32.9             69          28.6        .0016      43          29.5       25          27.6      .27
  use (y)
 Tubal ligation (% yes)          170        21.2            169          13.6        .085      110          12.7       58          13.8      .82

  Sporadic disease was defined as occurring in patients with no first-, second-, or third-degree relatives with breast cancer diagnosed at
<55 years or with ovarian cancer at any age. Familial disease was defined as occurring in patients with ≥1 first-, second-, or third-degree
relative with breast cancer diagnosed at <55 years or with ovarian cancer at any age.
  *In 1 case the familial or sporadic status was unknown.
  †The P value here compares the means of the sporadic with the familial case patients.
  ‡Age at menopause was limited to women <55 years old at diagnosis or survey and also to those women who had a natural menopause.



Table IV. Other factors
                                                       Case versus control                                  Sporadic versus familial

                                       Control                     Case                              Sporadic                Familial

                                 No.        % Yes           No.          % Yes         P       No.          % Yes       No.       % Yes       P*

 Alcohol use                     170         28.8           170           38.8       .066      111          39.6        58         36.2      .74
 Perineal talc use               170          4.7           170           10.6       .064      111           9.91       58         12.1      .79
 Breast surgery†                 164          7.9           157           15.3       .053      107          19.6        49          6.12     .032
 Abdominal surgery               170         38.8           169           36.6       .91       110          43.6        58         32.8      .19

  *The P value here compares the means of the sporadic with the familial case patients.
  †Included as having breast surgery were those who responded with: “nodule,” “cyst,” or “adenoma.” Excluded were those who re-
sponded “breast cancers,” “breasts implants,” and “mammary reduction.”




tients who had ever taken oral contraceptives was lower                          for familial case patients. In summary, compared with
than for control subjects (50% vs 61.8%, P = .038).                              control subjects, case patients began taking oral contra-
Familial case patients were as likely as sporadic case pa-                       ceptives at a younger age but continued for a shorter pe-
tients to have ever used oral contraceptives. The mean                           riod. This difference was more marked for the familial
age at last use of oral contraceptives for all case patients                     case patients. It should be noted that the differences be-
was 28.6 years, compared with 32.9 years for control sub-                        tween the subgroups in duration of use of oral contra-
jects (P = .0016), suggesting that late use of oral contra-                      ceptives that we observed were rather small and non-
ceptives is protective. Among oral contraceptive users, fa-                      significant and should therefore be interpreted
milial case patients had younger mean age (27.6 years) at                        cautiously. Significantly more case patients than control
last oral contraceptive use than did sporadic case patients                      subjects had ever had previous breast surgery for nonma-
(29.5 years), and they used oral contraceptives for a                            lignant conditions (Table IV), and perineal talc applica-
shorter total period (2.2 years) than did sporadic case pa-                      tion was also more common in case patients. There were
tients (2.7 years). Although neither of these 2 compar-                          no significant differences between case patients and con-
isons were significantly different, they suggest that the                        trol subjects with respect to anthropometric variables.
protective effect of oral contraceptives may be stronger                            Borderline tumors. Women with borderline tumors
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Table V. Multivariate model
                                            All case patients             Sporadic case patients              Familial case patients
                                        (n = 153) versus control         (n = 101) versus control            (n = 51) versus control
                                           subjects (n = 152)               subjects (n = 152)                 subjects (n = 152)

                                     RR         95% CI             P   RR        95% CI             P     RR         95% CI            P

  Age at diagnosis*                  0.98      0.95-1.01       .14     0.99      0.96-1.02      .33      0.97       0.93-1.00      .06
  Age at last childbirth†
    Never pregnant                   0.63      0.33-1.19       .16     0.77      0.38-1.59      .48      0.46       0.18-1.21      .12
    30-44 y                          0.63      0.34-1.15       .13     0.80      0.41-1.58      .52      0.38       0.16-0.90      .027
  Age at menarche‡                   1.07      0.92-1.25       .40     1.01      0.85-1.20      .92      1.26       1.01-1.57      .041
  Age at last oral contraceptive
      use§
    17-25 y                          0.96      0.37-2.48       .93     0.84      0.28-2.55      .76      0.99       0.28-3.51      .99
    25-35 y                          0.26      0.12-0.57       .0007   0.25      0.10-0.62      .0027    0.26       0.08-0.79      .017
    35-43 y                          0.24      0.10-0.55       .0008   0.25      0.10-0.64      .0036    0.17       0.036-0.83     .028
  Tubal ligation or hysterectomy||   0.51      0.30-0.88       .016    0.51      0.27-0.95      .033     0.57       0.26-1.27      .17
  Talc use¶                          2.49      0.94-6.58       .066    2.45      0.85-7.07      .098     3.25       0.85-12.4      .084
  Alcohol use
    0-4 drinks/wk#                   1.58      0.75-3.33       .23     1.65      0.77-3.79      .23      1.28       0.46-3.61      .64
    4-10 drinks/wk#                  2.00      0.96-4.17       .063    2.58      1.17-5.68      .019     0.94       0.28-3.10      .92
    ≥10 drinks/wk#                   0.46      0.13-1.69       .24     0.56      0.13-2.37      .43      0.30       0.033-2.71     .28
  Ten case patients with no family history of breast or ovarian cancer (sporadic), 7 case patients with family history (familial), and 18
control subjects had missing observations for some of the covariates.
  *Age at diagnosis for case patients or current age for control subjects, defined continuously.
  †Age at last childbirth is defined categorically. Reference group is last childbirth at 17 to 29 years.
  ‡Age at first menstrual period, defined continuously.
  §Age at last use of oral contraceptives, with baseline no use of oral contraceptives.
  ||Tubal ligation or hysterectomy, yes versus no tubal ligation or hysterectomy (without oophorectomy), with baseline of no.
  ¶Use of talc on perineum, ever versus never, with baseline of never.
  #Number of drinks per week, with baseline no drinks per week.


were younger (mean age at diagnosis of 44.4 years) than                 sumption was a positive risk factor for ovarian cancer
those with invasive tumors (mean age at diagnosis of 55.1               (relative risk 2.00), but this result was not statistically sig-
years). The risk for borderline tumors was less clearly re-             nificant (P = .063).
duced among women who had used oral contraceptives.                        For case patients with a stronger family history of
The mean duration of oral contraceptive intake among                    breast or ovarian cancer (≥1 other family members with
women with borderline tumors (4.05 years) was greater                   breast cancer at age <55 years or ovarian cancer at any
than among those with invasive carcinoma (2.31 years).                  age), the effects of age at menarche, age at last oral con-
As with invasive cancers, nulliparity was not a risk factor             traceptive use, tubal ligation, and perineal talc applica-
for borderline tumors (relative risk 0.75, P = .61).                    tion appear to be as strong as, or stronger than, those in
   Multivariate analysis. We incorporated all the signifi-              the sporadic case patients (Table V). Of particular note is
cant variables from the univariate analysis into the final              that a late age at last childbirth is highly protective
unconditional logistic regression model. In the model we                against ovarian cancer in women who have ≥1 other rela-
also included other variables that had previously been re-              tive with ovarian cancer or breast cancer diagnosed at
ported to be of possible etiologic relevance but were of                age <55 years (relative risk 0.38, P = .027).
borderline significance in the univariate analysis in our
study (Table V). The most striking finding in the ad-                       Comment
justed analysis is that for all categories of case patients                Family history. We estimate that the hereditary propor-
versus control subjects a late age at last use of oral con-             tion of ovarian cancer in the French Canadian popula-
traceptives is a strong protective factor (relative risk 0.24,          tion of Quebec is between 4% and 10%. The lower esti-
P = .0008). Various models were assessed, and age at last               mate is based on the observation of 7 families with ≥4
oral contraceptive use resulted in lower P values and –2                relatives with breast cancer diagnosed at <55 years (or
log likelihood values than did age at first use or duration             ovarian cancer at any age) among 170 unselected case
of oral contraceptive use (Table III and data not shown).               patients. The higher estimate includes the 17 families
We therefore used the former parameter in the multi-                    with ≥3 such patients (including the index case patient
variate analysis. Tubal ligation or hysterectomy (without               herself). Narod et al19 used slightly more stringent crite-
oophorectomy) was a protective factor (relative risk 0.51,              ria to estimate that the hereditary fraction of ovarian can-
P = .016). Use at any time of talc in the perineal region               cer in southern Ontario was approximately 3% to 7%.
was a positive risk factor (relative risk 2.49), but this re-           They noted that the estimated hereditary proportions of
sult did not reach significance. Moderate alcohol con-                  ovarian cancer may be different in other populations,
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Table VI. Effect of duration of use of oral contraceptives on risk of ovarian carcinoma
                                                                Duration of oral contraceptive use

                                   0-1 y             1-5 y                   6-10 y                   11-25 y       Total

 Control subjects                   66                 35                      35                       16           152
 Case patients                      88                 36                      23                        7           154
 TOTAL                             154                 71                      58                       23           306
 Relative risk                     1.0               0.77                    0.49                      0.33           —
 95% confidence interval            —              0.44-1.36               0.27-0.91                 0.13-0.82        —
 P                                  —                 .39                     .03                      .024           —




both because the frequencies of susceptibility mutations               leukemia (relative risk 8.25, 6 cases observed, 1 case ex-
may differ and because varying fertility patterns may lead             pected) showing the largest relative risk (Cox propor-
to differences in average family size. Thus the slightly               tional hazard relative risk, Table II). Among female first-
higher figure reported here, for a province with a rela-               degree relatives of case patients, breast cancer was seen
tively small founding population, an established in-                   in significant excess compared with relatives of control
creased incidence of some genetic diseases,26 and typi-                subjects (relative risk 3.68, P = .0001). Interestingly, there
cally large family sizes, is consistent with figures from the          was no significant excess of ovarian cancer (relative risk
Ontario study.                                                         1.32, P = .56). Among male relatives the relative risk for
   Analyzing the data as a case-control study (rather than             colon cancer was 2.35 (13 cases observed, 6 expected, P =
as a cohort study), we observed a relative risk of 1.93 (95%           .075). There was no excess of colon cancer among fe-
confidence interval 0.85 to 4.38) for a family history of              male relatives. Previous case-control studies of ovarian
ovarian cancer in any first-, second-, or third-degree rela-           cancer have shown that ovarian,2-5, 18, 22-25 breast,5, 25
tive. This figure is comparable to that reported in previ-             colon,4 pancreatic,2 and prostate cancers4 are all signifi-
ous case-control studies. It is apparent that a family his-            cantly overrepresented among the relatives of women
tory of ovarian cancer is probably the strongest risk factor           with ovarian cancer. However, only the Utah study2 was
for ovarian cancer. One strength of our study is that we               able to study distant relatives systematically, and only our
have included information on breast cancer in the rela-                study used a historic cohort approach to calculate the rel-
tives. This is important because breast cancer is more                 ative risks in a proportional hazards model. In a study of
common than ovarian cancer and because breast cancer                   the first-degree relatives of women with breast, ovarian,
is more likely to occur in a BRCA1- or BRCA2-positive                  or endometrial cancer, a significant excess of ovarian and
pedigree than is ovarian cancer. Thus if we are attempting             breast cancer was seen among the relatives of women
to determine the hereditary contribution to ovarian can-               with either breast or ovarian cancer.32 In fact, the risk of
cer, we must question ovarian cancer case patients about               breast cancer was not significantly different for women
both ovarian and breast cancer in their families.                      with a family history of ovarian cancer rather than breast
   Two genes (BRCA1 and BRCA2) that predispose to-                     cancer. A record linkage study from Iceland33 also
ward development of ovarian cancer have been identi-                   showed a significant 90% excess of ovarian cancer among
fied, and it is possible to directly determine the propor-             the first-degree relatives of women with breast cancer.
tion of ovarian cancer attributable to mutations in these              However, this was not seen in the United Kingdom Office
genes. A number of studies have estimated that this pro-               of Population, Censuses and Surveys studies of ovarian
portion is 3% to 26%, depending on the population and                  and breast cancer.34, 35 Thus, considering all studies to-
the gene studied.14, 15, 27-31 The absence of a family his-            gether, it is likely that a personal history of ovarian cancer
tory does not rule out the possibility of a mutation in                is significantly associated with a family history of breast or
BRCA1 and BRCA2, even in cases in which the mutation                   ovarian cancer, and a family history of breast cancer
is known to be of ancient origin. In this study we did not             should always be sought in any woman at risk for ovarian
analyze the case patients for mutations, but it will be in-            cancer.
teresting to determine the frequencies of BRCA1 and                       Oral contraception, reproductive risk factors, and tubal
BRCA2 mutations among French Canadian women with                       ligation. The most striking findings in our study are the
ovarian cancer.                                                        protective effects of late use of oral contraceptives, a long
   We used a historical cohort approach to analyze the                 interval between first and last live childbirth, and a late
data; this increases the information that can be gathered              age at last childbirth (Tables III and V). Many other stud-
from the pedigree. In this study there was an overall ex-              ies have shown oral contraceptive use to be inversely as-
cess of cancer at all sites in men and women, with                     sociated with ovarian cancer. Hankinson et al10 reana-
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lyzed 20 epidemiologic studies and found a summary rel-         those without a family history. Tubal ligation has previ-
ative risk of 0.64 (95% confidence interval 0.57 to 0.73)       ously been associated with a reduced risk of ovarian can-
for use of oral contraceptives at any time. They also           cer. In a large, prospective study, Hankinson et al9 ob-
found that the effect was strongest in women who had >5         served a strong inverse association between tubal ligation
years of use. By contrast, in a reanalysis of 12 US case-con-   and ovarian cancer that persisted after adjustment for
trol studies no extra protective effect after 6 years of use    age, oral contraceptive use, parity, and other ovarian can-
was found.8 In our study we found that an increasing du-        cer risk factors (relative risk 0.33, 95% confidence inter-
ration of use of oral contraceptives was associated with a      val 0.16 to 0.64). They also noted a weaker inverse associ-
decreasing risk (relative risk 0.89, P = .00013) for each       ation between simple hysterectomy and ovarian cancer.
year of use and, unlike Whittemore et al,8 we observed          The protective effect of hysterectomy is increased if the
no diminution of effect with increasing number of years         operation is carried out at a younger age.8, 9 Whether
of use. In fact we noted a marked trend toward increas-         tubal ligation has its effect by preventing external car-
ing protection against ovarian carcinoma with increasing        cinogenic agents from reaching the ovary or by alteration
duration of use of oral contraceptives (Table VI). Among        of the local environment of the ovary is not known.
women who had used oral contraceptives for >6 years,               Alcohol and talc as potential risk factors for ovarian
there was a suggestion that oral contraceptive use was          cancer. In this study we found that moderate alcohol con-
more protective for those who continued use beyond 10           sumption (between 4 and 10 drinks per week compared
years rather than stopping after 10 years (the relative risk    with no alcohol use) was nonsignificantly associated with
for 11 to 25 years of use vs 6 to 10 years of use was 0.67, P   ovarian cancer (relative risk 2.00, P = .063). Other studies
= .61). Compared with those who took oral contracep-            have also reported that moderate to high alcohol con-
tives for <5 years, those with 11 to 25 years of use resulted   sumption is nonsignificantly associated with ovarian can-
in a relative risk of 0.43 (P = .10). Hormone replacement       cer.12, 13, 38 Perineal talc use was a nonsignificant risk fac-
therapy has not been shown to be a risk factor for ovarian      tor in our study (relative risk 2.49, P = .064). Talc has
cancer,8 and this finding was confirmed in our study.           been previously implicated in the development of ovar-
   An early age at menarche is a risk factor for ovarian        ian cancer.11, 13 Although there are reports of talc em-
cancer, but the risk increase is relatively small, ranging      bedded in human ovarian tissue and of talc migrating
from 1.2 to 1.5 when comparing commencement of                  through the human female reproductive tract, the litera-
menarche at <12 years with commencement at >15                  ture reviewed does not provide any convincing evidence
years.36 In our study case patients and control subjects        that pure cosmetic talc, when used as intended, presents
did not significantly differ with respect to age of menar-      a health risk to women.11, 39, 40
che, but familial case patients had menarche later (13.3           Familial and sporadic ovarian cancer: Are the risk fac-
years) than did sporadic case patients (12.8 years, P =         tors the same? Early detection of ovarian cancer is diffi-
.038; Table III). This difference was maintained in the         cult. No screening procedure has been shown to reduce
multivariate analysis (Table V). High parity is protective,8    mortality rates, and no single test has yet proved to be
but in this study we showed that in an adjusted analysis a      practical for population screening. However, it is possible
late age at last childbirth and a long interval between first   that those at higher risk may be more likely to benefit
and last live childbirth were more important than the           from screening procedures, because the positive predic-
total number of pregnancies or the age at first childbirth      tive value of a screening test depends in part on the
(Table V). A large, nested case-control study from              prevalence of the disease in the population under study.
Sweden showed that a late age at first childbirth was           The inherited fraction of ovarian cancer in this study is
more protective than high parity.7 In the review by             between 4% and 10%, and perhaps we should direct our
Parazzini et al36 of 16 previous studies, however, only 1       preventive and early detection efforts toward these
suggested that a late first childbirth was more protective      women at higher risk. Women with a family history of
than an early first childbirth. It is intriguing that in a      ovarian cancer are more likely to carry mutations in
study of BRCA1 carriers a late age at last childbirth was       highly penetrant cancer-predisposing genes. The find-
protective against ovarian cancer and there was no in-          ings of this study raise the possibility that preventive mea-
creased risk associated with nulliparity.37 There also was      sures such as oral contraceptive use and tubal ligation
no protective effect of high parity against familial ovarian    may be effective in preventing ovarian cancer in persons
cancer in the Utah study.2                                      at high risk. The findings that a late age of last use of oral
   We found that tubal ligation or hysterectomy (without        contraceptive, a late age of last childbirth and a pro-
oophorectomy) was protective (adjusted relative risk            longed interval between first and last childbirth are pro-
0.51, P = .016; Table V). There was no change in the            tective suggest that the timing of the intervention is im-
point estimates of the risk reduction among those with a        portant. For example, hysterectomy appears to be most
family history of breast or ovarian cancer compared with        protective when it is carried out in the early to middle
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                       Exhibit 37
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GENITAL TALC EXPOSURE AND RISK OF OVARIAN CANCER
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  Epidemiologic studies have suggested an increased risk for          analysis is based upon data from 563 cases with epithelial ovarian
ovarian cancer associated with the use of talcum powder in            cancer, including those with tumors of borderline malignancy.
genital hygiene, but the biologic credibility of the association
has been questioned. We conducted a population-based                     We identified control women using random digit dialing (RDD)
case-control study in eastern Massachusetts and New Hamp-             in which the sampling unit for an interviewed case comprised the
shire involving 563 women with newly diagnosed epithelial             99 telephone numbers generated from the first 5 digits of her
ovarian cancer and 523 control women selected either by               telephone number plus all remaining combinations of the last 2
random digit dialing or through lists of residents. Use of body       digits (excluding the case’s own number). These numbers were
powders was assessed through personal interview and the               listed in random order and called to screen households for potential
exposure odds ratio (OR) for the use of talc in genital hygiene       controls who were within 4 years of the age of the case. Excluding
was calculated. Cases were more likely than controls (45% vs.
36%) to have used talc as a body powder in some manner, and           business and non-working numbers, approximately 5,400 calls
the excess was confined to patients who used talc on the              yielded 10% of households in which the household member
perineum directly or as a dusting powder to underwear or              declined to provide a household census and 80% of households in
sanitary napkins. Relative to women who never used body               which an age and sex matched control for a case could not be made
powder or used it only in non-genital areas, the OR (and 95%          or a potential control was ineligible because of a prior oophorec-
confidence interval) associated with genital exposure to talc         tomy. Of the remaining 10% of households screened with a
was 1.60 (1.18 and 2.15) after adjustment for age, study              potential eligible control, 72% agreed to participate. RDD proved
location, parity, oral contraceptive use, body mass index and
family history of breast or ovarian cancer. Exposure prior to         inefficient for identifying controls over age 60 in MA since a
rather than after a first livebirth appeared to be more               substantially greater number of households needed to be screened
harmful, and the association was most apparent for women              to obtain an older control. Except in NH where complete listings of
with invasive serous cancers and least apparent for those with        residents were unavailable, we chose to identify older controls in
mucinous tumors. We conclude that there is a significant              MA by randomly selecting women through use of lists (townbooks)
association between the use of talc in genital hygiene and risk       of all residents in towns by name, age, and address according to
of epithelial ovarian cancer that, when viewed in perspective         precinct. We matched older controls to cases by community and
of published data on this association, warrants more formal           age within 4 years based on the townbooks. Of 328 sampled
public health warnings. Int. J. Cancer 81:351–356, 1999.
                                                                      townbook controls, 21% could not be reached, 18% were ineligible
r 1999 Wiley-Liss, Inc.                                               and 30% declined to participate. This analysis includes a total of
                                                                      523 RDD and townbook controls.
   An association between the use of talc in genital hygiene and
                                                                         In introducing the study to potential cases and controls, specific
ovarian cancer was first examined in an epidemiologic study in
                                                                      hypotheses including the talc association were not discussed. After
1982 (Cramer et al., 1982). An elevated odds ratio for genital talc
                                                                      written informed consent, we assessed demographic information,
exposure was observed in this study, in 8 of the largest subsequent
epidemiological studies (Whittemore et al., 1988; Booth et al.,       menstrual and reproductive history, medical and family history and
1989; Harlow et al., 1992; Chen et al., 1992; Purdie et al., 1995;    personal habits using an in-person interview. We assessed expo-
Shushan et al., 1996; Cook et al., 1997; Chang and Risch, 1997)       sures occurring prior to a ‘‘reference date,’’ defined as 1 year before
and in a study of borderline tumors (Harlow and Weiss, 1989).         the date of diagnosis for cases and the date of interview for
Only 3 smaller studies reported a null association (Hartge et al.,    controls. We asked whether women had ‘‘regularly used talc, baby,
1983; Rosenblatt et al., 1992, Tzonou et al., 1993). Despite this     or deodorizing powders dusted or sprayed’’ to feet, arms or other
consistency, the association is still viewed with skepticism based    non-genital areas, to the genital or rectal area, on sanitary napkins,
upon weak odds ratios, poor dose-response relationships and an        or on underwear, with the latter 3 methods defined as ‘‘genital
incomplete understanding of the biological mechanism by which         exposure’’ and either no use or use in non-genital areas defined as
talc might lead to ovarian cancer. We have completed a large          ‘‘no genital exposure.’’ A husband’s use of powder in his genital
population-based case-control study of ovarian cancer which offers    area was also assessed. Age at first use, types of powder(s) used,
new perspectives on the validity of the talc and ovarian cancer       applications per month and total years of use in genital hygiene
association.                                                          were assessed in talc users. We did not assess potential talc
                                                                      exposure from diaphragms or condoms, exposures not found to be
                                                                      associated with ovarian cancer in our previous studies (Cramer et
                    MATERIAL AND METHODS                              al., 1982; Harlow et al., 1992).
   We conducted a population-based case-control study of women
with newly diagnosed ovarian cancer who resided in eastern
Massachusetts (MA) or New Hampshire (NH). Women with                    Grant sponsor: National Cancer Institute; Grant number: R01 Ca54419.
ovarian cancer were identified through hospital tumor boards and
statewide cancer registries. Between 5/92 and 3/97, 1,080 cases of
ovarian cancer were identified. After excluding 203 cases who had       *Correspondence to: Ob-Gyn Epidemiology Center, Brigham and Wom-
died or moved, had no telephone, did not speak English or had a       en’s Hospital, 221 Longwood Avenue, Boston, MA 02115, USA. Fax: (617)
                                                                      732–4899. E-mail: DWCramer@bics.bwh.harvard.edu
non-ovarian primary tumor after review, 877 women remained
eligible. Physicians denied permission to contact 126 (14%) of
these women, and 136 cases (16%) declined to participate. Our           Received 28 August 1998; Revised 19 November 1998
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                                   TABLE I – PERINEAL TALC EXPOSURE1 IN RELATION TO OVARIAN CANCER RISK
                                                  BY CHARACTERISTICS OF STUDY PARTICIPANTS

                                                                           Cases               Controls
                                                                                                               Age-
                                                                              Talc                  Talc     adjusted2    (95% C.I.)
                                                                   Total    exposure   Total      exposure      OR
                                                                              (%)                   (%)

                     Age
                       ⬍50                                         266      66 (24.8) 262 43 (16.4)           1.68       (1.09, 2.58)
                       ⱖ50                                         297      86 (29.0) 261 52 (19.9)           1.64       (1.11, 2.43)
                     Study center
                       MA                                          433 126 (29.1) 411 85 (20.7)               1.56       (1.14, 2.14)
                       NH                                          130 26 (20.0) 112 10 (8.9)                 2.49       (1.14, 5.45)
                     Education
                       #12                                         218      58 (26.6) 171 28 (16.4)           1.79       (1.08, 2.97)
                       ⬎12                                         344      93 (27.0) 352 67 (19.0)           1.59       (1.10, 2.27)
                     Marital status
                       Never married                               110 31 (28.2) 61 10 (16.4)                 1.77       (0.78, 4.00)
                       Ever married                                453 121 (26.7) 462 85 (18.4)               1.62       (1.18, 2.22)
                     Religion
                       Jewish                                       54 18 (33.3) 44 10 (22.7)                 1.69       (0.68, 4.18)
                       Non-Jewish                                  509 134 (26.3) 479 85 (17.8)               1.63       (1.20, 2.22)
                     Weight
                       ⬍140                                        237      57 (24.0) 247 40 (16.2)           1.60       (1.02, 2.53)
                       ⱖ140                                        326      95 (29.1) 275 55 (20.0)           1.65       (1.13, 2.42)
                     Use of OCs (months)
                       ⬍3 or never                                 334      98 (29.3) 247 52 (21.0)           1.55       (1.06, 2.28)
                       ⱖ3                                          229      54 (23.6) 276 43 (15.6)           1.67       (1.07, 2.61)
                     Number of liveborn children
                       0                                           185      55 (29.7) 106 20 (18.9)           1.65       (0.92, 2.98)
                       1–2                                         212      49 (23.1) 209 34 (16.3)           1.56       (0.95, 2.54)
                       3⫹                                          166      48 (28.9) 208 41 (19.7)           1.69       (1.04, 2.75)
                     Prior tubal ligation
                       No                                          488 135 (27.7) 437 76 (17.4)               1.80       (1.31, 2.47)
                       Yes                                          75 17 (22.7) 86 19 (22.1)                 0.98       (0.46, 2.08)
                     Prior hysterectomy
                       No                                          529 139 (26.3) 487 88 (18.1)               1.60       (1.18, 2.16)
                       Yes3                                         34 13 (38.2) 36 7 (19.4)                  2.61       (0.88, 7.78)
                     Family history of breast or ovarian cancer
                       No                                          481 132 (27.4) 462 87 (18.8)               1.59       (1.17, 2.17)
                       Yes                                          82 20 (24.4) 61 8 (13.1)                  2.21       (0.89, 5.48)
                    OR: odds ratio; CI: confidence interval; OCs: oral contraceptives.–1Sources of perineal talc exposure
                  include dusting of underwear, diaphragms, sanitary napkins and/or dusting of genital area.–2Adjusted for
                  age as a continuous variable.–3Excludes those with tubal ligation prior to hysterectomy.


   For all cases studied, we reviewed pathology reports and sought           performed by using the SAS system (SAS Institute, Cary, NC).
slides in any instance where there was a discrepancy between                 Tests for linear trend were performed using the likelihood ratio test
histologic description and final diagnosis. After completing the             with continuous forms of the talc variables. Frequency counts from
review, cases were grouped according to the following histologic             studies included in our review of published studies were entered
categories: serous cancers (including serous cystadenocarcinomas             into STATA (College Station, TX) to compute crude and combined
and surface papillary carcinomas), mucinous cancers, endometri-              odds ratios.
oid and clear cell cancers, including mixed mesodermal or mixed
epithelial with an endometrioid or clear cell component) and                                                    RESULTS
undifferentiated or other cancers. According to Young et al. (1994),
serous tumors tend to be either borderline or invasive and seldom               Table I summarizes data regarding how cases and controls
display a mixture while borderline and invasive grades often                 differed demographically and by known risk factors for ovarian
intermingle within other histologic types, especially the mucinous           cancer, how these same variables influenced genital talc exposure
tumors. Based on this tendency, only serous borderline tumors were           among controls and how the association between talc use in the
distinguished from invasive cancers when considering odds ratios             genital area and ovarian cancer varied among strata. Controls were
by histologic type and grade.                                                more likely than cases to have gone beyond high school, to have
   Since matching was performed as the most convenient means for             married, to have had children and to have used oral contraceptives.
selecting controls comparable to cases in age and geographic locale          In examining the frequency of talc use among controls, only study
and not as the principal means of controlling for confounding,               location significantly influenced likelihood of genital talc exposure.
matching was not preserved in the analysis. We analyzed our data             Women from New Hampshire were less likely to have used talc in
by constructing frequency counts of cases and controls by study              the genital area compared to women from Massachusetts. Ovarian
variables and by calculating crude odds ratios (OR). We then used            cancer cases in almost all strata were more likely to have used
unconditional logistic regression to adjust for the matching vari-           powder genitally compared to controls, with corresponding ele-
ables including age (continuous), study site (MA, NH), body mass             vated odds ratios. A notable exception was the lack of an
index (continuous), which might have influenced likelihood of                association between talc use and ovarian cancer among women
using body powder, and for variables strongly linked to ovarian              who reported having had a tubal ligation.
cancer risk such as parity (0, 1 ), oral contraceptive use (never or            Table II shows adjusted odds ratios by manner, type and
⬍3 months, ⭓3 months) and family history of breast or ovarian                frequency of powder use. A greater percentage of cases had
cancer (no, yes) and tubal ligation (no, yes). Most analyses were            regularly used powder in some manner compared to the controls.
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                                                          TALC AND OVARIAN CANCER                                                            353
                                 TABLE II – ADJUSTED ODDS RATIOS FOR OVARIAN CANCER ASSOCIATED WITH TYPES
                                                       AND FREQUENCY OF POWDER USE

                                                                 Cases            Controls       Adjusted
                              Type of personal use                                                               (95% C.I.)
                                                              Number (%)        Number (%)        OR1

                      No personal use                         312 (55.4)        334 (63.9)        1.0
                      Use, non-genital areas                   99 (17.6)         94 (18.0)        1.08         (0.77, 1.50)
                      Use, dusting perineum                    71 (12.6)         51 (9.8)         1.45         (0.97, 2.18)
                      Use, dusting sanitary napkin             20 (3.6)          12 (2.3)         1.45         (0.68, 3.09)
                      Use, dusting underwear                    8 (1.4)           6 (1.2)         1.21         (0.40, 3.64)
                      Multiple uses genital area               53 (9.4)          26 (5.0)         2.15         (1.30, 3.57)
                      Genital use
                        No personal genital exposure          411 (73.0)        428 (81.8)        1.0
                        Any personal genital exposure         152 (27.0)         95 (18.2)        1.60         (1.18, 2.15)
                      Longest used type of powder2
                        No genital use                        411 (73.4)        428 (81.8)        1.0
                        Talc                                  148 (26.4)         92 (17.6)        1.69         (1.26, 2.27)
                        Cornstarch                              1 (0.2)           3 (0.6)         0.31         (0.03, 3.01)
                      Husband use3,1
                        No                                    291 (87.6)        346 (92.0)        1.0
                        Yes                                    41 (12.4)         30 (8.00)        1.52         (0.92, 2.52)
                      Frequency of use per month4
                        ⬍30                                    64 (11.5)         28 (5.4)         2.21         (1.37, 3.56)
                        30–39                                  59 (10.6)         51 (9.8)         1.17         (0.78, 1.76)
                        40⫹                                    23 (9.8)          15 (2.9)         1.57         (0.80, 3.10)
                     1Adjusted for age (continuous), study center (MA, NH), tubal ligation (ever, never), BMI (continuous),
                   parity (0, ⱖ1), OC use (⬍3 months, ⱖ3 months), and primary relative with breast or ovarian cancer (yes,
                   no) and other categories of genital talc use, except where noted.–2Adjusted for age (continuous), study
                   center (MA, NH), and tubal ligation (ever, never) and other powder.–3Among married women with no
                   personal genital talc use.–4Total of all uses in the genital area.


Relative to those with no use of a body powder, those who used                Table IV presents a more detailed analysis of the effect of genital
powder only in non-genital areas did not have an increased risk of         use of talc in women who had no pregnancies at all, in women who
ovarian cancer [OR⫽1.08 (0.77 and 1.50)]. However, elevated                had a pregnancy not resulting in a liveborn and in women with a
ORs and (95% CI) were observed for women who directly                      liveborn pregnancy. In the latter 2 groups, we examined risk for
powdered the genital or rectal area [1.45 (0.97 and 2.18)]; who            ovarian cancer with the timing of talc use in relation to the first
dusted sanitary napkins: 1.45 (0.68 and 3.09); who dusted under-           pregnancy. Genital talc use that began after a first pregnancy
wear [1.21 (0.40 and 3.64)] and who used powder in multiple ways           appeared to be associated with lower risk compared to use which
in the genital area [2.15 (1.30 and 3.57)]. There was a significant        began before the first pregnancy. The effect was more apparent
excess of cases who regularly used powder in some manner in the            among those with a liveborn. Eighty-five of 374 parous cases used
genital area, and the adjusted OR was similar whether the non              at least some talc prior to their first liveborn compared to 64 of 416
exposed referent group was considered to be women with no use of           parous controls, leading to an adjusted OR (95% CI) of 1.58 (1.10
talc anywhere [OR⫽ 1.58, (1.16 and 2.16)] or women with no                 and 2.29). In contrast, 8 of 378 parous cases used talc only after
genital use including those who used it as a body powder in                their first livebirth compared to 10 of 417 parous controls, leading
non-genital areas [OR⫽ 1.60 (1.18 and 2.15)]. Few of the women             to an adjusted OR(95% CI) of 0.97 (0.38 and 2.50) for ovarian
in our study reported use of cornstarch rather than a talc-based           cancer associated with talc use after a first livebirth.
powder leading to an imprecise and non-significant OR for ovarian             Table V shows the average age and use of genital talc for all
cancer risk associated with its use in the genital area. Among             controls and for cases by histologic type of ovarian cancer. Average
married women who never personally used talc in the genital area,          age differed by histologic type but did not account for the
there was an increase of borderline significance in ovarian cancer         differences in ORs. The odd ratio for genital talc use was greatest
risk for women whose husbands had used talc in their genital area          (and significant) for invasive serous tumors and less than 1 only for
[OR⫽1.52 (0.92, 2.52)]. When we examined all methods of genital            mucinous tumors (invasive and borderline combined) after adjust-
talc use (except exposure from a husband), we found that most of           ment for age and other covariates.
those who used talc had 30 or more applications per month, but
there was no apparent trend for increasing risk for ovarian cancer
with increasing number of monthly applications.                                                          DISCUSSION
   Table III examines risk for ovarian cancer associated with                 Consistent with four recent case-control studies of ovarian
ordinal categories related to duration or intensity of talc exposure in    cancer (Purdie et al., 1995, Sushan et al., 1996, Cook et al., 1997,
the genital area relative to women who never used talc or who used         Chang and Risch, 1997), our results demonstrate a significant
it only in non-genital areas. No clear linear trend was apparent in        association between the use of talc in genital hygiene and risk for
ORs for categories of age at first use, years of use or total              ovarian cancer. In our discussion, we will examine whether this
applications. To examine dose response, each of these variables            association satisfies traditional criteria for a causal association
was used as a continuous variable in multivariate models. Linear           including consistency and strength of the association, potential
trends were significant only in those models that included women           biases, dose response and biological credibility.
who were not exposed. To duplicate an analysis performed in a                 Figure 1 summarizes data on risk for ovarian cancer with any
previous report (Harlow et al., 1992), we examined total applica-          genital use of talc from 14 case-control studies including this one.
tions censored by excluding use after closure of the female tract or       The combined odds ratio and 95% CI is 1.36 (1.24 and 1.49), which
during non-ovulatory years. Although the ORs for the categories            is statistically significant. Odds ratios deviating most from the
displayed a trend, once again only the multivariate model including        pooled value were observed in the smaller studies, and the test for
the non-genitally exposed revealed a significant trend.                    heterogeneity was not significant (p⫽0.085). Thus, the criteria for
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                           TABLE III – ADJUSTED ODDS RATIOS FOR OVARIAN CANCER ASSOCIATED WITH GENITAL USE OF TALC

                                                                    Cases                    Controls                  Adjusted
                                Type of exposure                                                                                              (95% C.I.)
                                                                Number (%)                Number (%)                    OR1

                     No genital use                      411 (73.0)       428 (81.8)         1.0
                     Age at first use
                       ⬍20                                97 (17.4)        67 (12.8)         1.46         (1.03, 2.07)
                       20–25                              36 (6.5)         18 (3.4)          1.87         (1.03, 3.39)
                       ⬎25                                13 (2.3)           9 (1.7)         1.54         (0.64, 3.72)
                     p-value for linear trend is 0.504 excluding non-exposed.
                     Years of use
                       ⬍20                                55 (9.9)         31 (5.9)          1.86         (1.16, 3.00)
                       20–30                              32 (5.8)         26 (5.0)          1.33         (0.76, 2.30)
                       ⬎30                                59 (10.6)        37 (7.1)          1.44         (0.91, 2.26)
                     p-value for linear trend is 0.477 excluding non-genitally exposed and 0.062 including non-genitally
                          exposed.
                     Total applications
                       ⬍3000                              51 (9.2)         27 (5.2)          1.84         (1.12, 3.03)
                       3000–10,000                        36 (6.5)         28 (5.4)          1.43         (0.84, 2.41)
                       ⬎10,000                            59 (10.6)        39 (7.5)          1.43         (0.92, 2.22)
                     p-value for linear trend is 0.164 excluding non-genitally exposed and 0.472 including non-genitally
                          exposed.
                     Applications censored2
                       ⬍3000                              59 (10.6)        41 (7.8)          1.54         (1.01, 2.35)
                       3000–10,000                        51 (9.2)         31 (5.9)          1.72         (1.08, 2.76)
                       ⬎10,000                            36 (6.5)         20 (3.8)          1.80         (1.02, 3.18)
                     p-value for linear trend is 0.675 excluding non-genitally exposed and 0.022 including non-genitally
                          exposed.
                      1Adjusted for age (continuous), study center (MA, NH), BMI (continuous), primary relative with breast
                   or ovarian cancer (yes, no), parity (0, ⱖ1), OC use (⬍3 months, ⱖ3 months), tubal ligation, and other
                   categories of genital talc use, except where noted.–2Excludes applications following hysterectomy or tubal
                   ligation and applications during pregnancy and periods of OC use. Adjusted for age (continuous), study
                   center (MA, NH), BMI (continuous) and primary relative with breast or ovarian cancer (yes, no).

                           TABLE IV – EVER USE OF TALC IN THE GENITAL AREA IN RELATION TO PREGNANCY AND CHILDBIRTH

                                                            Cases                                             Controls
                                                                                     (%)                                                  (%)          Adjusted
                   Group                                        Number             exposed                           Number             exposed          OR          95% C.I.
                                                    Total       exposed                               Total          exposed

  Nulligravid1                                      145             42             (29.0)              82                17         (20.7)                 1.48    (0.76, 2.86)
  Nulliparous1 prior to first pregnancy              40             13             (32.5)              24                 3         (12.5)                 2.80   (0.64, 12.20)
  Nulliparous1 only after first pregnancy            40              2              (5.0)              24                 1          (4.2)                 1.24   (0.10, 15.32)
  Parous1 prior to first livebirth                  374             85             (22.7)             416                64         (15.4)                 1.58    (1.10, 2.29)
  Parous2 only after first livebirth                378              8              (2.12)            417                10          (2.40)                0.97    (0.38, 2.50)
   1Adjusted for age (continuous), study center (MA, NH), BMI (continuous) and primary relative with breast or ovarian cancer (yes,
no).–2Adjusted for age (continuous), study center (MA, NH), BMI (continuous), primary relative with breast or ovarian cancer (yes, no) and tubal
ligation.

                      TABLE V – HISTORY OF GENITAL TALC USE AND ASSOCIATED ODDS RATIOS BY HISTOLOGIC TYPE AND GRADE

                                                                         Average       Any use of              No use of       Adjusted
                            Histologic type/grade           Total                                                                                   (95% CI)
                                                                           age         genital talc           genital talc      OR1

                     Controls                               523           49.3               95                  428              1.0
                     Histologic type/grade
                       Serous borderline                     86           41.8               23                   63              1.38            (0.82, 2.31)
                       Serous invasive                      229           54.5               72                  157              1.70            (1.22, 2.39)
                       Mucinous                              83           46.7               16                   67              0.79            (0.44, 1.40)
                       Endometrioid/clear cell              130           53.9               31                   99              1.04            (0.67, 1.61)
                       Undifferentiated                      35           52.9               10                   25              1.44            (0.67, 3.08)
                     1Adjusted for age (continuous), study center (MA, NH), primary relative with breast or ovarian cancer
                   (yes, no), BMI (continuous), parity (0, ⱖ1), OC use (⬍3 months, ⱖ3 months) and tubal ligation (ever,
                   never).


consistency of the association appear to be satisfied. A summary                        studies is based on personal recollection. However, recall bias
odds ratio of 1.36 suggests that between 10 and 11% of ovarian                          seems more likely to affect exposures that have occurred over a
cancers in these populations are attributable to the genital use of                     short term than those that have occurred over a long term. Since
talc depending upon whether the average control exposure of 36%                         average duration of talc use exceeded 20 years in both cases and
or average case exposure of 43% is considered.                                          controls in our current study, genital talc exposure may be less
   Despite the consistency noted above, the relatively weak odds                        likely to be subject to recall bias. Furthermore, if publicity
ratios observed could reflect potential biases, especially recall and                   regarding the association correlated with selective recall, one might
confounding. Recall bias is possible because talc exposure in these                     expect a trend for cases from more recent studies to report higher
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      FIGURE 1 – Exposure rates, crude odds ratios and confidence intervals for case-control studies of genital talc use and ovarian cancer.


exposure rates, but the exposure rates noted in Figure 1 do not            demonstrate consistent dose response relationships with measures
suggest this is the case. It also seems reasonable that selective recall   of the intensity of the exposure, especially when the trend is
would lead to cases reporting all types of talc exposure more              examined among users only. In attempting to address this weak-
frequently than controls, but our study found that cases did not           ness, we point out that it is difficult to quantify the amount of
report a significant excess of talc use in non-genital areas compared      powder actually used and degree of perineal dusting that might
to controls. Finally, if recall accounted for the association, one         constitute an ‘‘application of talc.’’ Another factor that may affect
would expect little variation in the odds ratios by histologic type of     the dose-response relationship is whether use occurred at a time
ovarian cancer which appears not to be the case from Table V. Our          when the female tract was open. There is evidence from several
study found the greatest risk to be associated with invasive serous        studies that the talc/ovarian cancer association is modified by
tumors, OR⫽1.70 (1.22 and 2.39). Cook et al. (1997) found talc             closure of the female tract as a result of tubal ligation or
use to be most strongly associated with serous and unclassified            hysterectomy (Harlow et al., 1992; Chang and Risch, 1997; Green
cancers, although Chang and Risch (1997) found endometrioid                et al., 1997). We have also proposed that talc use during periods of
cancers to be more strongly linked with talc use.
                                                                           ovulation may carry greater risk, based on the hypothesis that
   Regarding potential bias from confounding, we found no                  ovarian surface epithelial disruption and repair accompanying
evidence that genital talc exposure varied by key risk factors for         ovulation might allow talc to become entrapped within the
ovarian cancer such as age, parity or OC use and little variability of     inclusion cysts that form with ovulation.
the association by these and other variables (Table II). Chang and
Risch (1997) adjusted for age, parity, breastfeeding, oral contracep-         Our current study also suggests that a term pregnancy may affect
tive use, tubal ligation or hysterectomy and family history and also       the relationship between talc and ovarian cancer in a manner that
found the association to persist. Characteristics such as body odor        may be independent of ovulation. We observed that the association
or excessive perspiration might represent subtle constitutional            between talc and ovarian cancer was more apparent in women who
features that might predispose to both talc use and ovarian cancer,        used talc prior to a first liveborn pregnancy compared to those who
but adjusting for BMI should control for these effects. In addition, 2     used it only after a first liveborn pregnancy. This may suggest that
previous studies (Cook et al., 1997; Chang and Risch, 1997), and           ovarian tissue that has not (yet) gone through a pregnancy may be
our current study found no evidence of elevated risk associated            more susceptible to talc-induced damage than tissue that has
with genital use of a cornstarch based-powder, although in all of          undergone a pregnancy. A possible biologic explanation for this
these studies the exposure was infrequent and the OR and                   may involve an ovarian change, known as decidual reaction, that
confidence interval was wide. Further studies would be valuable            occurs during pregnancy. The decidual reaction refers to differentia-
since this observation suggests that type of powder used may be            tion of stromal cells that occurs primarily in the endometrium of the
more important than underlying reason for use.                             pregnant uterus but which also may be seen in the fallopian tubes,
   The most obvious weakness in the argument for biologic                  pelvic peritoneum and ovarian surface (Herr et al., 1978). Studies
credibility of the talc and ovarian cancer association is the lack of      to determine whether the decidual reaction alters the susceptibility
a clear dose response. Most talc and ovarian cancer studies that           of ovaries (or pelvic peritoneum) to talc-induced damage may be
have addressed dose response, including this one, have failed to           informative.
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   Although we do not know precisely how use of talc in the genital             ologic uniqueness of women, effects of pregnancy and potential
area might induce ovarian cancer, some key elements supporting                  spread through coitus (as suggested by our finding related to
the biologic plausibility of the association have been established. It          ovarian cancer risk associated with a husband’s use of talc). Rodent
has been demonstrated that inert particles contaminating the vagina             models seem poorly suited to address these issues because of their
can reach the ovaries (Venter and Iturralde, 1979). Talc has been               infrequent ovulation and the fact that the rodent ovary is encased in
found in both normal and malignant ovarian tissue (Henderson et                 a bursal sac.
al., 1979), although Heller et al. (1996 ) reported a poor correlation
                                                                                   In summary, we have demonstrated a consistent association
between the amount of talc in the ovaries and personal history of
talc use. The patency of the female tract and the nature of ovarian             between talc and ovarian cancer that appears unlikely to be
cancer as a surface epithelial (mesothelial) lesion make the ovary a            explained by recall or confounding. The dose-response relationship
target for foreign body carcinogenesis. Indeed, human ovarian                   is weak but improved by considering factors such as closure of the
cancer has been demonstrated to be a consequence of occupational                female tract, ovulation and exposure prior to pregnancy, and we
asbestos exposure (Keal, 1960). Talc, as a chemical relative of                 have outlined a plausible biologic rationale for this association. We
asbestos, appears able to induce histologic changes that are similar            estimate that avoidance of talc in genital hygiene might reduce the
to those of asbestos, at least in the lungs (Kleinfeld et al., 1967).           occurrence of a highly lethal form of cancer by at least 10%.
Biologic credibility for an association would be strengthened by an             Balanced against what are primarily aesthetic reasons for using talc
animal model, but an experiment capturing all of the potential                  in genital hygiene, the risk benefit decision is not complex.
factors in the human ‘‘model’’ would be very difficult. These                   Appropriate warnings should be provided to women about the
elements include chronicity of the exposure, anatomic and physi-                potential risks of regular use of talc in the genital area.

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                       Exhibit 38
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Perineal Talc Exposure and Subsequent
Epithelial Ovarian Cancer: A Case-Control
Study
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Objective: To evaluate the role of talcum powder use as a             similarities between talcum powder and asbestos, but
risk factor for the development of epithelial ovarian cancer.         because the two chemical substances are often found
   Methods: In a case-control study, 499 patients with epithe-
                                                                      together in mineral deposits. In 1967, the seminal work
lial ovarian cancer were frequency matched for age at
                                                                      by Graham and Graham1 demonstrated that intraperi-
diagnosis (6 6 5 years) with a control population of 755 pa-
tients. The odds ratio (OR) for the development of epithelial         toneal application of asbestos in guinea pigs and rabbits
ovarian cancer was estimated using logistic regression anal-          resulted in ovarian epithelial hyperplasia comparable to
ysis with adjustment for age at diagnosis, parity, oral con-          the histologic changes in early epithelial ovarian tumors
traceptive use, smoking history, family history of epithelial         observed in women. In 1971, Henderson et al2 exam-
ovarian cancer, age at menarche, menopausal status, income,           ined the ovarian tissue of 13 patients with epithelial
education, geographic location, history of tubal ligation, and        ovarian cancer and reported that 75% of these tumors
previous hysterectomy.
                                                                      had talc particles embedded in the tissue. To further
   Results: Two hundred twenty-one of 462 patients (47.8%)
in the study population and 311 of 693 patients (44.9%) in the        support the theory that retrograde flow of talc particles
control population had ever used talcum powder (OR 0.92;              (after direct perineal application of talc) may result in
95% confidence interval [CI] 0.24, 3.62). A significant associ-       deposition of particles on the ovary, Heller et al3
ation between duration of talc use and development of                 analyzed the ovaries of 24 women who underwent
epithelial ovarian cancer was not demonstrable for 1–9 years          oophorectomies for benign ovarian neoplasms. Talcum
(OR 0.9; 95% CI 0.6, 1.5), for 10 –19 years (OR 1.4; 95% CI 0.9,      powder was identified in all 24 patients. Twelve pa-
2.2), or for more than 20 years (OR 0.9; 95% CI 0.6, 1.2). To
                                                                      tients reported frequent perineal talc applications, but
eliminate the possible confounding variable of surgery for
the management of ovarian cancer, we omitted 135 patients
                                                                      the remaining 12 denied ever using talc. Although
in the study population who underwent hysterectomy                    histologic data appear to support the hypothesis that
within 5 years of the diagnosis of ovarian cancer. Within this        talcum powder applied to the perineum may migrate
subgroup of patients, tubal ligation or hysterectomy among            through retrograde flow, the role of talc as a risk factor
talc users still failed to demonstrate an increased risk for the      for the development of ovarian cancer remains contro-
development of ovarian cancer (OR 0.9; 95% CI 0.4, 2.2).              versial.
   Conclusion: A significant association between the use of
                                                                         The disparity among conclusions regarding the pos-
talcum powder and the risk of developing epithelial ovarian
                                                                      sible association between the use of talcum powder and
cancer is not demonstrable, even with prolonged exposure.
(Obstet Gynecol 1999;93:372– 6. © 1999 by The American                the risk of ovarian cancer may lie in the fact that not all
College of Obstetricians and Gynecologists.)                          studies adjusted for the integrity of the genital tract. The
                                                                      integrity of a patient’s genital tract is defined as intact
                                                                      when she has not undergone any of the following
Transvaginal exposure to talcum powder has been                       surgical procedures: salpingo-oophorectomy, bilateral
proposed as a risk factor for the development of epithe-              tubal ligation, or hysterectomy (abdominal or vaginal).
lial ovarian cancer, not only because of the chemical                 The purpose of the current study was to evaluate the
                                                                      use of talcum powder as a risk factor for the develop-
  From the Departments of Gynecologic Oncology and Cancer Control     ment of ovarian cancer in an analysis that includes the
and Epidemiology, Roswell Park Cancer Institute, Buffalo, New York.   duration of use and the integrity of the genital tract.



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Materials and Methods                                      Table 1. Patient Characteristics
                                                                                             Cases        Controls
The application of talcum powder to the genital region            Characteristic           (n 5 499)     (n 5 755)       P
among 499 patients with epithelial ovarian cancer
                                                           Mean age (y)                       54.9          54.9         NS
treated at the Roswell Park Cancer Institute from Octo-
                                                           Age at menarche (y)                12.8          12.8         NS
ber 1982 through October 1995 was compared with the        Age at menopause (y)               45.2          45.7         NS
application of talcum powder to the genital region         Family history of ovarian
among 755 female patients treated for nongynecologic         cancer
                                                             No                            460 (92.2%)   735 (97.4%)    ,.001
malignancies during the same period. The case and
                                                             Yes                            39 (7.8%)     20 (2.6%)
control populations were frequency matched for age at      Location
diagnosis (65 years). Information regarding all patients     Erie and Niagara counties     165 (33.3%)   392 (51.8%)    ,.001
was extracted from a database compiled from a self-          All others                    331 (66.6%)   354 (46.9%)
administered questionnaire provided to the patients as       Unknown                         3 (0.1%)      9 (1.3%)
                                                           Parity
a part of the enrollment process at our institute since
                                                             0                             105 (21.0%)   112 (14.8%)     .02
1953. The current document, in use since 1982, contains      1–2                            74 (14.8%)   107 (14.1%)
44 items that pertain to the women’s medical and social      3– 4                          200 (40.0%)   350 (46.4%)
histories, including parity, menstrual history, use of       $5                            120 (24.0%)   186 (24.6%)
                                                           Oral contraceptive use
exogenous hormones, contraceptive history, and per-
                                                             No                            346 (69.3%)   507 (67.2%)     NS
sonal hygiene. Additional information (besides the 44        Yes                           148 (29.7%)   236 (31.2%)
items) regarding the patient’s medical, social, family,      Unknown                         5 (1.0%)     12 (1.6%)
dietary, and occupational histories is available and can   Race
be evaluated as potential confounding variables.             Black                           6 (1.2%)     21 (2.8%)      NS
                                                             White                         488 (97.8%)   732 (97.0%)
   The diagnosis of each patient in the study population
                                                             Other                           5 (1.0%)      2 (0.2%)
and in the control population was determined by refer-     Education
ence to the Roswell Park Tumor Registry. Patients in the     Up to high school             262 (52.5%)   439 (58.2%)     .039
study population were coded with the International           College                       237 (47.5%)   316 (41.8%)
Classification of Diseases for Oncology, 1st ed. (ICD-O)   Income
                                                             ,$16,000                      175 (35.1%)   314 (41.7%)     .013
code 8010/3 C56.9. The control population was ran-
                                                             $16,000 –$24,999              133 (26.7%)   157 (20.8%)
domly selected from the Roswell Park Tumor Registry.         $$25,000                      191 (38.2%)   272 (37.5%)
The pool of eligible patients was large enough to select
                                                             NS 5 not significant.
1.5 control patients for each patient in the study popu-
lation. The control population consisted of 326 patients
(43.3%) with colorectal cancer (ICD-O 8140/3 C16.0 –       Windows, Advanced Professional Release 7.5-1997
C16.9), 23 patients (3.0%) with stomach cancer (ICD-O      (SPSS Inc., Chicago, IL).
8140/3 C16.0 –C16.9), 11 patients (1.5%) with malig-
nancy of the small intestine (ICD-O 8140/3 C17.0 –
                                                           Results
C17.9), 134 patients (17.7%) with leukemia (ICD-O
9800/3-9940/3 C42.1), and 261 patients (34.5%) with        Characteristics of both the cases and controls are out-
malignancies of the skin (ICD-O C44.0 –C44.9).             lined in Table 1. A significantly (P 5 .039) greater
   The odds ratio (OR) for the development of epithelial   proportion of patients in the study population attended
ovarian cancer was estimated using multiple logistic       college as compared with the control population, and a
regression analysis with adjustment for oral contracep-    significantly (P 5 .013) greater proportion of patients in
tive (OC) use, smoking history, family history of epi-     the control population had an annual income of less
thelial ovarian cancer, age at menarche, menopausal        than $16,000. Furthermore, a significantly (P , .001)
status, income, education, geographic location, and        greater proportion of patients in the study population
history of tubal ligation or hysterectomy. Among the       (7.8%) had a family history of ovarian cancer than did
study population, ORs were determined also to evalu-       patients in the control population (2.6%). A significantly
ate an association between histologic subtypes of epi-     (P , .001) greater proportion of patients in the control
thelial ovarian cancer and the use of talcum powder, the   population lived in the counties immediately surround-
duration of use of talcum powder and the risk for the      ing our facility compared with patients in the study
development of ovarian cancer, and interruption of the     population. Patients in the control population had sig-
continuity of the reproductive tract by either tubal       nificantly (P 5 .02) more children than did patients in
ligation or hysterectomy and the risk of epithelial        the study population.
ovarian cancer. Data were analyzed using SPSS for             Information regarding the use of talc was retrievable



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Table 2. Talc Use by Site: Odds Ratios and 95% Confidence                    0.9; 95% CI 0.6, 1.5), 10 –19 years (OR 1.4; 95% CI 0.9,
         Intervals
                                                                             2.2), or more than 20 years (OR 0.9; 95% CI 0.6, 1.2).
                                                                OR*             Among patients in the study population who had
         Site                Controls          Cases          (95% CI)       ever applied talcum powder to the perineum or to
Never used                  382 (55.1%)     241 (52.2%)          1.0         sanitary napkins, 136 patients (61.6%) had papillary
Sanitary napkin              20 (2.9%)       13 (2.8%)      0.9 (0.4, 2.0)   serous cystadenocarcinoma, 21 patients (9.5%) had en-
Genital or thigh area       223 (32.2%)     157 (34.0%)     1.0 (0.8, 1.3)
                                                                             dometrioid carcinoma, 11 patients (5.0%) had mucinous
Both                         68 (9.8%)       51 (11.0%)     1.1 (0.7, 1.7)
                                                                             adenocarcinoma, 12 patients (5.4%) had clear cell ade-
   OR 5 odds ratio; CI 5 confidence interval.
   * Adjusted for parity, oral contraceptive use, smoking history, family
                                                                             nocarcinoma, and 41 patients (18.6%) had undifferenti-
history of epithelial ovarian cancer, age at menarche, menopausal            ated carcinoma. A significant association between the
status, income, education, geographic location, and history of tubal         use of talcum powder and a specific histologic subtype
ligation or hysterectomy.
                                                                             of epithelial ovarian cancer was not demonstrable for
                                                                             serous cystadenocarcinoma (OR 1.2; 95% CI 0.7, 2.1),
from the questionnaires of 462 patients in the study                         endometrioid carcinoma (OR 1.4; 95% CI 0.7, 2.7),
population and 693 patients in the control population.                       mucinous adenocarcinoma (OR 1.5; 95% CI 0.6, 4.0),
Thirty-seven patients in the study population and 62                         clear cell adenocarcinoma (OR 1.6; 95% CI 0.6, 4.3), or
patients in the control population failed to respond to                      undifferentiated carcinoma (OR 1.0; 95% CI 0.6, 1.6).
the question regarding talc use. Among the cases, 47.8%                         To assess the impact of surgical interruption of the
(221 of 462) had ever used talc; 44.9% (311 of 693) of the                   genital tract as a possible confounding variable, we
controls had ever used talc (P 5 .323). Application of                       evaluated the association between ovarian cancer and
talc by site was similar in both groups: 3% of cases and                     the use of talcum powder among patients in the study
controls applied talc on sanitary napkins, 34% of cases                      population who had not undergone any interruption of
and 32.2% of controls applied talc on the genital or                         the genital tract compared with those in the study
thigh area, and 11% of cases and 9.8% of controls                            population who had undergone tubal ligation or hys-
applied talc to both sanitary napkins and the genital or                     terectomy. Among the cases, 267 patients (53.5%) had
thigh area. The adjusted OR did not demonstrate any                          not had tubal ligation or hysterectomy, whereas 45.3%
increased risk for the development of ovarian cancer                         (226 patients) had undergone previously tubal ligation
attributable to the method of talc application (Table 2).                    or hysterectomy. Of these 226 patients, 59.7% (135
   Thirty-two patients from the case population and 39                       patients) had a hysterectomy within 5 years of being
patients from the control population did not recall the                      diagnosed with ovarian cancer. Six women in the study
duration of talc use (Table 3). The mean duration of use                     group did not answer the question regarding history of
was 22 years among patients in the control population                        tubal ligation or hysterectomy. There was no significant
and 21 years among patients in the study population.                         difference in the risk of developing ovarian cancer
Both groups of women had used talc for a comparable                          among patients in the study population with no history
period of time: 9.1% of cases and 9.3% of controls used                      of genital tract interruption (OR 1.2; 95% CI 0.8, 1.6) and
talc for 1–9 years; 11.4% of cases and 7.6% of controls                      those with a history of tubal ligation or hysterectomy
used talc for 10 –19 years; and 23.5% of cases and 24.6%                     (OR 0.8; 95% CI 0.5, 1.2). To eliminate the possible
of controls used talc for more than 20 years. Among the
                                                                             confounding variable of surgery for the management of
study population, a significant association between the
                                                                             ovarian cancer, we excluded the 135 patients in the
duration of talc use and the development of epithelial
                                                                             study population who had undergone hysterectomy
ovarian cancer was not demonstrable for 1–9 years (OR
                                                                             within 5 years of the diagnosis of ovarian cancer.
                                                                             Within this subgroup of patients, tubal ligation or
Table 3. Duration of Talc Use: Odds Ratios and 95%                           hysterectomy among talc users still failed to demon-
         Confidence Intervals                                                strate that the use of talc significantly increased the risk
                                                                OR‡          of ovarian cancer (OR 0.9; 95% CI 0.4, 2.2) (Table 4).
                                                 †
Duration (y)            Controls*           Cases             (95% CI)       Multiple logistic regression analysis adjusted for age at
   None              382 (58.4%)          241 (56.0%)            1.0         diagnosis, parity, OC use, smoking history, family
   1–9                61 (9.3%)            39 (9.1%)        0.9 (0.6, 1.5)   history of epithelial ovarian cancer, age at menarche,
   10 –19             50 (7.6%)            49 (11.4%)       1.4 (0.9, 2.2)   menopausal status, income, education, geographic lo-
   $20               161 (24.6%)          101 (23.5%)       0.9 (0.6, 1.2)
                                                                             cation, and history of tubal ligation or hysterectomy
  Abbreviations as in Table 2.                                               failed to demonstrate any significant association be-
  * Thirty-nine patients did not recall duration of use.
  †
    Thirty-two patients did not recall duration of use.                      tween talc use and the development of ovarian cancer
  ‡
    Adjusted for factors stated in Table 2.                                  (OR 0.92; 95% CI 0.24, 3.62).



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Table 4. Talc Users: Genital Tract Interruption and Risk of               family history of ovarian cancer is a potential limitation
         Ovarian Cancer                                                   in the study by Cook et al7 because 26.9% of patients in
                                        Talc use
                                                            OR*
                                                                          the study population and 52.1% of the control popula-
       Operation                  No               Yes    (95% CI)        tion were less than 44 years of age (women diagnosed
                                                                          with ovarian cancer before the age of 45 may have a
No history of genital                                    1.2 (0.8, 1.6)
  tract interruption
                                                                          strong genetic predisposition for this disease). Further-
  Cases                           130              121                    more, in the study by Cook et al,7 79 patients (25.2%) in
  Controls                        251              182                    the study population were diagnosed with borderline
History of tubal ligation                                0.8 (0.5, 1.2)   epithelial ovarian tumor, a histologic entity that may
  or hysterectomy
                                                                          have a different clinical course than invasive epithelial
  Cases                           111              100
  Controls                        131              130
                                                                          ovarian cancer.
History of hysterectomy                                  0.9 (0.4, 2.2)      The results of the current report do, however, support
  Cases                            60               65                    the conclusions of three hospital-based, case-control
  Controls                         14               21                    studies that failed to establish a significant association
  Abbreviations as in Table 2.                                            between the use of talc and an increased risk of epithe-
  * Adjusted for factors stated in Table 2.                               lial ovarian cancer: Booth et al8 (RR 1.2; 95% CI 0.92,
                                                                          1.8), Rosenblatt et al9 (RR 0.8; 95% CI 0.27, 2.63), and
                                                                          Tzonou et al10 (RR 1.05; 95% CI 0.38, 3.98). In a letter to
Discussion
                                                                          the editor, Hartge et al (Hartge P, Hoover R, Lesher LP,
The current study fails to demonstrate an association                     McGowan L. Talc and ovarian cancer. JAMA 1983;250:
between the use of perineal talcum powder and a                           1844) estimated the RR of ovarian cancer among talc
significant increase in the risk of epithelial ovarian                    users to be 0.7 (95% CI 0.4, 1.1). Additionally, in a
cancer. These findings are at variance with a meta-                       collaborative review of hospital- and population-based
analytic report by Gross and Berg,4 which demon-                          case-control studies, Whittemore et al11 failed to con-
strated a modest increase in the risk of epithelial ovar-                 firm a significantly altered risk of epithelial ovarian
ian cancer among patients who had ever used talc. In an                   cancer (RR 1.4; 95% CI 0.98, 1.89) among patients who
analysis of ten epidemiologic studies, Gross and Berg4                    had applied talcum powder to the perineum.
calculated an adjusted OR of 1.29 (95% CI 1.02, 1.63).                       Duration of exposure and the integrity of the female
Similarly, in a population-based case-control study,                      genital tract are crucial issues in the role of talc expo-
Harlow et al5 noted an increased risk (OR 1.57; 95% CI                    sure as a risk factor for the development of epithelial
1.0, 2.1) for the development of ovarian cancer among                     ovarian cancer. Harlow et al5 argued that a 70% increase
patients who had ever used talcum powder. This study,                     in the risk of ovarian cancer was evident among pa-
however, failed to adjust for OC use and family history                   tients whose exposure to talc exceeded 10,000 applica-
of ovarian cancer. Moreover, 28% of the patients in that                  tions (equivalent to 30 years of exposure) despite an
study population5 had borderline ovarian tumors;                          intact genital tract and normal cyclic ovarian function.
many investigators believe that this histopathologic                      These calculations, although intriguing, should be in-
entity differs substantially in pathogenesis and clinical                 terpreted with caution because they are based on a
course from invasive epithelial ovarian cancer. Despite                   population of 38 patients, and a test for trend fails to
these limitations, Harlow et al5 performed a meta-                        achieve statistical significance (P 5 .77). Whittemore et
analytic calculation that described a modest association                  al11 observed a similar lack of significance for a trend in
between the development of ovarian cancer and peri-                       the duration of exposure. These researchers demon-
neal talc use (crude OR 1.3; 95% CI 1.1, 1.6).                            strated no significant association between increased
   The results of the current study also differ from those                ovarian cancer risk and prolonged talc exposure (RR
reported by Cramer et al.6 These researchers reported a                   1.3; 95% CI 0.88, 1.92). Moreover, when the population
near doubling of risk for the development of epithelial                   described by Whittemore et al11 was stratified based on
ovarian cancer among talc users (relative risk [RR] 1.92;                 surgical sterilization and the use of talc, no significant
95% CI 1.27, 2.89). However, calculation of risk in this                  association was observed between the integrity of the
study was adjusted only for parity and menopausal                         genital tract or talc exposure and an increased risk for
status. In a population-based case-control study by                       the development of ovarian cancer. Data from the
Cook et al7 that reported an adjusted RR of 1.5 (95% CI                   current study support the findings of Whittemore et al11
1.1, 2.0), these researchers failed to demonstrate a trend                because they demonstrate no significant increase in the
in the OR with an increasing number of perineal appli-                    risk of epithelial ovarian cancer among patients whose
cations. Important differences exist in the design of our                 exposure to perineal talc exceeded 20 years, even in the
study and that of Cook et al.7 Failure to adjust for a                    presence of an intact genital tract.



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   Some significant differences between the study pop-              2. Henderson WJ, Joslin CAF, Turnbull AC, Griffiths K. Talc and
ulation and the control population were observed in the                carcinoma of the ovary and cervix. J Obstet Gynaecol Br Com-
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current study; these differences are in agreement with              3. Heller DS, Westhoff C, Gordon RE, Katz N. The relationship
several epidemiologic studies that evaluated risk fac-                 between perineal cosmetic talc usage and ovarian talc particle
tors for the development of ovarian cancer.5,12–14 In the              burden. Am J Obstet Gynecol 1996;174:1507–10.
current study, patients with ovarian cancer acquired a              4. Gross AJ, Berg PH. A meta-analytical approach examining the
higher level of education (P 5 .039) and higher income                 potential relationship between talc exposure and ovarian cancer. J
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(P 5 .013) than the control population; patients in the             5. Harlow BL, Cramer DW, Bell DA, Welch WR. Perineal exposure to
control population had more children (P 5 .02) than in                 talc and ovarian cancer risk. Obstet Gynecol 1992;80:19 –26.
the study population. A greater proportion of the study             6. Cramer DW, Welch WR, Scully RE, Wojciechowski CA. Ovarian
group had a significant (P , .001) family history of                   cancer and talc. Cancer 1982;50:372– 6.
ovarian cancer and lived remote from our institute. The             7. Cook LS, Kamb ML, Weiss NS. Perineal powder exposure and the
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cer Registry, for patients with an apparent genetic                 9. Rosenblatt KA, Szklo M, Rosenshein NB. Mineral fiber exposure
predisposition for the development of ovarian cancer.                  and the development of ovarian cancer. Gynecol Oncol 1992;45:
Overall, adjustment for these confounding variables in                 20 –5.
                                                                   10. Tzonou A, Polychronopoulou A, Hsieh CC, Rebelakos A, Karakat-
a multiple logistic regression model failed to demon-                  sani A, Trichopolos D. Hair dyes, analgesics, tranquilizers and
strate any significant association (OR 0.92; 95% CI 0.24,              perineal talc applications as risk factor for ovarian cancer. Int J
3.62) between the use of talcum powder and the devel-                  Cancer 1993;55:408 –10.
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   Two potential weaknesses of this study should be                    Grosser S, et al. Personal and environmental characteristics related
                                                                       to epithelial ovarian cancer. Am J Epidemiol 1988;128:1228 – 40.
addressed. First, as with any retrospective study using            12. Rodriguez C, Calle EE, Coates RJ, Miracle-McMahill HL, Thun MJ,
data collected from the patient’s recall of events, poten-             Heath CW Jr. Estrogen replacement therapy and fatal ovarian
tial ascertainment and recall bias may exist. To diminish              cancer. Am J Epidemiol 1995;141:828 –35.
ascertainment and recall bias, we asked patients to                13. Whittemore AS, Harris R, Itnyre J, and the Collaboration Ovarian
complete a 13-page questionnaire, which contains items                 Cancer Group. Characteristics relating to ovarian cancer risks:
                                                                       Collaborative analysis of 12 US case-control studies. Am J Epide-
pertaining to their medical, social, dietary, and occupa-              miol 1992;136:1184 –203.
tional histories; no particular emphasis is placed on any          14. Shu OS, Gao YT, Yua JM, Ziegler RG, Brinton LA. Dietary factors
of the items. Second, condoms and diaphragms are                       in epithelial ovarian cancer. Br J Cancer 1989;1:92– 6.
potential sources of talc exposure. The questionnaire
asks patients whether they have ever used condoms or
diaphragms as contraceptive methods; however, this
questionnaire does not ask about the frequency or                  Address reprint requests to:
duration of such usage, whether lubricated or nonlubri-            M. Steven Piver, MD
cated condoms were used, or whether talc was ever                  Roswell Park Cancer Institute
applied to the diaphragm. Consequently, the current                Elm and Carlton Streets
                                                                   Buffalo, NY 14263
study is limited to the use of talc on the perineum or
sanitary napkins and does not address potential talc
exposure from condom or diaphragm use.
   The results of the current study fail to support the              Received May 26, 1998.
hypothesis that talcum powder usage is associated with               Received in revised form August 27, 1998.
                                                                     Accepted September 3, 1998.
the development of epithelial ovarian cancer, regardless
of the duration of use and the integrity of the female
genital tract.


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                       Exhibit 39
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Factors Related to Inflammation of the Ovarian Epithelium and Risk of Ovarian Cancer
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            Factors                Related               to       Inflammation                        of    the        Ovarian

                                                        and        Risk          of     Ovarian               Cancer
                       Epithelium

    Roberta       B.   Ness,1      ]eane         Ann   Grisso,2     Carrie    Cottreau,1       Jennifer      Khpper,2      Ron   Vergona,1
                          James      E.    Wheeler,3       Mark      Morgan,4         and   James     J.   Schksselman5




  Previous epidemiologic observations consistently suggest that                  diagnosis of epithelial ovarian cancer (767) were compared
  suppression of ovulation, tubal ligation, and hysterectomy re?                 with community controls (1367). We found that a number of
  duce the risk of ovarian cancer and that perineal talc use                     reproductive and contraceptive factors that suppress ovulation,
  increases the risk. We examined these and other risk factors in                including gravidity, breast feeding, and oral contraception,
  the context of a new hypothesis: that inflammation may play                    reduced the risk of ovarian cancer. Environmental factors and
  a role in ovarian cancer risk. Ovulation entails ovarian epi?                  medical conditions that increased risk included talc use, en-
  thelial inflammation; talc, endometriosis, cysts, and hyperthy-                dometriosis, ovarian cysts, and hyperthyroidism. Gynecologic
  roidism may be associated with inflammatory responses of the                   surgery including hysterectomy and tubal ligation were protec?
  ovarian epithelium; gynecologic surgery may preclude irritants                 tive. Tubal ligation afforded a risk reduction even 20 or more
  from reaching the ovaries via ascension from the lower genital                 years after the surgery. The spectrum of associations provides
  tract. We evaluated these risk factors in a population-based                   support for the hypothesis that inflammation may mediate
  case-control study. Cases 20-69 years of age with a recent                     ovarian cancer risk. (Epidemiology 2000;11:111-117)

  Keywords: ovarian cancer, endometriosis,             oral contraceptives,   talc, tubal ligation.




  Ovarian cancer is a commonly           fatal malignancy     for                   All of these factors may act by a common pathway, by
  which prevention strategies have been limited, in part,                        modulating inflammation of the ovarian epithelium, the
  by a lack of understanding of its pathobiology.        Factors                 cell type from which more than 90% of ovarian cancers
  that have consistently been shown to reduce the risk of                        arise. Ovulation entails disruption of the ovarian epithe?
  ovarian cancer, such as number of pregnancies or live                          lium by the extruded follicle, foilowed by inflammation
  births, contraceptive      use, and breast-feeding,1-5    have                 and wound repair.38,39 Asbestos, talc, endometriosis, and
  been proposed to do so by reducing the number of                               pelvic inflammatory     disease all initiate marked local
  ovulations or the exposure to high pituitary gonadotro-                        inflammation.    Tubal ligation and hysterectomy        sever
  phin levels over a lifetime.6,7 Nevertheless,     the biologic                 the pathway from the lower to the upper genital tract,
  mechanism       responsible for other consistently     demon?                  thereby disallowing inflammatory substances to ascend
  strated protective factors is less well understood; such                       through the lower genital tract to the upper genital tract,
  protective factors include: tubal ligation and hysterecto-                     and ultimately tothe     ovarian epithelium.17 Inflamma?
       1,8-18 asbestos19~21 and talc                                             tion involves rapid cell division, DNA excision and
  my                                 exposures,2,22-32 endome?
  triosis,33-35 and perhaps, pelvic inflammatory disease.36,37                   repair, oxidative stress, and high concentrations      of cy-
                                                                                 tokines and prostaglandins, all of which are established
                                                                                 promoters of mutagenesis.40-43
                                                                                     Using data from a population-based    case-control study
  FromGraduateSchoolof PublicHealth,2CenterforClinicalEpidemiologyand
                        of PathologyandLaboratory                                of ovarian cancer, we here examine whether factors that
  Biostatistics,
              3Department                        Medicine,and''Depart?
  ment of Obstetricsand Gynecology,Universityof Pennsylvania,
                                                            Pittsburgh           are associated with ovarian epithelial inflammation con-
  Pennsylvania;and5Sylvester
                           ComprehensiveCancerCenter,Universityof Mi-
                                                                                 sistently elevate ovarian cancer risk and whether those
  ami,CoralGables,Florida.
                                                                                 that reduce the potential for inflammation        are protec?
  Addressreprintrequeststo:RobertaB. Ness,Universityof Pittsburgh,
                                                                Graduate         tive.
  Schoolof PublicHealth,130 DeSotoStreet,517 ParranHall,Pittsburgh, PA
  15261.
                                                                                 METHODS
  This researchwassupported
                          by Grant#R01 CA61095fromNationalCancer                 Study Subjects
  Institute.
                                                                                 Cases were women 20 through 69 years of age who had
  SubmittedMay11, 1999;finalversionacceptedAugust30, 1999.                       had epithelial ovarian cancer diagnosed within the 6
                                                                                 months before the interview. They were ascertained
  See relatededitorialon page97 of this issue.
                                                                                 from 39 hospitals around the Delaware Valley including
          ? 2000by LippincottWilliams& Wilkins,Inc.
  Copyright                                                                      contiguous counties in eastern Pennsylvania, Southern



                                                                                                                                             111
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  New     Jersey, and Delaware. Between 1994 and 1998,                     A life calendar, marked by important happenings that
  2,418 cases of histologically           confirmed borderline or          participants recalled during their lives, was used to en-
  invasive epithelial ovarian cancer were identified. After                hance memory of distant events. On the calendar was
  excluding women who were not between the ages of                         coded sexual activity, contraceptives     used, and repro?
  20-69       (640), resided outside the counties in which                 ductive events for every month from sexual debut until
  referral hospitals were located (342), had a prior diag?                 a reference date, defined as the date 6 months before the
  nosis of ovarian cancer (158), or did not speak English or               interview (for both cases and controls).
  were mentally incompetent            (25),25 we found 1,253 po?              All pregnancies, their length and outcome as well as
  tentially eligible women;       after  excluding those who were          the length of breast-feeding,    were recorded on the life
  diagnosed      more   than   6 months     before interview (296),        calendar. The type and length of each contraceptive use
  were critically ill or dead (69), or were untraceable (15),              was recorded. Tubal ligation, hysterectomy, and ovarian
  we were left with 873 women who had incident cancer                      operations were detailed including the time, abdominal
  and were thus eligible for study. Fourteen physicians did                vs vaginal approach, and procedures done to the ovaries.
  not consent       to their patients' participation            and 92     Menstrual onset, regularity, discomfort, and cessation
  women refused to participate, resulting in 767 completed                 were recorded. This included questions that asked, "How
  case interviews (61% of potentially              eligible cases and      long did it take before your periods started coming about
  88% of potentially eligible, incident cases).                            once a month (without the use of birth control pills)?"
      Controls age 65 or younger were ascertained by ran?                  and "during your 20's and 30's, and when you were not
  dom digit dialing. These subjects were frequency-                        pregnant, nursing or taking birth control pills/shots/
  matched by 5-year age groups and three-digit telephone                   implants, did you ever miss three or more menstrual
  exchange to cases. Of the 14,551 telephone                   numbers     periods in a row?" The two variables derived from these
  screened, 6,597 were businesses or not in service and                    questions were titled "time to regular menstrual cycles"
  5,640 had no female of eligible age in the household,                    and "ever miss ^3 menses." Women were also asked
  leaving 2,314 households with potentially eligible par?                  about a series of medical conditions that may be related
  ticipants. Of these, 1,928 (83%) had a potentially eligi?                to pelvic inflammation     including ovarian cysts, pelvic
  ble woman who was willing to be screened further for                     inflammatory disease, thyroid disease, and endometrio-
  eligibility. Upon screening, 291 had no eligible woman                   sis. Finally, women were asked about talc use. The ques?
  resident on the basis of age (5), residence outside of the               tion was, "As an adult and prior to [reference date] did
  target counties (11), prior diagnosis of ovarian cancer                  you ever use talc, baby or deodorizing powder, at least
  (9), prior bilateral oophorectomy             (187), not speaking        once per month for 6 or more months on your: 1) feet,
  English     or mental    incompetence      (22), critical illness or     arms, or breasts, but not the genital or rectal areas? 2)
  death (6), or being untraceable               (51). Of the 1,637         genital or rectal area? 3) on your sanitary napkins? 4) on
  screened and potentially eligible controls, 422 declined                 your underwear? 5) on your diaphragm or cervical cap?"
  to be interviewed and 1,215 (74%) were interviewed.                      They were then asked whether they had a male sexual
  Based on our previous experience of lower response rates                 partner(s) for more than a year who regularly used such
  among 65+ year olds using a random digit dialing ap?                     products on his genital area or underwear. The duration
  proach, we ascertained           controls 65-69         years of age     of use of talc for each of these modes of use was also
  through        Health      Care     Financing        Administration      queried.
  (HCFA) lists. Four hundred twenty-three                 women were
  initially identified, and were frequency-matched              to cases
                                                                           Statistical   Analysis
  by country of residence and age group. One hundred                       Because matching was based on frequencies for only two
  sixty were ineligible for the reasons given above. Of the                broad criteria, age within 5-year intervals and three-digit
  263 potentially eligible from HCFA lists, 111 refused to
                                                                           telephone exchanges (or county of residence), we did
  participate and 152 (58%) were interviewed. Therefore,                   not preserve the "match" in the analyses. We adjusted
  of the total of 1,900 eligible potential controls, 1,367
                                                                           odds ratios for age and gravidity (each as continuous
  (72%) are included in these analyses. Age was similarly
                                                                           variables), race (white/black/other),   history of ovarian
  distributed for cases and controls. Overall, 4% of sub?
                                                                           cancer in any first degree relative (yes/no), oral contra?
  jects were age <30, 13% were 30-39, 29% were 40-49,
  30% were 50-59, and 24% were 60-69.                                      ceptive use (yes/no), tubal ligation (yes/no), hysterec?
                                                                           tomy (yes/no), and breast-feeding (yes/no) by uncondi?
      Cases included 616 invasive epithelial ovarian can?
                                                                           tional logistic regression analysis.44
  cers and 151 borderline epithelial ovarian tumors. Cen?
  tral pathologic review was conducted on a random sam?
  ple of 120 cases. The reference pathologist agreed with                  RESULTS
  the original pathologic review for invasiveness in 95% of                We first examined reproductive and contraceptive      fac?
  cases and for cell type in 82% of cases. The original                    tors that would be expected to affect ovulation and/or
  pathologic diagnosis was then used for all cases.                        endogenous steroid hormones. Pregnancies and breast?
                                                                           feeding were protective for ovarian cancer, with a 50%
  Data Collection                                                          risk reduction associated with the first pregnancy and a
  Standardized 1.5-hour interviews were conducted in the                   modest additional lowering of risk for pregnancies be?
  homes of participating women by trained interviewers.                    yond the first. Breast-feeding reduced risk after at least
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  TABLE     1.   Selected Characteristics Related to Reproductive History and Ovarian Cancer




  * Adjustedforage,numberof
                                      familyhistoryof ovariancancer,race,oralcontraceptive
                            pregnancies,                                                 use,tuballigation,hysterectomy,
                                                                                                                       andbreast-feeding.
  t Amongwomenwhohadhada live birth.
  t Excludeswomenwhowerepre-menopausal,  hadhada hysterectomy, or wereusinghormonereplacement  therapypriorto the cessationof menses.


  24 months of breast-feeding over a lifetime (Table 1).                   metriosis (adjusted OR 1.7), and hyperthyroidism       (ad?
  Oral contraception    provided a duration-dependent     re?              justed OR 1.8). The relation between these medical
  duction in risk. Neither age at menarche nor age at                      conditions and ovarian cancer appeared to be relatively
  natural menopause was strongly associated with ovarian                   specific. We did not, for example, find associations be?
  cancer risk. Similarly, menstrual patterns had little as?                tween ovarian cancer and lower genital tract infections
  sociation with ovarian cancer risk. In particular, never                 that do not cause ovarian inflammation, such as genital
  having regular menstrual cycles, which may be a marker                   warts and herpes simplex infection (data not shown).
  of anovulation,  did not substantially lower ovarian can?                Nevertheless,   pelvic inflammatory disease, which does
  cer risk.                                                                cause ovarian inflammation,     was only modestly associ?
     We next evaluated environmental        factors and medi?              ated with ovarian cancer in our data.
  cal conditions that might be associated with increased                       Gynecologic surgery, including tubal ligation and hys?
  local inflammation (Table 2). Talc use on all areas ofthe                terectomy, reduced ovarian cancer risk (Table 3). Tubal
  body elevated ovarian cancer risk, even after adjustment                 ligation and tubal ligation in combination     with hyster?
  for potentially important confounding factors. Similarly,                ectomy both provided marked protection         (odds ratios
  talc use on sanitary napkins and underwear elevated                      0.5 and 0.4). Hysterectomy     without tubal ligation was
  ovarian cancer risk. In contrast, talc use on diaphragms                 less protective (odds ratio 0.8). To examine the possi-
  and/or cervical caps and use by the male partner did not                 bility that surveillance bias, that is removal of an un-
  appear to alter risk by much. Furthermore, length of use                 usual appearing ovary destined to become cancer, may
  was not clearly related to risk.                                         have accounted for these relations, we evaluated the
     Three medical conditions      increased ovarian cancer                association between time since gynecologic surgery and
  risk in our data: ovarian cysts (adjusted OR 1.3), endo-                 ovarian cancer risk. Although there was a trend toward
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                      TABLE     2.   Environmental Factors and Medical Conditions and Ovarian
                      Cancer




                      * Adjustedforage,numberof pregnancies,
                                                           familyhistoryof ovariancancer,race,oralcontraceptive
                                                                                                              use,
                      tuballigation,hysterectomy,
                                                andbreast-feeding.
                      t Subjectsmay have usedtalcon morethanone areaof the bodyso numbers addto more than767 cases
                      and 1,367controls.


 less protection with a longer period of time since tubal             unlikely that removal of an abnormal-appearing ovary at
 ligation, risk reduction was still afforded to women with            surgery accounted for the protection afforded by gyne-
 that surgery 20 or more years earlier. Abdominal hyster?             cologic operations. Laparoscopy for reasons other than
 ectomy, which affords a direct view of the abdominal                 tubal ligation or ovarian operations, which would also
 cavity, was not more protective than vaginal hysterec?               allow a surgeon to inspect the ovaries and remove any
 tomy, which does not afford a direct view, making it


                      TABLE     3.   Gynecologic Surgery and Ovarian Cancer




                      * Adjustedforage,numberof pregnancies,
                                                          familyhistoryof ovariancancer,race,oralcontraceptive
                                                                                                             use,
                      andbreast-feeding.
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 that were abnormal,      did not affect the risk of ovarian        elevated as much as fourfold for women whose endome-
 cancer substantially.                                               triosis arose in the ovaries. A series of clinical studies
                                                                    have also demonstrated             ovarian malignancies           arising
                                                                    from ovarian endometriosis,            that is, from endometriosis
 DISCUSSION                                                          that resides in the ovarian epithelium.33-35
 These analyses are generally, albeit not completely, con?              Finally, although the link between simple ovarian
 sistent with the hypothesis that inflammation at the site          cysts and ovarian cancer is not clearly established, com?
 of the ovarian epithelium         is associated with ovarian       plex cysts, which may have neoplastic or physiologic
 cancer risk. Our results confirmed the findings of a                                 and involve marked local inflammation,
                                                                    components
 number of previous studies showing that pregnancies,
                                                                    may be precursor lesions for ovarian cancer. In our study,
 oral contraceptive      use, and prolonged breast feeding,         we could not distinguish between types of cysts inas-
 reduce the risk of ovarian cancer.1-5 All of these factors         much as our data were based on self-report. A previous
 mark a diminution in number of ovulations and a reduc?             case-control     study, which also did not distinguish be?
  tion in pituitary gonadotrophin        levels (during breast-     tween pathologic         sub-types, found that ovarian cysts
 feeding, LH levels are suppressed, but FSH levels are              were associated with a 12-fold increased risk of ovarian
 not).45 We did not find, however, that markers of the              cancer.36
 length of the reproductive window, such as age at men?                 The association between hyperthyroidism and ovarian
 arche, age at natural menopause, and the regularity of             cancer is a novel observation,             to our knowledge, and
 menses, were substantially related to ovarian cancer risk.
                                                                    may provide an important clue to our hypothesis. The
 These factors have been inconsistently            and/or weakly    most common cause of hyperthyroidism                  is autoimmune
 related to risk in previous studies,46 perhaps because they
                                                                    inflammation       of the thyroid gland.50 Autoimmune                 hy?
 inaccurately reflect ovulatory function. The initiation
                                                                    perthyroidism, including Graves' disease and Hashimo-
 and cessation of menses do not correlate well with the
                                                                    to's thyroiditis, involve both humorally mediated and
 initiation and cessation of ovulation, whereas pregnancy
                                                                    cellular immune responses directed against thyroid mi-
 and oral contraceptive      use more validly reflect termina-
                                                                    crosomes, thyroglobulin, and thyroid antigen.51 They are
 tion of ovulation.5,47,48
                                                                    much more common in women than in men. These
     We found that several factors, which may reflect an
                                                                    diseases run in families in which there are higher rates of
 inflammatory process at the site of the ovarian epithe?            other autoimmune           disorders, including insulin-depen-
 lium, increase the risk for ovarian cancer. Talc use
                                                                    dent diabetes mellitus, rheumatoid arthritis, and sys-
 applied to any part of the body or to sanitary napkins or
                                                                    temic lupus erythematosus.              Autoimmune          diseases in
 underwear was related to ovarian cancer risk. These
                                                                    general,   and   autoimmune        thyroid    disorder   in  particular,
 observations    are consistent with findings from several
                                                                    are systemic, causing inflammation               and infiltration be?
 previous   studies.2,22-32 Of the 12 epidemiologic       studies
 that we identified that have evaluated the use of talc in          yond the thyroid (eg infiltrative ophthalmopathy                      and
 relations to ovarian cancer,2,22-32 10 have reported at            dermopathy in Graves disease). There are a variety of
 least some elevation in cancer risk among women. In the            reproductive       manifestations        of hyperthyroidism          that
 most extensive and focused analysis to date, Cook et al.22         have been attributed to thyroid hormonal influences on
                                                                    steroid hormone         metabolism.52        Fertility is impaired,
 analyzed data from 313 cases of ovarian cancer and 422
 controls regarding recalled use of talc products.22 Use in         however,     even   in women      with   ovulatory cycles, and it is
 the perineal area, powder on sanitary napkins, and gen?            possible    that  a  local   inflammatory process may be in?
 ital deodorant spraying were all associated with elevated          volved, although to our knowledge, this has never been
 ovarian cancer risk, whereas, as in our study, use on a            studied. It would have been interesting to have exam?
                                                                    ined the relations between other autoimmune diseases
 diaphragm was not. We found, however, that a small
 number of women used powder on their diaphragm,                    and ovarian cancer, but, we did not ask about other
 thereby limiting the interpretation        of these data. The      autoimmune diseases in this study.
 lack of specificity for the body part on which talc was                We found only a modest elevation in risk associated
 used may be related to the fact that small particles of talc       with pelvic inflammatory disease, whereas the associa?
 often become airborne during use so that a broader area            tion has been more clearly shown in some previous
 of the body may be exposed than that to which the talc             studies.36,37 In our study, however, only about 2% of cases
 was directly applied. Some previous studies have found             and of controls reported previous pelvic inflammatory
 dose-response     or duration-response      relations between      disease and the power to detect the association                       was
 talc use and ovarian cancer,24,27 whereas others have              limited. In contrast, national surveys have suggested that
 not 2,22,31The reasons for this are unclear.                       10% or more of American women report this condition
     Endometriosis, the presence of endometrial tissue out?         during their reproductive lives.53 This discrepancy sug?
 side the endometrium,       causes a marked local inflamma?        gests the possibility that our study participants substan?
 tory reaction. It has been linked to ovarian cancer in a           tially    under-reported         pelvic     inflammatory         disease
 variety of epidemiologic     and clinical studies.33-35,49 Brin?   (which, because of its links to sexually transmitted dis?
 ton et al. assessed cancer outcomes among over 20,000              eases, is more socially sensitive than other exposures
 women hospitalized for endometriosis in Sweden after a             queried in this study) and may account for the lack of a
 mean of 11 years of follow-up.49 Ovarian cancer risk was           clearer study finding.
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     Our data and data from previous studies1,8-18 suggest              technicalassistance fromBarbara KolodiejandLoriBurleigh.Finally,we thank
                                                                                              in the SHAREstudywhosewillingness
                                                                        all of the participants                                   to be interviewed,
  that gynecologic      surgery, in particular tubal ligation,          oftendespitedebilitatingillness,allowedthis studyto be accomplished.
  greatly   reduce  the  risk of ovarian cancer. The following
  observations, taken as a whole, argue against a surveil?
  lance bias whereby abnormal ovaries are removed at the
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  where in ovaries are observed; and (3) laparoscopy does                3. WhittemoreAS, HarrisR, ItnyreJ, Collaborative      OvarianCancerGroup.
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                                                                            US case-control   studies.Am J Epidemiol1992;136:1184-1203.
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  tion, which is generally accomplished         earlier in life, is         B, HennekensCH, SpeizerFE.A prospective        studyof reproductive factors
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                       Exhibit 40
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PERINEAL TALC EXPOSURE AND EPITHELIAL OVARIAN CANCER RISK IN
THE CENTRAL VALLEY OF CALIFORNIA
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   Perineal talc use has been suggested as a possible risk              pure talc may induce granulomas in open wounds.11 Granulomas
factor for ovarian cancer based on its structural similarity to         are also associated with persistent acute inﬂammatory responses.12
asbestos, a known human carcinogen. A population-based                     The role of cornstarch powder on ovarian cancer risk has also
epidemiologic case-control study of epithelial ovarian cancer
(EOC) was conducted in 22 counties of Central California                been evaluated in epidemiologic research and a recent review
that comprise the reporting area for 2 regional cancer reg-             concluded that there is no association between this type of powder
istries. Telephone interviews were conducted with 256 cases             and increased risk of ovarian cancer.13 The conclusion was based
diagnosed in the years 2000 –2001 and 1,122 controls fre-               on a total of 4 case-control studies that elicited information on use
quency-matched on age and ethnicity. The interview ob-                  of cornstarch in perineal dusting, in which the average odds ratio
tained information on demographic factors, menstrual and                was 0.62. However, there were only a total of 20 cases of ovarian
reproductive experience, exogenous hormone use, surgical                cancer combined in those studies and 51 control subjects. Corn-
history and family history of cancer. Questions on perineal             starch is also not thought to exert the same toxicologic reaction in
talc use included frequency of use, duration of use and spe-
ciﬁc years when talc was used. Multivariate-adjusted odds               human tissue as does talc.13
ratio (OR) and 95% conﬁdence intervals (CI) were derived
from unconditional logistic regression. The OR for ever use                                  MATERIAL AND METHODS
of talc was 1.37 (CI ⴝ 1.02–1.85) compared to never users.
However, no dose response association was found. Tubal                     A population-based epidemiologic case-control study of epithe-
ligation (TL) modiﬁed the effect of talc on EOC such that               lial ovarian cancer (EOC) was conducted in 22 counties of Central
women with TL had an OR of 0.88 (CI ⴝ 0.46 –1.68) associ-               California that comprise the reporting area for 2 regional cancer
ated with perineal talc use, whereas women with no TL had               registries. Geographically, these counties make up the majority of
an OR of 1.54 (CI ⴝ 1.10 –2.16). Talc use and EOC risk was
highest in women with serous invasive tumors (OR ⴝ 1.77;                the Central Valley of California, which is the poorest area of the
CI ⴝ 1.12–2.81). This study provides some support for the               state, with many residents living below the poverty level.14 De-
hypothesis that perineal talc use is associated with an in-             mographically, the Valley is a very ethnically diverse area in
creased risk of EOC.                                                    which many counties are over 40% Hispanic. Two population-
© 2004 Wiley-Liss, Inc.                                                 based cancer registries have monitored cancer incidence in the
                                                                        Central Valley of California continuously since 1988: the Cancer
Key words: epidemiology; gynecologic cancer; risk factors
                                                                        Registry of Central California (CRCC) in Fresno and the Cancer
                                                                        Surveillance Program (CSP), Region 3, in Sacramento.15,16 All
   Interest in the relationship between talcum powder and ovarian       newly diagnosed histologically conﬁrmed EOC patients were
cancer risk is based on certain physical properties of talcum           available for inclusion in this study for the years 2000 and 2001.
powder, including the fact that talc is mineralogically similar to         Cases were women-identiﬁed via a rapid case ascertainment
asbestos and that talcum powder manufactured before 1973 may            (RCA) procedure as having been diagnosed with EOC (malignant
have been contaminated with asbestos.1 In animal studies, talc and      neoplasms of the ovary, ICD-O 3 ⫽ C56.9) living in the Central
other similar substances have been demonstrated to migrate from         Valley during a 24-month period from 1 January 2000 through 31
the vagina through the peritoneal cavity to the ovaries.2 Henderson     December 2001. Tumors were designated as borderline if the
et al.3 also observed that particles with the appearance of talc were   behavior code was designated as 1, or if the pathology report
more prevalent in ovarian tumors than in normal ovarian tissue.         described the tumor as borderline, low malignant potential, or
Several epidemiologic studies have investigated perineal use of         atypically proliferating.17 The borderline classiﬁcation was limited
talcum powder as a potential risk factor for ovarian cancer and         to serous and mucinous cell types because ICD-O 3 has no mor-
most have found elevations in risk, although there has been a large     phology code for the borderline classiﬁcation in the other subtypes
range in the risk estimates, from 1.1 to 3.9.4 Collectively, these      and because serous and mucinous tumors make up the majority of
studies point to a possible etiologic role of talc in ovarian cancer    borderline tumors.18 All other tumors were classiﬁed as invasive.
via an inﬂammatory process at the site of the ovarian epithelium,5
although recall bias may play a role in retrospective studies.4
Inﬂammation produces oxidants that are thought to damage DNA              Grant sponsor: the California Cancer Research Program; Grant number:
and Ames et al.6 argue that damage to tumor suppressor genes            98-16022.
caused by the inﬂammatory process leads to carcinogenesis.
Chronic inﬂammation may also result in deregulated cytokine
production, which may result in altered cell growth, inhibition of        *Correspondence to: Cancer Registry of Central California, 1320 E.
                                                                        Shaw Avenue, Suite 160, Fresno, CA 93710. Fax: ⫹559-222-8960.
apoptosis and changes in differentiation.7                              E-mail: mills@ucsfresno.edu
   Cramer et al.8 proposed 2 mechanisms that might explain talc
carcinogenesis. Talc may stimulate the entrapment of the ovarian
surface epithelium, thus mimicking what occurs during ovulation           Received 14 January 2004; Accepted 3 May 2004
and posing a risk similar to that proposed by incessant ovulation.9
Alternatively, if talc is present at the time of ovulation, it may        DOI 10.1002/ijc.20434
become incorporated into the inclusion cyst. It has been suggested        Published online 17 June 2004 in Wiley InterScience (www.interscience.
that foreign-body exposure may result in granulomas10 and that          wiley.com).
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Histologic subtypes were identiﬁed by pathologic report or by                                          RESULTS
ICD-O 3 morphology codes. The histologic subtypes included
                                                                            The regional cancer registries initially identiﬁed a total of 652
were serous, mucinous, endometrioid, clear cell and other epithe-
                                                                         cases of conﬁrmed epithelial ovarian cases residing in the 22
lial/unclassiﬁed. The latter category included unspeciﬁed adeno-
                                                                         county study area diagnosed between 1 January 2000 and 31
carcinomas as well as undifferentiated tumors in which a cell type
                                                                         December 2001. Seventeen cases were excluded due to speaking a
could not be classiﬁed histologically. All newly diagnosed EOCs
                                                                         language other than English or Spanish or due to hearing/speech
of epithelial origin were identiﬁed via RCA methods in which
                                                                         impairment, resulting in 635 cases that met the study criteria.
hospital tumor registrars were asked to provide listings of newly
                                                                         Seventy-six cases died prior to research contact and physicians
diagnosed EOCs within 1 month of diagnosis. A board-certiﬁed
                                                                         refused permission to contact for 10 cases. Forty-one cases were
pathologist reviewed the pathology reports of a sample of cases.
                                                                         too ill to participate in the study and 119 were not contacted due
Physician consent was obtained by mailing the physician of record
                                                                         to incorrect telephone numbers or no answer after repeated efforts.
a letter and informing him/her that an interview with the patient
                                                                         Of the remaining 389 cases, 133 refused to participate, resulting in
was planned. If the physician did not respond within a 3-week
                                                                         256 completed interviews. Therefore, the response fraction was
period, passive consent was assumed. The control group consisted
                                                                         40% among all cases identiﬁed. There were no signiﬁcant differ-
of women 18 years or older selected by random digit dialing
(RDD) techniques who were residents of the area, had not been            ences in age (p ⫽ 0.273) or level of invasiveness between inter-
diagnosed with EOC and had at least one intact ovary at the time         viewed and noninterviewed cases. Histologically, interviewed
of the interview. Controls were frequency matched to cases on age        cases were more likely to be of the serous subtype (57.4% for
and race/ethnicity. The overall data collection period covered a         interviewed cases, 45.6% for noninterviewed cases) and less likely
2-year period, with each respondent being interviewed only once          to be classiﬁed as “other epithelial” (10.5% for interviewed cases;
during this period by telephone. Interviews were conducted with          22% for noninterviewed cases). There was no statistically signif-
both cases and controls on a monthly basis throughout the 2-year         icant difference between interviewed and noninterviewed cases for
period.                                                                  the other histologic subtypes. Information on perineal talc use was
                                                                         missing in 7 cases.
   All cases and controls were approached via an introductory
letter that included a prompt list that described topics the interview      Households with eligible women were identiﬁed through RDD
questions would address. The Institutional Review Board at the           methods, resulting in 2,327 controls identiﬁed and sent an intro-
Public Health Institute approved the study protocol. For both case       ductory letter with a prompt list. Eighty of these women were later
and control groups, letters and prompt lists were sent in either         found not to meet the age requirement and 21 were ineligible due
English or Spanish on the letterhead of the principal investigator.      to residence outside the study area. Ten controls were excluded
Telephone interviews with both case and control respondents were         due to speaking a language other than English or Spanish. Two
conducted by female professional, trained telephone interviewers         hundred ﬁfty-two controls were excluded due to reporting bilateral
in either English or Spanish as preferred by the respondent.             oophorectomy, resulting in 1,964 controls that met the study
                                                                         criteria. Nineteen controls were too ill to participate and 358 were
   The interview obtained information on demographic factors as          later found to have moved, changed phone numbers, or failed to
well as information pertinent to the respondent’s menstrual and          answer after repeated efforts. Of the remaining 1,587 contacted
reproductive experience, use of exogenous hormones, gynecologic          controls, 465 refused to participate, resulting in 1,122 completed
surgical history and family history of cancer. Four questions were       control interviews for a response fraction of 57% for total identi-
asked in regard to the use of talcum powder, including adult use in      ﬁed eligible controls. Information on perineal talc exposure was
the genital area, calendar year(s) of use, frequency of use (i.e.,       missing in 17 controls.
daily, several times a week) and total duration of use. The last 2
questions were used to create a variable reﬂecting— cumulative              Invasive tumors constituted 71.1% of the case series and 28.9% of
use by combining frequency (categorically weighted 0 –3) and             the tumors were of borderline malignancy. Among non-Hispanic
duration (in months) of use.                                             white women, who constituted 74% of the cases, 25.8% were of
                                                                         borderline invasiveness. Overall, 57% of the case series were serous
   Age-adjusted odds ratios were calculated using the Mantel-
                                                                         adenocarcinomas, divided 60% and 40% for invasive and borderline,
Haenszel method.19 Multivariate adjusted odds ratios were calcu-
                                                                         respectively. Mucinous and endometrioid each comprised 14% of the
lated using unconditional logistic regression.20 Initially, multivar-
                                                                         EOC cases. There were slightly more mucinous borderline cases than
iate models were constructed to include age as a continuous
                                                                         invasive cases. Clear cell and other/unclassiﬁed histologies made up
variable and race/ethnicity, duration of use of oral contraceptives,
                                                                         the remaining 5% and 11%, respectively.
duration of breast-feeding, history of breast or EOC in a ﬁrst-
degree relative, pregnancy history, parity, body mass index (BMI),          The demographic characteristics of all cases and controls and
hysterectomy, tubal ligation and duration of hormone replacement         cases and controls stratiﬁed by talc exposure are shown in Table I.
therapy use as categorical variables. However, the Hosmer-Lem-           Matching was successful and cases and controls were similar in
show goodness-of-ﬁt tests revealed that after terms for duration of      age and ethnicity. Controls were less likely to have ﬁnished high
oral contraceptive use and duration of breast-feeding were added         school but more likely to have an education beyond high school. A
to the models, ﬁt was not improved by the addition of the other          somewhat larger proportion of the case series were single (12.5%)
variables listed above. Nor were the estimated odds ratios altered       compared to the control series (10.0%). Control women were more
by the addition of the several variables listed above. Therefore, in     likely to have been born outside of the United States (16.8%) than
the interest of parsimony, the ﬁnal models chosen for the analysis       were cases (12.9%).
included terms for age, race/ethnicity, oral contraceptive use and          A total of 42.6% of EOC cases reported ever use of talcum powder
breast-feeding. Interaction was assessed by comparing stratum-           in the perineal area while 37.1% of control women reported such a
speciﬁc odds ratios. If the stratum-speciﬁc odds ratios differed by      history. Case women using talc were slightly older at interview than
more than 100%, interaction was also assessed by including ﬁrst-         controls. Women in the oldest age group used talc less than younger
order cross product terms into the logistic model and examining          women, much more so for control women than case women. White
the signiﬁcance of the interaction coefﬁcient. Tests for trend were      non-Hispanic women were more likely to use talc than their Hispanic
conducted for variables that were ordinal in nature by recoding the      counterparts. Talc use was higher in both white non-Hispanic and
categories into continuous form and evaluating the Wald statistic        Hispanic cases compared to controls but this pattern was not seen in
associated with the resulting coefﬁcient. Confounding was as-            the “other” ethnic category. Talc use was also associated with a higher
sessed by examining the differences in the crude, age-adjusted and       education level. Talc use was higher in both cases and controls with
multivariate-adjusted odds ratios.                                       birthplace in the United States.
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                        TABLE I – DESCRIPTIVE CHARACTERISTICS OF EOC CASES AND CONTROLS IN CALIFORNIA’S CENTRAL
                                                   VALLEY BY TALC EXPOSURE, 2000 –2001
                                                                          Cases                                           Controls
                              Characteristic                       1           Talc exposure,                      1            Talc exposure,
                                                           Total                                           Total
                                                                                   n (%)                                            n (%)

                    Number of subjects                     249                    106 (42.6)             1105                    410 (37.1)
                    Mean age at interview                   56.6                    56.6                   55.0                    53.7
                    Age group (%)
                      ⬍ 40                                  20                      7 (35.0)              112                     43 (38.4)
                      40–49                                 66                     34 (51.5)              317                    121 (38.2)
                      50–59                                 57                     20 (35.1)              268                    113 (42.2)
                      60–69                                 56                     25 (44.6)              211                     82 (38.9)
                      ⱖ 70                                  50                     20 (40.0)              197                     51 (25.9)
                    Ethnicity (%)
                      White non-Hispanic                   187                     85 (45.5)              802                    317 (39.5)
                      Hispanic                              42                     15 (35.7)              201                     54 (26.9)
                      Other                                 20                      6 (30.0)              102                     39 (38.2)
                    Education (%)
                      ⬍ high school graduate                33                     13 (39.4)              208                     60 (28.8)
                      High school graduate                  84                     34 (40.5)              261                     99 (37.9)
                      ⬎ high school graduate               130                     59 (45.4)              635                    251 (39.5)
                    Marital status (%)
                      Single                                32                     11 (34.4)              111                     40 (36.0)
                      Married                              133                     59 (44.4)              670                    246 (36.7)
                      Divorced/separated                    40                     17 (42.5)              175                     77 (44.0)
                      Widowed                               44                     19 (43.2)              145                     46 (31.7)
                    Birthplace (%)
                      In United States                     216                     96 (44.4)              919                    379 (41.2)
                      Outside United States                 33                     10 (30.3)              186                     31 (16.7)
                    1
                        Numbers may not add up to total cases and controls due to missing data.


                    TABLE II – FREQUENCIES, MULTIVARIATE-ADJUSTED ODDS RATIOS AND 95% CONFIDENCE INTERVALS FOR
                     PATTERNS OF TALC USE FOR EOC CASES AND CONTROLS, CENTRAL VALLEY OF CALIFORNIA, 2000 –2001
                                                                            Cases (%)           Controls (%)           Multivariate-adjusted OR
                                    Patterns of talc use                   (n ⫽ 256)1           (n ⫽ 1,122)1                  (95% CI)

                     Talc use
                       Never                                              143 (57.4)            695 (62.9)                     1.0
                       Ever                                               106 (42.6)            410 (37.1)              1.37 (1.02–1.85)
                     Frequency of use
                       Never                                              143 (57.4)            695 (63.2)                     1.0
                       Rarely to several times per month                   34 (13.7)            138 (12.5)              1.34 (0.87–2.08)
                       1–3 times per week                                  31 (12.4)            145 (13.2)              1.16 (0.74–1.81)
                       4–7 times per week                                  41 (16.5)            122 (11.1)              1.74 (1.14–2.64)
                                                                                                                        Trend p ⫽ 0.015
                     Duration of use
                       Never                                              143 (58.9)            695 (64.2)               1.0 (referent)
                       ⱕ 3 years                                           18 (7.4)              99 (9.2)               1.01 (0.58–1.76)
                       4–12 years                                          32 (13.2)             98 (9.1)               1.86 (1.16–2.98)
                       13–30 years                                         29 (11.9)            102 (9.4)               1.45 (0.90–2.32)
                       ⬎ 30 years                                          21 (8.6)              88 (8.1)               1.22 (0.72–2.08)
                                                                                                                        Trend p ⫽ 0.045
                     Cumulative use (frequency ⫻ duration)
                       Never                                              143 (58.9)            695 (64.4)               1.0 (referent)
                       First quartile (lowest exposure)                    18 (7.4)              95 (8.8)               1.03 (0.59–1.80)
                       Second quartile                                     28 (11.5)             95 (8.8)               1.81 (1.10–2.97)
                       Third quartile                                      34 (14.0)            107 (9.9)               1.74 (1.11–2.73)
                       Fourth quartile (highest exposure)                  20 (8.2)              88 (8.1)               1.06 (0.62–1.83)
                                                                                                                        Trend p ⫽ 0.051
                    Adjusted for age, race/ethnicity, duration of oral contraceptive use and breast feeding. 1Numbers may
                  not add up to total cases and controls due to missing data.

   Ever use of talcum powder in the genital area was associated                ing longer duration of use (p for trend ⫽ 0.045). Cumulative use
with a 37% elevation in risk of EOC, which was statistically                   also demonstrated an uneven association with risk of EOC in that
signiﬁcant (Table II). Increasing frequency of use was associated              the point estimates peaked in the second and third quartiles of
with increasing risk such that those women who reported use 4 –7               intensity but declined in the highest quartile of use.
times per week experienced a signiﬁcant 74% elevation in EOC
                                                                                  The multivariate adjusted odds ratios were elevated primarily
risk (p for trend ⫽ 0.015). However, this was not a monotonic
trend in that risk decreased between the second and third catego-              among those with a serous or mucinous invasive tumor and were
ries of use (from 1.34 to 1.16). Duration of use of talcum powder              lower among women with other cell types or with borderline tumors
was associated with increased risk, although the pattern was also              (Table III).
not clear-cut in that the point estimate peaked among those report-               Risk of EOC associated with use of talcum powder was higher
ing 4 –12 years of use and declined somewhat among those report-               and statistically signiﬁcant in those who reported ﬁrst using pow-
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                                                             PERINEAL TALC EXPOSURE                                                        461
                   TABLE III – FREQUENCIES, MULTIVARIATE-ADJUSTED ODDS RATIOS AND 95% CONFIDENCE INTERVALS FOR
                   PERINEAL TALC USE AND EOC RISK BY INVASIVENESS AND HISTOLOGIC SUBTYPE, CENTRAL VALLEY OF
                                                         CALIFORNIA, 2000 –2001

                                                                 Cases (%)          Controls (%)       Multivariate-adjusted OR
                             Histologic subtype                 (n ⫽ 256)1          (n ⫽ 1,122)1              (95% CI)

                    All invasive (n ⫽ 182)1
                      ⫺ perineal talc use                       98 (55.7)           696 (62.9)            1.0 (referent)
                      ⫹ perineal talc use                       78 (44.3)           410 (37.1)           1.51 (1.07–2.12)
                    Serous invasive (n ⫽ 92)1
                      ⫺ perineal talc use                       46 (52.3)           696 (62.9)            1.0 (referent)
                      ⫹ perineal talc use                       42 (47.7)           410 (37.1)           1.77 (1.12–2.81)
                    Mucinous invasive (n ⫽ 16)
                      ⫺ perineal talc use                        6 (37.5)           696 (62.9)            1.0 (referent)
                      ⫹ perineal talc use                       10 (62.5)           410 (37.1)           2.56 (0.89–7.39)
                    Endometrioid (n ⫽ 35)
                      ⫺ perineal talc use                       21 (60.0)           696 (62.9)            1.0 (referent)
                      ⫹ perineal talc use                       14 (40.0)           410 (37.1)           1.28 (0.62–2.62)
                    Clear cell (n ⫽ 12)1
                      ⫺ perineal talc use                        8 (72.7)           696 (62.9)            1.0 (referent)
                      ⫹ perineal talc use                        3 (27.3)           410 (37.1)           0.63 (0.15–2.64)
                    Other epithelial (n ⫽ 27)1
                      ⫺ perineal talc use                       17 (65.4)           696 (62.9)            1.0 (referent)
                      ⫹ perineal talc use                        9 (34.6)           410 (37.1)           1.06 (0.45–2.48)
                    All borderline (n ⫽ 74)1
                      ⫺ perineal talc use                       45 (61.6)           696 (62.9)            1.0 (referent)
                      ⫹ perineal talc use                       28 (38.4)           410 (37.1)           1.09 (0.65–1.83)
                    Serous borderline (n ⫽ 55)1
                      ⫺ perineal talc use                       32 (59.3)           696 (62.9)            1.0 (referent)
                      ⫹ perineal talc use                       22 (40.7)           410 (37.1)           1.28 (0.71–2.31)
                    Mucinous borderline (n ⫽ 19)
                      ⫺ perineal talc use                       13 (68.4)           696 (62.9)            1.0 (referent)
                      ⫹ perineal talc use                        6 (31.6)           410 (37.1)           0.76 (0.28–2.07)
                    Adjusted for age, race/ethnicity, duration of oral contraceptive use and breast feeding. 1Numbers may
                  not add up to total cases and controls due to missing data.


                   TABLE IV – FREQUENCIES, MULTIVARIATE-ADJUSTED ODDS RATIOS AND 95% CONFIDENCE INTERVALS FOR
                     PERINEAL TALC USE AND EOC RISK BY TIMING OF USE, CENTRAL VALLEY OF CALIFORNIA, 2000 –2001
                                                                   Cases (%) (n       Controls (%)      Multivariate-adjusted OR
                                Timing of talc use                   ⫽ 256)1          (n ⫽ 1,122)1             (95% CI)

                     Year of ﬁrst use
                       Never use                                  143 (59.1)          695 (65.6)          1.0 (referent)
                       Before/during 1975                          52 (21.5)          206 (19.4)         1.22 (0.84–1.77)
                       After 1975                                  47 (19.4)          149 (15.0)         1.92 (1.27–2.91)
                     Age at ﬁrst use
                       Never use                                  143 (59.1)          695 (65.7)          1.0 (referent)
                       ⬍ 20 years                                  30 (12.4)          169 (16.0)         0.95 (0.61–1.48)
                       20–24 years                                 26 (10.7)           61 (5.8)          2.41 (1.43–4.09)
                       ⱖ 25 years                                  43 (17.8)          133 (12.6)         1.80 (1.19–2.73)
                     First use before or after ﬁrst birth2
                       Never use                                  113 (59.2)          631 (65.6)          1.0 (referent)
                       Use at or prior to ﬁrst birth               36 (18.8)          229 (23.8)         0.98 (0.64–1.48)
                       Use after ﬁrst birth                        42 (22.0)          102 (10.6)         2.51 (1.63–3.87)
                     Years since last use
                       Never use                                  143 (59.1)          695 (65.6)          1.0 (referent)
                       Current users                               32 (13.2)          133 (12.5)         1.27 (0.81–1.98)
                       1–2 years                                   27 (11.2)           61 (5.8)          2.40 (1.43–4.05)
                       3–20 years                                  20 (8.3)            83 (7.8)          1.57 (0.90–2.73)
                       ⬎ 20 years                                  20 (8.3)            88 (8.3)          1.13 (0.66–1.94)
                    Adjusted for age, race/ethnicity, duration of oral contraceptive use and breast feeding. 1Numbers may
                  not add up to total cases and controls due to missing data.–2Parous women only.


der after 1975 compared to those reporting use prior to that date            talcum powder relatively recently (1–2 years prior to interview),
(Table IV). Higher risk was found among those reporting ﬁrst use             while those who reported last using powders in the more distant
at ages after age 20 compared to those who were younger at ﬁrst              past did not experience altered risk.
use (Table IV). In addition, risk was elevated among those women                An evaluation of effect modiﬁcation of the talcum powder-EOC
who used talcum powder only after the birth of their ﬁrst child,             relationship by gynecologic surgery, reproductive history, exoge-
while no effect was seen among those whose ﬁrst use occurred                 nous hormone use and BMI is presented in Table V. Women
before their ﬁrst child was born.                                            without a tubal ligation experienced higher talcum powder-asso-
   In an attempt to assess latency issues, we evaluated risk of EOC          ciated risks than women with a tubal ligation and this result was
by categorizing participants by the numbers of years since last              statistically signiﬁcant (OR ⫽ 1.54; 95% CI ⫽ 1.10 –2.16). The
reported use of talcum powder (Table IV). The highest and sig-               interaction coefﬁcient for the relationship between talc use and
niﬁcant risks were found among women who had stopped using                   tubal ligation was not statistically signiﬁcant. There was no mod-
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                      TABLE V – FREQUENCIES, MULTIVARIATE-ADJUSTED ODDS RATIOS AND 95% CONFIDENCE INTERVALS FOR
                        TALC USE AND RISK OF EOC BY LEVELS OF MODIFIERS IN THE CENTRAL VALLEY OF CALIFORNIA,
                                                                2000 –2001

                                                                                                           Multivariate-adjusted OR
                                                    Cases (n ⫽ 256)1           Controls (n ⫽ 1,122)1              (95% CI)

                       Tubal ligation
                         Never talc use                 29 (56.9)                  161 (54.9)                1.0 (referent)
                         Ever talc use                  22 (43.1)                  132 (45.1)               0.88 (0.46–1.68)
                       No tubal ligation
                         Never talc use               113 (57.4)                   531 (65.8)                1.0 (referent)
                         Ever talc use                 84 (42.6)                   276 (34.2)               1.54 (1.10–2.16)
                       Hysterectomy2
                         Never talc use                 27 (50.0)                  117 (58.8)                1.0 (referent)
                         Ever talc use                  27 (50.0)                   82 (41.2)               1.79 (0.91–3.52)
                       No hysterectomy3
                         Never talc use               116 (59.5)                   576 (63.7)                1.0 (referent)
                         Ever talc use                 79 (40.5)                   328 (36.3)               1.33 (0.95–1.87)
                       Ever pregnant
                         Never talc use               118 (55.9)                   648 (63.0)                1.0 (referent)
                         Ever talc use                 93 (44.1)                   381 (37.0)               1.44 (1.05–1.97)
                       Never pregnant
                         Never talc use                 25 (65.8)                     47 (62.7)              1.0 (referent)
                         Ever talc use                  13 (34.2)                     28 (37.3)             0.93 (0.37–2.34)
                       Ever parous4
                         Never talc use               113 (57.4)                   633 (62.7)                1.0 (referent)
                         Ever talc use                 84 (42.6)                   376 (37.3)               1.34 (0.97–1.85)
                       Nulliparous4
                         Never talc use                  5 (35.7)                     15 (75.0)              1.0 (referent)
                         Ever talc use                   9 (64.3)                      5 (25.0)             4.91 (0.68–35.25)
                       Ever OC use
                         Never talc use                 72 (51.4)                  422 (57.7)                1.0 (referent)
                         Ever talc use                  68 (48.6)                  309 (42.3)               1.26 (0.86–1.83)
                       Never OC use
                         Never talc use                 71 (65.1)                  272 (72.9)                1.0 (referent)
                         Ever talc use                  38 (34.9)                  101 (27.1)               1.63 (1.0–2.64)
                       HRT5
                         Never talc use                 54 (52.4)                  220 (59.9)                1.0 (referent)
                         Ever talc use                  49 (47.6)                  147 (40.1)               1.41 (0.89–2.24)
                       No HRT6
                         Never talc use                 89 (62.2)                  472 (64.4)                1.0 (referent)
                         Ever talc use                  54 (37.8)                  261 (35.6)               1.30 (0.87–1.93)
                       BMI ⬍ 25
                         Never talc use                 55 (63.2)                  311 (66.5)                1.0 (referent)
                         Ever talc use                  32 (36.8)                  157 (33.5)               1.23 (0.74–2.04)
                       BMI ⱖ 25
                         Never talc use                 85 (53.5)                  358 (59.1)                1.0 (referent)
                         Ever talc use                  74 (46.5)                  248 (40.9)               1.36 (0.92–1.99)
                      Adjusted for age, race/ethnicity, duration of oral contraceptive use and breast feeding. 1Numbers may
                    not add up to total cases and controls due to missing data.–2Includes women with ⱖ 2 years since
                    hysterectomy.–3Includes women with ⬍ 2 years since hysterectomy.–4Gravida women only.–5Includes
                    women with one or more years of use.–6Includes women with never use or ⬍ 1 year of use.


iﬁcation within categories of prior hysterectomy, however. Higher              less than or equal to 50 years of age. In the present study, cases less
risks were observed among those who were ever pregnant com-                    than 50 years of age were more likely to have used talc versus women
pared to those who were never pregnant. Talcum powder-associ-                  50 years or older (47.7% and 39.9%, respectively). Different ﬁndings
ated risk was not different within the parous and nulliparous.                 in talc use patterns between the present study and previous studies
Talcum powder-associated risk was higher (and signiﬁcant) in                   may be explained by differences in study locations, study time periods
women who never used oral contraceptives; however, the interac-                and age categories. Frequency of use in the current study was similar
tion coefﬁcient was not statistically signiﬁcant. Neither BMI or               for both the younger and older groups in controls (38.2% and 36.4%,
hormone replacement therapy (HRT) use appeared to modify the                   respectively).
relationship of talc use and EOC risk.                                            Talc use was higher in white non-Hispanics compared to His-
                                                                               panics in this study. However, the pattern of increased use in EOC
                                                                               cases for both groups contributed to the overall increased risk of
                               DISCUSSION                                      EOC among talc users. Differential talc use by various ethnic
   The prevalence of talc use among controls in our study (37.1%) is           groups and its relation to EOC risk has not, to our knowledge, been
similar to the average percentage of use among the control popula-             evaluated previously.
tions in a review of 14 studies (36.8% calculated from data presented             As in other studies,21,25 we found that talc use increased with
in original study).21 In the current analysis as in others,11,21–24 a larger   education level, although one earlier study reported the opposite
percentage of cases versus controls reported perineal exposure to talc.        ﬁnding.24 Other studies have compared talc use in ever married to
We found a slight trend of decreasing use with increasing age in               never married women and found either similar use in both groups for
control women but our ﬁndings were not as strong as those noted by             cases and controls21 or increased frequency of use in ever married
Rosenblatt et al.25 Other studies21,24 have found increased use in both        women.24 In the current analysis, talc exposure was 43.8% for ever
cases and controls over 50 years of age compared to their counterparts         married cases versus 34.4% for never married cases. However, fre-
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quency of use was similar between ever married and never married          ﬁndings of increased risk in adult women support the hypotheses
controls (37.2% and 36.0%, respectively). There was much greater          of increased EOC risk with talc exposure during ovulatory periods
use of talc among those born in the United States versus those born       and in parous reproductive tracts.
outside it.                                                                  Cramer et al.21 found that EOC risk was increased in parous
    The odds ratio comparing ever use to never use in this study          women with talc use occurring before ﬁrst birth, suggesting that
(OR ⫽ 1.37; CI ⫽ 1.02–1.85) is similar to the results of a recent         prepregnancy ovarian tissue may be more vulnerable to talc dam-
metaanalysis that pooled 16 studies (summary RR ⫽ 1.33; CI ⫽              age because it has not undergone stromal differentiation (decidual
1.16 –1.45).4 When stratiﬁed by hospital- versus population-based         reaction that occurs during pregnancy). However, their reference
studies, the population studies had a summary relative risk of 1.38       group was all parous women. In this analysis, we stratiﬁed parous
(1.25–1.52).                                                              women by never use, use before ﬁrst birth and use after ﬁrst birth.
    Cornstarch use and ovarian cancer has been evaluated in a small       We found increased risk after ﬁrst pregnancy. Anatomical changes
number of case-control studies11,21,22,26 and have been reviewed          in the genital tract after pregnancy may increase the possibility of
with the conclusion that no relationship exists between cornstarch        talc migration to the ovaries.28 Harlow et al.24 suggest that preg-
and EOC, although the number of study participants using corn-            nancy may increase risk due to its effect of increasing the size of
starch versus talc was small.13 Our study was not able to differ-         the cervical opening into the uterus. In the current study, perineal
entiate between use of perineal powders containing talc and those         talc use had no apparent impact on EOC risk among those women
containing cornstarch, which may have driven the odds ratio               who had never been pregnant and parity was difﬁcult to evaluate
toward the null. Type of application, including direct application        because of the small number of nulliparous women. In 2 prospec-
on the perineum, or indirect exposure from dusting sanitary nap-          tive studies of talc use and EOC risk, there was no signiﬁcant
kins, underwear and diaphragms (storage) was also not assessed.           difference in parity between users and nonusers of talc.25,27
    As in other studies,4 the present study did not ﬁnd a clear dose         Harlow et al.24 reported a signiﬁcant increase in EOC risk if
response based on duration of use or cumulative use. Limiting the         perineal talc use occurred in the last 6 months. We also found that
analysis of dose response to women who reported ever use of talc          recent users were at increased risk (even when we controlled for
did not affect the results (data not shown). The lack of dose             duration of use). It is noteworthy that a signiﬁcant latency effect is
response between talc use and EOC may be explained by the                 well documented for asbestos exposure and development of both
inability to quantify the actual amount of talc used per application      pleural and peritoneal mesotheliomas29 while there appears to be no
and timing of the application.21 Cramer et al.21 propose that             latency with talcum powder. The asbestos association has been re-
application during ovulation may pose more risk due to the pos-           ported from an occupational cohort mortality study where exposure is
sibility of talc entrapment in inclusion cysts. Harlow et al.24 found     indirect and not the result of direct application, as is the case for
little change in odds ratios after excluding use after tubal ligation     talcum powder.30 This may explain the differences between observed
or hysterectomy in their estimate of total lifetime perineal talc         patterns of latency for asbestos and talcum powder. Additionally, risk
applications. However, when they excluded nonovulatory periods            of EOC with talc use may not be due to talc’s chemical similarity to
of exposure in their calculation, there was signiﬁcant increase in        asbestos but rather due to the ovary’s unique function, resulting in
risk. We were unable to exclude nonovulatory periods and talcum           vulnerability to carcinogenesis from particulates such as talc.8 In a
powder use after gynecologic surgery in our cumulative use cal-           study of gynecologic surgery and EOC, Green et al.31 found that
culations.                                                                women reporting fallopian tubal occlusion, through tubal ligation or
    Our analysis found that talc use and EOC risk varied by histo-        hysterectomy, were at decreased risk for developing EOC. They
logic subtype, as have others who found that exposure to talc is a        concluded that surgical tubal occlusion decreased EOC risk by pre-
signiﬁcant risk for invasive tumors22 and speciﬁcally for serous          venting contaminants from reaching the ovary. Ness and Cottreau32
invasive tumors.21 Cook et al.11 also found an increased risk of          proposed that the inﬂammatory response of the ovarian epithelium to
serous tumors (including both invasive and borderline) in talc            various irritants may result in ovarian mutagenesis, tumor growth and
users versus nonusers. Gertig et al.27 have suggested that there are      tumor invasiveness. Cramer et al.21 reported no association between
pathologic similarities between serous adenocarcinomas and me-            EOC risk and talc use in women with a tubal ligation; however, risk
sothelioma that may explain ﬁndings of increase risk for serous           remained nonsigniﬁcantly elevated in women with a hysterectomy. A
invasive tumors in talc users. Harlow et al.24 reported a signiﬁcant      recent prospective study27 found that EOC risk in talc users was not
increase in risk of either endometrioid or borderline tumors with         modiﬁed by either tubal ligation or hysterectomy. The analysis was
talc use and suggest that variation in risk among histologic sub-         not able to determine the timing of talc use (before or after surgery).
types may be due to chance or a foreign-body effect unique to             In a hospital-based case-control study, Wong et al.33 found that risk of
speciﬁc subtypes.                                                         EOC with talc use was increased in women without gynecologic
    In a study of the mineral and chemical characterization of            surgery and decreased in women with a history of tubal ligation or
consumer talcum powder formulated prior to June 1973, almost              hysterectomy but neither ﬁnding was signiﬁcant. They also were
half of the samples tested contained 1 of the 3 asbestos group            unable to delineate use before or after gynecologic surgery. Tubal
minerals.1 In 1976, talcum powder manufacturers instituted vol-           ligation may limit a woman’s exposure to contaminants more than
untary guidelines to prevent asbestos contamination in talc prod-         hysterectomy since it is usually performed earlier in a woman’s
ucts,24 but we did not ﬁnd an increase in EOC risk with talc use on       reproductive history, while she is still ovulating.34
or before 1975; rather, we found that risk of EOC increased with             Oral contraceptives (OCs) act by suppression of ovulation and
use after 1975, which may be related to the recency of use. Harlow        the fact that elevated risks were found in those talcum powder
et al.24 observed ovarian cancer risk was increased in women using        users that never used OCs in this study suggests that uninterrupted
talc products before 1960, although Chang and Risch22 found no            ovulation with associated formation of inclusion cysts may en-
relationship between risk and use either before or after 1970.            hance the impact that talcum powder may have on ovarian carci-
    In the current analysis, a statistically signiﬁcant increase in EOC   nogenesis. Unlike our study, however, Cramer et al.21 and Harlow
risk occurred with ﬁrst use after age 20 compared to ﬁrst use at          et al.24 reported that OCs had no effect on talc use and EOC risk.
younger ages. Controlling for recency of use did not change this          A prospective study of talc use and ovarian cancer also found that
ﬁnding. Other studies have reported either no trend with age at ﬁrst      the prevalence of OC use was similar in both users and nonusers
use21 or increased risk of EOC with ﬁrst use at younger than age          of talc. However, these studies also reported lower percentages of
20 and older than age 25.24 Disagreement in ﬁndings between               OC use among both cases and controls (talc users and nonusers)
studies may be due to differences in age distributions and talc use       than was found in the present study.
patterns among study participants. Although we cannot directly               Our analysis found that BMI did not modify the risk associated
assess risk during ovulatory versus nonovulatory periods, our             with talc use and EOC in agreement with Cramer et al.21 Talc use
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was greater in women with a high versus low BMI for both cases                exclusively. The present analysis was also limited due to our inability
and controls but the difference was not signiﬁcant. Rosenblatt et             to exclude use during nonovulatory periods and posttubal ligation or
al.25 in a prospective study found that women in the highest BMI              hysterectomy, nor were we able to differentiate between various
quartile were more likely to use perineal talc. They concluded that           formulations.
since some studies have found an increased risk for ovarian cancer               Research has provided little biologic or experimental evidence to
in obese women, BMI may be a confounder of talc use and ovarian               support a relationship between talcum powder use and ovarian cancer
cancer risk. Harlow et al.,24 however, reported no differential use           risk. However, given the suggestive though uncertain role of talcum
of talc between leaner and heavier controls.                                  powder and EOC found in epidemiologic studies, including the
   There are several limitations to this study that may limit interpre-       present study, users should exercise prudence in reducing or elimi-
tation of the ﬁndings. The sample size was relatively small and the           nating use. In this instance, the precautionary principle should be
response fraction lower than ideal. However, we have observed the             invoked, especially given that this is a serious form of cancer, usually
same or similar relationships in our study between several risk factors       associated with a poor prognosis, with no current effective screening
such as OC use and parity, as has been observed in several earlier            tool, steady incidence rates during the last quarter century and no
studies. Recall bias has also been implicated as a limitation in studies      prospect for successful therapy. Unlike other forms of environmental
of talc and ovarian cancer.35 However, ﬁndings in a prospective study,        exposures, talcum powder use is easily avoidable.
the Nurses’ Health Study, in which exposure data were collected prior
to diagnosis and hence free of recall bias, were similar to the present                               ACKNOWLEDGEMENTS
study ﬁnding for talc use and serous invasive ovarian cancer.27 It has
also been suggested that use of talc is habitual versus memorable and            The authors gratefully acknowledge the contributions of the
not likely to be subject to recall bias.35 Huncharek et al.4 suggested        physicians and tumor registrars who assisted in the study. They
that the positive relationship between talc use and EOC risk found in         also thank the efforts of Jeanne Grunwald and Nandini Krish-
a review of epidemiologic studies may also be explained by a treat-           naswamy of the Field Research Corporation in the data collection
ment effect in prevalent cases. The present study used incident cases         phase and Dr. Gordon Honda for pathology consultation.

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                       Exhibit 41
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                                                                                                                     FERTILITY AND STERILITY威
                                                                                                                         VOL. 82, NO. 1, JULY 2004
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                                 Hormonal factors and the risk of invasive
                                 ovarian cancer: a population-based case-
                                 control study
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                                 Wendy Cozen, D.O., Peggy Wan, M.S., and Anna H. Wu, Ph.D.

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                                 Objective: To examine the influence of hormone-related factors on the risk of invasive epithelial ovarian
                                 cancer (ovarian cancer).
                                 Design: Population-based case– control study using in-person interviews.
                                 Setting: Academic department of preventive medicine.
                                 Patient(s): Four hundred seventy-seven ovarian cancer patients and 660 controls.
                                 Intervention(s): None.
                                 Main Outcome Measure(s): Numbers of and ages at births, oral contraceptive use, and use of menopausal
Received September 23,           hormone therapy.
2003; revised and                Result(s): Compared with nulliparous women, women whose only (last) birth was after age 35 years had an
accepted March 9, 2004.
                                 estimated 51% (95% confidence interval: 21%–70%) reduction in risk. If this birth occurred earlier, the
Supported by Public Health       reduction in risk was progressively less. Additional (earlier) births reduced the risk further. Oral contraceptive
Service (Bethesda, MD)
                                 use also reduced risk. Increased body mass index increased risk, but this effect was confined to localized
grants CA 17054, CA
14089, CA 61132, and             disease and is likely to be a diagnostic bias, as a consequence of other problems associated with being
N01-PC-67010 (National           overweight and in itself having no etiological significance.
Cancer Institute) and by         Conclusion(s): If the major protective effect of a late birth can be confirmed, our most challenging task will
subcontract 050-E8709            be to understand the mechanism to develop a chemoprevention approach to exploit this finding. (Fertil Steril威
from the California Public       2004;82:186 –95. ©2004 by American Society for Reproductive Medicine.)
Health Institute (Oakland,
CA), which is supported by       Key Words: Ovarian cancer, parity, estrogen therapy, oral contraceptives
the California Department
of Health Services as part
of its statewide cancer             Epidemiological studies have consistently                   Since that time, a number of epidemiologi-
reporting program
mandated by Health and           found that the risk of invasive epithelial ovar-           cal and experimental findings have demon-
Safety Code Sections 210         ian cancer (ovarian cancer) is significantly de-           strated that the incessant-ovulation hypothesis
and 211.3.                       creased with increasing numbers of births, and             does not provide a comprehensive explanation
The ideas and opinions
expressed herein are those       Fathalla (1) proposed that the mechanism of                of the etiology of ovarian cancer. These find-
of the authors, and no           this effect was the interruption of the tearing of         ings include a greater reduction in risk with
endorsement by the State         the ovarian surface epithelium (OSE) with each             first birth than with subsequent births (6), a
of California or the
California Public Health         ovulation (the incessant-ovulation hypothesis).            greater reduction in risk with any birth than
Foundation is intended or        The OSE is regarded by most, but not all, pathol-          with a year of OC use (6), a continued rise in
should be inferred.
                                 ogists as the tissue of origin of ovarian cancer (2),      incidence with age after menopause (7), and a
Reprint requests: Malcolm
C. Pike, Ph.D., USC/Norris       and it was the increased cell division of the              much lower ovarian cancer rate in “traditional”
Comprehensive Cancer             OSE that is involved in the repair of the surface          Japanese women than would be predicted by
Center, 1441 Eastlake
Avenue, NOR4436, Los
                                 after each ovulation that was presumed to be a             the hypothesis. The experimental finding of a
Angeles, California 90033        major factor increasing ovarian cancer risk.               stimulatory effect of estrogen (E) on benign
(FAX: 323-865-0125; E-           The initial epidemiological findings of a signif-          ovarian tumor cells but an inhibitory effect of
mail: mcpike@usc.edu).
                                 icant protective effect of oral contraceptive              progesterone (8) suggests a possible unifying
0015-0282/04/$30.00              (OC) use (3–5) appeared to provide further                 hypothesis for the etiology of ovarian cancer
doi:10.1016/j.fertnstert.2004.
03.013                           support for the incessant-ovulation hypothesis.            (8, 9).


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   We report here our investigations of these issues in a large        Controls were English-speaking non-Asian women with
population-based case– control study conducted in Los An-          at least one intact ovary, individually matched with patients
geles.                                                             on race and ethnicity (African-American, Latina, non-Latina
   Epidemiological studies of epithelial ovarian cancer fre-       White) and date of birth (⫾3 years). Initially, a neighbor-
quently include low malignant potential tumors with inva-          hood control was sought by one of our staff who physically
sive tumors without distinction. We have not done this here,       canvassed the neighborhood using a systematic algorithm
because molecular genetic studies suggest that such tumors         based on the address of the patient. If the first eligible match
are not part of a disease continuum but represent separate         refused to participate, the second eligible match in the se-
disease entities, and their age incidence is radically different   quence was asked, and so on. Letters were left when no one
(10).                                                              was home, and follow-up by mail, telephone, and further
                                                                   visits to the neighborhood continued until either an eligible
                                                                   control agreed to be interviewed or 150 housing units had
         MATERIALS AND METHODS                                     been screened. For patients aged ⬎65 years, if no willing
   The study was approved by the institutional review board        control could be found in the first 100 housing units, a
of the Keck School of Medicine of the University of South-         control was simultaneously sought among a random sample
ern California. Informed consent was obtained from each            of female residents of Los Angeles County aged ⬎65 years
patient and control before her interview.                          who were provided to us by the Health Care Financing
                                                                   Administration. The Health Care Financing Administration
Patient and Control Selection                                      control was matched on the patient’s zip code, race and
   Eligible patients were English-speaking non-Asian fe-           ethnicity, and date of birth (closest to that of the patient).
male residents of Los Angeles County who had histologi-
                                                                      When the control had an ovary-sparing hysterectomy
cally confirmed ovarian cancer or borderline (low malignant
                                                                   before her reference date (12 months before the diagnosis of
potential; LMP) ovarian tumors that were first diagnosed
                                                                   her matching patient) but was matched with a patient who
between 18 and 74 years of age, from October 1992 through
                                                                   had not had a hysterectomy, a second control who had not
October 1998. Patients and controls with previously diag-
                                                                   had a hysterectomy by that date was sought. Altogether, 664
nosed cancer (except nonmelanoma skin cancer) were not
                                                                   controls were successfully interviewed by the closing date of
eligible. The reason for excluding such women is that treat-
                                                                   the study. The first eligible match was interviewed for 70%
ment for a previous cancer may delay the appearance of an
                                                                   of the patients, and the second match, for another 21%. At
ovarian cancer or alternatively lead to its earlier diagnosis.
                                                                   the termination of the study, 530 of the interviewed patients
The latter phenomenon was clearly seen in our case identi-
                                                                   were matched with at least 1 interviewed control, 136 of the
fication, in which 31 ovarian tumors were diagnosed during
                                                                   interviewed patients had no matching interviewed control,
the workup of another cancer (most commonly endometrial
                                                                   and 104 interviewed controls were matches for patients who
cancer); these cases are not included in the numbers given in
                                                                   had not been successfully interviewed or turned out to be
the next paragraph. The cases were identified by the Cancer
                                                                   ineligible. In total, 30% of eligible controls identified de-
Surveillance Program, the cancer registry covering all resi-
                                                                   clined to be interviewed (the same proportion as that of first
dents of Los Angeles County. Patients with borderline en-
                                                                   eligible controls declining to be interviewed).
dometrioid tumors were excluded from the study because
this subtype is classified as a benign tumor by the Interna-          This report is confined to ovarian cancer patients, but use
tional Agency for Research on Cancer and is not ascertained        is made of all interviewed controls.
by the Cancer Surveillance Program or other certified North
American cancer registries.                                        Risk Factor Assessment: Questionnaires
                                                                      Each patient was interviewed in person by using a com-
   A total of 1,442 patients meeting the pathological case         prehensive questionnaire covering medical, gynecological,
definition were identified by the Cancer Surveillance Pro-         reproductive, and certain aspects of personal lifestyle his-
gram. We identified 139 of these patients as not English           tory, up to 12 months before her diagnosis date (her refer-
speaking, leaving 1,303 eligible patients. Of these, 291 pa-       ence date). Calendars were used to chart major life events
tients had died or were too ill to be interviewed by the time      and reproductive and contraceptive histories. Each control
that we contacted their physicians; the patients’ physicians       was interviewed in the same manner, with the pseudo-refer-
refused permission to contact an additional 65 patients; 31        ence date taken as the reference date of her matched patient.
patients were no longer residents of Los Angeles County and
had moved too far away to be interviewed in person; 66             Data Analysis
patients could not be located; and 173 patients declined to be        Statistical analyses were conducted by standard statistical
interviewed. Interviews were conducted with 677 patients           methods (11) including multivariate logistic regression (EP-
(52% of all patients and 80% of patients approached): 491 of       ILOG statistical package program; EpiCenter Software, Pas-
these were classified as having ovarian cancer, and 186, as        adena, CA). Although the study was designed as a matched
having LMP tumors.                                                 case– control study, a significant number of patients did not


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have a matched control, and we wished to include the con-
trols of the LMP patients, so a multivariate unconditional             TABLE 1
logistic regression analysis approach was adopted. Adjust-         Demographic characteristics of ovarian cancer patients
ments were made for three race and ethnicity groups (Afri-         and controls.
can-Americans, Latinas, non-Latina Whites), 5-year age
groups, four levels of socioeconomic status (SES) according                                                Controls                      Patients
to census tract of residence at the time of diagnosis (12), and
                                                                   Characteristics                    n                %            n                %
four levels of education.
                                                                   Race/ethnicity
    All the reported risk estimates were in addition adjusted
                                                                     African American                 50               7.6         44                9.2
for the following factors: family history of ovarian cancer          Latina                           92              13.9         61               12.8
(mother or sister; yes/no), tubal ligation (yes/no), use of          White                           518              78.5        372               78.0
genital area talc (yes/no), usual body mass index (BMI)              Total                           660                          477
during 5 years before reference date (kilograms per meter          Age (y)
                                                                     ⬍35                              75              11.4         20                4.2
square; categorical variable), nulliparity (yes/no), age at last
                                                                     35–44                            98              14.8         62               13.0
(term) birth (ALB; ALB at 35⫹ years and per 5-year group             45–54                           203              30.8        140               29.4
before 35⫹ years; continuous), number of additional births           55–64                           138              20.9        144               30.2
(i.e., zero, or total births minus 1, whichever is the greater;      65⫹                             146              22.1        111               23.2
continuous variable), number of incomplete pregnancies             Socioeconomic status
                                                                     1 (high)                        242              36.7        176               36.9
(continuous), duration of OC use (months; continuous), type
                                                                     2                               188              28.5        117               24.5
of menopause (premenopausal vs. natural vs. surgical), age           3                               100              15.2         71               14.9
at natural menopause (5-year age groups; continuous), age at         4 (low)                         130              19.7        113               23.7
surgical menopause (5-year age groups; continuous), and            Education
duration of menopausal hormone therapy use (E–progestin              ⬍High school                     41               6.2         44                9.2
                                                                     High school                     174              26.4        154               32.3
therapy [EPT] use by hysterectomized women, EPT use by
                                                                     Some further                    340              51.5        229               48.0
naturally menopausal women, E therapy [ET] use by hyster-               training
ectomized women, and ET use by naturally menopausal                  College graduate                105              15.9          50              10.5
women; all continuous). All statistical significance values (P
                                                                   Pike. Hormonal factors and ovarian cancer risk. Fertil Steril 2004.
values) quoted are two sided and are standard ␹2 analyses
based on differences in log likelihoods (11).
   Women undergoing a hysterectomy without a bilateral             conversion to assumed equivalent DL-norgestrel doses was
oophorectomy (simple hysterectomy) before menopause                done based on the results of studies of Greenblatt, as de-
were classified as having a surgical menopause. For naturally      scribed in Dickey and Stone (14).
menopausal women, age at menopause was estimated as
follows: for a woman taking OCs, age at menopause was                                              RESULTS
taken as the end of the period of OC use, if no “natural”              Eleven patients were found to have had a previous cancer
menstruation occurred thereafter. Natural menstruation was         at interview and were thus deemed ineligible. Three ovarian
taken to mean menstruating and not using OCs or meno-              cancer patients and two controls were eliminated because of
pausal hormone therapy (HT) at the time. For a woman               reported age of ⬍35 years at natural menopause, and two
taking HT to within 3 months before her reported age at last       additional controls were excluded because of contradictory
menstrual period, we set her age of menopause at the date on       data. The race and ethnicity, age, SES, and education of the
which she began HT use, with the rationale that HT use was         remaining patients and controls are shown in Table 1. The
started because of menopausal symptoms.                            patients are older than the controls; this is because LMP
   We elsewhere have given the justification for this ap-          tumors occur at a younger age than do invasive tumors, and
proach to setting age at menopause (13). Essentially, age at       the controls were matched to both LMP tumor patients and
last menstrual period cannot be used to uniformly estimate         ovarian cancer patients.
age at menopause because women who use sequential EPT                 Analysis of family history (in mother or sister) of ovarian
usually continue to have monthly menstrual periods, irre-          cancer, tubal ligation, and use of genital area talc showed the
spective of their ovarian function, and women on ET and            well-known effects: odds ratios (ORs) were 3.78 for family
continuous-combined EPT can rarely distinguish break-              history, 0.82 for tubal ligation, and 1.60 for talc (Table 2).
through bleeding from ovarian function– determined menses.         Although the reduced risk associated with tubal ligation was
    The E component of OCs was considered high if the dose         not statistically significant in these data, all three factors
of ethinyl estradiol was ⬎35 ␮g or if the dose of mestranol        have been included in our statistical model because they are
was ⬎70 ␮g. The progestin component was considered high            well-established risk factors. Table 2 also shows that risk
if the dose was equivalent to ⱖ0.30 mg of DL-norgestrel. The       was increased in women with BMI (weight in kg/height in


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    TABLE 2

Analysis of some known risk factors for ovarian cancer.

                                                                                                                                       Statistical significance

                                                                                        Adjusted                                                             P
Risk factor                                       Controls            Patients           ORa                   95% CI                 ␹2 (df)              value

Family history of ovarian cancer
  No                                                648                 448                1.00
  Yes                                                12                  29                3.78               1.83–7.80              14.33 (1)             .0002
Tubal ligation
  No                                                579                 431                1.00
  Yes                                                81                  46                0.82               0.53–1.26               0.86 (1)             .35
Genital area talc
  No                                                544                 349                1.00
  Yes                                               116                 128                1.60               1.18–2.18               9.05 (1)             .0026
BMI (kg/m2)b
  ⬍25                                               397                 261                1.00
  25–29                                             165                 120                0.97               0.71–1.33
  30–34                                              60                  56                1.29               0.83–1.99
  35⫹                                                38                  40                1.46               0.87–2.44               3.44 (3)             .32
Note: CI ⫽ confidence interval; df ⫽ degrees of freedom; ALB ⫽ age at last (term) birth; EPTH ⫽ EPT used by hysterectomized women; EPTM ⫽ EPT
used by naturally menopausal women; ETH ⫽ ET used by hysterectomized women; ETM ⫽ ET used by naturally menopausal women; SES ⫽ socioeconomic
status.
a
  Adjusted for ethnicity (3 groups), age (9), SES (4), education (4), family history of ovarian cancer (2), tubal ligation (2), use of genital area talc (2), BMI
(4), nulliparity (2), ALB (at 35⫹ y, per 5-y group before 35⫹ y), number of additional births (continuous), number of incomplete pregnancies (continuous),
OC use (continuous), menopausal status (3), age at natural menopause (5-y age groups, continuous), age at surgical menopause (5-y age groups, continuous),
ETM (continuous), ETH (continuous), EPTM (continuous), and EPTH (continuous).
b
  Calculated with usual weight during 5 y before reference date.
Pike. Hormonal factors and ovarian cancer risk. Fertil Steril 2004.



meters squared) of ⱖ30 kg/m2; although this result was also                        ing numbers of incomplete pregnancies was associated with
not statistically significant, it too has been included in our                     a statistically significant reduced risk of ovarian cancer (␹21
final statistical model because there is substantial evidence                      ⫽ 4.29; P⫽.038; Table 3), and both variables (additional
for this effect (15).                                                              births and incomplete pregnancies) have been retained in the
   Women who had four or more (term) births had a 64%                              statistical model. There was no effect of age at incomplete
reduced risk of ovarian cancer compared with nulliparous                           pregnancy, and, in particular, replacing ALB with age at last
women (Table 3). Risk declined with increasing numbers of                          pregnancy led to a reduction in the fit of the model to the
births (OR ⫽ 0.83 per birth; ␹21 ⫽ 17.59; P⬍.0001). The                            data. Fitting separate terms for spontaneous and induced
effect of the first birth was greater than that of succeeding                      abortions showed a stronger protective effect of reported
births (OR ⫽ 0.68 compared with OR ⫽ 0.86), although this                          induced abortions, but the difference was not statistically
difference was not statistically significant.                                      significant.
    The OR associated with ALB are also shown in Table 3.                             Breast-feeding the last baby was associated with a 23%
There is good evidence that the later the ALB, the lower the                       reduction in risk, but the result was not statistically signifi-
risk. Fitting nulliparity (nulliparous vs. parous) and ALB                         cant, and breast-feeding other babies was not associated with
(among parous women) gave ␹24 ⫽ 21.15 (P⫽.0003); fitting                           any reduction risk. We did not include breast-feeding in our
nulliparity and ALB as a continuous variable gave ␹22 ⫽                            final statistical model.
19.93 (P⬍.0001). Each additional birth reduced risk by 10%                            Oral contraceptive use was associated with a statistically
(␹21 ⫽ 3.10; P⫽.078). We observed a strong positive rela-                          significant protective effect (Table 4). There was a 5.8%
tionship between late age at first birth and late ALB and were                     protective effect per year of OC use (␹21 ⫽ 16.72; P⬍.0001).
not able to clearly distinguish between them. This was so                          There was no differential effect of age at OC use; dividing
even when we restricted analysis to women with two or more                         the age at use into four categories (⬍25 years, 25–29 years,
children. We kept ALB in the analysis because the result was                       30 –34 years, and 35⫹ years) was associated with no pattern
clearer (steady effect in most subgroups we studied).                              of effect (difference from single term, ␹23 ⫽ 5.54; P⫽.14).
   As we have seen, the effect of fitting additional births                        Categorizing OCs into four groups based on their E and
after fitting ALB was not statistically significant, but increas-                  progestin content showed no significant differences (␹23 ⫽


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    TABLE 3

Complete and incomplete pregnancies and risk of ovarian cancer.

                                                                                                                                       Statistical significance

                                                                                       Adjusted                                                              P
Variable                                         Controls             Patients          ORa                   95% CI                 ␹2 (df)               value

Births
  0                                                 139                 120              1.00
  1                                                 103                  65              0.62               0.40–0.96b
  2                                                 174                 127              0.62               0.42–0.90b
  3                                                 124                  90              0.55               0.36–0.84b
  4⫹                                                120                  75              0.36               0.22–0.57b              19.46 (4)             .0006
  Per birth                                                                              0.83               0.76–0.91b              17.59 (1)            ⬍.0001
  First birth                                                                            0.68               0.48–0.97c
  Per additional birth                                                                   0.86               0.78–0.96c              18.93 (2)            ⬍.0001
ALB (y)
  Nulliparous                                       139                 120              1.00
  ⬍25                                                92                  94              0.84               0.55–1.29d
  25–29                                             170                 110              0.55               0.37–0.81d
  30–24                                             158                 100              0.50               0.33–0.74d
  35⫹                                               101                  53              0.42               0.26–0.67d              21.15 (4)              .0003
ALB at 35⫹                                                                               0.49               0.30–0.79
  Per 5-y group before age 35 y                                                          1.18               1.01–1.38               19.93 (2)            ⬍.0001
Per additional birth                                                                     0.90               0.80–1.01                3.10 (1)             .078
Incomplete pregnancies
  0                                                 402                 300              1.00
  1                                                 154                  98              0.86               0.62–1.17
  2                                                  58                  40              0.93               0.59–1.48
  3                                                  23                  12              0.77               0.36–1.66
  4⫹                                                 22                   7              0.36               0.14–0.92                5.91 (4)              .21
  Per incomplete pregnancy                                                               0.88               0.77–0.99                4.29 (1)              .038
Note: CI ⫽ confidence interval; df ⫽ degrees of freedom; ALB ⫽ age at last (term) birth; EPTH ⫽ EPT used by hysterectomized women; EPTM ⫽ EPT
used by naturally menopausal women; ETH ⫽ ET used by hysterectomized women; ETM ⫽ ET used by naturally menopausal women; SES ⫽ socioeconomic
status.
a
  Adjusted for ethnicity (3 groups), age (9), SES (4), education (4), family history of ovarian cancer (2), tubal ligation (2), use of genital area talc (2), BMI
(4), nulliparity (2), ALB (at 35⫹ y, per 5-y group before 35⫹ y), number of additional births (continuous), number of incomplete pregnancies (continuous),
OC use (continuous), menopausal status (3), age at natural menopause (5-y age groups, continuous), age at surgical menopause (5-y age groups, continuous),
ETM (continuous), ETH (continuous), EPTM (continuous), and EPTH (continuous).
b
  Adjustment variables excluded: nulliparity, ALB, and additional births.
c
  Adjustment variables excluded: nulliparity and ALB.
d
  Adjustment variables excluded: nulliparity and additional births.
Pike. Hormonal factors and ovarian cancer risk. Fertil Steril 2004.




4.90; P⫽.18), although the reduction in risk was greater with                         Menopausal ET use in naturally postmenopausal women
high-progestin OCs and was most marked in the low E with                           was associated with an increase in risk of ovarian cancer (OR
high-progestin OCs (Table 4).                                                      ⫽ 1.16 per 5 years of use), but the result was not statistically
                                                                                   significant (Table 5). Estrogen-progestin therapy use was not
   No differences were observed between patients and con-
                                                                                   associated with any increase in risk. The results for ET use
trols in the occurrence of difficulties in getting pregnant or in
                                                                                   in hysterectomized women were very similar (OR ⫽ 1.11
the use of fertility drugs (data not shown).
                                                                                   per 5 years of use) to those seen with naturally menopausal
    No effect of age at menarche was seen (data not shown).                        women (Table 5). The numbers of EPT users in hysterecto-
                                                                                   mized women were too small for meaningful analysis.
   There was a trend for later age at natural menopause to be
associated with increased risk (OR ⫽ 1.19 per 5 years later;                          Stage at diagnosis was recorded by the cancer registry for
Table 5), and there was also a trend for later age at hyster-                      464 (97.3%) of the 477 patients: 100 (21.6%) of the patients
ectomy to be associated with an increased risk of ovarian                          were classified by the Surveillance, Epidemiology, and End
cancer (OR ⫽ 1.10 per 5 years later; Table 5), but the results                     Results registry as localized (confined entirely to the organ
were not statistically significant.                                                of origin), and 364 (78.4%), as having regional or distant


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                                                                                       effect, .039). There were too few data to make further
    TABLE 4                                                                            meaningful comparisons.
Oral contraceptive (OC) use and risk of ovarian cancer.
                                                                                                             DISCUSSION
                                                                       Statistical
                                                                      significance        The most striking finding in this study was a possible
                                       Adjusted        95%                             major effect of ALB; the later the ALB, the lower the risk of
Variable              Controls Patients ORa             CI       ␹2 (df) P value       ovarian cancer. Compared with a nulliparous woman, the
OC use (y)                                                                             overall risk of ovarian cancer in a woman with a last birth
 Never                  245       222       1.00                                       after age 35 years was reduced by 58%, with a reduction of
 ⬍5                     246       169       1.00    0.72–1.39                          51% due solely to the last birth. A last birth before age 25
 5–9                     90        51       0.72    0.46–1.13                          years was associated with only a 16% reduced risk of ovarian
 10⫹                     79        35       0.48    0.29–0.78
                                                                                       cancer; even after adjusting for numbers of births, this only
 Per y of use                               0.94    0.91–0.97 16.72 (1) ⬍.0001
OC formulation                                                                         increased to 20%. Additional births (before the last) reduced
 High E ⫹ high P         40        20       0.88    0.81–0.97                          risk further by some 10% per birth.
 High E ⫹ low P          70        41       0.94    0.88–1.00
                                                                                           These results for ALB must, however, be regarded as
 Low E ⫹ high P          10         4       0.66    0.36–1.21
 Low E ⫹ low P          203       132       0.95    0.92–0.99                          somewhat tentative for the following reason: fitting numbers
 Unknown                151       100       0.96    0.90–1.02 21.95 (5)        .0005   of births as a single linear term was significantly associated
Note: CI ⫽ confidence interval; df ⫽ degrees of freedom; ALB ⫽ age at last             with decreasing ovarian cancer risk (Table 3; ␹21 ⫽ 17.59).
(term) birth; EPTH ⫽ EPT used by hysterectomized women; EPTM ⫽ EPT                     Including ALB with numbers of births improved this fit (␹23
used by naturally menopausal women; ETH ⫽ ET used by hysterectomized                   ⫽ 23.03), but this improvement is not quite statistically
women; ETM ⫽ ET used by naturally menopausal women; SES ⫽ socio-
                                                                                       significant (␹22 ⫽ 5.44, P⫽.066). If, based on the results of
economic status.
a
  Adjusted for ethnicity (3 groups), age (9), SES (4), education (4), family
                                                                                       this and previous studies, we regard the effect of first birth as
history of ovarian cancer (2), tubal ligation (2), use of genital area talc (2),       being greater than that of subsequent births, the fit to the data
BMI (4), nulliparity (2), ALB (at 35⫹ y, per 5-y group before 35⫹ y),                  is measured by ␹22 ⫽ 18.93 (Table 3). In comparison to this,
number of additional births (continuous), number of incomplete pregnancies             fitting ALB in addition to number of births is just statistically
(continuous), OC use (continuous), menopausal status (3), age at natural
                                                                                       significant (␹21 ⫽ 4.10, P⫽.043).
menopause (5-y age groups, continuous), age at surgical menopause (5-y
age groups, continuous), ETM (continuous), ETH (continuous), EPTM                         Age at last pregnancy provided a less good fit to our data
(continuous), and EPTH (continuous).                                                   than ALB.
Pike. Hormonal factors and ovarian cancer risk. Fertil Steril 2004.
                                                                                          Oral contraceptive use reduced ovarian cancer risk by
                                                                                       approximately 6% per year of use, a smaller effect than seen
(more extensive) disease. Analyzing the two groups of pa-                              with births. Age at last use of OCs and whether the use
tients separately showed important differences in the esti-                            occurred before or after last pregnancy had no differential
mates of the effects of BMI. The odds ratios increased                                 effect on risk. There was no evidence of an increased effect
sharply over the four increasing BMI categories (⬍25, 25–                              of OC use with increasing age at use. There was a greater
29, 30 –34, and 35⫹) for localized disease, from 1.00 to 1.42                          protective effect with OCs containing a high-dose progestin,
to 2.66 and finally to 3.43 for BMI of 35⫹ (␹23 ⫽ 11.64;                               especially if the high-dose progestin was combined with a
P⫽.0087). There was only a very weak, not statistically                                low dose of ethinyl estradiol, but these results were not
significant relationship between BMI and risk of regional or                           statistically significant.
distant disease; the odds ratios over the same increasing BMI                             Although the differences were not statistically significant,
categories were 1.00, 0.89, 1.07, and 1.16. The effect of ET                           both additional births and OC use were associated with a
was also more evident for localized disease: for localized                             greater protective effect against ovarian cancers diagnosed at
disease, the ORs for 5 years of use were 1.51 and 1.22 for                             younger ages; reductions in risk in cancer diagnosed at age
natural menopause and hysterectomized women, respec-                                   ⬍55 years, at 55– 64 years, and at 65⫹ years were per
tively, whereas for regional or distant disease, the ORs were                          additional birth and per year of OC use (respectively): 0.79
1.11 and 1.10, respectively.                                                           and 0.92, 0.82 and 0.96, and 1.05 and 0.98. This effect was
   The patients were histologically classified as follows: 324                         not seen with ALB.
as serous, 92 as endometrioid (including clear cell), 42 as                               Earlier ages at both natural and surgical menopause were
mucinous and 19 as other (or unknown). There was a marked                              associated with decreased risks of ovarian cancer. Postmeno-
relationship between stage and histology: for serous tumors,                           pausal ET was found to increase ovarian cancer risk by
12% were localized; for endometrioid, 42%; and for muci-                               approximately 11%–16% per 5 years of use in naturally and
nous, 55%. With endometrioid tumors, a last birth at age                               surgically menopausal women. The effect was smaller in
35⫹ years reduced risk by 80%, whereas for serous tumors,                              regional or distant disease. Estrogen-progestin therapy use
the reduction in risk was only 36% (P value for difference in                          was effectively confined to naturally postmenopausal


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    TABLE 5

Menopause and use of menopausal ET and EPT and risk of ovarian cancer.

                                                                                                                                        Statistical significance

                                                                                        Adjusted                                                             P
Variable                                         Controls             Patients           ORa                    95% CI                  ␹2 (df)            value

Natural menopause
  Age at natural menopause (y)
    ⬍45                                              44                  31                1.00
    45–49                                            94                  74                1.29                0.71–2.35
    50–54                                           129                 113                1.67                0.94–2.99
    ⱖ55                                              32                  23                1.44                0.65–3.17
    Per 5 y                                                                                1.19                0.95–1.49               2.29 (1)              .13
  ET (mo)
    0–12                                            263                 215                1.00
    13–60                                            19                  11                0.71                0.32–1.61
    61⫹                                              17                  15                1.36                0.62–2.96
    Per 5 y                                                                                1.16                0.92–1.48               1.53 (1)              .22
  EPT (mo)
    0–12                                            188                 175                1.00
    13–60                                            54                  26                0.60                0.34–1.05
    61⫹                                              57                  40                0.90                0.55–1.48
    Per 5 y                                                                                0.97                0.77–1.23               0.05 (1)              .82
Surgical menopause
  Age at hysterectomy (y)
    ⬍35                                              21                  25                1.00
    35–39                                            18                  23                1.30                0.52–3.22
    40–44                                            23                  31                1.23                0.52–2.91
    ⱖ45                                               8                  12                1.38                0.44–4.32
    Per 5 y                                                                                1.10                0.79–1.53               0.30 (1)              .59
  ET (mo)
    0–12                                             36                  40                1.00
    13–60                                            12                  17                1.12                0.44–2.86
    61⫹                                              22                  34                1.56                0.72–3.41
    Per 5 y                                                                                1.11                0.92–1.35               1.19 (1)              .28
  EPT (mo)
    0–12                                             67                  84                1.00
    13–60                                             1                   4                5.04                0.50–51.22
    61⫹                                               2                   3                1.13                0.15–8.31
    Per 5 y                                                                                1.30                0.63–2.67               0.60 (1)              .44
Note: CI ⫽ confidence interval; df ⫽ degrees of freedom; EPT ⫽ E-progestin therapy; SES ⫽ socioeconomic status; ALB ⫽ age at last (term) birth; EPTH
⫽ EPT used by hysterectomized women; EPTM ⫽ EPT used by naturally menopausal women; ETH ⫽ ET used by hysterectomized women; ETM ⫽ ET
used by naturally menopausal women
a
  Adjusted for ethnicity (3 groups), age (9), SES (4), education (4), family history of ovarian cancer (2), tubal ligation (2), use of genital area talc (2), BMI
(4), nulliparity (2), ALB (at 35⫹ y, per 5-y group before 35⫹ y), number of additional births (continuous), number of incomplete pregnancies (continuous),
OC use (continuous), menopausal status (3), age at natural menopause (5-y age groups, continuous), age at surgical menopause (5-y age groups, continuous),
ETM (continuous), ETH (continuous), EPTM (continuous), and EPTH (continuous).
Pike. Hormonal factors and ovarian cancer risk. Fertil Steril 2004.




women, and in these women, no effect of EPT use was                                present, we do not have adequate data to investigate this
evident.                                                                           further.
   An increased BMI was significantly associated with in-                             The above results were generally seen with the different
creased risk of localized ovarian cancer, but there was only                       histologic varieties of ovarian cancer. The difference that
a slight association with regional or distant disease. This                        was suggestive of a real effect was the observation that
suggests to us that it is likely that increasing BMI may bring                     endometrioid (and clear cell) tumors were more profoundly
a woman more frequently to medical attention and that                              reduced with ALB at age 35⫹ years (80% reduction,
localized disease is then found incidentally during the                            compared with 36% for serous tumors); this needs con-
workup of other problems (such as irregular bleeding). At                          firmation.


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   We investigated to what extent some of these results             significant, and Ness et al. (20) did not observe such an
could be due to the fact that we only managed to interview          effect. Further data are needed to adequately evaluate this
52% of the potential patients (80% of those approached).            progestin dose issue. No current commonly prescribed OCs
There were differences between the interviewed and nonin-           contain a high-dose progestin.
terviewed patients on a number of factors: those interviewed           Hysterectomy consistently has been found to be a signif-
were younger (age ⬍45 years: 17.2% vs. 14.5%; 45–54                 icant protective factor against ovarian cancer (see, for exam-
years: 29.4% vs. 19.2%; 55⫹ years: 53.4% vs. 66.3%), were           ple, Irwin et al. [22], Hankinson et al. [23], and Green et al.
of higher SES (SES 1: 36.9% vs. 20.1%; SES 2–3: 39.4% vs.           [24]). We did not fully address this issue in our study
47.1%; SES 4: 23.7% vs. 32.8%), and had a different ethnic          because only women who were sure that they had not had a
mix (African-American: 9.2% vs. 17.7%; Latina: 12.8% vs.            bilateral oophorectomy at the time of their hysterectomy
8.3%; White: 78.0% vs. 74.0%). These differences should             were included as controls. This meant that we will have
not matter because all analyses adjusted for age, SES, and          excluded some women as controls who did not have a
ethnicity. However, the interviewed patients were biased            bilateral oophorectomy at the time of their hysterectomy but
toward “earlier” stage at diagnosis (localized: 22% vs. 14%),       who were not sure that this was the case: this leads to a
and as we have seen, this does affect the overall relationship      reduction in the estimate of any reduction in risk associated
between BMI and ovarian cancer risk because it is only the          with hysterectomy, and we considered hysterectomy to be a
localized patients that show any such relationship. As we           variable that needed to be adjusted for in all our analyses, not
discussed above, this observed effect of BMI requires further       one for which we could obtain a valid estimate of protective
investigation.                                                      effect. It was not practical for us to avoid this problem by
   How do these results fit in with previous studies? A             obtaining operation records for all hysterectomized potential
profound effect of ALB in close agreement with our results          controls.
was seen in the recently published study of Whiteman et al.            We did, however, see a much greater protective effect
(16). An effect of age at births was first noted in the four US     from an earlier rather than a later hysterectomy, and this
population-based case– control studies analyzed by Whitte-          strongly suggests a real age-dependent protective effect of
more et al. (6); those investigators observed a reduced risk of     hysterectomy. This age-dependent protective effect of hys-
ovarian cancer with late age at first birth. As noted above, in     terectomy has been consistently found and, in particular, was
the study reported here, we observed a strong positive rela-        found in the Nurses Health Study prospective cohort (23), in
tionship between late age at first birth and late ALB, and the      which recall bias is not an issue: in this study, a 52%
result found by Whittemore et al. (6) is thus likely to be          reduction in risk was found with hysterectomy before age 45
supportive of an effect of late ALB. Titus-Ernstoff et al. (17)     years, compared with a 24% reduction with hysterectomy
also observed a trend of increased protective effect with late      after this age.
ALB.
                                                                       The age incidence of ovarian cancer shows a marked
   No effect of ALB was seen in a Canadian population-              slowing of the rate of increase around age 50 years (even
based case– control study (18) or in a Swedish population-          after allowing for the effect of oophorectomies, hysterecto-
based case– control study (19). We have no explanation for          mies, and tubal ligations by studying this phenomenon in
these apparently contradictory results. It may be that the high     countries and in time periods in which these operations were
proportion (40%) of immigrants in the Canadian study,               uncommon); this clearly suggests a protective effect of
which was not adjusted for in the analysis, produced their          menopause (7). However, epidemiologic studies have not
result. The Swedish study used a mailed questionnaire: were         found this effect consistently. Although an increased risk of
the inherent limitations in such an approach a contributing         ovarian cancer in association with late age at menopause has
factor to their results? No other published studies had co-         been reported in a few studies, no association between age at
variate data available (in particular, OC data) to adjust their     natural menopause has been reported in most studies (see
estimates of the effects of age at births, and thus this variable   Schildkraut et al. [25] and references therein).
is not interpretable in other studies.
                                                                        Why an effect of age at menopause is not consistently
   Oral contraceptive use has been consistently found to be         found is difficult to explain. It is possible that the difficulty
associated with a reduced risk of ovarian cancer (3– 6, 9, 18,      may be because the early stages of ovarian cancer affect
20, 21). The results from cohort and population-based case–         ovarian function and cause an early menopause. If this is so,
control studies suggest a reduction in risk of around 8%, with      then a more clear effect of age at menopause should be seen
a slightly reduced risk with longer time since last use. A          if one restricts attention to ovarian cancer patients diagnosed
recent reanalysis of the Cancer and Steroid Hormone Study           after 65 years of age, say. Such analyses have not been
(9) suggested that OC formulations with a “high-dose/po-            carried out and would be most informative. The lack of an
tency” progestin may be associated with a greater reduction         effect of early menarche can, of course, be readily explained
in risk than those with a “low-dose/potency” progestin. We          on an unopposed-E hypothesis because early menarche is
observed this effect, but our results were not statistically        associated with a more rapid onset of regular (ovulating)


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cycles than a late menarche, so that amount of exposure to        tection from OCs against ovarian cancer. In these studies, the
unopposed E may well be unaffected by age at menarche.            progestin component of OCs, given alone without the E
                                                                  component, showed an increased apoptotic effect on the
   The current epidemiologic evidence obtained from cohort
                                                                  OSE that is very similar to that seen with OCs. This most
and population-based case– control studies with data on for-
                                                                  interesting study is, however, difficult to interpret, because
mulation and duration of use of menopausal hormone ther-
                                                                  the progestin component alone would also block ovulation
apy (HT; 26 –36) suggests that therapy with unopposed E
                                                                  and follicle development, so that one cannot distinguish a
increases ovarian cancer risk. Our meta-analysis of these
                                                                  direct progestin effect from an effect of suppression of
studies finds an OR of approximately 24% per 5 years of use,
                                                                  follicle development and ovulation. This could be studied by
with a 95% confidence interval of 13%–37% (37). The
                                                                  using a GnRH analog to suppress ovulation.
estimated overall risk associated with EPT use is smaller
(13% per 5 years of use) and is not statistically significant.       What is the current situation regarding chemopreventive
Some of this excess risk may be a diagnostic bias because we      strategies against ovarian cancer? Oral contraceptive use
found that the ET effect was smaller when we restricted           remains an effective approach: in our data and in recently
attention to regional or distant disease. A joint careful anal-   published studies, the protective effect was seen to be very
ysis of the published studies is needed to help clarify this      long term, extending to women aged ⬎60 years who had
issue.                                                            used OCs many years in the past. If the finding of a major
                                                                  protective effect of a late birth can be confirmed, then we
   17␤-Estradiol has been found to increase ovarian cancer
                                                                  may be able to exploit this for a short-term chemoprevention
cell and ovarian cystadenoma cell proliferation in vitro (8),
                                                                  strategy with a long-term preventive effect. To do this, we
so the mechanism of any ET effect may be by direct stim-
                                                                  will in all probability need to understand the mechanism of
ulation of growth of the relevant premalignant or early
                                                                  the protective effect. Because late incomplete pregnancies
malignant cells. Progesterone reduces cell proliferation un-
                                                                  and late OC use do not appear to provide such an effect, we
der the same in vitro conditions, so one might predict that
                                                                  must look for the distinctive characteristics of a full-term
EPT would have a lesser effect on risk of ovarian cancer than
                                                                  pregnancy.
ET. The relevance of these in vitro experiments is, however,
open to some question because the doses of steroids used are         In vitro experiments on the effects of pregnancy levels of
much greater than those achieved with HT.                         E and progesterone on ovarian tumor cells may be most
                                                                  informative. It is possible that the prolonged high levels of
   We saw a positive correlation between BMI and ovarian          progesterone during a term pregnancy will be lethal to or
cancer risk in this study, and a recent systematic review (15)    will “terminally differentiate” a significant proportion of
found a consistent positive association between body size         normal or “premalignant” ovarian cancer precursor cells.
and ovarian cancer risk in 11 population-based case– control      Observations on the ovaries of women immediately after
studies and 5 cohort studies. Since that review, results from     delivery would be most informative, and this possibility
2 other population-based case– control studies (38, 39) and 5     could also be studied in macaques in a manner similar to that
cohort studies (40 – 44) have been published. Two of these        employed by Rodriguez et al. (45, 46) to study the effect of
studies (41, 44) did not find such an effect; all the other       OCs.
studies did. The increase in risk between the upper and lower
quartiles of BMI is around 40%. As we discussed above, we
only saw this relationship with localized disease, and further
investigation of this relationship is needed to determine its
etiologic significance.
   If BMI is related to ovarian cancer risk only incidentally,    Acknowledgments: The authors thank Mary Davis, M.S., Maureen Cairns,
                                                                  Cheryl Cooper, M.A., Jodi Senk, M.A., Elvira Tovar, Anna Gilmore, B.A.,
through increasing BMI being related to increased contact         and Audrey Cairns for their data collection and management assistance with
with the medical system, then this would cast some doubt on       this study. The authors are deeply indebted to the ovarian cancer patients
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BMI is associated with increased postmenopausal E levels
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FERTILITY & STERILITY威                                                                                                                                  195
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                       Exhibit 42
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 Risk Factors for Benign Serous and Mucinous
 Epithelial Ovarian Tumors
 Susan J Jordan, MBBS, Adele C. Green, MBBS, PhD, David C. Whiteman, MBBS, PhD,
 and Penelope M. Webb, MA, DPhil, for the Australian Ovarian Cancer Study Group and the
 Australian Cancer Study (Ovarian Cancer)

 OBJECTIVE: To Investigate the risk factors for benign                                inversely associated with both tumor types (combined
 serous and mucinous epithelial ovarian tumors.                                       OR 0.65, 95% CI 0.43-0.97), although greater numbers of
 METHODS: Cases were women newly diagnosed with                                       pregnancies did not decrease risk further. Use of hor-
 benign serous ovarian tumors (n=230) or benign muci-                                 monal contraceptives was unrelated to risk.
 nous tumors (n=133) between 2002 and 2005. Control                                   CONCLUSION: Our results suggest some differences in
 women were selected at random from the general pop-                                  risk factors between benign serous and mucinous epithe-
 ulation (n=752). All participants completed a compre-                                lial ovarian tumors and that risk factors for benign serous
 hensive reproductive and lifestyle questionnaire. Multi-                             tumors differ from those well established for ovarian
 variable logistic regression was used to calculate odds                              cancer. The results also suggest that there is potential for
 ratios (ORs) and 95% confidence intervals (Cis) and to                               prevention of these common conditions through avoid-
 simultaneously adjust for potential confounding factors.                             ance of smoking and obesity.
                                                                                      (Obstet Gyneco/ 2007;109:647-54)
 RESULTS: Current smoking was associated with a three-
 fold increase in risk of benign mucinous tumors (OR 3.25,                            LEVEL OF EVIDENCE: II
 95% CI 1.97-5.34), and there was a trend of increasing
 risk with increasing amount smoked (P<.001). Both re-
 cent obesity (OR 1.93, 95% CI 1.30-2.88) and obesity at
 age 20 (OR 4.38,95% CI1.88-10.20) were associated with
                                                                                      B    enign epithelial ovarian tumors constitute a com-
                                                                                          mon gynecologic problem frequently requiring
                                                                                      surgical treatment to alleviate symptoms and prevent
 increased risk of benign serous ovarian tumors, and
                                                                                      complications. Although these tumors are diagnosed
 having had a hysterectomy was also related to increased
 risk of serous (OR 2.75, 95% CI 1.90-3.96), but not                                  most often in women in their 30s or 40s, they can
 mucinous tumors. Ever having had a term pregnancy was                                affect women of all ages and account for about 55% of
                                                                                      all treated epithelial ovarian neoplasms. I The true
                                                                                      incidence is, however, unknown. In the United States
 From the Cancer and Population Studies Group, QJteensland Institute of
 Medical Research, Brisbane, Q,ueensland, Australia; and School of Population
                                                                                      in 2002, approximately 44,000 female inpatients had
 Health, University of Q.,ueensland, Brisbane, Australia.                             a primary discharge diagnosis of a benign ovarian
 Supported by the National Health and Medical Research Council of Australia           neoplasm 2 and total hospital treatment costs for this
 (Program No. 199600), and the Australian Ovarian Cancer Study was                    group are estimated at approximately $US 264 mil-
 supported by the U.S. Army Medical Research and Materiel Command Under               lion. Although this figure includes an unknown pro-
 DAMD17-01-1-0729, the Cancer Council Tasmania and Cancer Foundation
 of Western Australia. D. Whiteman and P. Webb are supported by Senior                portion of nonepithelial tumors, it may underestimate
 Research Fellowships from the National Health and Medical Research Council           the incidence of benign epithelial tumors, because
 of Australia and QJteensland Cancer Fund, respectively. S. Jordan is supported       many can be asymptomatic and remain undiagnosed
 by an Australian Postgraduate Award from the University of Q,ueensland.
                                                                                      and untreated. 3
 The authors thank the contribution of the Q,ueensland Medical Laboratory,
 Sullivan Nicolaides Pathology, AusLab Pathology (Q,ueensland Health Pat/lOl-              Current evidence suggests that benign serous
 ogy and Scientific Services), all the participating hospitals for their assistance   tumors are unlikely to progress to high-grade serous
 with patient recruitment, and Dr. David Papadimos for his assistance with            cancer, although a precursor role in borderline ovar-
 pathology coding.
                                                                                      ian cancer is possible. 4,5 In contrast, benign mucinous
 Corresponding author: Dr. SusanJordan, QJMR, PO Royal Brisbane Hospital,
 Q,LD 4029, Australia; e-mail: susan.jordan@qimr.edu.au.                              tumors seem to have the potential to progress through
                                                                                      borderline tumors to invasive cancer. 4,5 Better under-
 © 2007 by The American College of Obstetricians and Gynecologists. Published
 by Lippincott Williams & Wilkins.                                                    standing of the causes of benign tumors is needed, but
 ISSN: 0029-7844/07                                                                   only a few small studies have investigated this 6 - 9 and


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  rarely for serous and mucinous benign tumors sepa-             South Australia (n=4), Western Australia (n=8) and
  ratelyY Given the current lack of information regard-          Tasmania (n=25).
  ing this common condition, we have conducted a                     Two researchers independently abstracted infor-
  comprehensive investigation of the risk factors for            mation on site (ovary, fallopian tube, other), histologic
  benign epithelial ovarian tumors, by histologic                subtype, and tumor behavior (benign, borderline, and
  subtype.                                                       invasive) from the pathology report of each case
                                                                 woman, and any discrepancies were resolved by
                                                                 consensus. For a sample of 87 women (including
  MATERIALS AND METHODS
                                                                 women with benign, borderline, and invasive tu-
  The study was based primarily in the Australian state          mors), the pathology reports and full set of diagnostic
  of Queensland where women with benign epithelial              slides were formally reviewed by one of a group of
  ovarian tumors were identified in one of two ways. A          gynecologic pathologists. The agreement between the
  number were identified by the Australian Ovarian              results of the formal review and the abstracted data
  Cancel' Study (see below) and the remainder were              were 97% for tumor site, 98% for tumor behavior and
  ascertained through the single public and two major           99% for histologiC subtype. Only benign tumors of
  private pathology laboratories servicing Queensland.          serous or mucinous subtype considered to have arisen
  Between September 2003 and June 2005 the pathol-              from the ovary were included in the following
  ogy laboratories conducted a monthly record search            analyses.
  to identify all women aged 18 to 79 years newly                    The comparison group for the present study was
  diagnosed with a benign mucinous or serous ovarian            selected from the group of women who were recruited
  tumor. Women who had not previously been re-                  as controls for the Australian Ovarian Cancer Study.
  cruited for Australian Ovarian Cancer Study were              A computerized script was used to randomly select
  mailed study information and asked to indicate their          women from the Australian Electoral Roll (enrolment
  willingness to be contacted about the study by return-        is compulsory in Australia) after frequency matching
 ing a "permission to contact" form to the pathology            on age (in 5-year age bands) and state to the case
  laboratory. The details of those women indicating             series of women with ovarian cancer. Selected women
  willingness to be contacted were then passed on to the        were mailed an invitation letter and information
 study investigators who formally invited them to               brochure explaining the study and then, where pos-
 participate in the study. If the "permission to contact"       sible, followed up by telephone. At leasl five attempts
 form was not returned after two weeks, a second letter         were made to reach each woman; those women who
 was sent.                                                     did not have a listed telephone number were mailed
       The pathology laboratories approached 353               a second invitation letter. Because most women with
 women in total. Of these, 74 (21 %) did not respond to        benign tumors were from Queensland and in general
 the mailed information and four were excluded due to          were younger than women with ovarian cancer, we
 poor health (n=2) or language problems (n=2).                 used a subset of the Australian Ovarian Cancer Study
 Among the remainder, further contact was refused by           controls in the current analyses. We used SAS (SAS
 40 women, and nine did not complete the question-             Institute Inc., Cary, NC) (proc surveyselect) to ran-
 naire, giving an overall participation rate of 65%.           domly select up to five Australian Ovarian Cancer
 Subsequent to review of the diagnostic pathology              Study controls for each woman with a benign epithe-
 reports, a further six of these women were found to           lial tumor, after stratifying by state and age group (in
 have ineligible pathology.                                     lO-year age bands). Women were excluded as con-
      Additional women with benign ovarian tumors              trols if they had a history of ovarian cancer or bilateral
 were identified through the Australian Ovarian Can-           oophorectomy or (as for cases) if they were unable to
 cer Study, a national case-control study of ovarian           provide informed consent or complete the study
 cancer that recruited women between January 2002              questionnaires due to language difficulties, illness, or
 and June 2005. Women with suspected ovarian can-              mental incapacity. The overall participation rate for
 cer were invited to participate before surgical treat-        Australian Ovarian Cancer Study was 84% among
 ment and any subsequently found to have benign                cases and 47% among controls.
 serous or mucinous ovarian tumors were included in                 All participants gave consent and were asked to
 the present study. An additional 55 women were                complete a health and lifestyle questionnaire, includ-
 identified in QjIeensland in this way, and eligible           ing questions relating to demographic and physical
 women were also included from the other Australian            characteristics, family history, personal medical and
 states: New South Wales (n=25), Victoria (n=21),              surgical history, lifestyle habits (including smoking


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 and alcohol consumption), and reproductive and con-           ciated with amount of smoking was assessed by
 traceptive histories. Missing information or inconsis-        calculating pack-years of smoking (the number of
 tencies were clarified during a subsequent telephone          cigarettes smoked per day, multiplied by the number
 interview. A small number of women who did not                of years smoked, divided by 20). We estimated
 return the full questionnaire completed an abbrevi-           amount of perineal talc use by multiplying frequency
 ated questionnaire covering key exposures. Ethics             of use by years of use. We excluded all exposures in
 approval was obtained from the Queensland Institute           the 12 months before diagnosis for cases (or first
 of Medical Research Human Research Ethics Com-                approach for controls) because we considered them
 mittee and all relevant hospitals.                            unlikely to be associated with tumor causation.
       Effects were estimated by odds ratios (ORs) with
 95% confidence intervals (CIs) calculated using un-           RESULTS
 conditional multiple logistic regression to simulta-          The final case group included 225 women with be-
 neously adjust for potential confounding factors. Se-         nign serous tumors, 127 with benign mucinous tu-
 rous and mucinous tumors were initially examined              mors, and six women with one serous and one
 separately, but because many of the associations were         mucinous tumor. The latter group were included in
 similar for serous and mucinous tumors, we have also          analyses of' both subtypes. Data from 754 control
 reported results for the combined tumor group. To             women were included. To ensure the 83 interstate
 investigate linear trends for ordinal variables, the          women with benign ovarian tumors recruited through
 median value for each category was used in a contin-          Australian Ovarian Cancel' Study were not materially
 uous term, and the associated P value was assessed.1O         different from the population-based Queensland sam-
 Stratified analyses were undertaken to investigate            ple, we compared the groups across key variables.
 possible effect modification, and the statistical signif-     The interstate women were on average older than
 icance of potential interactions was assessed by in-          those from Queensland (57 years compared with 52
 cluding a multiplicative term in the models. Models           years, P<.OOl) reflecting the higher referral rate of
 were adjusted for age, hormonal contraceptive use,            older women to gynecologic oncology clinics, but the
 parity, education, hysterectomy status, and smoking           groups did not differ significantly with respect to
 status. Other potential confounding factors that              parity, use of contraceptives, level of education, hys-
 changed the point estimates by less than 10% were             terectomy, tubal ligation, smoking status, 01' BMI
 not included in the final models. All statistical analy-      (data not shown) and were therefore combined for
 ses were conducted using SAS 9.1 software (SAS                analyses.
 Institute Inc.)                                                    Women with benign mucinous tumors were, on
       Use of combined oral, progestin-only, and in-           average, younger than women with benign serous
 jected (depot and implant formulations) contracep-            tumors (50 years compared with 55 years, P=.003).
  tives was combined for the analyses of the effects of        The average age of control women was 55 years.
 hormonal contraceptives. Hormone replacement                  More than 95% of women were white, and ethnicity
  therapy included estrogen-only and combined estro-           did not vary between the cases and controls.
 gen-progestin regimes. For analyses of parity we                   We examined the relation between lifestyle and
 included pregnancies of 6 or more months' duration;           personal characteristics and risk of the different tumor
  those lasting less than 6 months were considered to be       types (Table 1). Level of education, as a marker of
 incomplete pregnancies (including miscarriages, ec-           socioeconomic status, was not significantly related to
  topic pregnancies, and induced abortions). Only              risk of either tumor type. Smoking status was, how-
  women who had ever had a live birth were included            ever, strongly and Significantly associated with the
 in analyses of breastfeeding, and only those who had          risk of benign tumors, both mucinous and serous (OR
  had a pregnancy of duration 6 or more months were            3.3, 95% CI 2.0-5.3 and OR 2.3, 95% CI 1.5-3.5,
 included in analyses of the effect of age at first birth.     respectively, for current smokers compared with
 The relation with obeSity was assessed using measures         never smokers). Significant trends of increasing risk
  of body mass index (BMI) calculated from self-re-            with increasing pack-years of smoking were observed
  ported height, weight at age 20, and weight 1 year           for both tumor types, although the test for lineal' trend
  before diagnosis (or first contact for controls) by          suggested a closer association with mucinous tumors
  dividing weight in kilograms by the square of height         (P for trend = .00 1) than serous tumors (P for
  in meters. We used standard BMI categories for               trend=.02).
  analysis (18.5-24.9 kg/m2, "normal"; 25-29.9 kg/m2,               Obesity (BMI 30 01' more) at age 20 years and at
  "overweight"; 30 kg/m2 or more, "obese"). Risk asso-          1 year before diagnosis was related to an increased


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  Table 1. Adjusted* Odds Ratios and 95% Confidence Intervals for the Association Between Selected
             Personal Characteristics and Lifestyle Factors and Risk of Benign Mucinous and Serous Ovarian
             Tumors
                                          Controls Mucinous Serous
                                          (n=752) (n=133) (n=230)                  Mucinous                Serous               Combined
 Level of education
    School only                           382(51)        69 (52)    114(49)    1.00                  1.00                    1.00
    Technical                             270 (36)       44 (33)     87 (38)   0.86 (0.55-1.34)       1.10 (0.78-1.60)        0.99 (0.73-1.33)
    University                            100 (13)       20 (15)     29 (13)   0.94 (0.50-1. 73)      1.09 (0.65-1.84)        1.00 (0.65-1.54)
 Smoking status
    Never                                 471 (63)       61 (46)    116 (51)   1.00                  1.00                    1.00
    Ex-smoker                             200 (26)       31 (23)     64 (28)    1.36 (0.84-2.21)      1.22 (0.84-1.76)        1.29 (0.94-1.77)
    Current                                81 (11)       41 (31)     48 (21)   3.25 (1.97-5.34)       2.26 (1.45-3.53)        2.60 (1.79-3.78)
 Pack-years of smoking
    None                                  471 (63)      61 (54)     116 (59)   1.00                  1.00                   1.00
    10 or less                            139 (18)      10 (9)       28 (14)    0.53 (0.26-1.09)      0.73 (0.45-1.17)       0.65 (0.43-0.99)
    Less than IOta less than 20            44 (6)       13 (12)      15 (8)    2.13 (1.03-4.38)       1.29 (0.67-2.50)       1.58 (0.92-2.69)
    20 to less than 30                     39 (5)       16 (14)      16 (8)    3.42 (1.73-6.75)       1.61 (0.84-3.09)       2.26 (1.33-3.82)
    30 or more                             55 (7)       13 (12)      21 (11)   2.31 (1.15-4.65)       1. 75 (0.98-3.13)      1.97 (1.21-3.20)
                                                                               Pfor trend<.OOI         P for trend = .02      Pfor trend<.OOI
 Body mass index 1 year ago
   Less than 25                           335 (46)      48 (39)      85 (40)   1.00                  1.00                   1.00
   25 or more to 30                       230 (32)      44 (36)      55 (26)    1.56 (0.97-2.52)      1.08 (0.72-1.61)       1.26 (0.91-1. 76)
   30 or more                             158 (22)      31 (25)      73 (34)    1.43 (0.83-2.44)      1.93 (1.30-2.88)       1.69 (1.19-2.40)
                                                                                P for trend =.1        P for trend = .002     Pfor trend=.003
 Body mass index at age 20 y
   Less than 25                           660 (91)     107 (85)     183 (84)   1.00                  1.00                   1.00
   25 or more to 30                        53 (7)       12 (9)       21 (9)     1.06 (0.51-2.18)      1.24 (0.71-2.19)       1.12 (0.68-1.83)
   30 or more                              15 (2)        7 (6)       15 (7)    2.50 (0.85-7.31)       4.38 (1.88-10.2)       3.31 (1.55-7.07)
                                                                                Pfor trend=.2          Pfor trend=.002        Pfor trend=.007
 Age at menarche (y)
    12 or younger                         283 (:39)     55 (42)      97 (42)   1.00                  1.00                   1.00
    13                                    211 (29)      42 (32)      58 (25)    1.11 (0.69-1. 79)     0.79 (0.52-1.18)       0.91 (0.65-1.27)
    14 or older                           236 (32)      33 (26)      74 (32)   0.79 (0.48-1.30)       0.97 (0.66-1.42)       0.88 (0.64-1.22)
                                                                                P for trend =.9        P for trend =.4        Pfor trend=.7
 Use of talc in the perineal region
    No                                    419 (56)      74 (56)    126 (55)    1.00                  1.00                   1.00
    Yes                                   332 (44)      59 (44)    103 (45)     1.19 (0.80-1.76)      1.04 (0.75-1.43)       1.10 (0.84-1.45)
 Amount of talc used in the
  perineal region
    None                                  419 (56)      76 (57)    126 (55)    1.00                  1.00                   1.00
    Minimal                                74 (10)      14 (11)     14 (6)      1.02 (0.53-1.98)      0.70 (0.37-1.30)       0.85 (0.52-1.38)
    Moderate                               86 (11)      18 (14)     21 (9)      1.57 (0.87-2.84)      0.85 (0.49-1.48)       1.05 (0.68-1.64)
   Substantial                            161 (21)      24 (18)     61 (27)    0.98 (0.58-1.66)       1.21 (0.82-1. 79)      1.16 (0.83-1.62)
                                                                                P for trend =.9        Pfor trend=.2          P for trend =.3
 Family history of breast or ovarian
  cancer in a first-degree relative
    No                               647 (86)          120 (flO)   194 (84)    1.00                  1.00                   1.00
    Yes                              105 (14)           13 (8)      36 (16)    0.73 (0.38-1.38)       1.27 (0.82-1.97)       1.11 (0.75-1.63)
 Data are n (%) or odds ratio (95 0/0 confidence interval). Numbers in first three columns may not add to total due to missing values.
 • Adjusted for age (younger than 40,40-49, 50-59, 60-69, 70 years or older), state of residence, education (school only, technical, university),
    parity (0, 1-2, 3 or more), hormonal contraceptive use (never, less than 5years use, 5 years or more use), hysterectomy (yes or no),
    smoking status (never, ex-, current).


 risk of both tumor types, but significantly so only for                   time points (P=.002) but not for mucinous tumors
 serous tumors (OR 4.4, 95% CI 1.9-10.2 compared                           (P=.1 for BMI 1 year ago, and P=.2 for BMI at age
 with normal BMI at age 20 and OR 1.9, 95% CI                              20). When we stratified by age (50 years or younger
 1.3-2.9 compared with normal BMI 1 year ago).                             compared with more than 50 years), the association
 Overall, there was a significant trend of increasing                      between recent obesity and serous tumors was stron-
 risk of serous tumors with increasing BMI at both                         ger for those 50 years or younger at diagnosis (OR


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 2.4,95% CI 1.1-4.9) than among those over 50 (OR                          tumors (OR 1.6, 95% CI 1.0-2.4 for age of flrst birth
 1.6,95% CI 1.0-2.7), although the difference with age                     less than 20 years compared with greater than 20
 was not statistically significant. Neither age at men-                    years), but there was no associated trend for either
 arche nor a family history of breast or ovarian cancer                    tumor type. Age at last birth (data not shown) and
 nor use of talc in the perineal region were signiflcantly                 breastfeeding were not signiHcantly related to risk of
 related to risk of either tumor type (Table 1).                           serous or mucinous benign tumors.
      Women who reported at least one term preg-                                Ever use of hormonal contraceptives was not
 nancy had a nonsignificant 40% reduction in risk of                       associated with risk of either serous (OR 1.3, 95% CI
 mucinous tumors and a 38% reduction in risk of                            0.8 -2.0) or mucinous benign tumors (OR 1.1,95% CI
 serous tumors (Table 2). No clear trend of decreasing                     0.6 -1.9). Although not statistically significant, there
 risk with increasing numbers of term pregnancies was                      seemed to be somewhat different associations with
 seen for either subtype, although the odds ratio was                      disease depending upon the duration of use. There
 less than 1 for all categories of parity. In contrast,                    was a suggestion that very long-term use (more than
 increasing numbers of incomplete pregnancies were                         15 years) might decrease the risk of both tumor types
 associated with a significantly increased risk of' muci-                  compared with no use, (OR 0.7,95% CI 0.3-1.5 for
 nous tumors (OR 1.8,95% CI 1.1-3.1 for two or more                        mucinous tumors and OR 0.6, 95% CI 0.3-1.2 for
 compared with none, P for trend was .006), but did                        serous), whereas the odds ratios were generally above
 not seem to be associated with serous tumors. Having                      unity for shorter durations of use (Table 3). Too few
 a first term pregnancy at less than 20 years of age was                   women had used long-acting progestins to indepen-
 associated with a small increase in risk of serous                        dently assess their relation with tumor occurrence, but

 Table 2. Adjusted* Odds Ratios and 95% Confidence Intervals for the Association Between Pregnancy-
          Related Factors and Risk of Benign Mucinous and Serous Ovarian Tumors
                                   Controls     Mucinous        Serous            Mucinous                Serous             Combined
 Parous
    No                               81 (11)       28 (21)       33 (14)        1.00                 1.00                  1.00
    Yes                             671 (89)      105 (79)      197 (86)        0.60 (0.35-1.05)     0.72 (0.44-1.18)      0.65 (0.43-0.97)
 Parity

     °
     1
     2
                                    81 (11)
                                    71 (9)
                                   243 (32)
                                                   28 (21)
                                                   11 (8)
                                                   37 (28)
                                                                 33 (14)
                                                                 28 (12)
                                                                 64 (28)
                                                                                1.00
                                                                                0.43 (0.19-0.98)
                                                                                0.58 (0.31--1.08)
                                                                                                     1.00
                                                                                                     0.97 (0.51-1.83)
                                                                                                     0.68 (0.40-1.18)
                                                                                                                           1.00
                                                                                                                           0.70 (0.40-1.21)
                                                                                                                           0.62 (0.39-0.96)
     3                             210 (28)        31 (23)       54 (24)        0.65 (0.33-1.25)     0.62 (0.35-1.09)      0.61 (0.38-0.97)
     4 or more                     147 (20)        26 (20)       50 (22)        0.85 (0.42-1. 72)    0.74 (0.41-1.34)      0.75 (0.45-1.24)
                                                                                 Pfor trend=.9        Pfor trend=.7         Pfor trend=.9
 Incomplete pregnancies t

     °
     1
     2 or more
                                    486 (65)
                                    169 (22)
                                     !)7 (13)
                                                   77 (58)
                                                   2!) (22)
                                                   27 (20)
                                                                139 (61)
                                                                 59 (26)
                                                                 31 (13)
                                                                                1.00
                                                                                1.11 (0.67-1.84)
                                                                                1.84· (1.08-:1.14)
                                                                                                     1.00
                                                                                                     1.19 (0.82-1.7:1)
                                                                                                     0.96 (0.5!)-1.57)
                                                                                                                           1.00
                                                                                                                           1.18 (0.86-1.63)
                                                                                                                           1.1!) (0.80-1.76)
                                                                                P for trend = .04    Pfor trend=.6         P for trend =.2
 Breastfeeding duration (mo)t
    Never                           110(17)        20 (20)       33 (18)        1.00                 1.00                  1.00
    6 or less                       15!) (24)      26 (26)       4!) (26)       1.04 (0.52-2.06)     1.05 (0.61-1.81)      1.05 (0.66-1.67)
    7-12                            123 (19)       16 (16)       3!) (21)       0.87 (0.40-1.92)     1.18 (0.66-2.10)      1.00 (0.60-1.65)
    More than12                     266 (40)       3!) (38)      64 (35)        1.00 (0.50-1.!)9)    0.!)2 (0.53-U!))      0.91 (0.57-1.4-5)
                                                                                P for trend = 1.00    P for trend =.6       P for trend =.5
 Age at first term birth (y)!
   Less than 20                      !)1 (14)      20 (20)       47 (25)        1.00                 1.00                  1.00
   20-24                            30!) (47)      46 (47)       73 (40)        0.8!) (0.48-1.66)    0.5!) (0.37-0.!)4.)   0.64 (0.42-0.!)6)
   25-29                            180 (27)       24 (25)       44 (24)        0.88 (0.4-3-1.80)    0.64 (0.37-1.0f))     0.67 (0.42-1.07)
   More than 30                      80 (12)        8 (8)        21 (l1)        0.64 (0.24-1.71)     0.70 (0.35-1.40)      0.63 (0.35-1.16)
                                                                                 P for trend;=.4-    Pfor trend=.4          Pfor trend=.2
 Data are n (0/0) or odds ratio (950/0 confidence interval). Numbers in first three columns may not add to total due to missing values.
 • Adjusted for age (younger than 4·0, 40-4fJ, 50-59, 60-69, 70 years or older), state of residence, education (school only, technical,
    university), hormonal contraceptive use (never, less than .5 years use, .5 years use or more), hysterectomy (yes or no), smoking status
    (never, ex-, current).
 t Additionally adjusted for parity (0, 1-2, 3 or more).
 * Among women who have had a live birth. Additionally adjusted for number of live births.
 § Among women who have had a term birth. Additionally adjusted for parity (0, 1-2, 3 or more).




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  Table 3. Adjusted* Odds Ratios and 95% Confidence Intervals for the Association Between Exogenous
           Hormone Use and Risk of Mucinous and Serous Benign Ovarian Tumors
                                          Controls      Mucinous       Serous         Mucinous              Serous            Combined
  Duration hormonal contraceptive
   use (rna)
    Never                                  168 (22)       22 (l7)       41 (18)    1.00                1.00                 1.00
    1-12                                    64 (9)         12 (9)       22 (1O)    1.16 (0,51-2,65)    1.30 (0,69-2.46)     1.24 (0,72-2,14)
     la-6O                                 15a (2O)       as (27)       59 (26)    1,29 (0,68-2.46)    1.41 (0,85-2,aa)     U2 (0,86-2,Oa)
    61-120                                 146 (19)       26 (2O)       54 (24)    1.00 (0,51-1.99)    1.46 (0,88-2.44)     1.28 (0,82-1.98)
    121-180                                111 (15)       2a (17)       :31 (l3)   1.06 (0,52-2,15)    1.06 (0,59-1.88)     1.08 (0,67-1.74)
    More than 180                          109 (15)       14 (l0)        21 (9)    0,69 (0,a2-1.53)    0,64 (0,a4-1.19)     0,69 (0.41-1.16)
                                                                                   Pfor trend==,2      P for trend = ,06    P for trend == ,06
  Duration of hormone replacement
     therapy use (y)
  Never                                    476 (64)       98 (74)      151 (67)    1.00                1.00                 1.00
  Less than 2                                63 (8)       14 (ll)       15 (7)     1.35 (0,67-2,70)    0,67 (0,35-1.29)     0,90 (0,54-1.49)
  2 to 5                                     65 (9)        4 (3)        18 (8)     0,39 (O.la-1.12)    0,82 (0,45-1.52)     0,70 (0.41-1.22)
  More than 5 to 10                          62 (8)        9 (7)        17 (7)     0,99 (0.45-2,20)    0,70 (0,37-1.31)     0,80 (0.47-1.37)
  More than 10                              79 (ll)        7 (5)       25 (II)     0,67 (0,28-1.64)    0,71 (0.40-1.27)     0,70 (0,42-1.17)
                                                                                   Pfor trend = ,2     Pfar trend==,a       Pfar trend==,2
  Data are n (%) or odds ratio (9S% confidence interval), Numbers in first three columns may not add to total due to missing values,
  * Adjusted for age (younger than 40, 40-49, SO-W, 60-69, 70 years or older), state of residence, education (school, technical, university),
     parity (0, 1-2, 3 or more), hysterectomy (yes or no), smoking status (never, ex-, current),


 excluding women who had used these from the                              in risk of both mucinous and serous tumors (OR 1.7,
 analyses did not substantially change the odds ratios                    95% CI 0,6-5,3 for mucinous tumors and OR 2,2,
 associated with hormonal contraceptive use, The use                      95% CI 0,9-5,5 for serous tumors). Further adjust-
 of hormone replacement therapy was inversely asso-                       ment of this association for BMI at age 20 years
 ciated with risk of serous tumors (OR 0,7, 95% CI                        weakened the association with mucinous tumors (OR
 0,5-1.1 for ever compared with never use) but there                      1.1,95% CI 0.3-3,8), but if anything strengthened the
 was no trend of further decrease with longer duration                    relation with serous tumors (OR 2,3, 95% CI 0.9 -5,9),
 of use (P for trend=,3), Mucinous tumors had no                          Reported history of abnormal Pap tests, genital warts,
 apparent relation with hormone replacement therapy                       genital herpes, pelvic inflammatory disease (Chla-
 use (OR 0,9,95% CI 0,5-1.5 for ever compared with                        mydia), or other sexually transmitted infections were
 never use, P for trend = ,2)                                             unrelated to either tumor type (data not shown),
      We found no evidence that tubal ligation was
 associated with risk of either mucinous or serous                        DISCUSSION
 benign tumors, and hysterectomy was unrelated to                        The effect of reproductive risk factors on serous and
 risk of mucinous tumors (Table 4). However, having a                    mucinous tumors in our study were similar and
 hysterectomy was associated with an almost three-                       largely in keeping with previous studies,?-n,11 Term
 fold increase in risk of benign serous tumors (OR 2,8,                  pregnancy was associated with a decreased risk of
 95% CI 1.9-4.0), We also examined this in relation to                   both tumor types, but increasing parity did not seem
 indication for hysterectomy, If the reason for hyster-                  to confer additional protection, and use of hormonal
 ectomy was a nonhormonal condition such as pro-                         contraceptives and breastfeeding were not associated
 lapse or cervical dysplaSia, then the risk for serous                   with risk. This is in stark contrast to invasive epithelial
 tumors was not increased (OR 1.1, 95% CI 0,5-2,7),                      ovarian cancer, which is strongly inversely associated
 However, if the indication for hysterectomy was a                       with these exposures, 12-14
 hormonally responsive condition such as endometri-                          The association we observed with smoking was
 osis, menorrhagia, or adenomyosis, then the associ-                     more marked for mucinous than serous benign tu-
 ated risk for serous tumors increased three-fold (OR                    mors, similar to the associations reported for ovarian
 3,0, 95% CI 2,1-4,5),                                                   cancer,15,Hl In addition, we found body mass index,
      A self-reported history of endometriosis or fi-                    both recent and at age 20, to be more strongly related
 broids was unrelated to benign tumor risk. However,                     to serous than mucinous tumors, Hysterectomy and
 being diagnosed with polycystic ovary syndrome                          PCOS were also associated with the risk of serous but
 (PCOS) was associated with nonsignificant increases                     not mucinous tumors,



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 Table 4. Adjusted* Odds Ratios and 95% Confidence Intervals for the Association Between Medical
          Procedures and Gynecologic Conditions and Risk of Mucinous and Serous Benign Ovarian
          Tumo~                                      .
                           Controls         Mucinous          Serous            Mucinous                Serous                Combined
 Tubal sterilization
    No                      532 (71)         100 (75)         162 (70)        1.00                  1.00                    1.00
    Yes                     2Hl (29)          33 (25)          68 (30)        1.00 (0,61-1,64)      1.08 (0,75-1.57)        1.04 (0,76-1.44)
 Hysterectomy
    No                      610 (81)         112 (84.)        147 (64)        1.00                  1.00                    1.00
    Yes                     142 (Hl)          21 (16)          83 (36)        0,95 (0,55-1,67)      2,75 (1.90-3.96)        1.91 (1.a8-2,66)
 Endometriosis
    No                      705 (94)         117 (89)         188 (84)        1.00                  1.00                    1.00
    Yes                      44 (6)           15 (11)          36 (16)        1.06 (0.47-2.43)      1.24 (0,69-2,23)        1.16 (0,68-1.98)
 PCGS
    No                      736 (98)         124 (94)         212 (95)        1.00                  1.00                    1.00
    Yes                      13 (2)            8 (6)           12 (5)         1. 71 (0.56-5,25)     2.18 (0.87-5.48)        1.83 (0,81-4,13)
 Fibroids
    No                      617(82)          106 (80)         149 (66)        1.00                  1.00                    1.00
    Yes                     134 (18)          27 (20)          76 (34)        1.10 (0,62-1.97)      1.36 (0.91-2,05)        1.31 (0,91-1.88)
 Abnormal pap test
    No                      609 (81)           93 (74)        170 (78)        1.00                  1.00                    1.00
    Yes                     141 (19)           32 (26)         49 (22)        1.28 (0,78-2,09)      1.19 (0,80-1.78)        1.18 (0,84-1.67)
 PCGS, polycystic ovary syndrome.
 Data are n (Ofo) or odds ratio (950f0 confidence interval), Numbers in firsl three columns may not add to lolal due to missing values.
 • Adjusted for age (younger than 40, 40-49, 50-59, 60-69, 70 years or older), state of residence, education (school, technical, university),
    parity to, 1-2, 3 or more), hormonal contraceptive use (never, less than 5 years use, 5 years use or more), hysterectomy (yes or no),
    smoking status (never, ex-, current).


      Population attributable risk percents estimated                      NHS (19% compared with 24%), and if true, then the
 using these results suggest that approximately 20% of                     magnitude of the observed risk of serous tumors
 all benign mucinous tumors could be attributed to                         associated with hysterectomy may have been overes-
 smoking and 17% of benign serous tumors could be                          timated, but sensitivity analyses suggested that this
 attributed to obesity, If the incidence of benign epi-                    could not fully explain the elevated risk. This under-
 thelial tumors is 44,000 per year in the United States,                   estimation could also have masked a stronger inverse
 and assuming that mucinous tumors comprise one                            association with mucinous tumors, Finally, the prev-
 third and serous tumors two thirds of those, then our                     alence of current smoking was lower among our
 results suggest that approximately 8,000 benign epi-                      controls compared with the NHS women (11 Ofo com-
 thelial tumors could be prevented each year if smok-                      pared with 170/0), Sensitivity analyses suggest that this
 ing and obesity could be eliminated in the popUlation,                    difference could account for much of the apparent
      Considering potential sources of error in our                        increase in risk of serous tumors associated with current
 results, the response rates among both cases and                          smoking, but is insufficient to explain the stronger
 controls were less than optimal at 65% and 47%,                           association observed for mucinous tumors (although the
 respectively, raising the possibility that women who                      true magnitude of the association may be somewhat
 took part differed systematically from those who did                      lower than that observed) (personal communication, N,
 not. To assess this we compared our control group's                       Pandeya, research scholar, Queensland Institute of
 responses to data from the 2001 Australian National                       Medical Research, August 2006),
 Health Survey (NHS), with a response rate of approx-                           An appropriate comparison population for our
 imately 900/0,17 Distributions of parity and body mass                    case group is not available, but given that surgery is
 index among our control women were almost identi-                         curative for this condition, it seems likely that re-
 cal to those surveyed in the NHS, Prevalence of use of                    sponse patterns in this group are not dissimilar to
 the oral contraceptive in women aged younger than                         those of unaffected women. Accordingly, higher lev-
 50 years was apprOXimately 5% higher among our                            els of smoking would be expected in the nonre-
 controls than women in the NHS, suggesting that any                       sponders,18,19 whereas distributions of BMI are likely
 inverse association with long-term use is even weaker                     to be similar among responders and nonre-
 than observed, The age-standardized rate of hysterec-                     sponders,18,20 Thus, the suboptimal response is un-
 tomy in our controls was slightly lower than in the                       likely to distort our main findings, and, in practice,


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                       Exhibit 43
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   Talcum powder, chronic pelvic inflammation and NSAIDs in relation
   to risk of epithelial ovarian cancer
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     School of Population Health, University of Queensland, Brisbane, Queensland, Australia

   Chronic inflamtnation has been proposed as the possible causal                 Chronic inflammation (hereafter referred to as inflammation)
   mechanism that explains the observed association between certain            was first invoked as a possible mechanism leading to the develop-
   risk factors, such as the use of talcum powder (talc) in the pelvic         ment of epithelial ovarian cancer to explain observed associations
   region and epithelial ovarian cancer. To address this issue we eval-        between certain factors, such as use of talcum powder in th8- peri-
   uated the potential role of chronic local ovarian inflammation in
   the development of the major subtypes of epithelial ovarian can-            nea! region or pelvic inflammatory disease (PID) and risk of ovar-
   cer. Factors potentially linked to ovarian inflammation were                ian cancer. 1 The major mechanisms thought to underlie ovarian
   examined in an Australia-wide case-control study comprising                 carcinogenesis, namely increased pituitary gonadotropins or inces-
   1,576 women with invasive and low malignant potential (LMP)                 sant ovulation, do not explain such associations.
   ovarian tumours and 1,509 population-based controls. We con-                   A link between inflammation and cancer in general has long
   finned a statistically significant increase in ovarian cancer risk          been recognized. As early as 1863, Virchow noticed the presence
   associated with use of talc in the pelvic region (adjusted odds ratio
   1.17, 95o/o CI: 1.01-1.36) that was strongest for the serous and            ~f leukocytes .in cancer .tissues and sugf',es.ted a. possible ~onnec­
   endometrioid subtypes although the latter was not statistically sig-        tton between 1nflammat1on and cancer.- Since mflammatlon also
   nificant (adjusted odds ratios 1.21, 95% Cl 1.03-1.44 and 1.18,             represents the process by which the immune syste1n responds to
   95% CI 0.81-1.70, respectively). Other factors potentially associ-          infection or irritation, however, it has been referred to as a 'dou-
   ated with ovarian inflammation (pelvic inflammatory disease,                ble-edged sword' with acute (beneficial) inflammation distin-
   human papi11on1a virus infection and mumps) were not associated             guished from the chronic (detrimental) inftan1mation that may
   with risk but, like others, we found an increased risk of endotne-          prevent a robust anti-tumour response. 3
   trioid and clear cell ovarian cancer only among \Vomen with a his-
   tory of endometriosis. Regular use of aspirin and other nonsteroi-             Indeed the most consistent evidence linking inflammation with
   dal anti-inflammatory drugs was inversely associated with risk of           ovarian cancer comes from the many reports that use of talc in the
   LMP mucinous ovarian tumours only. We conclude that on bal-                 perinea] region increases ovarian cancer risk. 4 ·5 It has been sug-
   ance chronic inflammation does not play a major role in the devel-          gested that the association between talc use and ovarian cancer is
   opment of ovarian cancer.                                                   strongest for serous tumours when compared to other less common
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                                                                               subtypes. 4·6·7 This would be consistent with the histological simi-
                                                                               larities observed between serous ovarian cancer and mesothe-
   Key words: ovarian cancer; chronic inflammation; talcum powder              lioma, which is known to be caused by asbestos, and the shared




      Abbreviations: ACS, Australian Cancer Study; AOCS, Australian Ovarian Cancer Study; B"MI, body mass index; HPV, human papilloma virus; LMP,
   low malignant potential; NSAIDs, non-steroidal anti-inflammatory drugs; OC, oral contraceptive; PID, pelvic inflammatory disease; STI, sexually trans-
   mitted infection.
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                                                 CHRONIC 1NfLAM111ATION AND OV ARIA"! CANCER                                                 171
   chemical properties of talcum powder and asbestos. Testing vari-           Study participants filled in a comprehensive health and lifestyle
   ous factors that are possibly related to ovarian inflainmation in a     questionnaire, which included questions about their personal
   case-control study, Ness et a!. 8 found that perinea! talc use and      details, physical characteristics, family history, n1edical and surgi-
   cndon1etriosis, defined as the presence of endometrial tissue out-      cal history, lifestyle habits and reproductive factors. To determine
   side the uterus and associated with localised inflamrnation at the      use of talcum powder in the perinea] region, participants were
   site of endo1netriotic i1nplants, were positively associated with       asked whether they had ever used powder or talc in the genital
   ovarian cancer risk. However, they saw no association with PID,         area or on underwear or sanitary pads/diaphragm. They were
   which they had also expected to be associated with increased            asked their age at first use and years of talc use in these areas. Du-
   risk. 8 Extending these epidemiological analyses, McSorley et al. 9     ration of talcum powder use prior to and after hysterectomy/tubal
   recently found significantly higher circulating C-reactive protein      ligation was calculated and in all analyses perinea! talc use was
   (CRP) levels, a marker of systemic chronic inflammation, among          defined as use occurring while the reproductive tract was patent
   167 women with incident ovarian cancer risk in a multicentre            (i.e., prior to hysterectomy/tubal ligation for those women who
   nested case-control study.                                              had undergone gynaecological surgery). Infom1ation on talc use
      The potential role of ovarian inflammation in the development        under the arms or on the chest or abdomen was also collected.
   of ovarian cancer remains an open question. TI1e aim of the cur-           To measure usc of nonprescription anti-inflammatory medica-
   rent study was to further examine the role of local chronic inflam-     tions, participants were given examples of the type of medication
   mation in the development of epithelial ovarian cancer overall and      (e.g., aspirin) followed by a list of the common generic and brand
   by histologic subtype. In addition to talcum powder use, we exam-       names. To quantify the frequency of use, participants were asked
   ined medical conditions that cause inflan1mation in the pelvic          how often they had taken various medications over the past 5
   region, induding endometriosis and PID, and we also tested the          years (ranging from never to as much as twice or more per day).
   hypothesis that if inflammation causes ovarian cancer then regular      The current analyses were restricted to medications known to sup-
   use of anti-inflammatory drugs should be inversely associated           press inflammation namely aspirin and other nonsteroida1 anti-
   with this disease.                                                      inflammatory drugs (NSAIDs). Participants were also asked
                                                                           whether they had ever had any of a number of specific medical
                                                                           conditions and, if so, the ages at which these were diagnosed.
   Material and methods                                                       Ethics approval was received from the Human Research Ethics
                                                                           Committees at the Queensland Institute of Medical Research,
   Study design
                                                                           Peter MacCallu1n Cancer Centre, University of Melbourne, all
      The Australian Ovarian Cancer Study is an Australia-wide pop-        participating hospitals and cancer registries.
   ulation-based case-control study of epithelial ovarian cancer. It
   includes incident cases of invasive and low malignant potential
                                                                           Statistical analysis
   (LMP) ovarian cancer diagnosed in women (aged 18-79 years)
   between January 2002 and June 2005. A total of 3,553 women                 Risk estimates were calculated as odds ratios (OR) with 95%
   were identified with suspected ovarian cancer. Of these, 304 died       confidence intervals (CI). x2-Squared tests were used to test for
   before contact could be made, physicians refused to give consent        differences in patient characteristics (e.g., age, level of education).
   to contact 133, usually because they were too sick or unable to         All significance tests were 2-sided and a p-value of less than 0.05
   give inforn1ed consent and 194 wo1nen could not be contacted. A         was taken as significant. Unconditional multiple logistic regres-
   further 167 (5o/o) were excluded on the basis of language difficul-     sion models were constructed to simultaneously adjust for con-
   ties (70), mental incapacity (33) and i11ness (64). The remaining       founding factors.
   2,755 women were invited to participate and, of these, 2,319 (84o/o        Exposures to factors of interest occurring in the 12 months prior
   of those approached) agreed to take part.                               to diagnosis for cases (or 12 months prior to first contact for con-
      Two researchers independently abstracted information on              trols) were excluded because the aetiological influence of very
   tumour site, histological subtype and tumour behaviour (invasive        recent exposures on incident ovarian cancer is likely to be minimal
   vs. L.MP) from the diagnostic histopathology reports and discrep-       and, in cases, recent behaviours may reflect the presence of sub-
   ancies were resolved by consensus. For a sample of 87 women,            clinical disease. All models were adjusted for the categorical vari-
   the pathology reports and full set of diagnostic slides were            ables of age in 10-year groups (<50, 50--59, 60--69, :2:70), highest
   reviewed by a gynaecologic pathologist and the agreement with           level of education, parity (number of pregnancies >6 months)
   the original abstracted data was more tl1an 97o/o for tumour site,      and duration of contraceptive use (including oral contraceptive
   behaviour and subtype. After histopathology review, 624 women           pills and contraceptive injections). Analyses of endometriosis and
   were excluded because they were found to have nonepithelial,            potential symptoms of endometriosis (painful or long periods)
   nonovarian or benign tumours and 10 because their cancer was            were also adjusted for the categorical variable of body mass index
   first diagnosed before the start of the study period. Of the final      (BMI~ 1 year prior to. diagnosis/recruitment (:5:24.9, ?5-29.9, :2:30
   1,685 eligible participants with invasive or LMP cancers of the         kgJm-). Other potential confounders that were considered for all
   ovary, peritoneum or fallopian tube, 1,576 (94%i) returned a ques-      analyses but not included in the final models since they did not
   tionnaire and comprised the case population in the current study.       substantially alter risk estimates were: income, family history of
   Separate analyses were also carried out for the 994 serous, 191         ovarian or breast cancer, hysterectomy and/or tubal ligation and
   n1ucinous, 141 endometrioid and 88 clear cell tumours (the              smoking.
   remaining 162 tumours were of other epithelial or mixed sub-               All analyses were performed using the SAS system V 9.1 (SAS
   types).                                                                 Institute, Cary, NC). Tests for linear trend were performed using
      Potential control participants were identified from the Austra-      the maximun1 likelihood test with the categorical variable of inter-
   lian Electoral Roll (a11 citizens are required by law to enrol). Con-   est entered as a continuous term.
   trols were frequency-matched to the entire case series based on
   age (5-year groups) and state of residence. In all, 3,600 women
                                                                           Results
   were contacted. Of these, 158 were ineligible because of language
   difficulties (n = 97) or illness (n = 61) and 16 were unable to be         The final study population included l ,576 women with epithe-
   contacted a second ti1ne. Of the 3,426 eligible women, 1,612            lial ovarian cancer (invasive and Liv1P) and 1,509 controls. Cases
   (47o/o) agreed to participate and returned a questionnaire. From        were significantly older than controls (n1ean age cases = 57.8,
   these women, 6 were excluded because they reported a previous           mean age controls = 56.42, p = 0.001) and were less likely to
   ovarian cancer and 97 because of a previous bilateral oophorec-         have continued their education beyond high school (Table I). As
   to1ny resulting in a total of 1,509 controls for study.                 expected, cases were significantly more likely to be nulliparous
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         TABLE I - DESCRJPTIVE CHARACTERISTICS OF 1,576 WOMEN \11-TIH
          EPITHELlAL OVARIAN CANCER AND 1~~09 RANDOMLY SELECTED
                         POPULATION-BASED CONTROLS                                               N
                                                                                                               ~~~                           -ooN
                                                                                                                                             oo oo N
                                    Controls 1         Cases 1
                                                                                                 :I""          ~:b~                          ~17
               Variable           (N= 1,509)
                                     N(%)
                                                 (!'<' = 1,576)
                                                    N(%)
                                                                   p-V~lue
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                                                                                                 00            00 \0 00
     Highest level of education                                                           00              000-.-'c
       High school               735 (49)        851 (54)                                 ,.....;,....:   rlrlcirlQ                    rlciciciQ
       Technical college/        550 (37)        502 (32)
           trade certificate
        University               218 (15)        214 (14)
     Number pregnancies (;:::6 months)
       Nulliparous               181 (12)        298 (19)         <0.0001 3
        1-2                      644 (43)        647 (41)                                                      "'"'"'
                                                                                                               oo<>-
                                                                                                               ,....;,....;N
       :>3                       684 (45)        628 (40)
                                                                                                               drlJ
     Ever used oral contraceptives                                                                             ~"' 00
       No
       :::;5 years
                                 330 (22)
                                 361 (24)
                                                 505 (32)         <0.0001 3                                    SSS
                                                                                                               t.n,.
                                                 432 (28)                                                                 -"<)                                       \0,.... __, N
                                                                                                                                                                     \O'tj<M(")
                                                                                                          00-f<""•('.l
        >5 years                 811 (54)        619 (40)                                                 rl ,_..; ,_..; rlQ                                         ci ,_..;,....;....:
                                                                             2
     Previoils tubal ligation    406 (27)        355 (23)          0.0003
     Previous hysterect01ny      289 (19)        364 (23)          0.05 2
     Mother/sister with          195 (13)        273 (19)          0.0022
       ovarian or
       breast cancer                                                                                           M 00"
                                                                                                               MO<>                          _,..o
                                                                                                                                             "'"'~
     1
       Numbers may not sum to total because of missing data.- z -square
   test for heterogeneity, adjusted for age group (10 year catego-
                                                                   2 2                                         1~1
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   ries).-3x2-square test for trend, adjusted for age group (10 year catego-                                   SSS                           S68
   ries).                                                                                                      °',. - ('. .
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   and to report a mother or sister with ovarian or breast cancer.
                                                                                                                                             ~~~

   Cases were less likely to have used oral contraceptives or to report                                                                      "'00 -
                                                                                                                                             >e:~t-:
   a previous tubal ligation. Unexpectedly, cases were somewhat
   more likely to report a prior hysterectomy (Table I).                                                                                     ~ :t d:
      Ever use of talc in the perinea! region (among women with pat-                                                                         "' " "'
                                                                                                                                             S88
   ent fallopian tubes) was associated with a significant increase in                                                                  COOO\C
                                                                                                                                             t-M0\0

   risk of all types of epithelial ovarian cancer combined (adjusted                                                                   ....: ....: ,.....; rl c::)
   OR~ 1.17, 95% CI: 1.01-1.36) (Table 11). Analysis by histologi-
   cal subtype showed that the increase in risk was strongest for se-
   rous and endometrioid tumours although it was only statistically
   significant for serous tumours (adjusted OR = 1.21, 95% CI:                                                 -     .,. 00                                          r::'O\;;)G            ....
   1.03-1.44 and 1.18, 95% CI 0.81-1.70, respectively). This                                                   7MVO                                                  t.nt.nNM              fr
   increased risk was seen for both invasive and LMP serous tumours                                            J~:t
                                                                                                               "'00 0
                                                                                                                                                                     ~~J~ ~
                                                                                                                                                                     000\t-,.....
   (data not shovm), although the association with LrvrP tumours was
   not statistically significant because of the smaller nu1nbers. There
                                                                                                               ci ci,....;
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                                                                                                               MOOQ\('.)
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                                                                                                                                                                     \ONM-
   was no clear trend of increasing risk with longer duration of use,                                     o-oNa                                                      -N0-1.0
                                                                                                          ,....;,....;,....;,_..;c:;                                 ....; rl ci ,_;
   although tests for trend were of borderline statistical significance
   for all cancers and the serous subgroup (p = 0.02 for both). When
   we considered invasive and LMP tumours separately, a modest
   but statisticaUy significant increase in risk of invasive serous
   tumours was observed in the highest category of use (over 25
   years, adjusted OR = 1.35, 95o/o CI: 1.06-1.72), whereas little or
   no increased risk wa<; observed with Jess than 25 years of use. For
   serous LMP tumours, a modest increase in risk was observed only
   in the lowest duration of use category (upto 10 years, adjusted OR
   = 1.71, 95o/o CI: 1.07-2.73) with no association for over 10 years
   of use.
                                                                                                                                       00,-.,--..,-.,
      Increased risk of ovarian cancer was specifically related to talc                                                                eC$C
   use in the pelvic region as talc use on other body sites showed no                                                                  7 0\ .--n.o
   association (OR = 1.01, 95% CI: 0.84--1.20). In contrast to the                                                                     ..,
                                                                                                                                       gj70C7

   elevated risk of ovarian cancer observed with perinea} talc use
   prior to hysterectomy and/or tubal ligation, talc use after such sur-
   gery showed no association with serous ovarian cancer risk,
   regardless of duration (Table II).
      Prior to 1976, talcum powder was often contaminated with
   asbestos fibres. 10' 11 To assess whether the association between use
   of talc and ovarian cancer risk varied over time we evaluated this
   separately for different age groups. Our assumption was that use
   of talcum powder an1ong older women would largely have been
   prior to 1976 (when voluntary guidelines to prevent asbestos con-
   tamination of talcum powder were adopted) whereas a greater pro-
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                                                 CHRONIC lNFLAMMATION AND OVARIAN CANCER                                                                                173

   portion of use in younger women would have been after that date.
   Significantly elevated risks of ovarian cancer overall and for the                                                                            ;:; ;:;
                                                                                                                                                  ~00
   serous subtype v, ere seen in women who were 70 years of age or
                     1


   older and also among those who were less than 50 for the serous
   subtype only. A modest increase in risk was also observed in the                                                                              ~~
                                                                                                                                                 SS
   50-59 year group (nonsignificant) however no association was                                                                                  'DM
                                                                                                                   0    00                   ONOO
   observed in the 60--69 year age group. Similar results were                                                     --< ci                    rl......; ci
   observed when invasive tumours were examined separately (the
   number of LMP tumours was too sn1a11 to evaluate the effects by
   age).
       Table III shows no significant association was observed
   between PID and risk of all subtypes of ovarian cancer combined                                                      ,._                       N~
                                                                                                                                                  -oo
   (OR = 1.15, 95o/o CI: 0.85-1.57), or for the different histological
   subtypes. When we examined the association relative to the time
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   elapsed since diagnosis of PID, no association with ovarian cancer                                                   8                        SS
   risk was observed (data not shown).                                                                             08                            MN
                                                                                                                                             CN,._
      A reported history of genital herpes was not associated with risk                                            ,....: ci                 ,_; ,_; ci
   of all subtypes of ovarian cancer combined (OR= 1.17, 95o/o CI:
   0.73-1.87). However, a significant positive association was seen
   with risk of serous tumours (OR = 1.65, 95o/o CI: 1.01-2.69;
                                                                                                                                                              ;:-:;;-
   Table III), with similar nonsignificant increases observed for                     §'          ;::
                                                                                                  ,..,      ~           ~           [q            Noo
                                                                                                                                                  N,._        "t \C!
                                                                                      ~                                                          ~~
   both invasive (OR = 1.65, 95%, CI: 0.98-2.78) and LMP serous
   tumours (OR = 1.76, 95% CT: 0.71-4.34). For serous tumours,                        00          8 ~                   ~e.         ::\.,.       7M
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   similar increased risks were seen for both more recent (less than                  8          8          8                       8            SS
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                                                                                                                                                              88
   20 years) and long-term (over 20 years) infection (data not                 o~              o'f          00          00
                                                                                                                                             c,._,._
   shown).                                                                     ......<.....;   ,_;o      om
                                                                                                         ,_; ci
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                                                                                                                               .....; ci     ,.....: ci c:i
      Neither HPV infection, based on self-reported history of abnor-
   mal pap smears and/or genital warts, nor a history of mumps after
   the age of puberty were associated with risk of ovarian cancer
   overall (Table III). There was also no association with mumps                      62                    ~                                    'DM
                                                                                                                                                  MN

                                                                                      ~"'                   ~
   when we considered infection at any age (OR = 0.95, 95°/o Cl:                                                                                 -f -f
   0.81-1.12). There was however a suggestion that HPV infection                                                                                  -~
                                                                                                                                                  00~
   was associated with a slightly increased risk of the endometrioid                  8                     8                                    SS
   subtype (OR = 1.58, 95% CI: 1.03-2.44). Analyses considering                o~                        o~                                  ocoo
                                                                                                                                                  ~N

   time since the condition was first reported did not alter these             -«:::i                    -<c:i                               ,_;,_;o
   results.
      We found no significant association between a reported history
   of endometriosis and ovarian cancer risk overall (OR = 1.31, 95%
   CI: 0.97-1.78). However statistically significant increased risks                  f::-
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   were seen for the endometrioid and clear cell subtypes (OR =
                                                                                      ~           "                                              M-
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   1.85, CI: 1.02-3.38 and OR ~ 2.66, CI: 1.31-5.44, respectively).                   00          ~         J,
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   Because endometriosis may go undiagnosed, we also considered a                     8
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                                                                                                                   ,_; "'
   reported history of potential symptoms of endometriosis (long or            o-              o-        om                                      ,._
                                                                               ,_; rl          ,_;,_;    --< ci        ci                    ,_;.....; ci
   painful periods) however neither was associated with ovarian can-
   cer risk (Table III). Similar results were noted when the analysis
   was restricted to wo1nen who had not used hormonal contracep-
   tives. As with other medical conditions, risk estimates did not
   vary with time elapsed since endometriosis was first reported.
      For comparison with inflammation believed to occur in close
   proximity to the ovaries, medical conditions associated with
   inflammation at other body sites were also examined (including
   gall stones, inflammatory bowel disease, diverticulitis, oesophagi-
   tis, gastritis and pancreatitis). None of these conditions was associ-
   ated with ovarian cancer risk (data not shown).
      To assess whether regular use of anti-inflmnmatory n1edications
   was inversely associated with ovarian cancer risk, use of aspirin
   and NSAlDs in the 5 years prior to study recruitn1ent was exam-
   ined. Any use of aspirin was not associated with ovarian cancer
   risk for all subtypes combined (OR for any vs. no use = 1.06,
   95o/o CI: 0.92-1.23; Table IV) or for any of the individual sub-
   types. Ever use of NSAIDs in the last 5 years also had no effect on
   risk of all subtypes of ovarian cancer (OR = 0.88, 95% CI: 0.76-
   1.02). HoV1•ever, risk of inucinous tumours was inversely associ-
   ated with any use of NSAIDs (OR = 0.69, 95% CI: 0.50--0.94)
   and a further decrease in risk \Vas observed with more frequent
   use (p-value trend= 0.01). Separate analyses of invasive (n = 44)
   and Ll\1P (n = 147) n1ucinous tun1ours demonstrated that the
   observed inverse association was driven entirely by LivlP tun1ours
   (OR for any vs. no use = 0.59, 95o/o CI: 0.41--0.84, compared to
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     TABLE IV-ASSOCJATIO'I BETWEEN ANTI-L"{FLAMMATORY MEDICATION USE IN THE PAST 5 YEARS A_'\/D RISK OF EPITHELIAL OVARIAN CANCER

                           Control~ 1   All cases 1   AU cases (N = 1,576)
                                                                                                    Mu~~°:J_ut9~~=cfi9 1)
                                                                               Scrou<; (N = 994)                            Endometrioid(N = 141)   Clear cell (N = 88)
                             N(%)        N(%)               OR1 (95% CI)           OR 2 (95% Cl)                                OR" (95% CI)          OR"(95% CI)

     Aspirin
         Never             772 (51)     783 (50)      1.0                    1.0                   1.0                      1.0                     1.0
         Ever              730 (49)     781 (49)      1.06 (0.92-1.23)       1.06 (0.90-1.25)      0.99 (0.72-1.35)         0.92 (0.64-1.32)        0.92 (0.58-1.45)
         :::;t/week        612 (41)     650 (41)      1.06 (0.91-1.23)       1.05 (0.88-1.25)      0.98 (0.71-1.36)         0.98 (0.68-1.43)        0.95 (0.59-1.54)
         ?:2/week          118(8)       131 (8)       1.06 (0.80-1.41)       1.11 (0.81-1.51)      1.02 (0.52-2.03)         0.56 (0.23-1.34)        0.75 (0.30-1.89)
         p-Value (trend)                              0.5                    0.4                   0.99                     0.4                     0.6
     NSAIDs
         Never             625 (42)     723 (46)      1.0                    1.0                   1.0                      1.0                     1.0
         Ever              878 (58)     836 (54)      0.88 (0.76-1.02)       0.93 (0.78-1.10)      0.69 (0.50-0.94)         0.76 (0.53-1.09)        0.92 (0.58-1.45)
         :::;I/week        653 (43)     625 (4D)      0.90 (0.76-1.05)       0.94 (0.78-1.12)      0.73 (0.53-1.02)         0.73 (0.50-1.09)        0.97 (0.59-1.60)
         2:2/week          225 (15)     211 (14)      0.83 (0.66-1.04)       0.90 (0.70-1.16)      0.51 (0.28-0.93)         0.84 (0.49-1.44)        0.79 (0.39-1.58)
         p~Value (trend)                              0.1                    0.3                   0.01                     0.3                     0.6
     1
      Numbers may not sum to total because of missing data.-2 Adjusted for age, education, parity and oral contraceptive pill use.



   1.17, 95% CI 0.62-2.21 for invasive mucinous tumours). There                          structed fallopian tubes. In contrast, the Nurses' Health study
   was also a dose-response relationship for LMP mucinous tu1nours                       found no increase in risk among women who were perinea! talc
   (OR for 2 or more pills per week vs. no use = 0.46, 95% CI: 0.23-                     users but had never had a tubal ligation. 7
   0.91,p-value trend= 0.01).                                                               While it has been demonstrated experin1enta1Iy that talc par-
                                                                                         ticles can reach the ovaries in humans and rodents as the result of
                                                                                         talc use in the pelvic region, 15- 17 ovarian talc particle burden in
   Discussion                                                                            normal human ovaries is not correlated with reported exposure
      The hypothesis that chronic inflammation may lead to the de-                       levels. 17 This suggests that use of only a small amount of talc may
   velopment of epithelial ovarian cancer was first proposed to                          be required for some talc to reach the ovaries and increase risk of
   explain how certain factors, such as talc use in the perinea! region{                 cancer.
   may be linked to increased risk of developing ovarian cancer.                            It has been hypothesised that talc is linked to ovarian cancer de-
   Testing the inflammation hypothesis in a case-control study, Ness                     velopment through inflammation, however evidence linking an
   et al. found that proinftammatory factors, such as perinea! talc use                  inflammatory response with talc contamination of the ovaries is
   and endometriosis increased ovarian cancer risk, but others such                      lacking. Talc-induced inflammation is unlikely to be in the forma-
   as PID did not significant1y increase ovarian cancer risk (separate                   tion of granulomas as these are rarely observed in human ova-
   analyses of individual histological subtypes of ovarian cancer                        ries.18.19 Other likely manifestations of talc-induced inflamtnation
   were not presented). 8 Consistent with this hypothesis, McSorley                      include reduced fibrinolysis, activation of neutrophils and macro-
   et a!. 9 recently reported a trend of increasing ovarian cancer risk                  phages and increased production of cytokines and growth factors,
   with increasing levels of CRP, a marker of inflanunation. How-                        and these have been suggested to occur in the peritoneum in
   ever, given the lack of specificity of CRP and its association with                   response to contamination by surgical glove powder. 20 Rigorous
   prevalent chronic conditions, such as ischaemic heart disease, 12 it                  investigation of the precise biological response of the ovarian sur-
   is difficult to rule out confounding as an alternate explanation for                  face epithelium to perinea! talc use is needed.
   these results. 9 Until the present study, no other epidemiological                       We also sought to determine whether possible contamination of
   studies appear to have tested the hypothesis that ovarian inOam-                      talc with asbestos fibres, which are known to cause inflammation
   mation is associated with ovarian cancer risk. In the current study,                  of epithelial tissues, could explain the observed link between peri-
   a significantly elevated risk of ovarian cancer overall and of the                    nea} talc use and serous ovarian cancer. Voluntary guidelines to
   serous subtype associated with perinea! talc use was identified. A                    prevent asbestos contamination of cosmetic talc were introduced
   nonsignificant increase in risk was also seen for endo1netrioid                       in 1976 and consequent1( earlier formulations were more likely to
   tumours. Other factors that could potentially cause ovarian inflam-                   contain asbestos fibres. 1 ,II Increased risk of serous ovarian cancer
   mation (such as PID, HPV infection, mumps and endometriosis)                          was not restricted to perinea} talc use in the oldest age groups,
   were not associated with ovarian cancer risk overall, however                         v.•ho were more likely to have been exposed to asbestos-contami-
   there was some evidence of a positive association with some of                        nated talc, but was also observed in the youngest (less than 50
   these factors in the subtype specific analyses. These results in                      years) and the 50-59 year old age group. Other studies have also
   combination with previous studies suggest that chronic inflamma-                      reported no increase in risk of all subtypes of ovarian cancer asso-
   tion is unlikely to play a major role in the development of ovarian                   ciated with talc use before 197013 or before 1975. 14 These findings
   cancer.                                                                               contrast with 2 other reports of increased risk of serous 7 and all
      Focusing on talc use, we found that any use of perineal talc was                   subtypes of epithelial ovarian cancer 10 associated with earlier use
   associated with a small but significantly increased risk of ovarian                   of talc.
   cancer overall and specifically amongst the invasive and LMP                             If inflammation plays a role in the aetiology of ovarian cancer
   serous tumours although no clear dose-response with increasing                        then it would be expected that PID would be associated with
   duration of use was identified. This finding is consistent with                       increased risk of ovarian cancer. PID was not associated with ele-
   results of previous studies. 4 •6 •7 •10•13 ' 14                                      vated risk of ovarian tumours in our data, confirming several pre-
      As expected, ovarian cancer risk was only related to talc use in                   vious reports of no association with PID in studies of all subtypes
   women with no surgical closure of the fallopian tubes or those                        of ovarian cancer. 8 ' 21 ' 22 To date there has been only one report of
   who had used talc presurgery, with no association seen for talc use                   a significant positive association between PID and ovarian can-
   after tubal sterilisation or hysterectomy. Similar observations were                  cer.i'.3 Genital herpes infection was associated with a nonsignifi-
   made in previous case-control studies of ovarian cancer (all sub-                     cant increased risk of invasive serous cancer in our data, although
   types) with elevated risks observed in women who had not had a                        this observation was based on a small number of exposed cases
   tubal ligation 4 " 14 or those who had used talc presurgery. 13 These                 (n = 27). One previous study found no association between geni-
   former studies together with the current findings support the hy-                     tal herpes and ovarian cancer risk (the number of exposed cases
   pothesis that talc particles are transported to the ovaries via unob-                 was not reported). 8 Latent infection by herpes virus is established
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                                                    CHRONIC 1.:-JFLA!VfMATION AND OVARIAN CANCER                                                     175
   in the nerve root ganglia and it is associated with a variety of                Strengths of our study included its large size (1,576 women
   initial and recurrent syn1ptoms such as genital ulceration. 24 It is         with ovarian cancer and 1,509 population-based controls) and
   biologically plausible that inflammation associated with genital             Australia-wide coverage. A limitation was the low response rate
   herpes infection could increase risk of ovarian cancer as Herpes             for controls (47%), which could have resulted in selection bias
   sin1plex virus type 2 has been detected in the upper genital tract of        and possibly led to an over-representation of healthy subjects
   women with acute PID 25 ' 26 and acute salpingitis. 27 Further studies       among the controls. Indeed our hysterectomy rate an1ong controls
   are needed to confirm this association.                                      was ,..__,5% lower than expected, but as there are no obvious links
      HPV infection (based on reports of abnormal pap sn1ears and/              between hysterecton1y and infla1nmation that we have not consid-
   or genital warts) showed no association with ovarian cancer                  ered, we do not believe that these small differences would have
   risk, except for the endometrioid subtype. We hypothesised that              affected the present results. A healthy control bias would most
   HPV infection could potentially cause ovarian inflammation as                likely influence the analyses of medical conditions, specifically
   HPV DNA has been identified in the ovaries of patients with                  sexually transmitted infections (STis). For example, if participat-
   prin1ary ovarian squamous intraepithelial neoplasia 28 •29 and in            ing controls were less likely to have had an STI this could bias
   the uprcer genital tract of patients with cervical squamous carci-           risk estimates for STis upwards. While we saw a positive associa-
   noma. 0 In addition, high-risk HPV DNA has been reported in                  tion between herpes infection and ovarian cancer risk, there was
   10% of ovarian epithelial carcinomas. 31 Abnormal pap smears                 no association with other STis suggesting that our ORs are not
   and genital warts are generally associated with HPV genotypes                systematically biased. Overall, a small nu1nber of participants
   classified as high-risk and low-risk, respectively, in regards to            reported STis and it is possible that STis were underreported
   their association with carcinogenic transformation. 32 However,              because of possible asymptomatic infection or because of the neg-
   separate analyses also showed no association with ovarian can-               ative connotations associated with having an STI. It is also possi-
   cer risk.                                                                    ble that controls would be more likely to underreport STis than
      Mumps infection (either after puberty or at any age) was not              cases therefore potentially biasing the risk estimates upwards.
   associated with ovarian cancer risk. It has been estimated that              Another general limitation was that analyses of medical conditions
   some 5o/o of postpubertal mumps cases are associated with clini-             were based entirely on self-reported medical history and as a result
   cally apparent oophoritis, which in severe cases could result in             the accuracy of these reports could not be con:finned, although
   infertility caused by nonfunctional ovarian tissue. 33 We were               self-reports of these miscellaneous conditions are unlikely to be
   unable to identify these particular cases in the current analysis and        influenced greatly by case/control status.
   therefore further study is needed to examine the association                    In sumn1ary, most factors that could potentially cause ovarian
   between mumps oophoritis and ovarian cancer.                                 inflammation (such as PID, HPV infection, and postpubertal 1numps)
      While endometriosis is a condition associated with localised              were not associated with a significant elevation in ovarian cancer risk
   inflammation, it is also related to changes in hormone levels                in our study. In addition, the expected corollary, an inverse associa-
   (increased oestrogen unopposed by progesterone) at the site of               tion with regular use of anti-inflammatory medications, was not
   endometriotic implants. 34 Despite this, endometriosis or potential          observed. While some subtype-specific associations were observed,
   symptoms of endometriosis (long or painful periods) were not                 these were not strong and showed no coherent pattern of association
   associated with ovarian cancer risk overall, but there was an                within or across subtypes, aside from the well-recognised increase in
   increased risk of endometrioid and clear cell subtypes among                 risk of endometrioid and clear cell cancers among women with endo-
   women who reported a history of endometriosis. This result was               metriosis. T11e elevation in ovarian cancer risk associated with use of
   anticipated because current epidemiological evidence suggests                talc in the perinea} region that we and others have observed has been
   that endometriosis is most strongly associated with the endome-              regarded as the main evidence supporting an inflammatory mecha-
   trioid and clear cell subtypes of ovarian cancer. 35•36                      nis1n in the development of epithelial ovarian cancer. However, ex-
                                                                                perin1ental evidence that perineal talc use elicits an inflammatory
      Finally, if inflammation did promote epithelial ovarian cancer            response in the ovaries is lacking and overall we conclude that
   development, then it may be reasonably expected that regular use             chronic inflamn1ation does not play a major role in the develop1nent
   of anti-inflammatory medications would reduce risk. However, no
                                                                                of ovarian cancer.
   overall association with ovarian cancer risk was observed in the
   current study. This supports results from 2 recent nleta-analyses,
                                                                                                         Acknowledgements
   which have also not shown that regular use of anti-inflammatory
   medications (aspirin or other NSAIDs) reduces ovarian cancer                    MM was supported by an Australian Postgraduate Award; PW
   risk. 37 •38 Of interest however was the apparent inverse association        is funded by a fellowship from the Queensland Cancer Fund. We
   between NSAID use and the mucinous subtype, which was                        gratefully acknowledge the cooperation of the New South Wales,
   entirely driven by the LMP group. We know from other epidemio-               Queensland, South Australian, Victorian and Western Australian
   logical studies that the aetiology of mucinous tumours differs in a          Cancer Registries as well as all the collaborating institutions rep-
   number of ways from the other subtypes of ovarian cancer, so                 resented within the AOCS Study Group. We are thankful to all of
   NSAID use may be another factor to add to this list. However, this           the study participants, without whom our study would not have
   result awaits confirmation by others.                                        been possible.

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                       Exhibit 44
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Original Contribution

Ovarian Cancer Risk Factors in African-American and White Women




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          Ovarian cancer is the most lethal gynecologic malignancy in both African-American and white women. Although
       prevalences of many ovarian cancer risk factors differ markedly between African Americans and whites, there has
       been little research on how the relative contributions of risk factors may vary between racial/ethnic groups. Using
       data from a North Carolina case-control study (1999–2008), the authors conducted unconditional logistic regres-
       sion analyses to calculate odds ratios and 95% conﬁdence intervals for ovarian cancer risk factors in African-
       American (143 cases, 189 controls) and white (943 cases, 868 controls) women and to test for interactions by race/
       ethnicity. They also calculated attributable fractions within each racial/ethnic group for the modiﬁable factors of
       pregnancy, oral contraceptive use, tubal ligation, and body mass index. Many risk factors showed similar relations
       across racial/ethnic groups, but tubal ligation and family history of breast or ovarian cancer showed stronger
       associations among African Americans. Younger age at menarche was associated with risk only in white women.
       Attributable fractions associated with tubal ligation, oral contraceptive use, and obesity were markedly higher for
       African Americans. The relative importance of ovarian cancer risk factors may differ for African-American women,
       but conclusions were limited by the small sample. There is a clear need for further research on etiologic factors for
       ovarian cancer in African-American women.

       African Americans; case-control studies; ovarian neoplasms



Abbreviations: BMI, body mass index; CI, conﬁdence interval.




   Ovarian cancer is the eighth most common cancer among                         but some racial/ethnic differences were noted, including the
both white and African-American women and the fifth most                         absence of a protective effect for breastfeeding and no in-
common cause of cancer death in the United States (1, 2).                        creased risk associated with a family history of ovarian
African-American women have lower incidence rates than                           cancer among African Americans (3).
white women (10.1 cases/100,000 women vs. 14.1 cases/                               As has been reported by John et al. (4), Ness et al. (3), and
100,000 women) but poorer 5-year survival (1). Despite                           other authors (5–12), the prevalence of many factors asso-
the importance of ovarian cancer as a major cause of mor-                        ciated with risk of ovarian cancer varies markedly between
bidity and mortality, there has been very little research on                     African Americans and whites. African-American women
ovarian cancer among African Americans. Only 2 published                         tend to have a greater number of pregnancies (5, 7), a higher
papers have focused on risk factors for ovarian cancer                           prevalence of tubal ligation (6), a lower prevalence of en-
among African Americans: 1 on a case-control study with                          dometriosis (9), and less use of menopausal hormones
84 cases (3) and 1 on a multicenter analysis of 7 case-control                   (5, 10), all of which would be associated with a lower in-
studies involving 110 cases (4). Both of these reports had                       cidence of ovarian cancer. They also tend to have an earlier
findings that were consistent with the major reproductive                        age at menarche (11), are more likely to be obese (12), and
risk factors identified in white women, including inverse                        are less likely to breastfeed (8), which could contribute to
associations with parity and oral contraceptive use (3, 4),                      higher risk of ovarian cancer. Because most epidemiologic

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                                                                   Ovarian Cancer in African-American and White Women 599


studies of ovarian cancer have enrolled very few African-          Table 1. Clinical and Histologic Characteristics of Epithelial
American women, there is little information on the relative        Ovarian Cancer Cases in African-American and White Women,
importance of these risk factors among African-American            North Carolina Ovarian Cancer Study, 1999–2008
women as compared with white women and the extent to                                                              African
                                                                                                     Whites
which differences in the prevalence of established risk fac-                                                     Americans    P Valuea
tors can explain the lower incidence of ovarian cancer                                             No.    %     No.     %
among African Americans.
                                                                     All cases                     (n ¼ 943)     (n ¼ 143)
   In this paper, we use data from the North Carolina Ovar-
ian Cancer Study to compare risk factors for ovarian cancer              Invasive tumor            746   79.4   111    77.6    0.64
among African-American and white women. We also cal-                     Low-malignant-potential   194   20.6    32    22.4
                                                                             tumor
culate population attributable fractions for risk factors that
are both modifiable and show considerable racial/ethnic dif-             Missing data                3             0
ferences in prevalence to evaluate the relative proportions of       Invasive cases only           (n ¼ 746)     (n ¼ 111)
cases in African-American and white women that are asso-                 Histologic type
ciated with these factors.                                                 Serous                  419   56.2    67    60.4    0.05
                                                                           Clear-cell               82   11.0      2    1.8
MATERIALS AND METHODS
                                                                           Endometrioid            116   15.5    19    17.1
   The North Carolina Ovarian Cancer Study was a population-               Mucinous                 39    5.2      6    5.4
based, case-control study of epithelial ovarian cancer that                Other                    90   12.1    17    15.3
was conducted in a 48-county region of North Carolina                    Stage
between 1999 and 2008. Newly diagnosed cases of epithe-                    I or II                 245   33.1    25    22.7    0.04
lial ovarian cancer were identified through the North Carolina
                                                                           III or IV               496   66.9    85    77.3
Central Cancer Registry using a rapid case ascertainment
system. Pathology reports for eligible cases were sent to the              Missing data              5             1
study office at Duke University Medical Center, and consent              Grade
to contact the women was requested from the treating physi-                Well-differentiated      93   12.9    18    16.8    0.12
cians. Eligible cases were aged 20–74 years at diagnosis, had              Moderately              197   27.2    36    33.6
no prior history of ovarian cancer, resided in the study area,              differentiated
and were cognitively able to give consent and to complete an               Poorly differentiated   433   59.9    53    49.5
interview in English. All cases underwent standardized his-                  or undifferentiated
topathologic review by the study pathologist for confirmation              Missing data             23             4
of the diagnosis. Control women were frequency-matched by            a
age and race/ethnicity to the cases and were recruited from              P values were derived from chi-squared analyses.
the same geographic region using list-assisted random digit
dialing. The eligibility criteria were the same as those for the
cases; in addition, the controls could not have had a bilateral    subjects committees at the North Carolina Central Cancer
oophorectomy.                                                      Registry and each hospital where cases were identified.
   The response rate among the cases was 66.5%, with non-             Nurse-interviewers conducted in-person visits at which
participation being due to death (4.0%), debilitating illness      they obtained written informed consent, administered a 90-
(2.6%), physician refusal (4.7%), patient refusal (11.5%), or      minute questionnaire, drew a blood sample, and performed
an inability to locate the patient (10.7%). Among potential        anthropometric measurements (height, weight, and waist and
controls, screening for eligibility could not be completed for     hip circumferences). Information obtained with the question-
14% of phone numbers. Seventy-three percent of potential           naire included family history of cancer; menstrual character-
controls who passed eligibility screening agreed to be sent        istics such as age at menarche and cycle length; reproductive
information about the study, and 60.1% of those consented          history, including age at each pregnancy, pregnancy duration
to be in the study. Nonparticipation was due to refusal            and outcome, and duration of breastfeeding; type, timing, and
(27.4%) or an inability to contact the person (8.8%). Re-          duration of hormone and contraceptive use; and lifestyle
sponse rates were lower for African Americans than for             characteristics such as smoking history, alcohol consumption
whites (56.6% and 68.3%, respectively, for cases and               during the 5 years before interview, and physical activity.
49.7% and 63.7%, respectively, for controls).                      A life-events calendar, which marked milestones such as
   A total of 1,114 cases were enrolled, of whom 943 (84.6%)       marriages and births, was used to aid recall of reproductive
were white, 143 (12.8%) were African-American, and 28              history and hormone use. Pictures of oral contraceptives,
(2.5%) were of other races/ethnicities. Among the 1,086 con-       menopausal hormones, and certain other medications were
trols, 868 (79.9%) were white, 189 (17.4%) were African-           also used to assist with recall.
American, and 29 (2.7%) were of other races/ethnicities. The
analyses in this report were limited to women whose self-          Statistical analysis
reported race/ethnicity was either white or African-American.
The study protocol was approved by the Duke University                Chi-squared analyses were used to compare clinical and
Medical Center Institutional Review Board and by the human         histologic characteristics of cases between African Americans

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          Table 2. Characteristics of Invasive Epithelial Ovarian Cancer Cases and Controls, by Race/Ethnicity, North
          Carolina Ovarian Cancer Study, 1999–2008

                                                                                                       African
                                                               Whites
                                                                                                      Americans
                                               Cases      Controls                        Cases      Controls
                                             (n 5 746)   (n 5 868)      ORa    95% CI   (n 5 111)   (n 5 189)   ORa    95% CI
                                             No.   %     No.     %                      No.    %    No.   %

            Age, years
              20–39                           38   5.1   81     9.3                     11    9.9   22 11.6
              40–49                          136 18.2 170 19.6                          23 20.7     46 24.3
              50–59                          239 32.0 261 30.1                          37 33.3     67 35.4
              60–69                          232 31.1 240 27.6                          31 27.9     40 21.2
              70–74                          101 13.5 116 13.4                            9   8.1   14    7.4
            Age at menarche, years
              <12                            181 24.4 157 18.2 1.00 Referent            28 25.5     53 28.0 1.00 Referent
              12                            562 75.6 708 81.8 0.67 0.53, 0.86          82 74.5 136 72.0 1.08 0.63, 1.85
              Missing data                     3           3                              1           0
            No. of pregnancies                                                                11
              0                              120 16.1    87 10.0 1.00 Referent          14 12.6     11    5.8 1.00 Referent
              1–2                            319 42.8 348 40.1 0.62 0.45, 0.85          31 27.9     71 37.6 0.34 0.14, 0.82
              3                             307 41.2 433 49.9 0.45 0.33, 0.62          66 59.5 107 56.6 0.44 0.19, 1.05
                   P-trend                                                <0.0001         0           0               0.25
            Age at ﬁrst pregnancy, years
              <20                            173 27.6 202 25.9 1.00 Referent            56 58.3     94 52.8 1.00 Referent
              20–24                          276 44.1 333 42.7 0.93 0.72, 1.21          30 31.3     52 29.2 0.98 0.56, 1.72
              25–29                          137 21.9 151 19.4 1.09 0.80, 1.49            8   8.3   19 10.7 0.73 0.30, 1.79
              30–34                           31   5.0   79 10.1 0.50 0.31, 0.79          1   1.0   10    5.6 0.18 0.02, 1.45
              35                              9   1.4   14     1.8 0.77 0.33, 1.84       1   1.0     3   1.7 0.65 0.07, 6.45
              Missing data                   120         89                             15          11
                   P-trend                                                    0.0004                                  0.15
            Age at last pregnancy, years
              <20                             19   3.0   18     2.3 1.00 Referent       11 11.7     13    7.3 1.00 Referent
              20–24                          134 21.4 147 18.9 0.79 0.39, 1.57          24 25.5     35 19.8 0.82 0.31, 2.14
              25–29                          233 37.3 258 33.1 0.76 0.38, 1.49          25 26.6     51 28.8 0.57 0.22, 1.45
              30–34                          161 25.8 230 29.5 0.60 0.30, 1.18          22 23.4     48 27.1 0.54 0.21, 1.40
              35                             78 12.5 126 16.2 0.53 0.26, 1.08          12 12.8     30 16.9 0.43 0.15, 1.23
              Missing data                   121         89                             17          12
                   P-trend                                                <0.0001                                     0.04
            Ever breastfeeding
              No                             521 69.8 542 62.4 1.00 Referent            75 67.6 135 71.4 1.00 Referent
              Yes                            225 30.2 326 37.6 0.73 0.59, 0.90          36 32.4     54 28.6 1.16 0.69, 1.93
              Missing data                     0           0                              0           0
            Tubal ligation
              No                             559 75.0 579 66.8 1.00 Referent            77 69.4     93 49.2 1.00 Referent
              Yes                            186 25.0 288 33.2 0.68 0.54, 0.84          34 30.6     96 50.8 0.43 0.26, 0.71
              Missing data                     1           1                              0           0
            Duration of oral contraceptive
                   use, years
              Never use                      244 34.5 239 28.3 1.00 Referent            47 43.9     58 32.2 1.00 Referent
              <1                              99 14.0    92 10.9 1.09 0.77, 1.52        15 14.0     14    7.8 1.36 0.59, 3.14
              1–<5                           166 23.4 228 27.0 0.75 0.57, 0.99          24 22.4     57 31.7 0.54 0.28, 1.04
              5                             199 28.1 285 33.8 0.73 0.55, 0.96          21 19.6     51 28.3 0.53 0.27, 1.03
              Missing data                    38         24                               4           9
                                                                                                                Table continues

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             Table 2. Continued

                                                                                                       African
                                                                Whites
                                                                                                      Americans
                                                Cases      Controls                       Cases      Controls
                                              (n 5 746)   (n 5 868)      ORa   95% CI   (n 5 111)   (n 5 189)   ORa   95% CI
                                              No.   %     No.     %                     No.   %     No.   %

               Use of menopausal
                     hormones
                   No                        276 37.0 456 52.6 1.00 Referent             75 68.8 148 78.3 1.00 Referent
                   Yes                       470 63.0 411 47.4 1.85 1.50, 2.28           34 31.2    41 21.7 1.54 0.90, 2.66
                   Missing data                 0           1                             2           0
               Hysterectomy
                   No                        537 72.2 667 76.9 1.00 Referent             82 73.9 145 76.7 1.00 Referent
                   Yes                       207 27.8 200 23.1 1.22 0.97, 1.54           29 26.1    44 23.3 1.07 0.61, 1.87
                   Missing data                 2           1                             0           0
               History of infertility
                   No                        651 87.3 783 90.2 1.00 Referent            102 91.9 175 92.6 1.00 Referent
                   Yes                         95 12.7     85    9.8 1.38 1.01, 1.89      9   8.1   14    7.4 1.13 0.47, 2.73
                   Missing data                 0           0                             0           0
               History of endometriosis
                   No                        650 87.7 793 92.3 1.00 Referent            109 98.2 184 98.4 1.00 Referent
                   Yes                         91 12.3     66    7.7 1.76 1.26, 2.46      2   1.8     3   1.6 1.16 0.19, 7.08
                   Missing data                 5           9                             0           2
               First-degree family history
                      of breast or ovarian
                      cancer
                   No                        582 78.1 720 83.1 1.00 Referent             69 62.2 159 84.1 1.00 Referent
                   Yes                       163 21.9 146 16.9 1.33 1.04, 1.71           42 37.8    30 15.9 3.15 1.82, 5.45
                   Missing data                 1           2                             0           0
               Talc use
                   No                        328 59.6 325 61.0 1.00 Referent             45 54.2    75 56.0 1.00 Referent
                   Yes                       222 40.4 208 39.0 1.04 0.82, 1.33           38 45.8    59 44.0 1.19 0.68, 2.09
                   Missing data              196          335                            28         55
               Body mass indexb 1 year
                     before diagnosis or
                     interview
                   <25                       312 43.3 369 43.7 1.00 Referent             17 15.9    31 17.1 1.00 Referent
                   25–<30                    212 29.4 256 30.3 0.96 0.76, 1.22           26 24.3    58 32.0 0.84 0.39, 1.78
                   30–<35                    114 15.8 124 14.7 1.08 0.80, 1.45           22 20.6    43 23.8 0.94 0.43, 2.07
                   35                         83 11.5     95 11.3 1.04 0.75, 1.45       42 39.3    49 27.1 1.62 0.79, 3.35
                   Missing data                25          24                             4           8
               Height, m
                   <1.6                      195 26.2 242 27.9 1.00 Referent             25 22.7    57 30.2 1.00 Referent
                   1.6–<1.7                  430 57.8 483 55.8 1.13 0.90, 1.42           64 58.2 102 54.0 1.48 0.84, 2.62
                   1.7                      119 16.0 141 16.3 1.11 0.81, 1.51           21 19.1    30 15.9 1.74 0.83, 3.65
                   Missing data                 2           2                             1           0

               Abbreviations: CI, conﬁdence interval; OR, odds ratio.
               a
                 Adjusted for age.
               b
                 Weight (kg)/height (m)2.



and whites. Unconditional logistic regression analyses were                number of pregnancies, duration of oral contraceptive use,
used to calculate age-adjusted and multivariable-adjusted                  history of tubal ligation, family history of breast and ovarian
odds ratios and 95% confidence intervals separately for each               cancer, and body mass index (BMI; weight (kg)/height
racial/ethnic group. Variables included in the race/ethnicity-             (m)2). The variables included in multivariable models were
specific multivariable models were age, age at menarche,                   selected a priori and included the most well-established risk

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factors for ovarian cancer as well as BMI, because of the          in both racial/ethnic groups, with a stronger association
pronounced racial/ethnic differences in the prevalence of          among African Americans. Later age at menarche and his-
obesity. We also conducted multivariable analyses limited          tory of ever breastfeeding were associated with reduced
to parous women that included all of the above variables           risk in white women, whereas no association was observed
plus breastfeeding. Finally, to test for interactions, we fitted   among African Americans. Analyses of anthropometric
models for women of both racial/ethnic groups combined             characteristics suggested that taller height and BMI 35
which included a term for race/ethnicity and product terms         may be associated with risk among African-American
for race/ethnicity 3 age at menarche, race/ethnicity 3             women but not among white women.
breastfeeding, and race/ethnicity 3 family history of breast          In multivariable models (Table 3), results were generally
or ovarian cancer.                                                 similar to those observed in the age-adjusted models. The
   Population attributable fractions were calculated using         association with age at menarche 12 years appeared to
the method described by Bruzzi et al. (13) for the potentially     differ by race/ethnicity, with an odds ratio of 1.30 (95%
modifiable factors tubal ligation (yes vs. no), oral contra-       confidence interval (CI): 0.67, 2.53) for African Americans
ceptive use (1 year vs. <1 year), history of pregnancy            rather than the expected inverse association. The strength of
(ever vs. never), and BMI (<30 vs. 30). For these anal-           the association with family history of breast or ovarian can-
yses, the reference categories were assigned to the lower risk     cer also appeared to differ by race/ethnicity. P values for the
category (i.e., having had a tubal ligation, oral contraceptive    interaction terms were 0.032 for race/ethnicity 3 family
use for 1 year, ever being pregnant, and BMI <30) so the          history and 0.068 for race/ethnicity 3 age at menarche. In
attributable fraction could be interpreted as the proportion of    models limited to parous women that included all of the
cases that theoretically could be eliminated if all women in       variables in Table 3 plus history of breastfeeding, white
the population were shifted to the low risk category.              women who had breastfed had a nonsignificantly reduced
                                                                   risk (odds ratio ¼ 0.83, 95% CI: 0.65, 1.06), whereas there
RESULTS                                                            was no suggestion of a protective effect among African-
                                                                   American women (odds ratio ¼ 1.09, 95% CI: 0.57, 2.07).
   The tumor characteristics of the ovarian cancer cases are          In addition to some differences between African Americans
presented in Table 1 by race/ethnicity. The proportions of         and whites in the magnitude of associations with certain risk
cases that were invasive were similar for African Americans        factors, there were marked racial/ethnic differences in the
and whites (78% and 79%, respectively). Because low-               prevalences of a number of risk factors considered. For
malignant-potential ovarian cancer may be etiologically dis-       example, prevalences in African-American and white con-
tinct from invasive cancer (14, 15), we focused the remainder      trols, respectively, were 29% and 18% for age at menarche
of our analyses on invasive disease. Among invasive cases,         less than 12 years, 6% and 10% for nulligravidity, 51% and
the most important histologic differences were that tumors in      33% for tubal ligation, and 51% and 26% for BMI 30
African Americans were less likely to be clear-cell and more       (Table 3). We therefore hypothesized that the relative con-
likely to be of a histologic type other than the 4 primary types   tribution of established risk factors for ovarian cancer could
(serous, endometrioid, mucinous, and clear-cell). African-         vary considerably between African Americans and whites.
American women were more likely to be diagnosed with               To address this, we calculated population attributable frac-
higher-stage disease and somewhat less likely to have poorly       tions for the potentially modifiable risk factors of pregnancy,
differentiated tumors, although the differences in grade were      oral contraceptive use, BMI, and tubal ligation. As Table 4
not statistically significant.                                     shows, the attributable fractions for not having a tubal liga-
   Comparisons of risk factors for ovarian cancer among            tion, high BMI, and no oral contraceptive use were consid-
African-American and white women are presented in Table 2.         erably higher for African Americans than for whites,
Because age-matching was based on all cases but this anal-         reflecting the stronger associations and/or higher prevalence
ysis was restricted to invasive cases, who are on average          of these factors among African Americans.
older than low-malignant-potential cases, the age distribu-
tion of the controls was slightly younger than that of the
cases.                                                             DISCUSSION
   In age-adjusted analyses, many of the major reproduc-
tive factors that have been associated with ovarian cancer            Our analyses of ovarian cancer risk factors in African-
risk among white women were similarly related to risk              American and white women show similar relations for sev-
among African-American women. Women who were par-                  eral characteristics, including inverse associations with
ous, had a later age at last pregnancy, had used oral contra-      parity, oral contraceptive use, and tubal ligation, but there
ceptives for 1 year or more, or had had a tubal ligation were      are also suggestions of racial/ethnic differences in either the
at reduced risk of invasive ovarian cancer; however, there         direction or the magnitude of association for other risk fac-
was not strong evidence of a linear relation with number of        tors. History of breastfeeding and later age at menarche were
pregnancies for African-American women. History of in-             both associated with reduced risk among whites, whereas
fertility or endometriosis was associated with a signifi-          these associations were absent among African Americans.
cantly increased risk for white women and a modestly               Family history of breast or ovarian cancer was associated
but not significantly increased risk for African-American          with increased risk for both African Americans and whites,
women. Family history of breast or ovarian cancer in               but the association was considerably stronger for African-
a first-degree relative was associated with increased risk         American women. We considered the possibility that the

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            Table 3. Odds Ratios for Invasive Epithelial Ovarian Cancer (Multivariable Logistic Regression Models) in African-
            American and White Women, North Carolina Ovarian Cancer Study, 1999–2008

                                                                                                     African
                                                            Whites
                                                                                                    Americans
                                           Cases       Controls                         Cases     Controls
                                                                     ORa    95% CI                           ORa     95% CI
                                         No.    %     No.     %                        No.   %    No.   %

              Age, years (continuous     715          837            1.01 1.00, 1.02   106        181        1.00 1.00, 1.02
                    variable)
              No. of pregnancies
                  0                      114 15.9      84 10.0 1.00         Referent    14 13.2    11   6.1 1.00    Referent
                  1–2                    306 42.8     332 39.7 0.66 0.47, 0.94          29 27.4    68 37.6 0.28 0.09, 0.86
                  3                     295 41.3     421 50.3 0.46 0.32, 0.65          63 59.4   102 56.4 0.52 0.17, 1.62
              Age at menarche, years
                  <12                    172 24.1     151 18.0 1.00         Referent    26 24.5    52 28.7 1.00     Referent
                  12                    543 75.9     686 82.0 0.65 0.50, 0.84          80 75.5   129 71.3 1.30 0.67, 2.53
              Tubal ligation
                  No                     535 74.8     561 67.0 1.00         Referent    73 68.9    89 49.2 1.00     Referent
                  Yes                    180 25.2     276 33.0 0.74 0.58, 0.94          33 31.1    92 50.8 0.43 0.24, 0.80
              Duration of oral
                     contraceptive
                     use, years
                  Never use              233 34.1     225 27.6 1.00         Referent    45 43.3    55 32.0 1.00     Referent
                  <1                      95 13.9      88 10.8 1.18 0.82, 1.69          15 14.4    14   8.1 1.89 0.73, 4.95
                  1–<5                   162 23.7     222 27.2 0.78 0.58, 1.05          23 22.1    55 32.0 0.72 0.34, 1.53
                  5                     193 28.3     281 34.4 0.73 0.54, 0.97          21 20.2    48 27.9 0.52 0.24, 1.15
                  Missing data            32           21                                2          9
              Family history of breast
                 or ovarian cancer
                  No                     559 78.2     697 83.3 1.00         Referent    66 62.3   153 84.5 1.00     Referent
                  Yes                    156 21.8     140 16.7 1.31 1.00, 1.72          40 37.7    28 15.5 2.73 1.45, 5.14
              Body mass indexb 1 year
                    before diagnosis/
                    interview
                  <25                    309 43.2     368 44.0 1.00         Referent    17 16.0    31 17.1 1.00     Referent
                  25–<30                 211 29.5     254 30.3 0.92 0.71, 1.18          26 24.5    58 32.0 0.96 0.40, 2.30
                  30–<35                 112 15.7     122 14.6 1.17 0.85, 1.61          22 20.8    43 23.8 1.32 0.53, 3.26
                  35                     83 11.6      93 11.1 1.03 0.72, 1.47          41 38.7    49 27.1 1.52 0.65, 3.56

              Abbreviations: CI, conﬁdence interval; OR, odds ratio.
              a
                Adjusted for all of the variables in the table.
              b
                Weight (kg)/height (m)2.




stronger association in African-American women was due to                  associations were true associations and which were chance
inaccurate reporting; however, the prevalences of a family                 findings.
history of breast or ovarian cancer were very similar among                   The modest sample size also precluded us from conduct-
African-American and white controls, which argues against                  ing analyses within subgroups defined by either menopausal
there being differential reporting of family history across                status or histologic type. Several reports have suggested that
racial/ethnic groups.                                                      reproductive risk factors and high BMI are more strongly
   Although these observed racial/ethnic differences in the                associated with premenopausal disease (16–23). However,
magnitude or direction of associations with established                    with only 38 premenopausal African-American cases in our
ovarian cancer risk factors are intriguing, the limitations                study population, analyses stratified by menopausal status
of our analyses must be acknowledged. The North Carolina                   would not have yielded meaningful results. Similarly, the
Ovarian Cancer Study included more African-American                        sample was too small for us to explore differences in risk
women than any other study of ovarian cancer, but the rel-                 factors by histologic subtype. The relatively small number
atively small sample made it difficult to ascertain which                  of African-American cases also led us to dichotomize some

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             Table 4. Odds Ratios for Invasive Epithelial Ovarian Cancer and Population Attributable Fractions for Selected
             Ovarian Cancer Risk Factors in African-American and White Women, North Carolina Ovarian Cancer Study,
             1999–2008

                                                                                                            African
                                                                Whites
                                                                                                           Americans
                                                No. of No. of                              No. of No. of
                                                               ORa       95% CI     AF                    ORa       95% CI      AF
                                                Cases Controls                             Cases Controls

               Tubal ligation
                   Yes                          168      269     1.00 Referent 0.204        33        91     1.00 Referent 0.341
                   No                           515      547     1.37 1.08, 1.73            71        81     2.00 1.15, 3.48
                                 b
               Body mass index
                   <30                          494      611     1.00 Referent 0.030        42        86     1.00 Referent 0.209
                   30                          183      205     1.12 0.89, 1.42            62        86     1.54 0.91, 2.62
               Duration of oral contraceptive
                   use, years
                   1                           355      503     1.00 Referent 0.119        44      103      1.00 Referent 0.245
                   <1                           328      313     1.33 1.06, 1.67            60        69     1.74 0.99, 3.05
               Ever being pregnant
                   Yes                          575      734     1.00 Referent 0.052        91      164      1.00 Referent 0.079
                   No                           108       82     1.49 1.06 2.08             14         8     2.43 0.88, 6.73

               Abbreviations: AF, attributable fraction; CI, conﬁdence interval; OR, odds ratio.
               a
                 Adjusted for all of the variables in the table, as well as age, age at menarche, family history of breast or ovarian
             cancer, and breastfeeding.
               b
                 Weight (kg)/height (m)2.


variables of interest in our analyses and dictated that we                  the study appeared to be representative of the ovarian cancer
limit the number of potential confounders evaluated in our                  cases diagnosed in our catchment area.
multivariable models. A larger sample would have afforded                      Nonparticipation also has the potential to introduce bias if
us the opportunity to further explore the effects of the timing             participating cases and controls differ from persons who
and duration of oral contraceptive use and the timing of                    decline to participate in the study. Although we had no risk
pregnancies or tubal ligation.                                              factor information on nonparticipants with which to assess
   Additional limitations of our analysis included those re-                their similarity with women who participated in the study,
lated to the case-control method. The possibility of bias being             the associations we observed for white women within our
introduced due to nonparticipation of ovarian cancer cases                  study population are consistent with established ovarian
and controls should be considered. Although we used rapid                   cancer risk factors, which argues against our results’ being
case ascertainment to identify cases within 2 months of                     biased due to nonparticipation.
diagnosis and the median time to case interview was 4.5                        Despite the limited sample of African-American women,
months, which should have minimized survival bias, there                    the descriptive characteristics of our population and the at-
is a possibility that cases who participated differed from those            tributable fraction analyses suggest that the relative impor-
who did not. When we compared the tumor characteristics of                  tance of ovarian cancer risk factors may vary between
ovarian cancer cases who were identified as eligible but did                African Americans and whites because of the substantial
not participate (because of death, lack of physician consent,               differences in the prevalence and strength of associations
participant refusal, or inability to contact them) with the tu-             with factors such as tubal ligation and obesity. Tubal liga-
mor characteristics of cases who did participate, we found                  tion, which had a stronger association with ovarian cancer
that the proportion of invasive cases was slightly smaller                  among African Americans and is considerably more com-
among participants than among nonparticipants. This is not                  mon among African Americans in our study population as
a surprising finding, given that cases who died quickly or for              well as in national surveys (6), could be an important
whom physicians did not give consent were more likely to                    explanatory factor for the lower rates of ovarian cancer
have advanced disease. Among the invasive cases that were                   among African Americans.
the focus of most of our analyses, we found no statistically                   Obesity, which has shown modest associations with ovar-
significant differences in the proportions of higher-stage can-             ian cancer risk in the majority of studies (22, 24–26), may
cers between participants and nonparticipants. The racial/                  be a considerably more important risk factor for African-
ethnic differences in histologic type that we observed among                American women, as evidenced by the markedly higher
participants (i.e., a lower proportion of clear-cell tumors and             attributable fraction for obesity that we observed in our data.
a higher proportion of tumors of ‘‘other’’ histologic types                 Consistent with national statistics (12), our data showed
among African Americans) were also observed among the                       a much higher prevalence of obesity among African Amer-
nonparticipating cases. Thus, the invasive cases enrolled in                icans than among whites. In particular, severe obesity

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(BMI 35), which had a threefold higher prevalence among         REFERENCES
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especially relevant as a risk factor for ovarian cancer among     1. Ries LA, Melbert D, Krapcho M, et al, eds. SEER Cancer Sta-
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African Americans. Some investigators have reported either
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stronger for premenopausal ovarian cancer than for post-             relating to ovarian cancer risk: collaborative analysis of seven
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ovarian cancer diagnosed at a younger age. This is consis-        6. Godecker AL, Thomson E, Bumpass LL. Union status, marital
tent with the higher proportion of premenopausal ovarian             history and female contraceptive sterilization in the United
cancer cases in African Americans as compared with whites            States. Fam Plann Perspect. 2001;33(1):35–41.
(34% vs. 26%) and the younger mean age at diagnosis (54.8         7. Martin JA, Hamilton BE, Sutton PD, et al. Births: final data for
years vs. 57.4 years) that we observed in our population and         2005. Natl Vital Stat Rep. 2007;56(6):1–103.
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                                                                  9. Missmer SA, Hankinson SE, Spiegelman D, et al. Incidence of
which could be indicative of higher genetic risk.                    laparoscopically confirmed endometriosis by demographic,
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white women because of differences in the prevalence of          10. Marsh JV, Brett KM, Miller LC. Racial differences in hormone
and strength of associations with characteristics such as            replacement therapy prescriptions. Obstet Gynecol. 1999;93(6):
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ity in African Americans, there is a clear need for additional       2006;295(13):1549–1555.
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                       Exhibit 45
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   Markers of inflammation and risk of ovarian cancer in Los Angeles County
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   1
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   Factors that increase inflam1nation have been suggested to influ-        Material and methods
   ence the development of ovarian cancer, but these factors have not
                                                                            Study design
   been well studied. To further investigate this question, we studied
   the role of talc use, history of endometrioisis and use of non-steroi-      This was a population-based case-control study of ovarian can-
   dal anti-inftam1natory drugs (NSAIDs) and risk of ovarian cancer         cer. Eligible patients were English speaking residents of Los
   in a population-based case-control study in Los Angeles County           Angeles County between the ages of 18 and 74 inclusive who had
   involving 609 women with newly diagnosed epithelial ovarian can-         histologically confirmed invasive or borderline (low n1alignant
   cer and 688 population-based control women. Risk of ovarian can-         potential; LMP) ovarian cancers that were first diagnosed from
   cer increased significantly with increasing frequency and duration       1998 to 2002. The cases were identified by the Cancer Surveil-
   of talc use; compared to never users risk was highest among long-
                                                                            lance Program (CSP), part of the National Cancer Institute's
   duration (20+ years), frequent (at least daily) talc users (adjusted
   relatiYe risk (RR) = 2.08, 95% confidence interval (Cl) = 1.34-          Surveillance, Epidemiology and End Results (SEER) Program,
   3.23). A history of physician-diagnosed endometriosis was statisti-      covering all residents of Los Angeles County.
   cally significantly associated with risk (RR = 1.66, 95% CI =               A total of 1,097 patients meeting the pathological case defini-
   1.01-2.75). Women who were talc users and had a history ofendo-          tion were identified by the CSP. Of these, 136 patients had died or
   metriosis showed a 3-foJd increased risk (RR = 3.12, 95% CI =            were too ill to be interviewed by the time we contacted them, 109
   1.36-7.22). Contrary to the hypothesis that risk of oYarian cancer       patients had moved away from Los Angeles County and could not
   may be reduced by use of NSAIDs; risk increased with increasing          be interviewed in person or they could not be located and 151
   frequency (per 7 times/week, RR = 1.27, 95o/o CI :;; 1.14-1.43)
   and years of NSAID use (per 5 years of use, RR :;; 1.25, 95% CI=         patients declined to be interviewed. Interviews were conducted
   1.10-1.42); this was consistent across types of NSAIDs. We con-          with 701 ovarian cancer patients of whom 15 were later identified
   clude that risk of ovarian cancer is significantly associated with       who did not have ovarian cancer and they were excluded from all
   talc use and with a history of endometriosis, as has been found in       analyses. Of the 686 ovarian cancer patients interviewed, 77 had a
   previous studies. The NSAID finding was unexpected and suggests          previous cancer (excluding non-melanoma skin cancer) before
   that factors associated with inflammation are associated with            their diagnosis of ovarian cancer and were excluded from this
   ovarian cancer risk. This result needs confirmation with careful         report because their previous cancer diagnosis and/or treatment
   attention to the reasons for NSAID use.                                  may have influenced use of NSAIDs and other risk factors. This
   © 2008 Wiley-Liss, Inc.                                                  left 609 ovarian cancer cases for the present analysis, 81 o/o were
                                                                            invasive tumors [22% localized stage (Stage 1 or 2), 59o/o
   Key words: talc; endometriosis; non-steroidal anti-inflan11natory        advanced stage (Stage 3 or greater) and 19% were LMP tumors.
   drugs; ovarian cancer                                                    The cell type distribution is as follows: 58% serous, 14% clear
                                                                            cell/endometrioid, 12% mucinous and 16% other category.
                                                                               Controls were identified through a well-established neighbor-
      In 1999, Ness and Cottreau proposed that chronic infta1nma-           hood recruitment algorithm, which we have used successfully in
   tion may lead to the development of epithelial ovarian cancer. 1         previous studies of breast, endometrial and other cancers to inves-
   They hypothesized that factors including talc exposure, endo-            tigate the role of hormonal and non-hormonal medications and
   metriosis and pelvic inflammatory disease (PID) may increase             other factors. 4 For this study, controls were women with at least
   risk by a common pathway, increasing local inflammation of               one intact ovary, with no history of cancer, except possibly non-
   the "ovarian epithelium." They also suggested that studying              melanoma skin cancer, and individually matched with patients on
   the effect of non-steroidal anti-inflammatory drugs (NSAIDs)             race/ethnicity (non-Hispanic White, African-American, Hispanic,
   may offer additional opportunities to evaluate the inflammation          Asians) and date of birth ( +/-5 years). Neighborhood controls
   hypothesis. In a 2008 paper, Merritt et al. 2 studied the role of        were sought by one of our staff who physically canvassed the
   infta1nmation, based on histories of talc use, PID, endometriosis        neighborhood of the case using a systematic algorithm based on
                                                                            the address of the case. If the first eligible matched control
   and use of NSAIDs in the same study. They concluded that
                                                                            declined to participate, the second eligible matched control in the
   chronic inflammation is unlikely to play an important role
                                                                            sequence was asked, and so on. Letters were left when no one was
   because risk of ovarian cancer was modestly increased in asso-
                                                                            at home, and follow-up by mail, telephone and further visits to the
   ciation with talc use and history of endometriosis and was               neighborhood continued until either an eligible control agreed to
   unrelated to use of NSAIDs but they restricted attention to              be interviewed or 150 housing units had been screened. When we
   medication use in the 5 years pri?or to diagnosis of ovarian can-        failed to identify an exact race/ethnicity matched control, we
   cer, rather than long-term use.- No support for the use of
   NSAIDs was found in a recent study conducted in Seattle,
   Washington which collected infom1ation on lifetime medication               Grant sponsor: California Cancer Research Program; Grant number:
   use. These investigators found increased risk of ovarian cancer          2110200. Grant sponsor: National Cancer Institute; Grant number: PO I CA
   in association with use of acetaminophen, aspirin and other              17054. Grant sponsor: National Cancer lnstitute's Division of Cancer Pre-
   NSAIDs, particularly among long (10+ years) term users.3 We              vention and Control's Surveillance, Epidemiology, and End Results
                                                                            (SEER) Program; Grant number: N01CN25403.
   have conducted a population-based case-control study of ovar-              *Correspondence to: University of Southern California/Norris Com-
   ian cancer in Los Angeles County to further investigate the              prehensive Cancer Center, 1441 Eastlake Avenue, MC 9175, Los Angeles,
   role of inflan11nation in the risk of ovarian cancer. We focused         CA 90089-9175, USA. Fax: +[(323) 865-0139].
   our attention on risk in relation to lifetime use of talc, NSAIDs        E-mail: annawu@usc.edu
                                                                              Received 18 July 2008; Accepted after revision 1 October 2008
   and history of various gynecological conditions. We are partic-            DOI 10.1002/ijc.24091
   ularly interested in risk pattenrn associated with long duration           Published on line 21 October 2008 in Wiley InterScience (www.interscience.
   of NSAID use. We report our results herein.                              wiley.com).


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                 Publication of the lntemaf1onal Union Against Cancer
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   accepted a control subject who was matched on age. A total of                    TABLE I - DEMOGRAPHIC AND OTHER CHARACTERISTICS
                                                                                       OF OVARIAN CANCER PATIENTS AND CONTROLS
   688 control women were successfully interviewed by the closing
   date of the study. The first eligible match was interviewed for                                       Cases   Controls     RR
   76% of the patients, and the second match for another 17% and                                        N=609    N=688
   the third or later match for 6% of the patients. On average, we            Race/ethnicity
   contacted a median number of 19 housing units to interview a                 Non-Hispanic White       381       503
   matched control subjects for those neighborhoods with no refusal,            Black                     41        44
   a median of 36 housing units for those neighborhoods with 1 re-              Hispanic                 136       103
   fusal and 58 housing units when there were 2 or more refusals.               Asian                     51        38
                                                                              Age
      Study participants were interviewed using a comprehensive                 :<;34                     40        36
   questionnaire that covered medical, gynecological, reproductive              35-44                     92       138
   and lifestyle history. All but 15 participants were interviewed in-          45-54                    162       227
   person; cases and their matched controls were interviewed by the             55-<54                   149       162
   same person in almost all instances. A reference date was defined            65+                      166       125
   as 2 years before the date of diagnosis of the case. This same refer-      Education
   ence date was used for each case's matched control subject. Cal-             ::;high school            92        50
   endars were used to chart major life events and reproductive and             Some college             109        81
                                                                                College graduate         223       242
   contraceptive histories. Specifically, participants were asked if
                                                                                Graduate                 185       315
   they were ever told by a physician that they had certain gyneco-           Family history of ovarian cancer
   logical conditions including PID, gonorrhea, endometriosis, ovar-            No                       581       672       1.00
   ian cysts, or uterine fibroids before the reference date. If the             Yes                       26        16       1.76     0.89-3.47
   response was yes to any of the conditions, participants were then            p-value                                      0.10
   asked the age at which they were first diagnosed with the condi-           Number oflivebirth
   tion and if they had ever been treated for the condition. To deter-          0                        156       149       1.00
   mine the use of talcum powder, participants were asked if they               I                         98       110       0.76     0.52-1.12
   ever used talc at least once per month for 6 months or more. If the          2                        157       202       0.61     0.43-0.86
                                                                                3                        109       118       0.61     0.41-0.90
   response was positive, we then asked whether they had ever used              4+                        89       109       0.34     0.22-0.53
   talc in nonperinea] areas (feet, arms, chest or back), perinea! areas,       p trend                                     <0.0001
   or on underwear or sanitary pads/diaphragm. Questions on talc use          Oral contraceptives
   included age at first use, frequency of use (times per month) and            Oyr                      241       189       1.00
   years of talc use. Few of the talc users (13 cases, 11 controls) had         >0 to <5 yr              259       261       0.98     0.73-1.32
   a tubal ligation or hysterectomy before they started using talc; the         ?-5 to <10 yrs            57       \12       0.54     0.36-0.82
   numbers were too sparse to detennine for certain the effect of talc          ?-10yrs                   52       126       0.40     0.26-0.61
   use in this group and these 24 users were included with the nonus-           p trend                                     <0.0001
                                                                              Tubal ligation
   ers in subsequent analyses on frequency and duration of talc use.            No                       531       553       1.00
   Results were unchanged when we excluded these 24 users from                  Yes                       78       135       0.66     0.47-0.93
   the analysis (data not shown).                                               p value                                      0.017
      We asked the participants whether they took prescription or              1
   nonprescription NSAIDs for various conditions including back                 Adjusted for race/ethnicity, age, education, tubal ligation, family
                                                                            history of ovarian cancer, menopausal status, use of oral contracep-
   trouble, arthritis, headaches, migraine headaches, dental problems,      tives, and parity.
   sinus trouble, colds or sore throats, menstrual pain or cramps or
   any other reason. They were also asked if they took any of these
   medications for prevention reasons, such as for prevention of heart
   attack. We explicitly asked about usage patterns of 10 common            nledication (years of use of different medications 1nay be overlap-
   over-the-counter NSAIDs (regular aspirin, buffered aspirin, Ana-         ping). The no use category included never users, occasional users
   cin, AFC, Tylenol, Excedrin, Advil, Nuprin, Coricidin, Dristan),         and those who only started to use a particular medication within
   12 prescription brand-name NSAIDs (Clinoril, Motrin, Anaprox,            the interval beginning 2 years before date of diagnosis for case
   Feldene, Empirin with codeine, Tylenol with codeine, Darvocet,           patients and the same reference period for controls to avoid
   Indocin, Fiorinal, Percocet-5, Percodan, Naprosyn) and two COX-          including medication use because of early symptoms in cancer
   2 inhibitors (Celebrex, Vioxx). We also asked the participants if        patients. We also repeated the analyses excluding first use of med-
   they had used any NSAIDs that were not on our list and recorded          ication within 5 years of diagnosis. In addition, we evaluated
   the drug name and details of use. Respondents were also asked            effect modification of the NSAIDs-ovarian cancer association by
   about use of 4 common diuretics; these medications are not               race/ethnicity, education, menopausal status, tumor stage, history
   hypothesized to be related to ovarian cancer risk, but they were         of endometriosis, talc use and frequency of Pap smears in the 10
   included as a check of differential recall between cases and con-        years before reference date.
   trols. Taking a specific nledication 2 or more times a week for 1           The study was approved by the Institutional Review Board
   month or longer was categorized as "use"; otherwise participants         of the Keck School of Medicine at the University of Southern
   were considered "non-users." Participants were asked about the           California. Informed consent was obtained from each case and
   ages at first and last use, duration of use, usual frequency of use      control before her interview.
   and the pri1nary reason for such use. All of the medications data
   were categorized into the following groups based on their compo-
   nents: aspirin, acetaminophen, other NSAIDs, COX-2 inhibitors            Statistical methods
   and diuretics.                                                              We calculated odds ratios as estimates of relative risk (RR),
      Total duration and frequency of the main classes of medication        their corresponding 95o/o confidence intervals (Cls) and statistical
   (aspirin, acetaminophen, other NSAIDs) were calculated by sum-           significance (p) values. We used conditional stratified logistic
   n1ing all use of the same class of medication for each person (there     regression analysis, with stratification sets defined jointly by age
   were few users of COX-2 inhibitors, thus results are not shown).         ( <35, 35-44, 45-54, 55-64, 2::_65) and race/ethnicity (non-His-
   We also created a combined variable representing use of all              panic White, African-Atnerican, Hispanic, Asians). All regression
   NSAIDs. Duration of use was categorized as no use, less than 5           models also included as categorical covariates education level
   years, 5-10 years and >10 years of use of the specific type of           (high school or less, some college, college graduate, >college),
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                                                RISK OF OVARIAN CANCER IN LOS ANGELES COUNTY                                                 1411
                               TABLE II- MULTIVARIABLE RRS (95% CIS) FOR TALC USE AND RISK OF OVARIAN CANCER
                                                                                                                             1
                                                                          Cases       Controls        RR            95% CI

                        Talc use
                        No 2                                              363          469           1.00
                        Yes                                               242          219           1.48         1.\5-1.91
                                                 3
                           Yes, non-perinea! area                         112          103           1.43         1.03-1.98
                           Yes, perineal area                             130          116           1.53         1.13-2.09
                        Frequency and duration of talc use
                        No                                                363          469           1.00
                        1 ::;'.20 yrs and ::;10 times/Inonth               35           31           1.36         0.79-2.32
                        1 ::;20yrsand>10 to ::;30 times/month              23           30           1.16         0.63-2.12
                        1 ::;'.20 yrs and > 30 times/month                 21           21           1.23         0.63-2.41
                        >20 yrs and ::; 10 times/month                     45           49           1.27         0.80-2.01
                        > 20 yrs and > 10 to :::;30 tiines/month           51           43           1.57         0.99-2.50
                        >20 yrs and >30 times/month                        67           45           2.08          l.34-3.23
                        p (6 df)                                                                                  p ~ 0.032
                        Total times of talc use
                        No                                                363          469           1.00
                        $5200                                              49           52           1.20         0.77-1.88
                        >5200 to ::;15600                                  46           47           1.38         0.87-2.20
                        > 15,600 to $52000                                 63           61           1.34         0.89-2.02
                        >52000                                             84           59           1.99         1.34-2.96
                        p (1 df)                                                                                 p ~ 0.0004
                        Total times of talc use
                        No                                                363          469           1.00
                        Before 1975
                        $5200                                              24            35          0.84         0.47-1.51
                        >5200 to $15600                                    29            29          1.41         0.79-2.53
                        > 15,600 to $52000                                 49            45          1.45         0.91-2.31
                        >52000                                             82            58          1.93         1.29-2.88
                        After 1975
                        $5200                                              25            17          1.95         0.98-3.89
                        >5200 to $15600                                    17            18          1.17         0.56-2.48
                        >15,600                                            16            17          0.98         0.45-2.13
                         1
                           Adjusted for race/ethnicity, age, education, tubal li~ation, family history of breast/ovarian cancer,
                      menopausal status, use of oral contraceptives and parity.- Subjects (13 Cases, 11 Controls) reported tubal
                      ligation and/or hysterectomy before started talc use and were included with the never users.-3Included
                      arms and extremities.



   age at menarche (<=11, 12, 13, 14+), parity (0, 1, 2, 3, 4+               use was relatively modest among users of less than 20 years but
   births), use of oral contraceptives (none, >0 to <5, 5 to <10, 10+        there was a clear trend of increasing risk with increasing fre-
   years), family history of breast/ovarian cancer (no/yes), menopau-        quency of use among longer duration (>20 years) users. Con1-
   sal status (premenopausal, natural or surgical 1nenopause) and            pared with never users, risk was highest in long-term (>20 years),
   tubal ligation (no/yes). Results obtained using stratified condi-         daily (>30 times/month) talc users (RR = 2.08, 95% CI = 1.34-
   tional logistic regression methods were consistent with those             3.23). Risk increased significantly with lifetime total times of talc
   obtained in matched analyses that preserved the original case-con-        use, but the association was limited to those who started talc use
   trol matching, and we show the results from the stratified analyses.      before 1975 (pirend <0.001). The association between talc use and
   AU statistical significance p values quoted are two-sided and are         risk of ovarian cancer was strongest for serous ovarian cancer, the
   standard chi-squared tests based on differences in log-likelihoods.       RR associated with any use was 1.70 (95% CI = 1.27-2.28). The
                                                                             risk associations for talc use and other histologic cell types over-
                                                                             lapped with the finding for serous ovarian cancer (RRs were 0.99
   Results                                                                   for mucinous, 1.19 for clear/endometrioid and 1.46 for other cell
                                                                             types). Elevated risks in relation to talc use were found for those
      The race/ethnicity, age and education of the ovarian cancer            with invasive cancers (RR= 1.31, 95% CI = 0.85-2.01 for local-
   cases and controls are shown in Table I. Risk of ovarian cancer           ized stage; RR = 1.66, 95o/o CI = 1.22-2.26 for advanced stage)
   increased in association with family history of ovarian cancer (RR        and LMP tumors (RR ~ 1.32, 95% CI ~ 0.88-2.22).
   = 1.76, 95% CI = 0.89-3.47) and decreased significantly with                 Women with a history of physician-diagnosed endometriosis
   increasing number of births (RR per birth = 0.79, 95% CI =                experienced a nearly 2-fold increased risk of ovarian cancer (RR
   0.72---0.88), with increasing duration of oral contraceptive use (RR      = 1.95, 95% CI= 1.20--3.17). The risk associated with endome-
   per 5 years of use= 0.73, 95% CI= 0.64-0.83) and with a history           triosis ren1ained statistically significant after adjustment for other
   of tubal ligation (RR = 0.66, 95o/o CI = 0.47---0.93).                    gynecological conditions including PID, gonorrhea, ovarian cysts
      Table II shows risk associations with talc use. Ever use of talc       and uterine fibroids (adjusted RR = 1.66, 95% CI = 1.01-2.75)
   was associated with a statistically significant increased risk (RR =      (Table III). Small (4-18%) increased risks were also associated
   1.48, 95% CI = 1.15-1.91). This included talc that was applied to         with a history of the other gynecological conditions as mentioned
   the perinea} area (RR = 1.53, 95% CI = 1.13-2.09) and to the              earlier but none of these findings were statistically significant
   nonperineal area only (RR = 1.43, 95%i CI = 1.03-1.98). Ele-              (data not shown). The risk of ovarian cancer increased signifi-
   vated risks were found ainong those who used talc on sanitary             cantly (RR = 2.58) for more recent diagnoses of endometriosis
   napkins (RR = 1.61, 95% CI = 0.93-2.78), underwear (RR =                  (2-10 years prior to cancer diagnosis) and was less strong (RR =
   1.71, 95o/o CI = 0.99-2.97) and on diaphragnl/cervical caps (RR           1.58) for women with diagnosis more than 10 years previously.
   = 1.14, 95o/o CI= 0.46-2.87). When we examined risk patterns              The endometriosis-risk association was stronger for invasive can-
   by frequency and duration of talc use, the effect of frequency of         cers (RR = 1.80, 95% CI = 0.85-3.80 for 1ocalized stage, RR =
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                                           TABLE IIl-}.1ULTIVARIABLE RRS (95% CIS) FOR PREVIOUS OVARIAN
                                                        DISEASE AND RISK OF OVARIAN CANCER

                                                            Cases      Comrob           Adjusted RR 1          Adjusted RR2

                         Pelvic inflannnatory disease
                            No                              579         657          LOO                    LOO
                           Yes                               25          22          L48 (0.78-2.82)        1.15 (0.60-2.21)
                         Gonorrhea
                            No                              553         619          LOO                    LOO
                          Yes                                51          60          1.19 (0.77-1.84)       l.04 (0.67-1.62)
                        Endometriosls
                            No                              553         642          LOO                    1.00
                           Yes                               51          37          L95 (L20-3.17)         L66 (1.01-2.75)
                         Years since first diagnosed
                           2-10                              15             8        2.66 (1.06-6.64)       2.58 (l.03-6.48)
                           11+                               36            29        L56 (0.90-2.70)        L58 (0.91-2.76)
                         Talc         Endometriosis
                            No        No                    332         435          1.00                   1.00
                            No         Yes                   29          28          1.68 (0.93-3.04)       1.67 (0.92-3.01)
                            Yes       No                    221         207          L50 (l.15-L94)         L49 (1.15-1.94)
                            Yes       Yes                    22           9          3.17 (1.38-7.29)       3.12 (1.36-7.22)
                        p (3df)                                                                                   0.001
                        1
                          Adjusted for race/ethnicity, age, education, tubal ligation, family history of breast/ovarian cancer,
                      menopausal status, use of oral contraceptives and parity.-2 Adjusted for other conditions including pelvic
                      inflammatory diseases, gonorrhea, endometriosis, ovarian cyst and fibroids.




   1.87, 95o/o CI = 1.04-3.35 for advanced stage) than for L.MP               Discussion
   tumors (RR ~ 1.28, 95% CI ~ 0.56-2.95). Although the point
   risk estimate was slightly higher for clear/endometrioid cancers            The main objective of this population-based case-control study
   (RR = 1.97), the risk associations for the other cell types were all     was to comprehensively investigate the role of inflammation in
   around 1.70. Compared with women who did not have endometri-             risk of ovarian cancer by studying factors that have been hypothe-
   osis and were nontalc users, risk increased 3-fold (RR = 3.12,           sized to increase inflammation (e.g., talc, endometriosis) or to
   95% CI = 1.36---7.22) in women who had endometriosis and were            reduce inflammation (NSAIDs) simultaneously in the same popu-
   talc users whereas about 50% increased risk was observed in              lation. Our findings on talc and endometriosis are consistent with
   women who had either exposure.                                           previous findings and are compatible with the hypothesis that
                                                                            these factors increase the risk of ovarian cancer and that inflamma-
      Risk of ovarian cancer increased significantly with increasing
                                                                            tion may be a common pathway.1·2·5 However, contrary to the
   duration and frequency of use of all NSAIDs (i.e., aspirin, acet-
                                                                            study hypothesis that NSAIDs may have chemopreventive effects
   aminophen, other NSAIDs ). The risk per 5 years of NS AID use
                                                                            by decreasing inflammation, 6 we found that risk of ovarian cancer
   was 1.25 (95% CI= 1.10-1.42) and the risk per 7 times ofNSAID
                                                                            increased significantly with increasing frequency and duration of
   use per week was 1.27 (95o/o Cl = 1.14-1.43). The effect of total
                                                                            NSAIDs use.
   pill use was essentially identical to the effect of frequency of use.
   This pattern of risk elevation was found for aspirin, acetamino-            Our results on NSAID and risk are similar to the recent results
   phen and other NSAIDs although the results were statistically sig-       reported in the population-based case-control study conducted in
   nificant only for other NSAIDs (Table IV). Risks patterns                Seattle, Washington. 3 In both studies, women were asked to recall
   ren1ained essentially unchanged when we adjusted for indication          prescription and nonprescription medications taken over their life-
   of use (i.e., headaches, back pain, menstrual pain and others) or        time for various conditions. In the Seattle study, risk of ovarian
   history of endometriosis and other gynecological conditions. Risk        cancer increased significantly in association with 1O+ years of use
   associations were only slightly reduced when we restricted our           of acetaminophen (RR = 1.8, 95% CI = 1.3-2.6), aspirin (RR =
   analyses to medication use at least 5 years before diagnosis; the        1.6, 95% CI~ 1.1-2.2) and other NSAIDs (RR ~ 1.3, 95% CI~
   RR per 5 years of all NSAID use was 1.20 (95% CI = 1.06---1.43)          1.0-1.7). 3 Mechanisms whereby use of NSAID may increase risk
   and the risk per 7 times of NSAID use per week was 1.23 (95% CI          of ovarian cancer may be related, in part, to the underlying condi-
    = 1.09-1.38). In contrast, risk of ovarian cancer was not signifi-      tions associated with medication use.
   cantly related to duration or frequency of use of diuretics (RRs            However, our results and those from tlle Seattle study differed
   were 1.00, 1.39, 0.89, 0.65, respectively for no, 1-5, >5-10, >10        from n1ost previous studies on this topic. As Cramer et al. reported
   years ofuse,Pireod = 0.50).                                              risk reduction of ovarian cancer with ever use of aspirin, and acet-
      Table V presents stratified results, when we performed a se-          a1ninophen, but not with use of ibuprofen, 7 7 (3 case-control, 4
   ries of analyses to evaluate whether the findings with NSAID             cohort) of 13 (7 case-control, 6 cohort) studies have found no sig-
   use were consistent across levels of various subgroups of inter-         nificant relation with use of NSAID. The case-control studies
   est including race/ethnicity, education, n1enopausal status, tu-         showing null findings were conducted in Italy, 8 the UK.9 and Aus-
   mor stage, endometriosis, talc use, use of oral contraceptives,          tralia,2 and they investigated risk associations with use of aspirin,8
   parity and frequency of Pap smears in recent 10 years as a               acetaminophen and other NSAID, 9 and aspirin and other
   marker of access to care. Elevated risks in relation to NSAID            NSAIDs, 2 respectively, There was also no relationship between
   use were found in all the subgroup analyses; findings \Vere sim-         acetaminophen use and risk in the Cancer Prevention II Mortality
   ilar by race/ethnicity, menopausal status, talc use, oral contra-        Study 10 or between risk and use of low-dose aspirin 11 and other
   ceptive use, parity and history of Pap smear. There were some            NSAIDs 12 in a Danish prescription database study. In the Breast
   differences in risk estimates by education, tumor stage, history         Cancer Detection Demonstration Project Follow-up Study
   of endometriosis but tl1ey were not statistically significantly dif-     (BCDDP), risk was not significantly related to use of aspirin, acet-
   ferent. We considered these differences by tumor stage, history          aminophen and other NSAIDs but risk was increased with 5 +
   of endometriosis and education in our interpretation of these            years of other NSAID use (RR = 2.0, 95o/o CI = 0.95-4.2), 13 Six
   results.                                                                 other studies (4 case-control, 2 cohort) are supportive of an inverse
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                                                   RISK OF OVARIAN CAl'J"CER TN LOS ANGELES COUNTY                                              1413
        TABLE IV - MULTIVARIABLE RRS 1 (95% ClS) FOR USE OF ALL                  dose-response relationship was observed in a second study, and15
          NSAIDs (ASPIRIN. ACETAMINOPHEN, OTHER NSAID:;) AND
                        RISK OF OVARIAN CANCER                                   information on NSAID use was liLnited to the 5 years before diag-
                                                                                 nosis in a third study. 17 Aspirin use was not significantly associ-
                                    Ex duded medication use the 2 years before
                                                 reference date                  ated with risk in these 5 studies. 14-- 17• 19 Ascertainment of NSAID
                                   Cases    Controls         RR(95% CI)
                                                                                 use was heterogeneous in these studies: different NSAIDs were
                                                                                 included, the exposure period varied (e.g., adult use, use in previ-
     All NSA!Ds                                                                  ous 20 years or previous 5 years before ovarian cancer diagnosis),
     Years of use                                                                and information on frequency and duration of NSAID use was
       Never 2                     355       486         1.00                    asked in only some studies.
       lto5yr                      117        99         1.71 (l.23-2.39)
       >5 to ::;10 yr               37        33         1.59 (0.93-2.72)           An advantage of our study is that we collected detailed informa-
        >10 yr                      79        57         1.81 (1.21-2.71)        tion on adult usage history of both over the counter and prescrip-
       p trend                                          <0.001                   tion NSAIDs including duration and frequency of use and indica-
     No. of pills per week                                                       tion for use. Our results suggest increased risk associated with du-
       Never 2                     355       486         1.00                    ration and frequency of use of aspirin, acetaminophen and other
       1 to ::;7/wk                 82        66         1.62 ( 1.11-2.39)       NSAIDs although only the :findings for other NSAIDs were statis-
       >7to::;14/wk                 41        49         1.09 (0.67-1.78)        tically significant on their own. We adjusted for potential con-
        >14/wk                     110        74         2.24 (1.56-3.21)
       p trend
                                                                                 founders and indication for use; the latter was considered in only
                                                        <0.001
     Total no. of pills                                                          some previous studies. Nevertheless, our results should be inter-
       Never                       355       486         1.00                    preted with caution for the following reasons. Our assessment of
       1 to <1096                   73        63         1.60 (l.08-2.38)        NSAID use was based on self-report without assessment of reli-
       > 1096 to 6428               73        66         1.43 (0.96-2.13)        ability of recall. However, a drug validation study conducted by
       >6428                        87        60         2.22 (1.49-3.31)        colleagues in Los Angeles County found high and comparable
       p trend                                          <0.001                   concordance rate of recall of analgesics in cancer patients and con-
     Years of use by type 3                                                      trol subjects. 20 Regular NS AID use was reported by 29o/o (31 % in
     Aspirin                                                                     non-Hispanic whites) of controls in our study; comparable with
       Never 2                     492       597          1.00
       lto5yr                       46        25          2.13 (l.21-3.77)       the rate reported in Wisconsin and Massachusetts (34%) 18 but
       >5 to ::;10 yr               13        18          0.70 (0.31-1.58)       lower than that in Seattle (41%). 3 Differences in the assessment of
       >lOyr                        31        28          l.15 (0.62-2.13)       use of NSAID complicate comparison of prevalences of use
       p trend                                            0.43                   between studies.
     Acetaminophen                                                                  Although an increased risk was specific to NSAIDs use and no
       Never 2                     491       590          1.00                   increased risk was found with diuretic use, we cannot rule out the
        lto5yr                      47        53          0.87 (0.53-1.41)
       >5 yr                        44        25                                 possibility of selective recall bias among ovarian cancer cases.
                                                          1.71 (0.94-3.09)
       p trend                                            0.12                   Given that many NSAIDs products are available and use may be
     Other NSAIDs                                                                episodic, it is conceivable that some cases may be more motivated
     Never 2                       450       575          1.00                   to remember their NSAID use than control subjects. There is also
        I to5yr                     87        61          1.76 (l.18-2.63)       the possibility of surveillance bias and that certain health condi-
       >5 to ::;10 yr               17        19          1.18 (0.55-2.53)       tions led to regular NSAID use, resulting in frequent doctor visits,
       >lOyr                        28        13          2.18 (l.03-4.63)       which increased the chances of ovarian cancer detection. As noted
       p trend                                            0.008                  earlier, the prevalence of NSAID use was higher in women with
     Frequency of use by type3                                                   LMP tumors or localized cancer than those with advanced stage
     Aspirin
       Never2                      492       597          1.00                   cancers, and the magnitude of association was stronger for earlier
       1 to ::;7/wk                 61        48          1.49 (0.94-2.35)       stage cancers. However, the proportion of LMP/localized stage
       >7                           29        23          1.18 (0.61-2.29)       cancers among those we interviewed (41 %) and those we failed to
       p trend                                            0.21                   interview (39%) was not dissimilar, suggesting there should be
     Acetaminophen                                                               minima] overestimation of the overall effect of NSAID in relation
       Never 2                     491       590          1.00                   to this reason. There also may be residual confounding by indica-
        I to ::;7/wk                48        45          1.04 (0.63-1.71)       tion for use. Another possible explanation for our observed posi-
       >7 /wk                       43        33          1.36 (0.78-2.36)       tive finding is that women with early symptoms of undiagnosed
       p trend                                            0.33
     Other NSAIDs                                                                ovarian cancer take pain medications to relieve these sy1nptoms.
       Never 2                     450       575          I.OD                   This seems less likely because our results were essentially
       1 to ::;7/wk                 52        38          1.56 (0.95-2.56)       unchanged when we excluded participants who first started using
       >7 to ::;14/wk               29        25          1.27 (0.68-2.40)       these medications within the 5 years of diagnosis. Finally, we con-
       >14/wk                       51        30          2.22 (l.30-3.79)       sider possibly that selection bias of cases and controls may have
       p trend                                            0.0009                 affected our finding. Our response rate was modest; cases who
      1                                                                          participated may differ from those who did not participate.
       Adjusted for age, education, race, tubal ligation, family history of
   breast/ovarian cancer, menopausal status, use of oral contraceptives,         Although controls in our study had more years of education than
   parity and talc use.-2 Included participants who staited medication           cases, there was no consistent pattern in the NSAID-risk associa-
   within 2 years of diagnosis/reference date.- 3 Additional adjustment for      tion by education. The NSAID-risk association was most apparent
   history of PID, gonorrhea, ovarian cysts, endometriosis, and fibroids.        in women who were coJlege graduates but was very sin1ilar in
   The RRs for aspirin, acetaminophen and other NSAIDs were mutually             women with high school education or less and those who had
   adjusted. Aspirin included regular aspirin, buffered aspirin; acetan1in-      more than college education. Thus, despite these limitations, our
   ophen included Tylenol, coricidin, Dristan, darvocet, Percocet, Exce-         results raise the concern that NSAIDs, taken as aspirin, acetamino-
   drin; other NSAID included advil, nurin, clinoril, motrin, anaprox, fel-      phen or other NSAIDs, may actually increase the risk of ovarian
   dene, indocin, naprosyn.
                                                                                 cancer.
                                                                                    In our study, history of self-reported history of endometriosis
   association with NSAIDs use,_ one reported significant risk reduc-            that was diagnosed by a physician was associated with a signifi-
   tion with acetaminophen use 14 while 4 studies found significant              cant 66% increased risk of ovarian cancer. Given that the elevated
   reduced risk with use of other NSAIDs 15- 18 but there were differ-           risk was observed for those with previous endometriosis for at
   ences in these results. In one study, an inverse association was              least 11 + years, it is unlikely that our finding is due to detection
   found only in nulliparous and nonoral contraceptive users. 1s No              bias but suggests that endometriosis may have an etiological role.
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   1414                                                                      WU ETAL.

                         TAl:ILE V - PREVALENCE OF NSAID USE IN CASES AND CONTROLS AND RRS (95% Cij1 PER 5 YEARS OF NSAID USE

                                                               ever NSAID-        everNSAJD-         10+ yrs of         10+ yrs of        RR (95% CI) per
                                                                 cases(%)         controls(%)     NSAIDs~ases (%)     NSAlD-controls     5 years of NS AID

        Race/ethnicity             Non-Hipsanic Whites            45%                31 o/o            l?o/o              10%           1.23 (1.07-1.42)
                                   Other                          31%               19%                 7%                 4%           1.37 (1.03-1.84)
        Education                  <College                       36%               29%                14o/o              lOo/o         1.09 (0.84-1.41)
                                   College graduate               48%               27%                l6o/o               7%           1.71 (l.36-2.15)
                                   Graduate                       33o/o             28%                11%                 9%           1.05 (0.85-1.30)
        Menopause                  Premenopause                   34%               22%                 7%                 5%           1.35 (1.05-1.73)
                                   Postmenopause                  43%               34%                l7o/o              11%           1.22 (l.06-1.42)
        Tumor stage                LMP                            47o/o             28%                14o/o               8%           1.37 (l.11-1.69)
                                   Invasive, Stage 1 or 2         40%                28%               14o/o               8%           1.36 (1.11-1.67)
                                   Invasive, Stage ;:::3          37%                28o/o             l3o/o               8%           1.16 (1.01-1.35)
        Endometriosis              No                             39%               27%                l2o/o               9%           1.23 (1.08-1.40)
                                   Yes                            50%                44%               26o/o               8%           1.52 (0.96-2.43)
        Talc                       No                             36%                25%               13o/o               6%           1.31 (1.10-1.55)
                                   Yes                            45%               35%                15o/o              14%           1.14 (0.94-1.38)
        Oral Contraceptives        No                             35%               25o/o              13o/o              lOo/o         1.10 (0.89-1.37)
                                   Yes                            43o/o             29%                14o/o               8%           1.31 (1.12-1.53)
        Parity                     No                             41%               31%                15o/o               9%           1.28 (0.98-1.68)
                                   Yes                            40o/o             27%                13%                 8%           1.25 (l.09-1.45)
        Pap smear 2                <5 times                       34%               24%                11 o/o              7%           1.22 (0.94-1.59)
                                   :>5 times                      42%               30%                15o/o               9%           1.27 (1.09-1.47)
     1
      Adjusted for age, education, race, tubal ligation, family history of breast/ovarian cancer, menopausal status, use of oral contraceptives and
   parity.-2Frequency of Pap s1nears jn the 10 years before reference date.


   No association between endometriosis and ovarian cancer was                      cancer risk.25-28 Our results show a significant trend with increas-
   reported in the Iowa Women's Health Study, but this may be                       ing number of total applications. Using a combined index of total
   because of the relatively limited nwnber of ovarian cancers in this              applications or cumulative lifetime days of talc use, 2 studies
   cohort and the low prevalence of endometriosis ("-'3%). 21 Endo-                 showed a higher risk with g,r~ater exposure 27' 29 but this was not
   metriosis was associated with about a 30% increased risk in an                   observed in 2 other studies.D· 28 When we investigated the com-
   Australian IXJpulation-based case-control study2 and in a IXJOled                bined effect of frequency and duration, our results suggest that the
   analysis of 2,098 cases and 2,953 controls from 4 US population-                 effect of increasing frequency was modest in users of less than 20
   based case-control studies. 22 Although the prevalences of endome-               years but that the effect of frequency was clearer in women who
   triosis among cases (8.4o/o) and controls (5.4%) in our study are                had used talc for 20 years or more. Our results also suggest that
   very comparable with the figures reported in cases (8o/o) and con-               talc use prior to 1976 may be more important. In 1976, talcum
   trols (6%) in previous case-control studies, 2 -22 a limitation of our           powder manufacturers instituted voluntary guidelines to prevent
   study and other case-control studies on this topic is that history of            asbestos contan1ination in talc products and thus formulations after
   endometriosis is not validated. We did not see meaningful differ-                1976 may be less 1ike1y to be contaminated with asbestos fibers.
   ences in history of endometriosis by cell type (11°!o for endome-                Stronger associations with talc use in the 1960s and 1970s have
   trioid/clear cell vs. 8% for other cell types) of ovarian cancer while           been reported in some studies 25 •27 but not in others. 2 •28 Thus, lack
   a higher prevalence of endometriosis in women with endometroid/                  of sufficient information on frequency, duration and calendar pe-
   clear cell has been usually reported in other studies. 2 •23 Interest-           riod of talc use may have contributed to misclassification of this
   ingly, when one of us (CT) reviewed the pathology reports of the                 exposure variable in some previous studies.
   52 ovarian cancer patients who reported a history of endon1etrio-                   Our findings on talc use and endometriosis and ovarian cancer
   sis, endometriosis in the ovary was documented in only 15 patients               risk are compatible with previous studies. However, the NS AID
   (15 of 604 cases = 2.5%) but the percent was higher in women                     finding in this study was unexpected and requires confinnation
   with clear celVendometrioid (7 of 84 = 8.3%) ovarian cancer                      with further characterization of the association by frequency and
   compared with the other cell types (8 of 520 = 2.3%). Additional                 duration of use, cwnulative dose and timing of exposure. In addi-
   information on the type of endometriosis and location of endome-                 tion, it will be important to evaluate the underlying conditions for
   triosis would be helpful in future studies.                                      medication use.
      The role of talc in the development of ovarian cancer has been
   studied extensively. In a 2006 review by the International Agency
   for Research on Cancer (IARC), talc was classified as possibly
   carcinogenic to humans (i.e., Group 2B) on the basis that most of
                                                                                                                Acknowledgements
   the 20 epidemiological studies on talc and ovarian cancer show                      Incident ovarian cancer cases for this study were collected by
   consistently a 30--60% increased risk associated with talc use. 24               the USC Cancer Surveillance Program (CSP), which is supported
   However, only about half of the studies examined exposure-                       under subcontract by the California Department of Health. The
   response relationships and the evidence for this is less consistent.             authors are grateful to all the study participants for their contribu-
   Our study adds to the small group of studies that have investigated              tions and support. They also thank the entire data collection team,
   the combination of frequency and duration of talc use on ovarian                 especially Kat Mendoza, Heidi St. Royal, and Janelle Miller.

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                       Exhibit 46
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                                 NIH Public Access           65903
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                                Genital powder exposure and the risk of epithelial ovarian
                                cancer
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                                Abstract
                                     Background—We conducted a population-based, case–control study to examine the association
                                     between the use of genital powder and ovarian cancer risk, including measures of extent and
                                     timing of exposure. We also assessed the relationship of powder use with risk of disease subtypes
                                     according to histology and degree of malignancy.
                                     Methods—Information was collected during in-person interviews with 812 women with
                                     epithelial ovarian cancer diagnosed in western Washington State from 2002 to 2005 and 1,313
                                     controls. Logistic regression was used to calculate odds ratios (ORs) and 95% confidence intervals
                                     (CIs).
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                                     Results—Overall, the perineal use of powder after bathing was associated with a slightly
                                     increased ovarian cancer risk (OR = 1.27, 95% CI: 0.97–1.66), which was most evident among
                                     women with borderline tumors (OR = 1.55, 95% CI: 1.02–2.37). We noted no clear pattern of risk
                                     increase on the basis of the extent of use, assessed as years in which powder was used, or as
                                     lifetime number of applications for invasive or borderline tumors, or their histologic subtypes.
                                     There was no alteration in the risk of ovarian cancer associated with other types of powder
                                     exposure (e.g., on sanitary napkins or diaphragms).
                                     Conclusions—The International Agency for Research on Cancer has designated perineal
                                     exposure to talc (via the application of genital powders) as a possible carcinogen in women. A
                                     modest association of ovarian cancer with this exposure was seen in our study and in some
                                     previous ones, but that association generally has not been consistent within or among studies.
                                     Therefore, no stronger adjective than “possible” appears warranted at this time.


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                                 Keywords
                                       Ovarian neoplasms; Talc; Epidemiology
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                                 Introduction
                                                  Talc deposition in the body can lead to inflammatory and neoplastic changes [1], and
                                                  perineal exposure to certain particulates (conceivably, talc) can lead to their deposition in
                                                  the peritoneal cavity and ovaries [2]. Multiple case–control studies [3-5] and one cohort
                                                  study [6] have examined risk of ovarian cancer associated with perineal exposure to dusting
                                                  powders (many of which contain talc), either overall or within specific histologic subgroups
                                                  of disease. In a meta-analysis of 20 case–control studies [3], the summary estimate of the
                                                  relative risk (RR) of ovarian cancer among women who reported any perineal use of powder
                                                  was 1.35 (95% confidence interval (CI): 1.26–1.46). Although no association of this
                                                  exposure with ovarian cancer risk was noted in the cohort study overall, risk of invasive
                                                  serous cancers was modestly elevated (by 40%). The International Agency for Research on
                                                  Cancer has classified perineal exposure to talc as group 2B (possibly carcinogenic to
                                                  humans [3, 7]).

                                                  In this article, we describe the results of a large population-based study of epithelial ovarian
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                                                  cancer conducted in western Washington State in which we further investigated the
                                                  association between the use of genital powder and the ovarian cancer risk, including
                                                  measures of extent of use and aspects of timing of exposure. We also assessed the
                                                  relationship of powder use with risk of disease subtypes according to histology and degree
                                                  of malignancy.

                                 Materials and methods
                                                  The study population and methods have been described previously [8]. Female residents, of
                                                  a 13 county areas of western Washington State, 35–74 years of age, who were diagnosed
                                                  with a primary invasive or borderline (also known as low malignant potential or LMP)
                                                  epithelial ovarian tumor between 1 January 2002 and 31 December 2005, were considered
                                                  eligible as cases. The cases were identified through a population-based cancer registry, the
                                                  Cancer Surveillance System, which is part of the Surveillance, Epidemiology, and End
                                                  Results Program (SEER) of the US National Cancer Institute. We restricted our cases to
                                                  English-speaking women who had residential telephones at the time of diagnosis, because
                                                  random digit dialing (RDD) was the method used to select control subjects. Of the 1,058
                                                  eligible women identified, 812 (76.6%) were interviewed. Of the interviewed cases, 595 had
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                                                  invasive disease. Tumors were categorized into the following histologic subgroups: serous
                                                  (n = 452), mucinous (n = 112), endometrioid (n = 104), clear cell (n = 35), and other
                                                  epithelial tumors (n = 109).

                                                  Controls were selected by RDD using stratified sampling in 5-year age categories, 1-year
                                                  calendar intervals, and two county strata in a 2:1 ratio to women with invasive cancer. For
                                                  14,561 (82.0%) of the 17,768 telephone numbers belonging to residences, we determined
                                                  whether an eligible woman (i.e., an age and county eligible woman able to communicate in
                                                  English and, if so, with at least one ovary and no prior history of ovarian cancer) resided
                                                  there. Of the 1,561 eligible women identified, 1,313 were interviewed (84.1%) for an overall
                                                  (screening X interview) response proportion of 69%.

                                                  The study was approved by the Institutional Review Boards of the Fred Hutchinson Cancer
                                                  Research Center and the University of Illinois at Urbana Champaign, and all women


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                                                  provided signed informed consent before participating. In-person interviews pertained to the
                                                  period of time before diagnosis (for cases) or before an assigned comparable reference date
                                                  (for controls), and covered the following: demographic and lifestyle characteristics; medical
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                                                  history; and detailed reproductive history, including menstrual, pregnancy, and
                                                  contraceptive history, as well as the use of contraceptive and menopausal hormone
                                                  preparations. To aid recall, interviewers used a calendar to record major life events and
                                                  provided photographs of the commonly used oral contraceptive and menopausal hormone
                                                  preparations.

                                                  Several sources of genital powder exposure were assessed in separate questions, including
                                                  direct perineal application after bathing, its use on sanitary napkins and contraceptive
                                                  diaphragms, and the use of feminine (vaginal) deodorant spray. For powder use on sanitary
                                                  napkins and use of feminine deodorant sprays, we recorded the total number of months or
                                                  years in which these products were used (with a minimum of at least 1 month of regular
                                                  use). For the use of powder on the perineum after bathing, only intervals of at least 1 year
                                                  when powder was usually used were recorded. For each reported interval in which powder
                                                  was usually used on the perineum after bathing, we recorded the age when began and ended,
                                                  the number of weeks or months of use per year, and the average days per week used.
                                                  Women were also asked to report the types of powder(s) used after bathing, including
                                                  talcum, baby, cornstarch, deodorant, body/bath, and other or unknown. The extent of
                                                  exposure to perineal powder after bathing was assessed as lifetime duration of use (i.e., total
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                                                  number of years in which this exposure occurred), and as the estimated lifetime number of
                                                  applications (i.e., a measure that incorporated both the duration and frequency of use).

                                                  Using unconditional logistic regression, we calculated odds ratios (ORs) and related 95%
                                                  confidence intervals (CIs) as estimates of the RR of epithelial ovarian cancer associated with
                                                  various aspects of genital powder use. All the analyses were adjusted for the frequency-
                                                  matching variables of age (5-year intervals), county of residence (dichotomized as the three
                                                  urban or the 10 rural/suburban counties in the study), and calendar year of diagnosis/
                                                  reference date (continuous), as well as number of full-term pregnancies (0, 1, 2, or ≥3), and
                                                  duration of hormonal contraception (Never,<6, 6–59, 60–119, or ≥120 months). Additional
                                                  adjustment for other potential confounding variables, including race/ethnicity, education,
                                                  age at menarche, body mass index (BMI), smoking, alcohol drinking, family history of
                                                  breast or ovarian cancer, personal history of breast cancer, endometriosis, tubal ligation,
                                                  hysterectomy, unilateral oophorectomy, and the use of menopausal hormone therapy,
                                                  produced no important change in the OR estimates. We used polytomous logistic regression
                                                  to examine risk among subgroups of case women with borderline and invasive tumors and in
                                                  women with different histologic subtypes of these tumors. Because we had limited facility to
                                                  separately examine risk of mucinous invasive ovarian cancer owing to its rarity (n = 23), we
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                                                  excluded these tumors when examining histologic subtypes of invasive disease; similarly,
                                                  we limited our examination of histologic subtypes of borderline tumors to serous or
                                                  mucinous subtypes (excluding 11 women with other, uncommon histologic subtypes of
                                                  borderline tumors). All the analyses were carried out using the STATA version 10 statistical
                                                  package (Statacorp LP, College Station, Texas).

                                 Results
                                                  Characteristics of cases and controls have previously been described [8, 9]. Approximately
                                                  90% of cases and controls were non-Hispanic white women. Cases were less likely than
                                                  controls to have given birth, and reported a lesser extent of exposure to hormonal forms of
                                                  contraception. Cases were somewhat more likely than controls to be overweight (BMI 25–
                                                  <30 kg/m2) or obese (BMI ≥ 30 kg/m2), and less likely to have graduated from college
                                                  (results not shown).


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                                                  The use of powder after bathing (for at least 1 year of regular use, as described above) was
                                                  reported by approximately 12% of controls (Table 1). Other sources of powder exposure
                                                  (e.g., on sanitary napkins) and the use of deodorant sprays were reported by a slightly
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                                                  smaller proportion of women, despite the shorter minimum time interval allowed in our
                                                  assessment of these exposures (see Methods for description). Overall, the perineal use of
                                                  powder after bathing was associated with a slightly increased risk (OR = 1.27, 95% CI:
                                                  0.97–1.66), which was the most evident among women with borderline tumors (OR = 1.55,
                                                  95% CI: 1.02–2.37). No clear elevation in risk of borderline or invasive tumors were
                                                  observed in association with the use of powders on sanitary napkins or contraceptive
                                                  diaphragms, or with the use of feminine deodorant sprays (Table 1). The most frequently
                                                  reported category of product used after bathing was baby powder (not shown); few women
                                                  reported exclusive use of talcum powder or of cornstarch (a product that does not contain
                                                  talcum powder). Within limits of precision, findings regarding ovarian cancer risk among
                                                  women who reported the use of talcum powder were similar to those presented for all types
                                                  of powders combined; e.g., the risk of invasive ovarian cancer among women who reported
                                                  the use of talcum powder was 1.38 (95% CI: 0.77–2.47).

                                                  We noted no evidence that risk of ovarian cancer increased in association with increasing
                                                  extent of the use of perineal dusting powder (assessed as years in which powder was used or
                                                  as lifetime number of applications) for either invasive or borderline tumors (Table 2).
                                                  Similarly, we observed no trend in risk with increasing years of powder use on sanitary
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                                                  napkins or with the use of feminine deodorant sprays (results not shown). Risk (relative to
                                                  never-users) was increased among women who first reported the regular use of perineal
                                                  dusting powders at age 30 years or older (OR for invasive and borderline tumors combined
                                                  = 1.69, 95% CI: 1.08–2.64), among women whose first regular use was in 1980 or later (OR
                                                  for invasive and borderline tumors combined = 2.03, 95% CI: 1.28–3.24), and among
                                                  women who had initiated regular use within the last 25 years (cut-off point based on
                                                  approximate quartiles of exposed controls; OR for invasive and borderline tumors combined
                                                  = 1.77, 95% CI: 1.12–2.78). Point estimates for each of these exposure subgroups were
                                                  similar for borderline and invasive tumors (Table 2).

                                                  We repeated our analyses after [1] restricting the analysis to the use of perineal powder that
                                                  occurred before tubal ligation and/or hysterectomy (for women who had undergone those
                                                  procedures) and [2] restricting it to the use of powder that occurred at age 15 years or later.
                                                  Results were generally similar to those that we have presented. Associations with any
                                                  perineal powder exposure that occurred in women with intact fallopian tubes were slightly
                                                  reduced in comparison to analyses that included powder use irrespective of the occurrence
                                                  of tubal ligation or hysterectomy (e.g., ORs among women with intact tubes = 1.23 [95% CI:
                                                  0.93–1.64] and 1.44 [95% CI: 0.92–2.24], for all ovarian tumors combined and for
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                                                  borderline tumors, respectively). Associations with any perineal powder used ≥15 years of
                                                  age were slightly stronger (e.g., ORs among such women = 1.30 [95% CI: 0.99–1.71] and
                                                  1.63 [95% CI: 1.07–2.49], for all ovarian tumors combined and for borderline tumors,
                                                  respectively).

                                                  Risk of mucinous borderline tumors was particularly elevated among women who reported
                                                  any regular use of perineal dusting powder (OR = 1.78, 95% CI: 0.98–3.23), with a lesser
                                                  risk increase for serous borderline tumors (Table 3). We observed no association of perineal
                                                  powder use with risk of serous invasive tumors (OR = 1.01, 95% CI: 0.69–1.47), and some
                                                  suggestion that risk was elevated for the combined group of endometrioid and clear cell
                                                  invasive tumors (OR = 1.53, 95% CI: 0.91–2.57). Similar to the overall results, we observed
                                                  no association with measures of extent of the use of perineal dusting powder for any specific
                                                  histologic subtype. Elevations in risk noted in our overall results among women in the most



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                                                  recent category of age at or time since first use and in the most recent (1980 or later)
                                                  calendar period of initiation of powder use were broadly similar across histologic subtypes.
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                                 Discussion
                                                  A number of case–control studies of ovarian cancer, in addition to ours, have examined the
                                                  issue of genital powder exposure as a potential risk factor. The validity of all of these
                                                  studies, including ours, may be influenced by the level of non-response among cases and
                                                  controls, and by the potential for misclassification (differential and non-differential) of
                                                  exposure status. The latter derives not just from errors in the recall of the use of genital
                                                  powder, but from the fact that the presence or concentration of talc can vary from brand to
                                                  brand and even within one brand of powder over time. Therefore, even when respondents
                                                  are asked specifically about perineal exposure to powders that contain talc (as in our study),
                                                  they may be unable to provide accurate information. Reporting of the use of pure cornstarch
                                                  powder, however, was quite uncommon in this study; if this information is accurate (and this
                                                  pattern of use extends to other populations), and if the presence, rather than concentration, of
                                                  talc in dusting powder is the primary determinant of meaningful exposure, then measures of
                                                  genital powder use of any type may yet serve as a reasonable surrogate for talc exposure.

                                                  In support of an inference that genital exposure to powders has the capacity to cause ovarian
                                                  cancer is the observation of a 30–60% increase in risk across most case–control studies [3];
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                                                  in this regard, our findings are similar to prior studies. However, a non-causal interpretation
                                                  may be consistent with the absence of an overall association in the one cohort study of the
                                                  question [6], along with the absence in most studies (including the current study) of a trend
                                                  of increasing risk with increasing duration of exposure [3]. However, ovarian talc particle
                                                  burden has been found not to correlate with the reported number of lifetime applications
                                                  [10], which (if not reflective of inaccurate reporting) may indicate that duration of the
                                                  powder use is not relevant when assessing risk associated with differing levels of exposure
                                                  to talc.

                                                  While the increased risk that we observed was largely restricted to borderline tumors, some
                                                  studies have reported results either similar to [e.g., 11] or different from [e.g., 5, 12] these
                                                  latter findings. Also, our results add further inconsistency to the results regarding the
                                                  strength of association of the perineal powder use with histologic subtypes of disease. In
                                                  particular, we noted no increase in risk of serous invasive disease, in contrast to some [e.g.,
                                                  4-6] studies—including the single cohort study [6]—that reported the strongest associations
                                                  with that subtype. Analyses aimed at examining perineal powder during specific time
                                                  intervals—whether by calendar year, recency of use, or life intervals in which constituents
                                                  of perineal powder might ascend through the reproductive tract unimpeded by, e.g., closure
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                                                  of the fallopian tubes—either failed to sharpen exposure-disease relationships or yielded
                                                  results opposite to those that had been observed or hypothesized by others. For example, Wu
                                                  et al. [5] observed higher risks among women who initiated talc use before 1975, consistent
                                                  with the hypothesis that products in use before that year were more likely to be carcinogenic
                                                  owing to contamination with asbestos fibers; in contrast, we noted stronger associations
                                                  among women who had only used perineal powder during or after 1980.

                                                  It is not evident how (or if) additional investigation will be able to resolve the issue of
                                                  whether perineal exposure to talc predisposes to ovarian malignancy. Further case–control
                                                  studies will continue to be hindered by the limitations mentioned above. Data from
                                                  additional cohort studies would be welcome, but without details concerning the composition
                                                  of the powders used by cohort members—details that many participants may not be able to
                                                  provide—the results of such studies may similarly be ambiguous in their interpretation.



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                                                                                                                                                                               Table 1
                                                                           Risk of epithelial ovarian cancer in relation to various sources of genital powder exposure overall and among women with borderline and invasive tumors

                                                                                         Controls        Borderline tumors                  Invasive tumors                     All tumors
                                                                                                    a             a       b    95% CI                 a       b    95% CI                a        b   95% CI
                                                                                         (n = 1,313)     (n = 217)     OR                   (n = 595)     OR                    (n = 812)     OR
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                                                                               Used powder after bathing
                                                                                 No             1,161           184    1.00    Ref.                515     1.00    Ref.                699    1.00    Ref.
                                                                                 Yes             151             33    1.55    1.02–2.37            79     1.17    0.87–1.58           112    1.27    0.97–1.66
                                                                               Used powder on sanitary napkins
                                                                                 No             1,197           201    1.00    Ref.                552     1.00    Ref.                753    1.00    Ref.
                                                                                 Yes             109             16    1.03    0.58–1.84            39     0.75    0.51–1.12            55    0.82    0.58–1.16
                                                                                                           c
                                                                               Used powder on diaphragm
                                                                                 No              321             44    1.00    Ref.                116     1.00    Ref.                160    1.00    Ref.
                                                                                 Yes             121              9    0.60    0.27–1.33            37     0.77    0.49–1.21            46    0.72    0.48–1.10
                                                                               Used vaginal deodorant spray
                                                                                 No             1,185           194    1.00    Ref.                532     1.00    Ref.                726    1.00    Ref.
                                                                                 Yes             125             23    1.20    0.74–1.95            61     1.14    0.81–1.59            84    1.15    0.85–1.56

                                                                           a
                                                                            Numbers in column may not sum to total due to missing values
                                                                                                                                                                                                                                                                                                             65909




                                                                           b
                                                                               Adjusted for age, calendar year of diagnosis/reference date, county of residence, number of full-term births, and duration of hormonal contraception
                                                                           c
                                                                            Restricted to diaphragm users




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                                                                                                                                                                              Table 2
                                                                           Risk of epithelial ovarian cancer in relation to the use of perineal powder after bathing by duration and timing of use, overall and among women with
                                                                           borderline and invasive tumors

                                                                                                Controls          Borderline tumors                  Invasive tumors                    All tumors
                                                                                                                                                                                                                                                      Rosenblatt et al.




                                                                                                              a               a      b   95% CI               a         b   95% CI               a         b   95% CI
                                                                                                (n = 1,313)       (n = 217)       OR                 (n = 595)    OR                    (n = 812)    OR
                                                                                        c       1,161                   184       1.00   Ref.              515    1.0       Ref.              699    1.0       Ref.
                                                                            Never used
                                                                            Duration of use (years)
                                                                              1–9.9             38                        9       1.33   0.61–2.87          24    1.42      0.83–2.43          33    1.39      0.85–2.28
                                                                              10–19.9           35                       10       1.97   0.93–4.17          19    1.28      0.71–2.29          29    1.46      0.87–2.45
                                                                              20–34.9           40                       10       1.83   0.88–3.80          20    1.11      0.63–1.95          30    1.28      0.78–2.10
                                                                              35+               38                        4       1.08   0.37–3.15          15    0.86      0.46–1.60          19    0.91      0.51–1.62
                                                                            Lifetime number of applications
                                                                              1–1,599           36                        6       1.05   0.42–2.61          20    1.26      0.71–2.25          26    1.21      0.71–2.06
                                                                              1,600–4,799       37                       17       3.11   1.67–5.78          28    1.72      1.03–2.88          45    2.08      1.32–3.27
                                                                              4,800–9,999       39                        6       1.19   0.49–2.92          14    0.78      0.41–1.48          20    0.87      0.50–1.53
                                                                              10,000+           37                        4       0.98   0.34–2.85          14    0.84      0.44–1.59          18    0.87      0.48–1.57
                                                                                                      c
                                                                            Age at first use (years)
                                                                                                                                                                                                                                                                                                            65910




                                                                              <15               27                        4       0.89   0.30–2.66           8    0.67      0.30–1.53          12    0.74      0.37–1.50
                                                                              15–<20            36                        8       1.46   0.64–3.31          19    1.10      0.61–1.97          27    1.20      0.71–2.03
                                                                              20–<30            43                       12       1.93   0.98–3.80          20    1.04      0.59–1.81          32    1.25      0.77–2.03
                                                                              30+               45                        9       1.68   0.79–3.60          32    1.68      1.04–2.72          41    1.69      1.08–2.64
                                                                                                     c
                                                                            Age at last use (years)




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                                                                              <35               33                       10       1.54   0.72–3.28          15    0.97      0.51–1.83          25    1.14      0.66–1.97
                                                                              35–<50            39                       15       2.07   1.09–3.93          20    1.15      0.65–2.03          35    1.42      0.88–2.31
                                                                              50–<60            36                        6       1.39   0.56–3.44          19    1.20      0.67–2.15          25    1.25      0.73–2.13
                                                                              60+               43                        2       0.64   0.15–2.74          24    1.30      0.76–2.25          26    1.21      0.72–2.05
                                                                                                          c
                                                                            Calendar year of first use
                                                                              ≤1959             39                        5       1.47   0.55–3.92          14    0.73      0.38–1.40          19    0.86      0.48–1.53
                                                                              1960–1969         38                        4       0.82   0.28–2.38          20    1.18      0.66–2.09          24    1.10      0.65–1.89
                                                                              1970–1979         38                       11       1.65   0.81–3.37          15    0.91      0.49–1.69          26    1.12      0.66–1.89
                                                                                                                                                                                                                                                      Page 8
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                                                                                                                             Controls           Borderline tumors                 Invasive tumors                    All tumors
                                                                                                                                            a            a      b     95% CI               a        b   95% CI                a        b   95% CI
                                                                                                                             (n = 1,313)        (n = 217)    OR                   (n = 595)    OR                    (n = 812)     OR
                                                                                                            1980+            36                        33    2.20     1.11–4.34          30    1.97     1.18–3.28            43    2.03    1.28–3.24
                                                                                                                                        c
                                                                                                          Time since first use (years)
                                                                                                                                                                                                                                                                 Rosenblatt et al.




                                                                                                            ≤25              41                        12    1.78     0.89–3.54          30    1.76     1.07–2.89            42    1.77    1.12–2.78
                                                                                                            25–<38           41                        14    1.98     1.03–3.79          24    1.25     0.73–2.13            38    1.46    0.91–2.32
                                                                                                            38–<45           34                         3    0.79     0.23–2.69          13    0.88     0.45–1.72            16    0.87    0.47–1.61
                                                                                                            45+              35                         4    1.30     0.44–3.83          12    0.72     0.36–1.43            16    0.82    0.44–1.52
                                                                                                                                     c
                                                                                                          Time since last use (years)
                                                                                                            Current user     70                        12    1.35     0.71–2.59          40    1.28     0.85–1.94            52    1.30    0.89–1.91
                                                                                                            ≤12              26                         9    2.11     0.94–4.77          17    1.59     0.83–3.02            26    1.74    0.98–3.10
                                                                                                            13–23            27                         7    1.80     0.75–4.34            7   0.55     0.24–1.29            14    0.85    0.44–1.66
                                                                                                            24+              28                         5    1.22     0.45–3.29          14    1.10     0.56–2.17            19    1.13    0.61–2.08

                                                                                                      a
                                                                                                       Numbers in column may not sum to total due to missing values
                                                                                                      b
                                                                                                          Adjusted for age, calendar year of diagnosis/reference date, county of residence, number of full-term births, and duration of hormonal contraception
                                                                                                      c
                                                                                                       Use defined as regular use after bathing for at least 1 year
                                                                                                                                                                                                                                                                                                                       65911




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                                                                                                                                                                                                                                                                                     Case 3:16-md-02738-MAS-RLS Document 9888-7 Filed 05/29/19 Page 95 of 164 PageID:
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                                                                                                                                                                                Table 3
                                                                           Risk of histologic types of invasive and borderline epithelial ovarian cancer in relation to various sources of genital powder

                                                                                                                    c                                               c
                                                                                                Borderline tumors                                    Invasive tumors
                                                                                                Mucinous (n = 89)         Serous (n = 117)           Serous (n = 335)           Endometrioid/Clear         Other nonmucinous
                                                                                                                                                                                                                                                        Rosenblatt et al.




                                                                                                                                                                                (n = 133)                  (n = 104)

                                                                                                N        a                N          a               N          a               N         a                N      a
                                                                                                       OR (95% CI)                OR                         OR                         OR (95% CI)             OR (95% CI)
                                                                                                                                  (95% CI)                   (95% CI)
                                                                                                             b
                                                                            Used powder after bathing
                                                                              No                74     1.0 (Ref.)         100     1.0 (Ref.)         295     1.0 (Ref.)         112     1.0 (Ref.)         87   1.0 (Ref.)
                                                                              Yes               15     1.78 (0.98–3.23)    17     1.47 (0.84–2.55)    40     1.01 (0.69–1.47)    21     1.53 (0.91–2.57)   17   1.48 (0.85–2.58)
                                                                                            b
                                                                            Duration of use (years)
                                                                              1–9.9             2      0.71 (0.16–3.10)       7   1.89 (0.80–4.47)    11     1.16 (0.58–2.33)       6   1.42 (0.56–3.57)    6   2.18 (0.88–5.40)
                                                                              10–19.9           6      3.12 (1.22–7.97)       3   1.10 (0.33–3.70)    11     1.26 (0.62–2.54)       5   1.62 (0.60–4.41)    3   1.16 (0.35–3.92)
                                                                              20–34.9           5      2.45 (0.92–6.56)       5   1.60 (0.60–4.22)       8   0.76 (0.35–1.66)       5   1.40 (0.52–3.74)    7   2.25 (0.97–5.24)
                                                                              35+               2      1.26 (0.29–5.51)       2   1.02 (0.24–4.40)    10     0.91 (0.44–1.88)       5   1.85 (0.68–5.05)    0   0.00 (−)
                                                                                                     b
                                                                            Age at first use (years)
                                                                              <15               1      0.56 (0.07–4.27)       3   1.24 (0.36–4.30)       3   0.44 (0.13–1.47)       3   1.20 (0.34–4.24)    2   1.02 (0.23–4.43)
                                                                                                                                                                                                                                                                                                              65912




                                                                              15–<20            5      2.30 (0.84–6.33)       3   1.01 (0.30–3.43)    10     1.01 (0.49–2.08)       7   1.99 (0.83–4.76)    2   0.63 (0.15–2.72)
                                                                              20–<30            5      2.14 (0.80–5.68)       6   1.69 (0.69–4.15)    10     0.90 (0.44–1.83)       3   0.68 (0.20–2.31)    6   1.82 (0.74–4.47)
                                                                              30+               4      1.80 (0.61–5.28)       5   1.77 (0.67–4.66)    17     1.45 (0.81–2.59)       8   2.33 (1.03–5.27)    7   2.21 (0.95–5.11)
                                                                                                         b
                                                                            Calendar year of first use
                                                                              ≤1959             3      2.08 (0.59–7.30)       2   1.07 (0.25–4.70)       6   0.50 (0.20–1.20)       5   1.78 (0.64–4.95)    3   0.89 (0.26–3.03)




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                                                                              1960–1969         4      2.12 (0.71–6.32)       0   0.00 (−)            12     1.18 (0.60–2.33)       5   1.38 (0.51–3.76)    2   0.72 (0.17–3.08)
                                                                              1970–1979         3      1.21 (0.36–4.10)       7   1.94 (0.82–4.57)       6   0.66 (0.27–1.60)       5   1.34 (0.50–3.60)    4   1.38 (0.47–4.06)
                                                                              1980+             5      2.05 (0.76–5.55)       8   2.50 (1.10–5.64)    16     1.84 (1.00–3.40)       6   1.75 (0.70–4.40)    8   3.07 (1.37–6.88)
                                                                                                             b
                                                                            Time since first use (years)
                                                                              ≤25               5      1.79 (0.67–4.82)       7   1.93 (0.83–4.52)    16     1.65 (0.90–3.00)       6   1.58 (0.63–3.93)    8   2.73 (1.22–6.07)
                                                                              26–<38            5      1.89 (0.71–5.06)       8   2.09 (0.93–4.69)    11     1.05 (0.53–2.10)       8   1.80 (0.79–4.08)    5   1.51 (0.57–4.00)
                                                                              38–<45            3      2.14 (0.61–7.47)       0   0.00 (−)               7   0.75 (0.33–1.75)       4   1.45 (0.48–4.38)    1   0.41 (0.05–3.07)
                                                                              45+               2      1.46 (0.33–6.49)       2   1.22 (0.28–5.38)       6   0.56 (0.23–1.37)       3   1.19 (0.34–4.19)    3   1.02 (0.30–3.52)
                                                                                                                                                                                                                                                        Page 10
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                                                                                                      a
                                                                                                       Adjusted for age, calendar year of diagnosis/reference date, county of residence, number of full term births, and duration of hormonal contraception
                                                                                                      b
                                                                                                          Use defined as regular use after bathing for at least 1 year
                                                                                                      c
                                                                                                       Not included are 6 endometrioid borderline, 5 other borderline, and 23 mucinous invasive tumors
                                                                                                                                                                                                                                                              Rosenblatt et al.
                                                                                                                                                                                                                                                                                                                    65913




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                       Exhibit 47
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                                Use of fertility drugs and risk of ovarian cancer: results from a
                                US-based case-control study
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                                TX

                                Abstract
                                      Background—Previous studies examining associations between use of fertility drugs and
                                      ovarian cancer risk have provided conflicting results. We used data from a large case-control study
                                      to determine whether fertility drug use significantly impacts ovarian cancer risk when taking into
                                      account parity, gravidity, and cause of infertility.
                                      Methods—Data from the Hormones and Ovarian Cancer Prediction (HOPE) study were used
                                      (902 cases, 1802 controls). Medical and reproductive histories were collected via in-person
                                      interviews. Logistic regression was used to calculate odds ratios (OR) and 95% confidence
                                      intervals (CI). Models were adjusted for age, race, education, age at menarche, parity, oral
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                                      contraceptive use, breastfeeding, talc use, tubal ligation, and family history of breast/ovarian
                                      cancer.
                                      Results—Ever use of fertility drugs was not significantly associated with ovarian cancer within
                                      the total HOPE population (OR: 0.93, 95%CI: 0.65–1.35) or among women who reported seeking
                                      medical attention for infertility (OR: 0.87, 95%CI 0.54–1.40). We did observe a statistically
                                      significant increased risk of ovarian cancer for ever use of fertility drugs among women who,
                                      despite seeking medical attention for problems getting pregnant, remained nulligravid (OR: 3.13,
                                      95%CI 1.01–9.67).
                                      Conclusions—These results provide further evidence that fertility drug use does not
                                      significantly contribute to ovarian cancer risk among the majority of women; however, women




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                                Conflict of interest: We, the authors of this manuscript, have no conflicts of interest to report.
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                                        who despite infertility evaluation and fertility drug use remain nulligravid, may have an elevated
                                        risk for ovarian cancer.
                                        Impact—Our results suggest that fertility drug use does not significantly contribute to overall risk
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                                        of ovarian cancer when adjusting for known confounding factors.

                                  Keywords
                                        ovarian cancer; fertility drugs; infertility; case-control


                                  Introduction
                                                   Ovarian cancer is multifactorial and complex in etiology. Lifestyle factors shown to increase
                                                   the risk of ovarian cancer include low parity (1–4), late onset of menopause (5, 6) and
                                                   perineal talc use (7–9). Oral contraceptive (OC) use (10–13), breastfeeding (14–16) and
                                                   tubal ligation (17–19) have been shown to have a protective effect on ovarian cancer risk.
                                                   Several theories have been proposed to explain the mechanisms by which these factors
                                                   affect risk of ovarian cancer. The incessant ovulation hypothesis theorizes that the repeated
                                                   damage and subsequent repair cycles that occur during ovulation on the epithelial surface of
                                                   the ovary contributes to DNA damage and increases the risk of developing ovarian cancer
                                                   (20–23). The gonadotropin hypothesis postulates that exposure to high levels of circulating
                                                   pituitary gonadotropins, which stimulates the ovarian surface epithelium, plays a role in the
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                                                   development of ovarian cancer (24, 25). Both of these theories suggest that the use of
                                                   fertility drugs, which often contain gonadotropins and stimulate ovulation, may increase the
                                                   risk of ovarian cancer.

                                                   Fertility drug use has increased markedly in the U.S. (26). Based on data from the 2002
                                                   National Survey of Family Growth, 12% of the 61.6 million U.S. women between the ages
                                                   of 16 and 44 sought infertility services. The use of infertility services was more common
                                                   among older women, women with higher incomes, and women who were childless (27). The
                                                   utilization of fertility drugs and other infertility services is expected to continue to rise as the
                                                   percentage of women who postpone attempts to become pregnant until after the age of 35
                                                   increases. Stephen et al. projected that the number of infertile women will increase to
                                                   between 5.4–7.7 million in 2025 (28). Despite the growing number of women seeking
                                                   fertility treatment, the effects of fertility drug use on ovarian cancer risk remain uncertain.
                                                   Several early studies reported an association between exposure to fertility drugs and the
                                                   development of ovarian cancer, which spurred concern regarding the safety of these drugs
                                                   (29–31). Subsequent studies did not provide evidence of an increased risk of ovarian cancer
                                                   with the use of fertility drugs (32–37). However, concern regarding fertility drug use
                                                   remains after other studies reported that women who were exposed to fertility drugs for
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                                                   more than 12 cycles were at an increased risk of ovarian cancer (38, 39). Nulliparous women
                                                   who failed to conceive after treatment have also been reported to have an increased risk of
                                                   ovarian cancer (29, 35). Finally, several studies have shown that fertility drug use may
                                                   increase the risk of borderline ovarian tumors (30, 31, 40–43).

                                                   The conflicting results from previous studies might be due to the generally small sample
                                                   sizes and/or inability to control for important reproductive factors known to influence
                                                   ovarian cancer risk. Establishing the relationship between fertility drug use and ovarian
                                                   cancer risk is complicated by the fact that infertility itself increases the risk of ovarian
                                                   cancer (10, 44–46). It is also of particular importance to account for parity because the
                                                   frequency of nulliparity is high among infertile women and nulliparity has been established
                                                   as an important ovarian cancer risk factor (24, 47, 48). The increasing use of fertility drugs
                                                   necessitates the separation of the effects of underlying infertility and other confounding
                                                   factors from those of fertility drug use. Ours is one of the largest case-control studies of


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                                                  ovarian cancer conducted to date. Our objective was to contribute to the debate regarding
                                                  whether fertility drug use significantly impacts ovarian cancer risk when taking into account
                                                  parity, gravidity, and cause of infertility.
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                                  Material and Methods
                                  Study Population and Data Collection
                                                  We used data from the Hormones and Ovarian Cancer Prediction (HOPE) study, a
                                                  population-based case-control study of ovarian cancer described in detail elsewhere (13, 49).
                                                  Briefly, subjects were residents of a contiguous region comprising Western Pennsylvania,
                                                  Eastern Ohio, and Western New York State. All cases were histologically confirmed to have
                                                  primary epithelial ovarian, peritoneal, or fallopian tube cancers diagnosed between 2003 and
                                                  2008. Eligible women were at least 25 years old and were within 9 months of initial
                                                  diagnosis at the time of recruitment. A total of 902 cases were enrolled. Controls, N=1802,
                                                  were frequency matched to cases (~2:1) by 5-year age group and telephone area code
                                                  through random-digit dialing. Women who had undergone a bilateral oophorectomy were
                                                  ineligible. All study participants provided informed consent. The study was approved by the
                                                  University of Pittsburgh Institutional Review Board and by the human subject committees at
                                                  each hospital where cases were identified.

                                                  Trained interviewers collected questionnaire data that included detailed reproductive,
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                                                  gynecological, and medical histories as well as information regarding lifestyle and family
                                                  medical history; a reference date of 9 months before the interview date was used for all
                                                  participants.

                                  Infertility and Fertility Drug Use
                                                  All study participants were asked if they had ever sought medical attention for problems
                                                  becoming pregnant. Women who responded with “yes” to this question were asked whether
                                                  their partner was tested, they were personally tested, they were both tested, or if neither of
                                                  them were tested for infertility. They were also presented with a list of infertility causes and
                                                  asked whether each was found to be a probable cause for their problems becoming pregnant.
                                                  Women were able to respond “yes,” “no,” or “don’t know” to whether they were diagnosed
                                                  with a problem involving: partner’s sperm, their ovaries, ovulation, their fallopian tubes,
                                                  their cervix, cervical mucous, their uterus, scarring of the uterus, menstruation,
                                                  endometriosis, or some other problem. For the current analyses, we collapsed the cervix and
                                                  cervical mucous variables into one cervical problem variable. Similarly, we combined the
                                                  variables for uterus problems and scarring of the uterus. We chose to collapse these
                                                  variables because the mechanism affecting infertility is similar for both cervical variables as
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                                                  well as both uterine variables. Combining similar causes of infertility resulted in a greater
                                                  number of exposed women and increased our power to determine whether uterine or cervical
                                                  causes of infertility were significantly associated with ovarian cancer risk.

                                                  All study participants were asked if they had ever used fertility drugs. Women who
                                                  responded with “yes” to this question were asked the name of the fertility drugs used. The
                                                  majority of women used clomiphene citrate, which we defined as one group of fertility drugs
                                                  (“clomiphene”). We pooled follicle stimulating hormone (FSH), human chorionic
                                                  gonadotropin (hCG), gonadotropin-releasing hormone (GnRH), urofollitropin, and human
                                                  menopausal gonadotropin (hMG) drugs into one group of fertility drugs, “gonadotropins”,
                                                  because they utilize the same method of stimulating ovulation. We also created a group for
                                                  women who had used a combination of gonadotropins and clomiphene citrate (“clomiphene
                                                  + gonadotropins”). Finally, we grouped together any other fertility drugs, such as
                                                  progesterone and unknown hormone pills, into an “other” fertility drug group (“other


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                                                  fertility drug”). Women who reported taking fertility drugs were also asked how many
                                                  months they took each fertility drug. This information was collected for the first four periods
                                                  of fertility drug use. We do not have information regarding type of fertility drug or the
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                                                  duration of use for fertility drugs used after the first four time periods of fertility drug use;
                                                  however, only 9 women reported using fertility drugs for more than four time periods.

                                  Covariates
                                                  Based on anthropometric data provided by the participants, we calculated body mass index
                                                  (BMI) as weight (kg) at reference date divided by height (m) at reference date squared.
                                                  Family history of ovarian and breast cancers was defined as having at least one reported
                                                  diagnosis of, respectively, ovarian or breast cancer among a first-degree relative. Hormone
                                                  replacement therapy (HRT) use was defined as the use of hormones for menopause, to treat
                                                  osteoporosis, or after hysterectomy/removal of ovaries; any use of estrogen or estrogen plus
                                                  progesterone among postmenopausal women was also classified as HRT use. Women were
                                                  classified as postmenopausal if they were 55 years or older, reported natural menopause, had
                                                  used HRT, or reported no menstrual periods in the 6 months prior to the reference date.
                                                  Women were considered to be premenopausal if they had never taken HRT and reported
                                                  having menstrual periods in the 6 months prior to the reference date, and were younger than
                                                  55 years old (50). All participants were asked if they had ever been pregnant. Women
                                                  reporting at least 1 pregnancy were subsequently asked to provide information regarding the
                                                  outcome of the pregnancy and the duration they breastfed. This information was repeated for
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                                                  up to four pregnancies. Duration of breastfeeding was calculated as the sum of the number
                                                  of months they breastfed after each of their first four pregnancies. Information regarding
                                                  pregnancy outcomes, and breastfeeding was not available for later pregnancies; however,
                                                  women did report their total number of pregnancies and live births. Among women who
                                                  reported more than four pregnancies, we calculated their average length of breastfeeding for
                                                  their first four pregnancies, multiplied this average by the number of additional pregnancies
                                                  resulting in live births, and added this to the total months of reported breastfeeding. Perineal
                                                  talc use was defined as ever using dusting powder or deodorizing spray on: the genital or
                                                  rectal areas, on sanitary napkins, on underwear, or on diaphragms or cervical caps.

                                  Statistical Analysis
                                                  Associations between ovarian cancer risk and demographic and reproductive factors were
                                                  evaluated using logistic regression models. These models were used to calculate odds ratios
                                                  (OR) and corresponding 95% confidence intervals (95% CI), as well as p-trend values for
                                                  continuous factors.

                                                  Backward stepwise regression was used to determine which demographic and reproductive
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                                                  variables should be included as covariates in the regression models used to evaluate the
                                                  effect of exposure to fertility drugs on ovarian cancer risk. Age was locked into the stepwise
                                                  model as a continuous variable; a p-value criterion of 0.10 was used to identify additional
                                                  covariates. The following variables were evaluated for inclusion: race (white, black, other),
                                                  education (less than high school graduate, high school graduate, post-high school
                                                  education), site (Pittsburgh, Cleveland, Buffalo), BMI (<25, 25–29.99, ≥30), family history
                                                  (none, first-degree breast, first-degree ovarian, first-degree ovary and breast), tubal ligation
                                                  (yes, no, missing), OC use (continuous), number of live births (0, 1, 2, 3, 4, ≥5),
                                                  breastfeeding (never, < 6, 6 < 12, ≥12 months), age at menarche (continuous), menopausal
                                                  status (premenopausal, postmenopausal), perineal talc use (ever, never), and HRT use (ever,
                                                  never). All models are adjusted for the covariates identified through this process with the
                                                  exception of models in which collinearity occurred between these covariates and the
                                                  variables of interest (indicated with the results).



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                                                  Associations between ovarian cancer risk and ever versus never use of fertility drugs and
                                                  also duration of use, which was evaluated as a continuous variable and as a categorical
                                                  variable (never, < 6 months, ≥6 months), were evaluated among the total HOPE population
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                                                  and separately among women who reported seeking medical attention for infertility. We
                                                  chose 6 months as the cutoff for duration of use because this was the median duration of
                                                  fertility drug use among all women who had taken fertility drugs and using this grouping
                                                  provided adequate sample size for each group when stratifying for parity and gravidity.
                                                  Among women who reported seeking medical attention for infertility, we additionally
                                                  evaluated associations between ovarian cancer risk and year medical attention was sought,
                                                  who was tested, and underlying cause of infertility using unconditional logistic regression.
                                                  We also determined whether the relationship between fertility drug use and ovarian cancer
                                                  risk was modified by year medical attention was sought, age at which medical attention for
                                                  infertility was sought, cause of infertility, and person tested for infertility problems by
                                                  creating interaction terms between fertility drug use and these variables and including them
                                                  in the adjusted model. Finally, we evaluated whether use of specific types of fertility drugs
                                                  (clomiphene, gonadotropins, clomiphene + gonadotropins, other fertility drugs) was
                                                  associated with ovarian cancer risk. These analyses were repeated separately for invasive
                                                  and borderline ovarian tumors; analyses were also repeated using all cases and controls
                                                  within the HOPE study population.

                                                  To examine the impact of parity and gravidity on the association between fertility drug use
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                                                  and ovarian cancer risk, we evaluated ever compared to never use of fertility drugs while
                                                  stratifying by the following groups of women: parous, nulliparous-gravid, and nulligravid.
                                                  These analyses were conducted among women who reported seeking medical attention for
                                                  infertility and repeated using the total HOPE study population.

                                                  All significance tests were two-sided; P values <0.05 were considered statistically
                                                  significant. All analyses were conducted using Stata version 12.1 (StataCorp, College
                                                  Station, TX).

                                  Results
                                                  Demographic and reproductive characteristics of the HOPE study population are presented
                                                  in Table 1. Compared to Caucasians, African Americans had a significantly increased risk of
                                                  ovarian cancer. High-school graduates and women with post-high school education had a
                                                  significantly decreased risk of ovarian cancer compared to women with less than a high
                                                  school education. The following variables were also significantly associated with ovarian
                                                  cancer risk: age at menarche, OC use, parity, gravidity, duration of breastfeeding, perineal
                                                  talc use, and tubal ligation. Seeking medical attention for infertility was not significantly
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                                                  associated with ovarian cancer risk (Table 1). Backward stepwise regression yielded a model
                                                  that included age, race, education, age at menarche, OC use, parity, duration of
                                                  breastfeeding, perineal talc use, and tubal ligation. First-degree family history of breast/
                                                  ovarian cancers was associated with a p-value of 0.14 using this method but was
                                                  nevertheless included in the model because of its known association with ovarian cancer
                                                  risk.

                                                  Table 2 provides medical information for the 445 women who reported seeking medical
                                                  attention for infertility. No statistically significant association with ovarian cancer was
                                                  observed for age at which women sought medical attention, year medical attention was
                                                  initially sought or with person tested for infertility problems. None of the causes of
                                                  infertility were significantly associated with ovarian cancer risk; however, borderline
                                                  significant associations were observed for ovulation problems and menstrual problems.



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                                                  Among the 47 women who reported ovulation problems, 11 had also reported an issue with
                                                  their menstrual cycles.
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                                                  Use of fertility drugs was reported by 148 (33%) of the women seeking medical attention for
                                                  infertility (Table 2). The majority used fertility drugs for less than 12 months (66.7%); mean
                                                  duration was 11.4 months (range: 1–134 months). Ever use of fertility drugs was not
                                                  significantly associated with ovarian cancer risk (Table 2) and remained non-significant
                                                  after additional adjustment for cause of infertility (OR: 0.66, 95%CI: 0.36–1.22), age
                                                  medical attention was sought (OR: 0.86, 95%CI: 0.53–1.40), year attention was sought (OR:
                                                  0.90, 95%CI: 0.58–1.38), and who was tested for infertility problems (no one tested or
                                                  partner-only tested compared to self tested or partner and self tested, OR: 0.90, 95%CI:
                                                  0.54–1.49) (not in table). No significant interactions between fertility drug use and these
                                                  variables were observed (data not shown). Similar results were observed for duration of
                                                  fertility drug use (Table 2 and data not shown). Regarding specific types of fertility drugs,
                                                  the majority of women who ever used fertility drugs reported using only clomiphene citrate
                                                  (56.1%). None of the drugs evaluated were significantly associated with ovarian cancer risk
                                                  when looking at ever compared to never use (Table 2) or duration of use (data not shown).
                                                  Analyses were repeated excluding the 12 cases and controls that reported using unknown or
                                                  other fertility drugs and the results were unchanged. Additionally, no significant associations
                                                  between ever use of fertility drugs and ovarian cancer risk were observed when separately
                                                  assessing borderline (OR: 0.96, 95%CI: 0.31–2.94; adjusted for age, duration of OC use,
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                                                  talc, and age at menarche) and invasive tumors (OR: 0.85, 95%CI: 0.52–1.39; adjusted for
                                                  all covariates identified by stepwise regression).

                                                  Among all 2704 HOPE participants, 152 (5.6%) women reported ever using fertility drugs,
                                                  this included the 148 women who reported seeking medical attention for infertility and 4
                                                  women who had used fertility drugs but had never sought medical attention for fertility
                                                  issues. All 4 of these latter women were controls; 2 reported taking clomiphene only and 2
                                                  reported taking gonadotropins only. Data regarding why these four women reported taking
                                                  fertility drugs without ever seeking medical attention for infertility were not collected. Ever
                                                  use of fertility drugs was not significantly associated with ovarian cancer risk in the total
                                                  HOPE population (OR: 0.93, 95%CI: 0.65–1.35), nor was duration of use (never compared
                                                  to <6 months of use, OR: 1.05, 95%CI: 0.61–1.80; never compared to ≥6 months of use,
                                                  OR: 0.82, 95%CI: 0.50–1.34), adjusting for age, race, education, tubal ligation, age of
                                                  menarche, duration of OC use, number of live births, duration of breastfeeding, perineal talc
                                                  use, and family history. Adjusting for the same covariates, no significant associations
                                                  between ovarian cancer risk and ever use of fertility drugs were observed when separately
                                                  evaluating borderline (OR: 0.64, 95%CI: 0.26–1.55) and invasive tumors (OR: 1.02, 95%CI:
                                                  0.69–1.50).
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                                                  Table 3 presents results of the evaluation of associations between fertility drug use and
                                                  ovarian cancer risk stratified by parity and gravidity. Among those seeking medical attention
                                                  for infertility, nulligravid women who used fertility drugs were significantly more likely to
                                                  develop ovarian cancer than nulligravid women who had never used fertility drugs.
                                                  However, fertility drug use among parous and nulliparous-gravid women was not
                                                  significantly associated with ovarian cancer risk among this group of women. Within the
                                                  total HOPE study population, the association between ovarian cancer risk and ever use of
                                                  fertility drugs was non-significant among parous and nulliparous-gravid women. Ovarian
                                                  cancer risk was elevated among nulligravid fertility drug users; however, this was not
                                                  significant (Table 3).




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                                  Discussion
                                                  In this large case-control study, we evaluated whether fertility drug use significantly affects
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                                                  ovarian cancer risk when taking into account, parity, gravidity, and cause of infertility.
                                                  Consistent with results from previous studies, OC use, breastfeeding, and tubal ligation
                                                  significantly decreased ovarian cancer risk in our study population while nulliparity, and
                                                  perineal talc use increased risk (19, 24, 36, 40, 51). Ever use of fertility drugs was not
                                                  significantly associated with ovarian cancer risk within the total HOPE population or among
                                                  women who reported seeking medical attention for infertility. Risk did not differ
                                                  significantly according to duration of use or type of fertility drug. However, we did observe
                                                  a statistically significant increased risk of ovarian cancer for ever use of fertility drugs
                                                  among women who, despite seeking medical attention for problems getting pregnant,
                                                  remained nulligravid.

                                                  When examining specific causes of infertility among those seeking medical attention for
                                                  infertility, none of the evaluated causes were significantly associated with ovarian cancer
                                                  risk. Specifically, we observed no significant association between ovarian cancer and
                                                  endometriosis even though previous studies have reported an increased risk (40, 52–54).
                                                  Endometriosis was also not significantly associated with ovarian cancer risk in the total
                                                  HOPE population (data not shown). The mechanism by which endometriosis may affect
                                                  ovarian cancer risk is poorly understood; however, several studies have shown that
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                                                  endometriosis-associated tumors are most commonly linked to clear cell and endometrioid
                                                  tumors (55–58). The small number of women who reported being diagnosed with
                                                  endometriosis among those who sought medical attention for infertility in addition to the
                                                  homogeneity of tumor histologic subtypes among these women may have contributed to the
                                                  null relationship we observed here. Interestingly, we observed a decreased risk of ovarian
                                                  cancer among women who reported an ovulation problem as their cause of infertility.
                                                  Although this observation was of borderline significance, it suggests that women who
                                                  ovulate less frequently throughout their lifetime may have a decreased risk of ovarian cancer
                                                  and provides further evidence for the incessant ovulation theory.

                                                  In a 2004 case-control study, Rossing et al. observed that women whose infertility
                                                  manifested past the age of 30 were at increased risk of ovarian cancer (36). We found no
                                                  significant association between ovarian cancer risk and the age at which women sought
                                                  medical attention for infertility in our population; however, women who sought help
                                                  between the ages of 35 and 45 did exhibit a non-significant increased risk compared to
                                                  women who sought help before they were 25. Women who seek treatment for infertility past
                                                  the age of 30 have a lower likelihood of success compared to women who seek infertility
                                                  treatments at younger ages (59) and ovarian cancer risk associated with infertility among
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                                                  older women may reflect additional risk associated with low parity among these women.

                                                  Although we did not observe any significant associations between fertility drug use and
                                                  ovarian cancer risk within the total HOPE study population or among the subset of women
                                                  who reported seeking medical attention for infertility, we did observe, similar to previous
                                                  reports, a statistically significant increased risk of ovarian cancer associated with ever
                                                  fertility drug use among nulligravid women who had infertility problems (29, 35, 40). This
                                                  suggests that women who never became pregnant despite efforts to conceive are at uniquely
                                                  increased risk of ovarian cancer. This is further supported by the fact that we found no
                                                  significant association between fertility drug use and ovarian cancer risk among nulliparous
                                                  women who had at least one pregnancy. Although our results are in line with those from
                                                  previous studies, it should be noted that the number of nulligravid women who sought
                                                  medical attention for infertility was relatively small (N=74). Therefore, confirmation of our
                                                  results by other studies is necessary.


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                                                   Our finding that fertility drug use does not significantly contribute to ovarian cancer risk
                                                   among the majority of women is in line with results from other, recent studies (34, 36, 40,
                                                   52). Early studies that reported an increased risk of ovarian cancer among fertility drug users
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                                                   included small numbers of ovarian cancer patients exposed to fertility drugs and were unable
                                                   to adjust for risk factors known to impact ovarian cancer risk (29, 30). We observed no risk
                                                   difference between borderline and invasive tumors; these results are in agreement with a
                                                   recent case-control study (60) but disagree with several previous studies (30, 31, 40–43).

                                                   The strengths of this study include a large sample size and availability of detailed
                                                   reproductive and medical histories of women included in the study. The ability to stratify
                                                   and adjust for factors linked to ovarian cancer risk allowed us to disentangle risk associated
                                                   with these factors from risk associated with fertility drug use. A limitation of our study is
                                                   that we were unable to identify women who were infertile but never sought medical
                                                   attention. This differential misclassification may have attenuated the associations between
                                                   infertility and ovarian cancer risk. However, our ability to analyze associations between
                                                   fertility drug use and ovarian cancer risk in a relatively large subset of women who had
                                                   sought medical attention for infertility greatly improved the comparability of fertility drug
                                                   users to non-users. Being able to reduce the study population to only these women also
                                                   limited biases associated with comparing fertility drug users with infertility issues to non-
                                                   fertility drug users with no history of infertility issues. Our study is also limited by its
                                                   reliance on self-reported use of fertility drugs; however, the use of a life calendar during
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                                                   interviews may have improved the accuracy of recalling details about fertility drug use. This
                                                   study includes a greater number of ovarian cancer cases exposed to fertility drugs than
                                                   previous studies. Despite this, our study had limited power when completing stratified
                                                   analyses for fertility drug use and ovarian cancer risk, which resulted in small subgroups and
                                                   subsequently wide confidence intervals.

                                                   Our results build upon previous research and provide further evidence that fertility drug use
                                                   does not significantly contribute to overall risk of ovarian cancer when adjusting for known
                                                   confounding factors. Our observation that fertility drug use was only significantly associated
                                                   with increased ovarian cancer risk among nulligravid women who had ever sought medical
                                                   attention for infertility suggests that a biological mechanism associated with the inability to
                                                   conceive may impact ovarian cancer risk to a greater extent than fertility medications do.

                                                   To conclude, these results are reassuring for women and clinicians embarking on fertility
                                                   drug usage in the setting of infertility treatment.

                                  Acknowledgments
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                                  Abbreviations used

                                              CI                confidence intervals
                                              FSH               follicle stimulating hormone
                                              GnRH              gonadotropin-releasing hormone
                                              hCG               human chorionic gonadotropin
                                              hMG               human menopausal gonadotropin
                                              LH                luteinizing hormone



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                                              OC               oral contraceptive
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                                              OR               odds ratio

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                                                                                                                                                                            Table 1
                                                                                        Demographic and reproductive characteristics of the total HOPE population.

                                                                                                                        Cases (902)   Controls (1802)    OR (95% CI) a        p-trend b
                                                                                                                                                                                                                     Kurta et al.




                                                                                                                         N     %        N        %
                                                                                         Site
                                                                                           Buffalo                      251   27.8     476      26.4        1.0 (ref.)           ---
                                                                                           Cleveland                    294   32.6     628      34.9    0.89 (0.72, 1.09) c
                                                                                           Pittsburgh                   357   39.6     698      38.7    0.97 (0.79, 1.18) c
                                                                                         Age (in years)
                                                                                           < 30                         13     1.4      24      1.3         1.0 (ref.)          0.01
                                                                                           30 < 40                      47     5.2     108      6.0     0.80 (0.38, 1.71) c
                                                                                           40 < 50                      164   18.2     393      21.8    0.77 (0.38, 1.55) c
                                                                                           50 < 60                      276   30.6     569      31.6    0.90 (0.45, 1.79) c
                                                                                           60 < 70                      211   23.4     403      22.4    0.97 (0.48, 1.94) c
                                                                                           ≥70                          191   21.2     305      16.9    1.16 (0.57, 2.33) c
                                                                                         Race
                                                                                           White                        856   94.9    1,758     97.6        1.0 (ref.)           ---
                                                                                                                                                                                                                                                                       65927




                                                                                           Black                        35     3.9      29      1.6     2.48 (1.51, 4.08) c
                                                                                           Other                        11     1.2      15      0.8     1.51 (0.69, 3.29) c
                                                                                         Education
                                                                                           Non-high school graduate     83     9.2      82      4.5         1.0 (ref.)           ---
                                                                                           High school graduate         303   33.6     535      29.7    0.59 (0.42, 0.83) d
                                                                                           Post-high school             516   57.2    1,185     65.8    0.46 (0.33, 0.64) d




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                                                                                         Smoking Status
                                                                                           Never Smoker                 458   50.8     913      50.7        1.0 (ref.)           ---
                                                                                           Former Smoker                286   31.7     545      30.2    1.02 (0.84, 1.22)
                                                                                           Current Smoker               158   17.5     344      19.1    0.86 (0.69, 1.08)

                                                                                         Body Mass Index (in kg/m2) e
                                                                                           < 25                         300   33.3     671      37.2        1.0 (ref.)          0.08
                                                                                                                                                                                                                     Page 13
                                                                                                                                                                                                                                    Case 3:16-md-02738-MAS-RLS Document 9888-7 Filed 05/29/19 Page 111 of 164 PageID:
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                                                                                                                                                                     Cases (902)   Controls (1802)   OR (95% CI) a       p-trend b
                                                                                                                                                                      N     %        N        %
                                                                                                                                25 – 29.99                           267   29.6     528      29.3    1.09 (0.89, 1.33)
                                                                                                                                ≥30                                  334   37.0     602      33.4    1.18 (0.97, 1.43)
                                                                                                                                                                                                                                     Kurta et al.




                                                                                                                              Family History (1st degree)
                                                                                                                                No                                   715   79.3    1,491     82.7        1.0 (ref.)         ---
                                                                                                                                Breast Cancer Only                   147   16.3     255      14.2    1.21 (0.96, 1.51)
                                                                                                                                Ovarian Cancer Only                  32     3.5      44      2.4     1.51 (0.95, 2.42)
                                                                                                                                Breast and Ovarian Cancers            8     0.9      12      0.7     1.21 (0.48, 3.00)
                                                                                                                              Age at Menarche (in years)
                                                                                                                                <12                                  182   20.2     444      24.6        1.0 (ref.)        0.22
                                                                                                                                12                                   257   28.5     463      25.7    1.38 (1.09, 1.74)
                                                                                                                                13                                   243   26.9     484      26.9    1.26 (0.99, 1.59)
                                                                                                                                ≥14                                  220   24.4     411      22.8    1.27 (1.00, 1.62)
                                                                                                                              Menopausal Status
                                                                                                                                Premenopausal                        234   25.9     482      26.8        1.0 (ref.)         ---
                                                                                                                                Postmenopausal                       668   74.1    1,320     73.2    0.80 (0.63, 1.03)

                                                                                                                              Oral Contraceptive Use (in months) f
                                                                                                                                                                                                                                                                                       65928




                                                                                                                                Never                                367   40.7     531      29.5        1.0 (ref.)       < 0.01
                                                                                                                                <6                                   96    10.6     161      8.9     0.88 (0.65, 1.18)
                                                                                                                                6 < 24                               135   15.0     282      15.6    0.69 (0.53, 0.89)
                                                                                                                                24 < 60                              122   13.5     297      16.5    0.61 (0.47, 0.79)
                                                                                                                                60 < 120                             123   13.6     299      16.6    0.63 (0.48, 0.82)
                                                                                                                                ≥ 120                                58     6.4     232      12.9    0.37 (0.27, 0.52)
                                                                                                                              Hormone Replacement Therapy Use
                                                                                                                                Never                                543   60.2     1039     57.7        1.0 (ref.)         ---




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                                                                                                                                Ever                                 359   39.8     763      42.3    0.87 (0.73, 1.03)
                                                                                                                              Number of Pregnancies
                                                                                                                                0                                    167   18.5     167      9.3         1.0 (ref.)       < 0.01
                                                                                                                                1                                    114   12.6     188      10.4    0.57 (0.41, 0.78)
                                                                                                                                2                                    216   24.0     458      25.4    0.44 (0.33, 0.58)
                                                                                                                                3                                    167   18.5     426      23.6    0.36 (0.27, 0.47)
                                                                                                                                                                                                                                     Page 14
                                                                                                                                                                                                                                                    Case 3:16-md-02738-MAS-RLS Document 9888-7 Filed 05/29/19 Page 112 of 164 PageID:
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                                                                                                                                        Cases (902)   Controls (1802)     OR (95% CI) a        p-trend b
                                                                                                                                         N     %        N        %
                                                                                               4                                        112   12.4     284      15.8      0.34 (0.25, 0.46)
                                                                                               ≥5                                       126   14.0     279      15.5      0.34 (0.25, 0.47)
                                                                                                                                                                                                                                                                                                       Kurta et al.




                                                                                             Number of Live Births
                                                                                               0                                        213   23.6     230      12.8          1.0 (ref.)        < 0.01
                                                                                               1                                        117   13.0     228      12.7      0.51 (0.38, 0.68)
                                                                                               2                                        263   29.2     593      32.9      0.45 (0.35, 0.57)
                                                                                               3                                        170   18.8     418      23.2      0.39 (0.30, 0.51)
                                                                                               4                                        73     8.1     190      10.5      0.32 (0.23, 0.45)
                                                                                               ≥5                                       66     7.3     143       7.9      0.32 (0.22, 0.47)
                                                                                             Duration of Breastfeeding (in months)
                                                                                               Never                                    610   67.6     928      51.5          1.0 (ref.)        < 0.01
                                                                                               <6                                       117   13.0     296      16.4      0.60 (0.47, 0.76)
                                                                                               6 < 12                                   66     7.3     199      11.0      0.54 (0.40, 0.72)
                                                                                               ≥ 12                                     109   12.1     379      21.0      0.46 (0.36, 0.59)
                                                                                             Perineal Talc Use
                                                                                               No                                       653   72.4     1426     79.1          1.0 (ref.)          ---
                                                                                               Yes                                      249   27.6     376      20.9      1.40 (1.16, 1.69)
                                                                                                                                                                                                                                                                                                                                                         65929




                                                                                             Tubal Ligation
                                                                                               No                                       666   73.8     1162     64.5          1.0 (ref.)          ---
                                                                                               Yes                                      201   22.3     616      34.2      0.55 (0.46, 0.67)
                                                                                               Unknown                                  35     3.9      24       1.3      2.66 (1.57, 4.53)
                                                                                             Sought Medical Attention for Infertility
                                                                                               Never                                    747   82.8     1512     83.9          1.0 (ref.)          ---
                                                                                               Ever                                     155   17.2     290      16.1      1.15 (0.93, 1.43)




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                                                                                         a
                                                                                          Odds ratios and corresponding confidence intervals are adjusted for age (continuous), race (white, black, other), and education (non-high school graduate, high school graduate, post high-school), unless
                                                                                         otherwise noted.
                                                                                         b
                                                                                          P-trend values were obtained from logistic regression models by using continuous versions of these factors; all models were adjusted for age, race, and education with the exception of age, which was
                                                                                         unadjusted.
                                                                                         c
                                                                                          Unadjusted.
                                                                                         d
                                                                                             Adjusted for age and race.
                                                                                                                                                                                                                                                                                                       Page 15
                                                                                                                                                                                                                                                                                                                      Case 3:16-md-02738-MAS-RLS Document 9888-7 Filed 05/29/19 Page 113 of 164 PageID:
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                                                                                    1 case was missing oral contraceptive use information.
                           1 case and 1 control were missing weight information.
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                           e

                                                                                   f
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                                                                                                                                                            Cancer Epidemiol Biomarkers Prev. Author manuscript; available in PMC 2013 August 01.
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                                                                                                                                                                                  Table 2
                                                                                        Medical information, infertility causes, and ovarian cancer risk among HOPE participants seeking medical attention for infertility (N=445).

                                                                                                                                                Cases (155)   Controls (290)    OR (95% CI) a
                                                                                                                                                                                                                                      Kurta et al.




                                                                                                                                                 N     %       N       %
                                                                                         Year Medical Attention was Sought
                                                                                           ≤1970                                                55    35.5     97      33.5        1.0 (ref.)
                                                                                           1970≤1980                                            39    25.2     76      26.2    1.13 (0.55, 2.31) b
                                                                                           1980≤1990                                            31    20.0     74      25.5    0.77 (0.31, 1.91) b
                                                                                           After 1990                                           30    19.3     43      14.8    1.09 (0.34, 3.47) b
                                                                                         Age at Which Medical Attention was Sought (in years)
                                                                                           < 25                                                 47    30.3     86      29.7        1.0 (ref.)
                                                                                           25 < 30                                              52    33.5     110     37.9    0.94 (0.55, 1.61) b
                                                                                           30 < 35                                              35    22.6     68      23.4    0.89 (0.48, 1.66) b
                                                                                           35 < 40                                              17    11.0     18      6.2     2.00 (0.84, 4.75) b
                                                                                           ≥40                                                   4     2.6      8      2.8     0.84 (0.21, 3.37) b
                                                                                         Fertility Testing Done
                                                                                           None                                                 20    12.9     50      17.2        1.0 (ref.)
                                                                                                                                                                                                                                                                                        65931




                                                                                           Partner                                              12     7.7     17      5.9     1.41 (0.53, 3.75)
                                                                                           Self                                                 55    35.5     84      29.0    1.32 (0.66, 2.67)
                                                                                           Both                                                 68    43.9     139     47.9    0.92 (0.47, 1.81)
                                                                                         Fertility Drug Use
                                                                                           Never                                                105   67.7     192     66.2        1.0 (ref.)
                                                                                           Ever                                                 50    32.3     98      33.8    0.87 (0.54, 1.40)
                                                                                         Type of Fertility Drug




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                                                                                           Never                                                105   67.7     192     66.2        1.0 (ref.)
                                                                                           Clomiphene Only                                      28    18.1     55      19.0    0.87 (0.49, 1.56) b
                                                                                           Gonadotropin Only                                     7     4.5     20      6.9     0.51 (0.20, 1.32) b
                                                                                           Gonadotropin + Clomiphene Only                        9     5.8     17      5.8     0.94 (0.37, 2.42) b

                                                                                           Other Only c                                          6     3.9      6      2.1     1.87 (0.53, 6.65) b
                                                                                                                                                                                                                                      Page 17
                                                                                                                                                                                                                                                     Case 3:16-md-02738-MAS-RLS Document 9888-7 Filed 05/29/19 Page 115 of 164 PageID:
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                                                                                                                                                                                Cases (155)   Controls (290)    OR (95% CI) a
                                                                                                                                                                                 N     %       N       %

                                                                                                                             Duration of Fertility Drug Use (in months) d
                                                                                                                               Never                                            105   67.7    192      66.2        1.0 (ref.)
                                                                                                                                                                                                                                     Kurta et al.




                                                                                                                               <6                                               22    14.2     41      14.1    0.92 (0.48, 1.74) b
                                                                                                                               ≥6                                               27    17.4     57      19.7    0.75 (0.42, 1.34) b

                                                                                                                             Low Sperm Count e
                                                                                                                               No                                               130   83.9    229      79.0        1.0 (ref.)
                                                                                                                               Yes                                              25    16.1     55      19.0    0.68 (0.39, 1.18) b

                                                                                                                             Problems with ovaries (cysts) e
                                                                                                                               No                                               141   91.0    264      91.0        1.0 (ref.)
                                                                                                                               Yes                                              14     9.0     21      7.2     1.32 (0.61, 2.84) b

                                                                                                                             Ovulation Problems e
                                                                                                                               No                                               144   92.9    248      85.5        1.0 (ref.)
                                                                                                                               Yes                                              11     7.1     36      12.4    0.51 (0.24, 1.09) b

                                                                                                                             Tubal Problems e
                                                                                                                               No                                               137   88.4    245      83.5        1.0 (ref.)
                                                                                                                                                                                                                                                                                       65932




                                                                                                                               Yes                                              18    11.6     40      13.8    0.62 (0.33, 1.18) b

                                                                                                                             Uterine Problems e
                                                                                                                               No                                               147   94.8    274      94.5        1.0 (ref.)
                                                                                                                               Yes                                               8     5.2     11      3.8     1.04 (0.38, 2.83) b

                                                                                                                             Menstrual Problems e
                                                                                                                               No                                               146   94.2    254      87.6        1.0 (ref.)
                                                                                                                               Yes                                               9     5.8     30      10.3    0.48 (0.20, 1.11) b




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                                                                                                                             Endometriosis e
                                                                                                                               No                                               141   91.0    259      89.3        1.0 (ref.)
                                                                                                                               Yes                                              13     8.4     25      8.6     0.75 (0.35, 1.59) b

                                                                                                                             Cervical Problems e
                                                                                                                               No                                               152   98.1    277      95.5        1.0 (ref.)
                                                                                                                                                                                                                                     Page 18
                                                                                                                                                                                                                                                    Case 3:16-md-02738-MAS-RLS Document 9888-7 Filed 05/29/19 Page 116 of 164 PageID:
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                                                                                                                                                       Cases (155)    Controls (290)      OR (95% CI) a
                                                                                                                                                        N      %        N        %
                                                                                              Yes                                                       3      1.9      8        2.8     0.53 (0.11, 2.59) b
                                                                                                                                                                                                                                                                                                          Kurta et al.




                                                                                            Other Diagnosis e
                                                                                              No                                                       126    81.3     240      82.8          1.0 (ref.)
                                                                                              Yes                                                      29     18.7      46      15.9     1.56 (0.87, 2.79) b

                                                                                        a
                                                                                         ORs and corresponding 95% CIs are adjusted for age, race, education, tubal ligation, age of menarche, duration of oral contraceptive use, number of live births, duration of breastfeeding, perineal talc use,
                                                                                        and family history of breast/ovary cancers.
                                                                                        b
                                                                                            Due to collinearity, family history of breast/ovarian cancer was omitted from the adjusted logistic regression model. These ORs and corresponding 95% CIs are adjusted for all other variables listed in a.
                                                                                        c
                                                                                         Includes the following fertility drugs: roloxifene, danazol, unknown hormone pills, bromocriptine, progesterone, and metformin.
                                                                                        d
                                                                                         Duration of fertility drug use was missing for one case and was therefore not included in the logistic regression model; percentages correspond to the entire population of women who sought medical
                                                                                        attention for problems getting pregnant.
                                                                                        e
                                                                                         These variables exclude women who responded “don’t know” when asked if they were diagnosed with a particular infertility problem and these women were also not included in logistic regression
                                                                                        models. Percentages correspond to the entire population of women who sought medical attention for problems getting pregnant.
                                                                                                                                                                                                                                                                                                                                                            65933




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                                                                                                                                                                                                                                                                                                          Page 19
                                                                                                                                                                                                                                                                                                                         Case 3:16-md-02738-MAS-RLS Document 9888-7 Filed 05/29/19 Page 117 of 164 PageID:
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                                                                                                                                                                                              Table 3
                                                                                        Ovarian cancer risk according to parity, gravidity, and fertility drug use in total HOPE population and separately among HOPE participants that sought
                                                                                        medical attention for infertility.
                                                                                                                                                                                                                                                                                                           Kurta et al.




                                                                                                                                           Women Who Sought Medical Attention for Infertility                                                        Total HOPE Population
                                                                                            Parity         Gravidity                                  Cases (N=155)
                                                                                                                               Fertility Drug Use         N(%)           Controls (N=290)        OR (95% CI)          Fertility Drug Use     Cases (N=902)     Controls (N=1802)       OR (95% CI)
                                                                                            Parous                                             No        80 (51.6)           156 (53.8)             1.0 (ref.)                        No          666 (73.8)      1493 (82.8)             1.0 (ref.)
                                                                                                                                               Yes       23 (14.8)            75 (25.9)        0.57 (0.31, 1.05) a                   Yes           23 (2.6)         79 (4.4)         0.72 (0.44, 1.19) a
                                                                                            Nulliparous    Ever Pregnant                       No         8 (5.2)              9 (3.1)              1.0 (ref.)                        No           37 (4.1)         52 (2.9)              1.0 (ref.)
                                                                                                                                               Yes        9 (5.8)             11 (3.8)         0.47 (0.09, 2.53) b                   Yes           9 (1.0)          11 (0.6)         0.77 (0.26, 2.25) d
                                                                                            Nulliparous    Never Pregnant                      No        17 (11.0)            27 (9.3)              1.0 (ref.)                        No          149 (16.5)       155 (8.6)              1.0 (ref.)
                                                                                                                                               Yes       18(11.6)             12 (4.1)         3.13 (1.01, 9.67) c                   Yes           18 (2.0)         12 (0.7)         1.52 (0.68, 3.41) e

                                                                                        a
                                                                                         Adjusted for: age, age of menarche, duration of OC use, perineal talc use, education, family history of breast/ovarian cancers, tubal ligation, race, duration of breastfeeding, and number of live births.
                                                                                        b
                                                                                            Adjusted for: age, age of menarche, duration of OC use, and perineal talc use.
                                                                                        c
                                                                                         Adjusted for: age, age of menarche, duration of OC use, perineal talc use, education, and family history of breast/ovarian cancers.
                                                                                        d
                                                                                            Adjusted for: age, age of menarche, duration of OC use, perineal talc use, education, family history of breast/ovarian cancers, and tubal ligation.
                                                                                                                                                                                                                                                                                                                                                             65934




                                                                                        e
                                                                                         Adjusted for: age, age at menarche, duration of OC use, perineal talc use, education, and tubal ligation.




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                        Exhibit 48
                                 Published OnlineFirst April 14, 2015; DOI: 10.1158/1055-9965.EPI-15-0023
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         Research Article                                                                                                                Cancer
                                                                                                                                         Epidemiology,
                                                                                                                                         Biomarkers
                                                                                                                                         & Prevention
      African Americans and Hispanics Remain at Lower
      Risk of Ovarian Cancer Than Non-Hispanic Whites
      after Considering Nongenetic Risk Factors and
      Oophorectomy Rates
      Anna H. Wu1, Celeste L. Pearce1,2, Chiu-Chen Tseng1, and Malcolm C. Pike1,3




      Abstract
         Background: Risk factors for invasive epithelial ovarian cancer            racial/ethnic differences in the prevalence of these factors and
      (IEOC) among Hispanics and African Americans are understu-                    differences in their oophorectomy rates explained 31% of the
      died despite notable differences in incidence relative to non-                lower incidence in African Americans compared with non-
      Hispanic whites.                                                              Hispanic whites, but only 13% of the lower incidence in
         Methods: We used multivariate logistic regression to examine               Hispanics. The PAR%s ranged from 27.5% to 31.0% for no
      parity, oral contraceptive use, tubal ligation, endometriosis, fam-           tubal ligation, 15.9% to 22.2% for not using oral contra-
      ily history of ovarian cancer, and talc use and risk of IEOC among            ceptives, and 12.2% to 15.1% for using talc in the three
      Hispanics (308 cases and 380 controls), African Americans (128                groups.
      cases and 143 controls), and non-Hispanic whites (1,265 cases                   Conclusions: All six risk factors are comparably important in
      and 1,868 controls) using four case–control studies we conducted              the three groups. Differences in the prevalence of these factors and
      in Los Angeles County. We expressed each of these factors in the              their oophorectomy rates explained approximately one third of
      form of increasing risk and calculated population attributable risk           the difference in incidence between African Americans and non-
      percentage (PAR%) estimates for the six risk factors separately and           Hispanic whites.
      jointly in the three groups.                                                    Impact: Devising strategies to lessen the burden of IEOC will be
         Results: The risk associations with these six well-accepted                applicable to all three racial/ethnic groups. Cancer Epidemiol Biomar-
      factors were comparable in the three groups. The signiﬁcant                   kers Prev; 24(7); 1094–100. 2015 AACR.




      Introduction                                                                  factors in Hispanics. A small number of Hispanic cases (n ¼ 42)
                                                                                    were included in an ovarian cancer case–control study conducted
         In the United States in the period 2000 to 2009, the annual age-
                                                                                    in the Central Valley of California, but only results on talc use were
      adjusted incidence rate of invasive epithelial ovarian cancer
                                                                                    reported separately in Hispanics (35.7% in cases vs. 26.9% in
      (IEOC) was highest in non-Hispanic whites (14.3/100,000),
                                                                                    controls; ref. 2). A hospital-based case–control study in Mexico
      intermediate in Hispanics (12.1/100,000; 15% lower than the
                                                                                    compared risk factors between 84 ovarian cancer cases and control
      rate in non-Hispanic whites) and lowest in African Americans
                                                                                    women selected from an outpatient clinic (3): Parity and use of
      (10.2/100,000; 29% lower than the rate in non-Hispanic whites;
                                                                                    oral contraceptives were signiﬁcantly inversely associated with
      ref. 1). Epidemiologic studies of ovarian cancer risk have focused
                                                                                    risk but information on other factors has not been presented.
      primarily on non-Hispanic white women; reasons for the racial/
                                                                                       Risk factors for ovarian cancer among African Americans have
      ethnic differences in incidence are not well understood.
                                                                                    been examined in three reports (4–6). The Collaborative Analysis
         A number of risk factors—ﬁrst-degree family history of ovarian
                                                                                    of U.S. Case–Control Studies of Ovarian Cancer included seven
      cancer, endometriosis, and use of talc—and protective factors—
                                                                                    studies with a total of 110 ovarian cancers (72 invasive, 35
      parity, use of oral contraceptives, and tubal ligation—have been
                                                                                    borderline, and 3 unknown) in African-American women (4).
      unequivocally associated with ovarian cancer in non-Hispanic
                                                                                    Ness and colleagues (5) reported on risk of ovarian cancer among
      whites. There is virtually no information on ovarian cancer risk
                                                                                    84 African-American women with invasive or borderline cancers
                                                                                    (numbers of each not speciﬁed) from their Delaware Valley case–
      1
                                                                                    control study. More recently, Moorman and colleagues (6)
        Department of Preventive Medicine, University of Southern California,
      Keck School of Medicine, Los Angeles, California. 2Department of              reported results from 111 African Americans with invasive ovarian
      Epidemiology, University of Michigan, School of Public Health, Ann            cancer from their North Carolina ovarian cancer case–control
      Arbor, Michigan. 3Department of Epidemiology and Biostatistics,               study. Reduced risk from increased parity and oral contraceptive
      Memorial Sloan Kettering Cancer Center, New York, New York.
                                                                                    use were found in all three studies. Tubal ligation was found to be
      Corresponding Author: Anna H. Wu, University of Southern California Keck      signiﬁcantly inversely associated with risk in both of the studies
      School of Medicine, 1441 Eastlake Avenue, Room 4443, Los Angeles, CA 90089.
                                                                                    that reported on this factor (5, 6). The results regarding family
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                                                                                    history are unclear. John and colleagues (4) did not report on
      doi: 10.1158/1055-9965.EPI-15-0023                                            family history. Ness and colleagues found that a family history of
      2015 American Association for Cancer Research.                               ovarian cancer was inversely associated with risk in African



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                                                                                                            Ethnicity and Ovarian Cancer Risk




  Americans, but this was based on sparse numbers (1.2% of cases         vidually matched to cases on race/ethnicity and year of birth (5
  vs. 2.0% of controls), a ﬁnding contrary to the strong increased       years); they represented essentially all the controls interviewed. In
  risk found in non-Hispanic whites (4.6% of cases vs. 1.9% of           one study, selection of controls for cases >65 years of age was
  controls; ref. 5). Family history of ovarian cancer was not reported   augmented, if necessary, by using lists of female residents of Los
  in the North Carolina study, but family history of breast or ovarian   Angeles County provided by the Health Care Financing Admin-
  cancer was a signiﬁcant risk factor for African Americans (6).         istration, matched to the case on zip code, race/ethnicity, and year
     The literature on causes of IEOC in Hispanics and African           of birth closest to the case's year of birth (8). Overall, 70% of the
  Americans is, therefore, very limited and it remains unclear to        non-Hispanic white, Hispanic, and African-American controls
  what extent the differences in the prevalence of ovarian cancer risk   interviewed were the ﬁrst identiﬁed control.
  factors explain the differences in incidence between these three
  racial/ethnic groups. During the period 1992 to 2008, we con-          Data collection
  ducted four IEOC case–control studies in Los Angeles County               In-person interviews were conducted using standardized ques-
  designed to elucidate risk factors for the disease and to evaluate     tionnaires that included the use of a life calendar. The core
  differences in risk across non-Hispanic whites, Hispanics, and         questions on the risk factors presented here were identical in the
  African Americans.                                                     four studies. The questionnaire covered events up to 12 months
                                                                         before a case's diagnosis date and a similar reference date for the
  Materials and Methods                                                  controls.
     The results presented here are based on pooling the question-          The demographic, lifestyle, and medical history variables con-
  naire data from these four studies, which used identical data          sidered in this analysis include race/ethnicity (African American,
  collection methods as regards the factors discussed here; compre-      Hispanic, and non-Hispanic white), age at diagnosis, parity, oral
  hensive details of these methods have been published (7–9). These      contraceptive use, tubal ligation, self-reported physician-diag-
  studies were approved by the University of Southern California         nosed endometriosis, ﬁrst-degree family history of ovarian cancer,
  Institutional Review Board, and written informed consent was           and genital talc use.
  obtained from each patient and control before her interview.
                                                                         Statistical analysis
  Case ascertainment                                                        We used standard statistical methods, including multivariate
     For all studies, newly diagnosed histologically conﬁrmed IEOC       logistic regression, using the statistical package programs STATA
  cases were identiﬁed from the USC Cancer Surveillance Program,         12 (StataCorp) and SAS 9.2 (SAS Institute Inc.). Although the
  which is the Los Angeles County SEER Program. Eligible patients        studies were designed as matched case–control studies, at the
  were female residents of Los Angeles County of self-reported non-      termination of the particular studies, some cases had not been
  Hispanic white, Hispanic, or African-American race/ethnicity.          matched to a control and there were some controls whose cases
  Cases were eligible for inclusion in the study if they were between    had to be excluded after they completed the interview, because
  18 and 74 years of age at diagnosis (up to age 79 for cases            they were ineligible for the current analysis (e.g., not IEOC or did
  diagnosed between 2003 and 2008). A total of 3,370 patients            not live in Los Angeles County at the time of diagnosis). In this
  met the study criteria (2,580 non-Hispanic whites, 506 Hispanics,      report, we have used all interviewed cases and controls by adopt-
  284 African Americans). Overall, 15.7% of patients (17.2% non-         ing a stratiﬁed multivariate logistic regression analysis approach
  Hispanic whites, 8.5% Hispanics, and 15.5% African Americans)          with joint stratiﬁcation for the three race/ethnicity groups, age
  declined to be interviewed, 16.9% had died or were too ill to be       group (<30, 5-year age groups to age 79), interviewer, and study.
  interviewed (17.8% non-Hispanic whites, 12.1% Hispanics, and           Analysis focused on the following factors: nulliparity (yes/no),
  17.6% African Americans), and 11.4% could not be located or had        oral contraceptive use (yes/no; no included never and <1 year of
  moved out of Los Angeles County (10.2% non-Hispanic whites,            use), tubal ligation (yes/no), history of endometriosis (yes/no),
  14.0% Hispanics, and 17.6% African Americans). We were thus            family history of ovarian cancer (mother or sister; yes/no), and
  able to carry out in-person interviews with 1,886 patients (1,415      history of genital talc use (yes/no; no included never and <1 year
  non-Hispanic whites, 331 Hispanics, and 140 African Americans),        of use). The logistic regression analysis also adjusted for meno-
  representing 63.2% participation rate of the patients approached       pausal status [premenopausal, natural menopause age 49, nat-
  (61.1% non-Hispanic whites, 76.1% Hispanics, and 59.8% Afri-           ural menopause age 50–54, natural menopause 55, surgical
  can Americans). The response rate was higher for patients diag-        menopause (simple hysterectomy only) age 49, surgical men-
  nosed with localized cancer (69%) compared with those with             opause 50, other], age at menarche (11, 12, 13, 14), hor-
  more advanced stage at diagnosis (61%). Response rates were            mone therapy use (none, former or current estrogen þ progestin,
  highest for those diagnosed under age 60 (70%), intermediate for       former or current estrogen alone), body mass index (BMI; kg/m2;
  those ages 60 to 69 (59%), and lowest for those ages 70þ (47%) at      22, >22–24, >24–28, >28), family income (40,000, >40,000
  diagnosis. In this analysis, we excluded 185 patients who had a        to 64,000, >64,000 to 100,000, >100,000, do not know) and
  previous cancer (excluding nonmelanoma skin cancer) or had             education (high school or less, some college, college or higher).
  prior bilateral oophorectomy and the ﬁnal analysis was based on        ORs—and corresponding 95% conﬁdence intervals (CI)—were
  1,701 patients (1,265 non-Hispanic whites, 308 Hispanics, and          calculated as estimates of the relative risks (RR). All statistical
  128 African Americans).                                                signiﬁcance values (P values) quoted are two-sided.
                                                                            Population attributable risk percentages (PAR%s), deﬁned as
  Control ascertainment                                                  the percentages of disease in the population that are attributable
     Controls were residents of Los Angeles County with at least one     to a given risk factor (or set of risk factors), were calculated using
  intact ovary identiﬁed using a well-tested neighborhood control        the method of Bruzzi and colleagues (11). These authors showed
  selection algorithm (8–10). Neighborhood controls were indi-           that PAR%s could be calculated from a case–control study using



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      the estimated RRs applied to the cases only. This approach is of           Table 1. Tumor characteristics of invasive ovarian cancer in non-Hispanic
      particular value to our analysis as it only requires the cases to be a     whites, Hispanics, and African Americans: Los Angeles County Ovarian Cancer
                                                                                 Study
      representative sample from the population at risk. This method
                                                                                                                Non-Hispanic                       African
      uses the individual data on each case to calculate the expected
                                                                                                                whites             Hispanics       Americans
      fraction of the cases that would not have occurred if the risk factors                                    N ¼ 1,265          N ¼ 308         N ¼ 128
      being considered were at their baseline values, and this fraction          Age, y
      was then used to calculate the PAR%. For a single risk factor, the           <30                             12 (0.9%)          5 (1.6%)       1 (0.8%)
      conﬁdence limit for the PAR% was obtained by repeating the                   30–34                           14 (1.1%)          11 (3.6%)      2 (1.6%)
      calculation using the lower (and upper) conﬁdence bound of the               35–39                          33 (2.6%)          10 (3.2%)       3 (2.3%)
                                                                                   40–44                          58 (4.6%)          31 (10.1%)     13 (10.2%)
      OR for the particular factor in this calculation. For multiple risk
                                                                                   45–49                         144 (11.4%)        36 (11.7%)      17 (13.3%)
      factors, the conﬁdence bounds for the PAR% were obtained by                  50–54                         194 (15.3%)        60 (19.5%)     25 (19.5%)
      simulation: drawing repeated random samples from the mean                    55–59                         186 (14.7%)        46 (14.9%)      18 (14.1%)
      and covariance matrix of the log ORs from the logistic regression            60–64                         193 (15.3%)        43 (14.0%)     24 (18.8%)
      ﬁt and calculating a PAR% from that sample—the 95% CI bounds                 65–69                         179 (14.2%)        29 (9.4%)       15 (11.7%)
      were taken as the 2.5% and 97.5% values from the repeated                    70–74                         160 (12.6%)        23 (7.5%)        8 (6.3%)
                                                                                   75–79                          92 (7.3%)          14 (4.5%)       2 (1.6%)
      samples. In our simulation analyses, we used 5,000 repeats.
                                                                                 Histology
         Published incidence rates for IEOC make no adjustment for the             Serous                        721 (57.0%)       179 (58.1%)      71 (55.5%)
      number of women who have had their ovaries (and fallopian                    Mucinous                       85 (6.7%)         26 (8.4%)       12 (9.4%)
      tubes) removed. Writing h for the proportion of women who have               Endometrioid                  153 (12.1%)        34 (11.0%)      14 (10.9%)
      had a hysterectomy and t for the proportion of hysterectomies that           Clear cell                     75 (5.9%)          14 (4.5%)       4 (3.1%)
      include removal of the ovaries (oophorectomy), an incidence rate             Epithelial                     40 (3.2%)          13 (4.2%)       2 (1.6.%)
                                                                                   Undifferentiated/poorly        53 (4.2%)          12 (3.9%)      10 (7.8%)
      r is approximately adjusted (not accounting for age at oophorec-
                                                                                   Other                          131 (10.4%)       28 (9.1%)       14 (10.9%)
      tomy) for the oophorectomy rate as follows:                                  Not known                        7 (0.6%)          2 (0.6%)        1 (0.8%)
                             radj-ooph ¼ r=ð1  h  tÞ                   ðAÞ       P3dfa,b                                               0.54           0.40
                                                                                 Stage
        If a population incidence rate (or an oophorectomy adjusted                Localized                     216 (17.1%)        58 (18.8%)     30 (23.4%)
      incidence rate) r is associated with a PAR% p for a single risk factor       Regional                      170 (13.4%)        49 (15.9%)      12 (9.4%)
      (or a group of risk factors) then the expected incidence rate if the         Distant                       853 (67.4%)       197 (64.0%)     83 (64.8%)
      population was at the baseline risk of the risk factor is:                   Not known                      26 (2.1%)           4 (1.3%)       3 (2.3%)
                                                                                   P2dfa,c                                               0.38           0.12
                           radj-PAR% ¼ r  ð1  p=100Þ                   ðBÞ     Differentiation
                                                                                   Well                           119 (9.4%)        29 (9.4%)        9 (7.0%)
                                                                                   Moderately well               235 (18.6%)        53 (17.2%)     28 (21.9%)
                                                                                   Poorly                       502 (39.7%)         119 (38.6%)    46 (35.9%)
      Results                                                                      Undifferentiated              170 (13.4%)        33 (10.7%)      16 (12.5%)
                                                                                   Not known                     239 (18.9%)        74 (24.0%)     29 (22.7%)
         This analysis was based on 1,701 women diagnosed with IEOC                P3dfa,b
                                                                                                                                         0.81           0.63
      (1,265 non-Hispanic whites, 308 Hispanics, and 128 African                 a
                                                                                   P value comparing non-Hispanic whites with each of the other two groups
      Americans) and 2,391 control women (1,868 non-Hispanic                     separately.
      whites, 380 Hispanics, and 143 African Americans). The distribu-           b
                                                                                   P value based on cases of serous, mucinous, endometrioid, and clear-cell
      tion of IEOC by histology, stage at diagnosis and differentiation          histology only.
      did not differ signiﬁcantly between the three groups (Table 1). The
                                                                                 c
                                                                                  P value excluding cases with no known histology or stage of cancer at
      majority of IEOC in the three racial/ethnic groups was of serous           diagnosis.
      cell type, distant stage at diagnosis, and poorly differentiated.
         The prevalence of the risk factors, including the average number
      of births, duration of oral contraceptive use, and duration of talc        <1 year) was highest in Hispanics (54.7%), followed by African
      use in the three groups of controls and cases, are shown in Table 2.       Americans (47.6%), and lowest in non-Hispanic whites (41.5%;
      All six factors are presented in the manner of being associated with       P2df < 0.001). Talc use was more common in African-American
      increasing risk; that is, the factors that are inversely associated with   women (44.1%) than in non-Hispanic whites (30.4%) or His-
      risk are presented in the form of their absence being a risk factor,       panics (28.9%; P2df ¼ 0.001). Similar patterns of differences in
      for example, the decreased risk in parous women is presented as a          these risk factors between the three racial/ethnic groups of IEOC
      risk in nulliparous women. This was done to allow the presen-              patients were found (Table 2, bottom).
      tation of PAR%s in a standard fashion.                                        As expected, each of the six risk factors had statistically signif-
         With the exception of family history of ovarian cancer, the             icant independent effects on risk in non-Hispanic whites. Risk
      prevalence of the other risk factors differed signiﬁcantly between         patterns in Hispanics paralleled those in non-Hispanic whites
      the three racial/ethnic groups of control women (Table 2, top).            (Table 3), although the elevated risks with endometriosis and
      The prevalence of no tubal ligation was 69.2% in African-Amer-             family history of ovarian cancer did not achieve statistical signif-
      ican, 73.7% in Hispanic, and 85.9% in non-Hispanic white                   icance. In African Americans, family history of ovarian cancer was
      control women (P2df < 0.0001). Nulliparity and history of endo-            associated with a more than 7-fold increased risk, but the CI was
      metriosis was highest in non-Hispanic whites, intermediate in              wide (OR, 7.84; 95% CI, 1.66–37.0). The associations with parity,
      African Americans, and lowest in Hispanics (23.7%, 16.8%,                  oral contraceptive use, tubal ligation, endometriosis, and talc use
      and 13.7% for nulliparity, P2df < 0.001; 7.5%, 5.6%, and 3.4%              in African Americans are all in agreement with the risks found in
      for endometriosis, P2df ¼ 0.008). No oral contraceptive use (no/           non-Hispanic whites, although none were statistically signiﬁcant.



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                                                                                                                            Ethnicity and Ovarian Cancer Risk




  Table 2. Prevalence of risk factors in non-Hispanic white, Hispanic, and African-American control women (top) and ovarian cancer cases (bottom)
  Factors                                              Non-Hispanic whites         Hispanics        African Americans      P1b          P2c                 P3d
  Controlsa
    Nulliparous (%)                                    23.7%                         13.7%           16.8%                 <0.001         0.076              0.45
    Mean # births among parous (SD)                      2.5 (1.3)                    3.0 (1.7)       2.7 (1.5)            <0.001         0.03               0.15
    Oral contraceptive use (no/<1 year; %)              41.5%                       54.7%           47.6%                  <0.001         0.19               0.17
    Mean # months of OC use among users (SD)           95.9 (74.9)                  81.0 (67.0)     93.1 (74.2)              0.014        0.75               0.21
    No tubal ligation (%)                              85.9%                        73.7%           69.2%                  <0.001       <0.001               0.36
    Endometriosis (%)                                    7.5%                         3.4%            5.6%                   0.006        0.50               0.38
    Family history of ovarian cancer (%)                 2.5%                         3.4%            2.8%                   0.37         0.98               0.93
    Talc use 1 year (%)                               30.4%                        28.9%           44.1%                    0.61         0.0001             0.002
    Mean # years of talc use among users (SD)          23.9 (17.4)                   21.3 (16.7)    22.9 (17.0)              0.15         0.67               0.55
  Casese
    Nulliparous (%)                                    27.8%                         17.9%           16.4%                 <0.001         0.007              0.82
    Mean # births among parous (SD)                      2.5 (1.2)                    3.1 (1.7)       2.8 (1.6)            <0.001         0.003              0.24
    Oral contraceptive use (no/< 1 year; %)            57.4%                       69.8%            50.0%                  <0.001         0.13              <0.001
    Mean # months of OC use among users (SD)           73.4 (61.1)                  59.8 (53.1)     75.7 (66.7)              0.044        0.75               0.10
    No tubal ligation (%)                              90.6%                        83.8%           80.5%                  <0.001       <0.001               0.49
    Endometriosis (%)                                   11.1%                         5.5%            9.4%                   0.005        0.66               0.21
    Family history of ovarian cancer (%)                 5.1%                         4.9%            7.0%                   0.96         0.48               0.50
    Talc use 1 year (%)                                41.2%                       38.6%           47.7%                    0.45         0.19               0.10
    Mean # years of talc use among users (SD)          27.5 (18.4)                   21.6 (16.9)    26.6 (18.2)              0.001        0.71               0.069
  a
    Controls included: 1,868 non-Hispanic whites, 380 Hispanics, and 143 African Americans.
  b
    P1df for differences between non-Hispanic whites and Hispanic controls (top)/P1df for differences between non-Hispanic whites and Hispanic cases (bottom).
  c
   P1df for differences between non-Hispanic whites and African American controls (top)/P1df for differences between non-Hispanic whites and African American cases
  (bottom).
  d
    P1df for differences between Hispanic and African American controls (top)/P1df for differences between Hispanic and African American cases (bottom).
  e
    Cases included: 1,265 non-Hispanic whites, 308 Hispanics, and 128 African Americans.




  The adjusted ORs for the three racial/ethnic groups combined are                   31.0%, followed by "no oral contraceptive use" (ranging from
  also shown in Table 3.                                                             15.9% to 22.2%), and talc use (ranging from 12.2% to 15.1%).
     The ﬁrst three columns of Table 4 show that these six factors                   The PAR% for nulliparity was 8.9% in non-Hispanic whites, but
  together accounted for 57.9% of IEOCs in non-Hispanic whites                       lower in Hispanics (5.7%) and African Americans (5.5%). The
  compared with 56.1% in Hispanics and 53.8% in African Amer-                        PAR%s for endometriosis (ranging from 2.0% to 4.0%) and
  icans based on the race/ethnicity-adjusted OR estimates shown                      family history of ovarian cancer (ranging from 2.7% to 3.9%)
  in Table 3 (last column). The PAR% due to "no tubal ligation" was                  were more modest. The large "no tubal ligation" PAR% is due to
  large in all three racial/ethnic groups, ranging from 27.5% to                     relatively high prevalence in the IEOC patients (Table 2, bottom);


  Table 3. Mutually adjusted ORsa for invasive ovarian cancer in Los Angeles County non-Hispanic whites, Hispanics, and African Americans
                                Non-Hispanic whites                                               African Americans
                                   (1,265/1,868)                 Hispanics (308/380)                   (128/143)                       All (1701/2391)
                         ca/co           OR (95% CI)        ca/co        OR (95% CI)         ca/co        OR (95% CI)         ca/co            OR (95% CI)
  Live-births
     Yes                 913/1,426       1.00               253/328      1.00                107/119      1.00                1,273/1,873      1.00
     No                  352/442         1.43 (1.19–1.73)   55/52        2.22 (1.28–3.84)    21/24        1.42 (0.54–3.75)    428/518          1.47 (1.24–1.75)
     Per birth                           0.70 (0.58–0.84)                0.45 (0.26–0.78)                 0.70 (0.27–1.86)                     0.68 (0.57–0.81)
  Oral contraceptive (OC)
     Yes                 539/1,092       1.00               93/172       1.00                64/75        1.00                696/1,339        1.00
     None/<1 year        726/776         1.55 (1.31–1.84)   215/208      1.29 (0.87–1.92)    64/68        1.30 (0.64–2.63)    1,005/1,052      1.47 (1.26–1.70)
     Per 5 years OC                      0.64 (0.54–0.76)                0.77 (0.52–1.15)                 0.77 (0.38–1.55)                     0.68 (0.59–0.79)
  Tubal ligation
     Yes                 119/263         1.00               50/100       1.00                25/44        1.00                194/407          1.00
     No                  1,146/1,605     1.41 (1.10–1.81)   258/280      1.71 (1.07–2.74)    103/99       1.65 (0.73–3.74)    1,507/1,984      1.52 (1.23–1.87)
  Endometriosis
     No                  1,125/1,728     1.00               291/367      1.00                116/135      1.00                1,532/2,230      1.00
     Yes                 140/140         1.51 (1.15–1.98)   17/13        2.21 (0.89–5.48)    12/8         1.74 (0.45–6.74)    169/161          1.56 (1.21–2.00)
  First-degree family history of ovarian cancer
     No                  1,200/1,822     1.00               293/367      1.00                119/139      1.00                1,612/2,328      1.00
     Yes                 65/46           2.12 (1.40–3.21)   15/13        2.38 (0.94–6.01)    9/4          7.84 (1.66–37.0)    89/63            2.26 (1.58–3.25)
  Genital talc use
     None/<1 year        744/1,300       1.00               189/270      1.00                67/80        1.00                1,000/1,650      1.00
     Yes                 521/568         1.41 (1.21–1.67)   119/110      1.77 (1.20–2.62)    61/63        1.56 (0.80–3.04)    701/741          1.46 (1.27–1.69)
     Per 5 years talc                    1.14 (1.08–1.21)                1.18 (1.02–1.36)                 1.15 (0.90–1.47)                     1.14 (1.09–1.20)
  a
   Race/ethnic speciﬁc multivariate logistic regression analyses were jointly stratiﬁed for age group (<30, 5-year age groups to age 79), interviewer and study, and
  adjusted for menopausal status, age at menarche, hormone therapy use, BMI, income, education, and each of the six factors shown. In analyses on "all subjects," we
  also jointly stratiﬁed by race/ethnicity.




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      Table 4. Ovarian cancer PAR%s and 95% CI in Los Angeles County non-Hispanic whites, Hispanics, and African Americansa
                                                                                               Using race-adjusted ORsa
                                                           Non-Hispanic whites                         Hispanics                             African Americans
                                                           PAR%b                                       PAR%b                                 PAR%b
      No live birth                                          8.9%                                        5.7%                                 5.3%
                                                             5.3%–11.9%                                  3.4%–7.6%                            3.1%–7.0%
      No/<1 year oral contraceptives                        18.3%                                       22.2%                                15.9%
                                                            12.0%–23.7%                                 14.5%–28.8%                          10.4%–20.7%
      No tubal ligation                                     31.0%                                       28.7%                                27.5%
                                                            17.2%–42.3%                                 15.9%–39.1%                          15.2%–37.5%
      Yes endometriosis                                      4.0%                                        2.0%                                 3.4%
                                                             2.0%–5.5%                                   1.0%–2.8%                            1.7%–4.7%
      Yes family history ovarian cancer                      2.9%                                        2.7%                                 3.9%
                                                             1.9%–3.6%                                   1.8%–3.4%                            2.6%–4.9%
      Yes/1 year talc use                                  13.0%                                       12.2%                                15.1%
                                                             8.7%–16.8%                                  8.1%–15.8%                          10.0%–19.5%
      Three factors (no tubal ligation,                    50.8%                                        51.2%                                47.9%
        no/<1 year oral contraceptives,                    39.7%–59.5%                                 40.8%–59.3%                           37.8%–55.8%
        yes/1 year talc use)
      All 6 factors                                        57.9%                                       56.1%                                 53.8%
                                                           48.7%–65.3%                                 46.8%–63.3%                           45.0%–60.7%
      a
      Using the all race/ethnicity adjusted ORs from Table 3.
      b
       The PARs were mutually adjusted for the variables shown in this table as well as for age group (<30, 5-year age groups to age 79), interviewer and study,
      menopausal status, age at menarche, hormone therapy use, BMI, income, and education.



      it was 90.6% in non-Hispanic whites, 83.8% in Hispanics, and                  at risk) without removing those who have had a bilateral oopho-
      80.5% in African Americans, so that a shift to the low-risk                   rectomy and are not at risk. Thus, estimates of racial/ethnic
      category, that is, having a tubal ligation, will have a substantial           differences in IEOC based on SEER data can be "improved" by
      impact. In contrast, the PAR% due to nulliparity is lower because             accounting for the racial/ethnic differences in the prevalence of
      being parous is already highly prevalent; 72.2% in non-Hispanic               bilateral oophorectomy.
      whites, 83.6% in African Americans, and 82.1% in Hispanics, so                   Although Lowder and colleagues (12) in their analysis of
      that a shift to the low-risk category will have a lesser impact on the        oophorectomy rates in women undergoing a hysterectomy in the
      overall disease burden.                                                       National Hospital Discharge Survey covering the period 1979 to
         The mean number of births among parous IEOC cases was 2.5                  2004, found that the proportion was approximately 40% and did
      in non-Hispanic whites, 2.8 in African Americans, and 3.1 in                  not differ by racial/ethnic group; Jamison and colleagues (13) in
      Hispanics (Table 2, bottom). We repeated the PAR% calculations                their analysis of hysterectomy prevalence in women over age 50 in
      after categorizing births as 0, 1, 2, 3, and 4þ using the 4þ category         the Behavioral Risk Factor Surveillance System covering the years
      as baseline: The associated PAR% values increased as expected but             1992 to 2008 found that the rate of hysterectomy was clearly
      the relationships of the PAR%s by racial/ethnic group were                    higher in African-American women (47%) than in non-Hispanic
      essentially unaltered. Similarly, we categorized oral contraceptive           whites (41%), and lower still in Hispanic women (36%). Using
      use in ﬁner categories of <1 year, 1 to 4 years, 5 to 9 years, and 10þ        ﬁgures from these two studies in Equation A (see Statistical
      years with little effect on the relationships of the PAR%s by racial/         analysis) to adjust incidence rates for the proportion of women
      ethnic group (data not shown).                                                with a history of oophorectomy, we estimate that the observed
                                                                                    29% lower incidence rate in African Americans compared with
                                                                                    non-Hispanic whites based on SEER data would be adjusted to
      Discussion                                                                    27% [ ¼ 1  0.71  (1  0.41  0.4)/(1  0.47  0.4)]. The PAR%
         With the high mortality and the lack of effective early screening          of non-Hispanic whites was slightly higher at 57.8% than the
      for ovarian cancer, better understanding of preventive risk factors           PAR% in African Americans at 53.8% (Table 4); taking this into
      is a priority. The primary motivation for this analysis was to                account, by use of Equation B (see Statistical analysis), reduced
      determine whether the six conﬁrmed nongenetic risk factors for                the difference in incidence between the two groups further from
      IEOC (parity, use of oral contraceptives, tubal ligation, endome-             the adjusted 27% to 20%. Overall, taking into account the
      triosis, ﬁrst-degree family history of ovarian cancer, and use of             correction in the population at risk (denominator) and the PAR%,
      genital talc) in non-Hispanic whites are also risk factors in                 the difference in the African-American to non-Hispanic white
      Hispanics and African Americans. The risk patterns associated                 incidence rates was reduced by 31% (1%–20%/29%). Given that
      with these six factors were comparable in the three racial/ethnic             hysterectomy rates are lower in Hispanics compared with non-
      groups (Table 3), and the PAR%s for the factors jointly (Table 4)             Hispanic whites, Hispanics would be at even lower RR than what
      were also very similar.                                                       is observed in SEER; the 15% lower incidence rate in Hispanics
         An additional objective was to determine whether these six risk            compared with non-Hispanic whites would increase to 17% when
      factors jointly could explain the 29% and 15% lower incidence of              using the correct at-risk denominator. The PAR% difference will
      ovarian cancer in African Americans and Hispanics, respectively,              change the difference slightly less in Hispanics compared with
      compared with non-Hispanic whites. The incidence of ovarian                   non-Hispanic whites from 17% to 13%. When taking into con-
      cancer as reported by SEER, and other cancer registries, is calcu-            sideration the correct population at risk and the PAR%, the
      lated by considering all women in the denominator (population                 difference in incidence rates between Hispanics and non-Hispanic



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                                                                                                                                  Ethnicity and Ovarian Cancer Risk




  whites is reduced by 13% (1%–13%/15%). Thus, this type of                              icans compared with non-Hispanic whites was reduced to 20%
  analysis suggests that further investigations are needed to identify                   when these differences were adjusted for, but adjustment for these
  other risk factors that may explain the remaining differences in                       differences in prevalence accounted for only a very small amount
  IEOC rates between these three racial/ethnic groups.                                   of the lower incidence rate in Hispanics.
     Strengths of this study include the ability to evaluate the relative
  comparability in the effect of several well-established risk factors                   Disclosure of Potential Conﬂicts of Interest
  in non-Hispanics whites, Hispanics, and African Americans. Our                            No potential conﬂicts of interest were disclosed.
  results on Hispanics ﬁll a knowledge gap, as this is the ﬁrst study to
  examine etiologic risk factors for ovarian cancer in this growing                      Disclaimer
  minority population in the United States. Identical question-                             The ideas and opinions expressed herein are those of the authors, and
  naires and protocols were used in these four studies. Although                         endorsement by the State of California, the California Department of Health
  information on these six factors was based on self-report, there is                    Services, the National Cancer Institute, or the Centers for Disease Control and
                                                                                         Prevention or their contractors and subcontractors is not intended nor should be
  no evidence of systematic misclassiﬁcation bias as the direction of
                                                                                         inferred.
  racial/ethnic differences in the prevalence of tubal ligation, use of
  oral contraceptives, and endometriosis are consistent with other
  studies (6, 14–16). However, these results must be considered                          Authors' Contributions
                                                                                         Conception and design: A.H. Wu, C.L. Pearce, M.C. Pike
  with caution as we were limited in that the sample sizes of                            Development of methodology: A.H. Wu, M.C. Pike
  Hispanics and African Americans were modest, and we investi-                           Acquisition of data (provided animals, acquired and managed patients,
  gated only the six factors that are conﬁrmed, noncontroversial,                        provided facilities, etc.): A.H. Wu, M.C. Pike
  showing strong associations with all invasive ovarian cancers in                       Analysis and interpretation of data (e.g., statistical analysis, biostatistics,
  non-Hispanic whites. The modest sample sizes precluded us from                         computational analysis): A.H. Wu, C.L. Pearce, C.-C. Tseng, M.C. Pike
  conducting analyses separately by histologic type. The response                        Writing, review, and/or revision of the manuscript: A.H. Wu, C.L. Pearce,
                                                                                         M.C. Pike
  rate for the three racial/ethnic groups was also modest, but not                       Administrative, technical, or material support (i.e., reporting or organizing
  unlike the response rate for other case–control studies on ovarian                     data, constructing databases): A.H. Wu
  cancer.                                                                                Study supervision: A.H. Wu, M.C. Pike
     The comparable risk factor associations in IEOC in African
  Americans, Hispanics, and non-Hispanic whites contrast sharply                         Acknowledgments
  with the more disparate risk factor patterns in breast cancer by                          The authors thank the interviewers and the other members of data collection
  race/ethnicity. A number of factors that are known to affect breast                    teams. Most importantly, the authors thank all the study participants for
  cancer risk in non-Hispanic whites do not appear to inﬂuence risk                      volunteering for these studies and providing us with their contributions and
                                                                                         support.
  in African Americans and these differences cannot be explained by
  different prevalence of estrogen receptor/progesterone receptor–
  positive breast tumors between the two groups (17–21). Breast                          Grant Support
                                                                                            This work was supported by grants from the National Cancer Institute
  cancer risk factors also appeared to differ profoundly between
                                                                                         (CA58598 and CA17054; to M.C. Pike, A.H. Wu, and C.L. Pearce), the California
  Hispanics and non-Hispanic whites in one of the few studies with                       Cancer Research Program (2II0200; to A.H. Wu, M.C. Pike, and C.-C. Tseng), as
  comparable data on both race/ethnic groups (15). Given the more                        well as Cancer Center Core Grants awarded to the University of Southern
  comparable risk factor patterns in IEOC for non-Hispanic whites,                       California (USC) and Memorial Sloan Kettering (MSK; P30 CA014089 and
  Hispanics, and African Americans, devising strategies to lessen the                    P30 CA008748) from the National Cancer Institute. The collection of incident
  burden of IEOC will be applicable to all groups.                                       ovarian cancer cases for this study by the USC Cancer Surveillance Program
                                                                                         (CSP) is partly supported under subcontract by the California Department of
                                                                                         Health. The CSP is also part of the National Cancer Institute's Division of Cancer
  Summary                                                                                Prevention and Control's Surveillance, Epidemiology, and End Results (SEER)
                                                                                         Program, under contract number N01CN25403.
     Results from these population-based case–control studies sug-
                                                                                            The costs of publication of this article were defrayed in part by the payment of
  gest that the six well-established risk factors for IEOC accounted                     page charges. This article must therefore be hereby marked advertisement in
  for about 60% of ovarian cancer risk in non-Hispanic whites,                           accordance with 18 U.S.C. Section 1734 solely to indicate this fact.
  Hispanics, and African Americans. There were differences in the
  prevalence of these factors in the different racial/ethnic groups,                       Received January 14, 2015; revised March 4, 2015; accepted April 8, 2015;
  and the 27% lower incidence of ovarian cancer in African Amer-                         published OnlineFirst April 14, 2015.




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African Americans and Hispanics Remain at Lower Risk of Ovarian
Cancer Than Non-Hispanic Whites after Considering Nongenetic
Risk Factors and Oophorectomy Rates
Anna H. Wu, Celeste L. Pearce, Chiu-Chen Tseng, et al.

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                        Exhibit 49
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                                                                   Original Article



     The Association Between Talc Use and Ovarian Cancer
                  A Retrospective Case–Control Study in Two US States
       Daniel W. Cramer,a,b Allison F. Vitonis,a Kathryn L. Terry,a,b William R. Welch,c and Linda J. Titusd

                                                                                     Conclusion: Risks for epithelial ovarian cancer from genital talc use
Background: Multiple studies of ovarian cancer and genital talc use
                                                                                     vary by histologic subtype, menopausal status at diagnosis, HT use,
have led only to consensus about possible carcinogenicity. Seeking
                                                                                     weight, and smoking. These observations suggest that estrogen and/
greater clarity, we examined this association in 2,041 cases with epi-
                                                                                     or prolactin may play a role via macrophage activity and inflamma-
thelial ovarian cancer and 2,100 age- and-residence-matched controls.
                                                                                     tory response to talc.
Methods: We defined genital talc use as regular application to the geni-
tal/rectal area directly, on sanitary napkins, tampons, or underwear. To             (Epidemiology 2016;27: 334–346)
estimate “talc-years,” we multiplied applications per year by years used.
Unconditional logistic regression, Wald statistics, likelihood-ratio tests,
and polytomous logistic regression were used to calculate adjusted odds

                                                                                     I
ratios (OR) and 95% confidence intervals (CI), trends, effect-modifica-                n the 1960s, a link between talc and ovarian cancer was sug-
tion, and heterogeneity by ovarian cancer histologic subtype.                          gested by observations that some talc powders contained
Results: Overall, genital talc use was associated with an OR (95%                    asbestos1 and that asbestos placed intraperitoneally in ani-
CI) of 1.33 (1.16, 1.52), with a trend for increasing risk by talc-
                                                                                     mals transformed the single layer of the ovarian surface to a
years. Women who used talc were more likely to be older, heavier,
asthma sufferers, and regular analgesic users—none of which was a
                                                                                     multilayered one with abnormal cells.2 A 1971 study found
confounder. Dose–responses were more apparent for premenopausal                      particles compatible with talc in human ovarian and uter-
women, especially nonsmokers and those heavier or postmenopausal                     ine cancers.3 A 1982 case–control study was the first to link
users of menopausal hormones (hormone therapy [HT]). Subtypes                        genital talc use with ovarian cancer.4 Dozens more followed
of ovarian cancer more likely to be associated with talc included                    confirming the association including some larger ones cited
invasive serous and endometrioid tumors and borderline serous and                    here.5–13 The most recent meta-analysis reported a summary
mucinous tumors. Premenopausal women and postmenopausal HT                           odds ratio (OR) and 95% confidence interval (CI) of 1.35
users with these subtypes who had accumulated >24 talc-years had                     (1.26, 1.46).14 In 2006, the International Agency for Research
ORs (95% CI) of 2.33 (1.32, 4.12) and 2.57 (1.51, 4.36), respectively.               on Cancer declared that talc used genitally is possibly carcino-
                                                                                     genic.15 However, a study with null results from the Women’s
Submitted 12 June 2015; accepted 17 December 2015.                                   Health Initiative (WHI)16 and accompanying editorial17 cast
From the aObstetrics and Gynecology Epidemiology Center, Department of               new skepticism on the association. Here, we present data from
    Obstetrics and Gynecology, Brigham and Women’s Hospital, Boston, MA;             combined phases of a case–control study of ovarian cancer
    b
      Department of Epidemiology, Harvard School of Public Health, Boston,
    MA; cDepartment of Pathology, Brigham and Women’s Hospital, Boston,              involving more than 4,000 women to provide fresh perspec-
    MA; and dDepartment of Community & Family Medicine, Department of                tives on this association.
    Pediatrics, Geisel School of Medicine at Dartmouth, Lebanon, NH.
Supported by the National Institutes of Health (Grant Numbers R01CA054419,
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    nally Directed Medical Research Programs (W81XWH-10-1-0280), and
    the Department of Obstetrics and Gynecology, Brigham and Women’s                 Study Population
    Hospital.                                                                               Data come from three enrollment phases: 1 (1992–
Dr. Cramer reports being paid for expert testimony in litigation related to          1997), 2 (1998–2002), and 3 (2003–2008). Articles we previ-
    ovarian cancer. Ms. Vitonis reports being paid for programming work
    related to the same litigation. The other authors have no conflicts to report.   ously published related to talc include a detailed report from
        Supplemental digital content is available through direct URL citations      phase 1,7 data from phases 1 and 2 combined with Nurses’
         in the HTML and PDF versions of this article (www.epidem.com).              Health Study data,18 and phases 1–3 data combined with data
Correspondence: Daniel W. Cramer, 221 Longwood Ave, RFB365, Boston,
    MA 02115. E-mail: dcramer@partners.org.                                          from several participants in the Ovarian Cancer Association
Copyright © 2015 Wolters Kluwer Health, Inc. All rights reserved. This is            Consortium (OCAC).19 This is the first detailed examination
an open-access article distributed under the terms of the Creative Commons           of talc data from the combined phases of our study.
Attribution-Non Commercial-No Derivatives License 4.0 (CCBY-NC-ND),                         Details regarding enrollment are described elsewhere.20
where it is permissible to download and share the work provided it is properly
cited. The work cannot be changed in any way or used commercially.                   In brief, 3,957 women residing in Eastern Massachusetts and
ISSN: 1044-3983/16/2703-0334                                                         New Hampshire diagnosed with ovarian cancer between ages
DOI: 10.1097/EDE.0000000000000434                                                    18 and 80 were identified through tumor boards and registries.

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Eight hundred and seventy-four cases were ineligible if they      completed a food-frequency questionnaire22 from which
had died, moved outside study area, did not have a working        grams of alcohol consumed per day were estimated.
telephone number, or had a nonovarian primary tumor. Of the
                                                                  Statistical Methods
remaining 3,083 cases, 2,203 (71%) were enrolled. Excluding
                                                                        Unconditional logistic regression was used to model the
127 nonepithelial and 35 mixed mesodermal tumors, 2,041
                                                                  OR and 95% CI adjusted first for matching factors (age, study
cases with epithelial tumors of ovarian, primary peritoneal,
                                                                  center, and phase) and then fully by potential confounders.
and Fallopian tube origin, including borderline malignancies
                                                                  Likelihood ratio tests comparing models with and without
(henceforth, epithelial ovarian cancer) were included. Pathol-
                                                                  interaction terms were used to test for effect modification.
ogy reports were reviewed and histologic subtype, grade, and
                                                                  Tests for trend were based on the Wald statistic using con-
stage recorded. Mixed epithelial ovarian cancer was classified
                                                                  tinuous variables weighted by category midpoints with zero
as the predominant type. Undifferentiated, transitional cell,
                                                                  assigned as the exposure for nonusers. Polytomous logis-
fallopian tube, or primary peritoneal tumors were counted as
                                                                  tic regression was used to simultaneously estimate separate
serous.21 Other mixed epithelial (n = 102), malignant Brenner     ORs and 95% CIs for genital talc use by histologic subtypes.
(n = 5), and unspecified epithelial tumors (n = 27) were clas-    Likelihood-ratio tests were used to calculate P values for
sified as other.                                                  heterogeneity by comparing polytomous logistic regression
       Controls were identified through random digit dialing,     models in which the talc association was held constant over
driver-license lists, and town-resident lists. Between 1992 and   case subgroups to models that allowed the association to dif-
1997, 420 (72%) identified through random digit dialing and       fer between case subgroups.23 Analyses were performed using
102 (51%) through lists agreed to participate. From 1998 to       SAS v9.3 (SAS Institute, Cary, NC) and polytomous logistic
2008, 4,366 potential controls were identified using the lists,   regression analyses were performed in Stata (StataCorp LP,
of whom 1,426 (33%) were ineligible if they had died, moved,      College Station, TX). Sensitivity analyses to assess the influ-
or were seriously ill or if they did not have a working tele-     ence of exposure misclassification were performed with Excel
phone, speak English, or have ovaries. Of eligible controls,      using quantitative analysis methods described previously.24
1,362 (46%) declined to participate by phone or via “opt-out”
postcard and 1,578 (54%) were enrolled (2,100 total). Con-        Ethical Approval
trols were frequency matched to cases by 5-year age groups              Institutional review boards approved the study. All par-
and region of residence.                                          ticipants provided written informed consent.

Exposure Assessment                                                                        RESULTS
       Subjects were personally interviewed about potential              Genital use of talc, either alone or in combination with
ovarian cancer risk factors that occurred more than 1 year        body use, was associated with elevated epithelial ovarian
before diagnosis, for cases, and interview, for controls. Sub-    cancer risk (Table 1). Among women with no personal use,
jects were asked whether they “regularly” or “at least monthly”   there was no increased risk with potential exposure from dia-
applied powder to the genital or rectal area, sanitary napkins    phragms, condoms, or partner use. Therefore, only those with
or tampons, underwear, or areas other than the genital-rectal     personal genital talc exposure were classified as ever-users.
area. Additional details included type of powder, age begun,      Genital talc use was associated with an OR (95% CI) of 1.33
years used, and applications per month. Lifetime exposure         (1.16, 1.52) adjusted only for age, study center, and phase.
was estimated by multiplying frequency of applications per        Most women reported using Johnson & Johnson’s Baby Pow-
month by months used. This was divided by 360 (i.e., daily use    der or Shower to Shower. Fourteen women who reported
coded as 30/month) to yield talc-years. To create categorical     exclusive use of a cornstarch-based powder were considered
variables for talc-years, we chose cut points based on quar-      unexposed. The average age women began using talc was 20.0
tiles for exposed controls and rounded to the nearest integer.    for cases and 19.8 for controls. Almost half of users were cur-
In addition, we asked participants if their partners dusted or    rently using or had only recently discontinued powder use at
sprayed powder to their genital or rectal areas. Condom and       the reference date. Risk decreased with increased time since
diaphragm use as potential sources of talc exposure were also     last use. The trend for frequency of use was significant, but
recorded.                                                         the trend for years used was flat. Some subjects reported they
       We calculated ovulatory cycles by subtracting age at       used talc only seasonally, but our original questionnaire did
menarche from age at last period, reduced this by time spent      not capture this detail. A question to capture months-per-year-
pregnant, breastfeeding, or using oral contraceptives, and        used was added in 1998 and was available for 54% of cases
dividing the remainder by each woman’s average cycle length.      and 56% of controls. Year-round use was the most common
Family history was defined as a mother or sister with ovarian     pattern, and more cases than controls used powder year-round.
or premenopausal breast cancer. Women who reported post-          ORs for talc-years among those who reported months-per-
menopausal hormone use were classified as hormone therapy         year-used are shown as the next-to-final entry in Table 1. An
(HT) users and type(s) of HT was recorded. Participants           OR of 1.49 (95% CI = 1.06, 2.10) was associated with more

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TABLE 1.     Type, Timing, and Duration of Genital Talc Use
                                                              Control Subjects               Case Subjects                 Adjusteda
                                                                  N (%)                         N (%)                     OR (95% CI)

Personal use
 None                                                         1,099 (52)                    1,001 (49)                1.00 (referent)
 Body use only                                                  452 (22)                      398 (20)                0.99 (0.84, 1.16)
 Genital use only                                                74 (4)                        94 (5)                 1.42 (1.04, 1.96)
 Body and genital use                                           475 (23)                      548 (27)                1.30 (1.12, 1.52)
Potential exposure in women with no personal use
 None                                                           447 (41)                      461 (46)                1.00 (referent)
 Diaphragm only                                                 207 (19)                      155 (15)                0.73 (0.57, 0.93)
 Condoms, with or without diaphragm                             367 (33)                      308 (31)                0.82 (0.66, 1.01)
 Partner use, with or without diaphragm or condoms               78 (7)                        77 (8)                 0.96 (0.68, 1.35)
Any genital powder use
 No                                                           1,551 (74)                    1,399 (69)                1.00 (referent)
 Yes                                                            549 (26)                      642 (31)                1.33 (1.16, 1.52)
Type of genital powder used
 No genital use                                               1,542 (73)                    1,394 (68)                1.00 (referent)
 Cornstarch use only                                              9 (<1)                        5 (<1)                0.58 (0.19, 1.74)
 Johnson and Johnson Baby Powder or Shower to Shower            316 (15)                      363 (18)                1.30 (1.10, 1.54)
 Other brand(s)                                                 233 (11)                      279 (14)                1.35 (1.12, 1.64)
Age first used genital powderb
 Never used                                                   1,551 (74)                    1,399 (69)                1.00 (referent)
 <20                                                            343 (16)                      363 (18)                1.19 (1.01, 1.41)
 20–29                                                          122 (6)                       183 (9)                 1.71 (1.34, 2.17)
 ≥30                                                             76 (4)                        87 (4)                 1.31 (0.95, 1.80)
Time since exposure ended
 No genital use                                               1,551 (74)                    1,399 (69)                1.00 (referent)
 ≥35 years                                                       51 (2)                        52 (3)                 1.18 (0.79, 1.75)
 25–34 years                                                     81 (4)                        88 (4)                 1.24 (0.91, 1.70)
 15–24 years                                                     72 (3)                        82 (4)                 1.30 (0.94, 1.80)
 5–14 years                                                      79 (4)                        95 (5)                 1.36 (1.00, 1.85)
 Currently using or recently stopped                            255 (12)                      314 (15)                1.38 (1.15, 1.65)
 P trend                                                                                                                  <0.0001
Frequency of use
 No genital use                                               1,551 (74)                    1,399 (69)                1.00 (referent)
 1–7 days per month                                             220 (11)                      227 (11)                1.17 (0.96, 1.44)
 8–29 days per month                                            110 (5)                       133 (7)                 1.37 (1.05, 1.78)
 ≥30 days per month                                             205 (10)                      267 (13)                1.46 (1.20, 1.78)
 P trend                                                                                                                  <0.0001
Years used
 Never used                                                   1,551 (74)                    1,399 (69)                1.00 (referent)
 <8                                                             133 (6)                       152 (8)                 1.31 (1.03, 1.68)
 8–19                                                           126 (6)                       145 (7)                 1.31 (1.02, 1.68)
 20–35                                                          147 (7)                       178 (9)                 1.35 (1.07, 1.70)
 >35                                                            129 (6)                       152 (7)                 1.33 (1.03, 1.71)
 P trend                                                                                                                    0.002
Months per year of usec
 No genital use                                               1,551 (83)                    1,399 (80)                1.00 (referent)
 1–3 months per year                                             61 (3)                        60 (3)                 1.11 (0.77, 1.61)
 4–11 months per year                                            55 (3)                        56 (3)                 1.13 (0.77, 1.66)
 12 months per year                                             193 (10)                      229 (13)                1.35 (1.09, 1.67)
 P trend                                                                                                                    0.006
                                                                                                                             (Continued)

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TABLE 1.      (Continued)
                                                                                       Control Subjects                       Case Subjects               Adjusteda
                                                                                           N (%)                                 N (%)                   OR (95% CI)

Total genital talc applications (apps) among only those who reported months per year of usec
 No genital use                                                              1,551 (83)                                       1,399 (80)             1.00 (referent)
 ≤360 apps (equivalent to 1 year of daily use)                                 106 (6)                                          103 (6)              1.10 (0.83, 1.47)
 361–1,800 apps (equivalent to >1–5 years of daily use)                         79 (4)                                           96 (5)              1.38 (1.01, 1.88)
 1,801–7,200 apps (equivalent to >5–20 years of daily use)                      61 (3)                                           63 (4)              1.16 (0.80, 1.66)
 >7,200 apps (equivalent to >20 years of daily use)                             63 (3)                                           83 (5)              1.49 (1.06, 2.10)
 P trend                                                                                                                                                   0.02
Total genital talc applications among all (assuming 12 months/year when missing months per year of use)
 No genital use                                                              1,551 (74)                                       1,399 (69)             1.00 (referent)
 ≤360 apps (equivalent to 1 year of daily use)                                 138 (7)                                          138 (7)              1.15 (0.89, 1.47)
 361–1,800 apps (equivalent to >1–5 years of daily use)                        124 (6)                                          148 (7)              1.36 (1.06, 1.75)
 1,801–7,200 apps (equivalent to >5–20 years of daily use)                     124 (6)                                          156 (8)              1.41 (1.10, 1.80)
 >7,200 apps (equivalent to >20 years of daily use)                            149 (7)                                          185 (9)              1.39 (1.11, 1.75)
 P trend                                                                                                                                                   0.003
   a
    Adjusted only for the study matching factors: reference age, study center, and study phase.
   b
     Nine cases and nine controls reported they knew that talc had been used on them in infancy so their age at exposure was recorded as 1.
   c
    Excludes talc users from phase 1 and part of phase 2 because months/year of use was not collected.




                                                                                                                             FIGURE 1. Proportions of cases and
                                                                                                                             controls who ever used talc on genitals
                                                                                                                             in categories by decade of birth and ref-
                                                                                                                             erence age.

than 20 talc-years (>7,200 applications) and a dose–response.                                diagnosis or interview. In 13 of the 16 age-and-birth catego-
For subjects missing the seasonal-use variable, we assumed                                   ries, a greater proportion of cases used talc compared with
12 months per year in calculating talc-years in the final entry                              controls. This suggests that the association between genital
in Table 1, as well as in subsequent tables and figures examin-                              use of talc and epithelial ovarian cancer is not confined to any
ing talc-years. Even with this imprecision, the trend remained,                              particular age or birth cohort.
although the increase was less monotonic.                                                           Powder users, both cases and controls, were more likely
       Figure 1 shows the proportions of cases and controls                                  to be older, heavier, asthma sufferers, and regular analge-
who used talc in the genital area by decade of birth and age at                              sic users (Table 2). By tests for interaction (column 3), the

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TABLE 2.     Illustrating Potential Effect Modification and Confounding
                                         Controls                         Cases
                                                                                                Stratum-specific                OR (95% CI)
                               No Genital      Any Genital   No Genital       Any Genital        OR (95% CI)a                    for Genital
                                Talc Use        Talc Use      Talc Use         Talc Use            for Genital                    Talc Use
                                 N (%)           N (%)         N (%)            N (%)               Talc Use        P Intb        Adjustedc

Age
 <50                            670 (80)     165 (20)       600 (74)           211 (26)      1.42 (1.13, 1.80)    0.63      1.30 (1.13, 1.49)d
 50–64                          599 (68)     278 (32)       541 (64)           308 (36)      1.25 (1.03, 1.53)
 ≥65                            282 (73)     106 (27)       258 (68)           123 (32)      1.35 (0.98, 1.85)
Study center
 New Hampshire                  319 (82)      72 (18)       316 (74)           109 (26)      1.52 (1.08, 2.14)    0.30      1.31 (1.15, 1.50)e
 Massachusetts                1,232 (72)     477 (28)     1,083 (67)           533 (33)      1.29 (1.11, 1.50)
Study phase
 1                              430 (82)      92 (18)       409 (73)           149 (27)      1.71 (1.27, 2.30)    0.12      1.33 (1.16, 1.52)f
 2                              519 (72)     202 (28)       448 (68)           210 (32)      1.23 (0.97, 1.55)
 3                              602 (70)     255 (30)       542 (66)           283 (34)      1.25 (1.02, 1.54)
Race
 White                        1,500 (74)     531 (26)     1,321 (68)           612 (32)      1.35 (1.17, 1.55)    0.002     1.33 (1.16, 1.53)
 African American                17 (74)       6 (26)        16 (46)            19 (54)      5.08 (1.32, 19.6)
 Hispanic                        27 (82)       6 (18)        25 (81)             6 (19)      1.10 (0.30, 4.12)
 Asian                            5 (50)       5 (50)        34 (94)             2 (6)       0.04 (0.01, 0.34)
 Other                            2 (67%)      1 (33)         3 (50)             3 (50)              -
Body mass index
 <24.9                          798 (76)     251 (24)       727 (72)           284 (28)      1.25 (1.03, 1.53)    0.59      1.32 (1.15, 1.51)
 ≥24.9                          753 (72)     298 (28)       672 (65)           358 (35)      1.38 (1.14, 1.67)
Height (m)
 <1.63                          755 (73)     283 (27)       689 (68)           325 (32)      1.28 (1.06, 1.56)    0.71      1.32 (1.16, 1.52)
 ≥1.63                          795 (75)     266 (25.)      710 (69)           317 (31)      1.37 (1.13, 1.66)
Weight (lbs)
 <148                           799 (77)     241 (23)       727 (73)           272 (27)      1.24 (1.01, 1.52)    0.58      1.32 (1.15, 1.51)
 ≥148                           745 (71)     307 (29)       670 (64)           370 (36)      1.38 (1.15, 1.66)
Parity
 Nulliparous                    284 (75)      94 (25)       455 (70)           195 (30)      1.28 (0.96, 1.71)    0.71      1.33 (1.15, 1.52)
 Parous                       1,267 (74)     455 (26)       944 (68)           447 (32)      1.34 (1.15, 1.57)
Ever breastfed
 No                             781 (72)     296 (28)       953 (69)           430 (31)      1.21 (1.01, 1.45)    0.16      1.30 (1.13, 1.50)
 Yes                            770 (75)     253 (25)       446 (68)           212 (32)      1.48 (1.19, 1.85)
Oral contraceptive use
 Never or <3 months             559 (73)     207 (27)       672 (69)           302 (31)      1.25 (1.01, 1.55)    0.38      1.32 (1.15, 1.51)
 ≥3 months                      992 (74)     342 (26)       727 (68)           340 (32)      1.39 (1.16, 1.67)
Intrauterine device use
 No                           1,300 (74)     447 (26)     1,203 (69)           547 (31)      1.35 (1.16, 1.56)    0.59      1.33 (1.16, 1.52)
 Yes                            251 (71)     102 (29)       196 (67)            95 (33)      1.20 (0.85, 1.70)
Ovulatory cycles
 <366                           748 (78)     214 (22)       542 (74)           191 (26)      1.28 (1.02, 1.61)    0.76      1.31 (1.14, 1.52)
 ≥366                           680 (71)     281 (29)       733 (65)           402 (35)      1.37 (1.13, 1.65)
Endometriosis or painful periods
 No                           1,006 (74)     345 (26)       814 (70)           351 (30)      1.29 (1.08, 1.55)    0.77      1.31 (1.14, 1.50)
 Yes                            545 (73)     204 (27)       585 (67)           291 (33)      1.35 (1.09, 1.67)
Jewish ethnicity
 No                           1,455 (74)     518 (26)     1,277 (69)           585 (31)      1.33 (1.15, 1.53)    0.72      1.33 (1.16, 1.52)
 Yes                             96 (76)      31 (24)       122 (68)            57 (32)      1.39 (0.83, 2.33)

                                                                                                                                    (Continued)

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TABLE 2.       (Continued)
                                                Controls                                   Cases
                                                                                                                       Stratum-specific                          OR (95% CI)
                                    No Genital          Any Genital           No Genital          Any Genital           OR (95% CI)a                              for Genital
                                     Talc Use            Talc Use              Talc Use            Talc Use               for Genital                              Talc Use
                                      N (%)               N (%)                 N (%)               N (%)                  Talc Use              P Intb            Adjustedc

Family historyg
 No                            1,446 (74)              510 (26)            1,267 (68)            585 (32)           1.34 (1.16, 1.55)          0.61         1.33 (1.16, 1.52)
 Yes                             105 (73)               39 (27)              132 (70)             57 (30)           1.19 (0.73, 1.93)
Personal history of breast cancer
 No                            1,498 (74)              519 (26)            1,299 (68)            606 (32)           1.38 (1.20, 1.59)          0.01         1.33 (1.16, 1.53)
 Yes                              53 (64)               30 (36)              100 (74)             36 (26)           0.67 (0.37, 1.22)
Hysterectomy or tubal ligation
 No                            1,135 (74)              401 (26)            1,134 (70)            480 (30)           1.22 (1.04, 1.43)          0.02         1.34 (1.16, 1.53)
 Yes                             416 (74)              148 (26)              265 (62)            162 (38)           1.73 (1.31, 2.27)
Menopausal status and HT
 Premenopausal                   735 (79)              197 (21)              653 (73)            247 (27)           1.41 (1.13, 1.75)         <0.001        1.33 (1.16, 1.53)
 Postmenopausal, no HT           507 (69)              230 (31)              549 (70)            238 (30)           0.97 (0.78, 1.20)
 Postmenopausal, HT              309 (72)              122 (28)              197 (56)            157 (44)           2.21 (1.63, 3.00)
Current smoking
 No                            1,332 (74)              473 (26)            1,149 (68)            538 (32)           1.35 (1.16, 1.56)          0.60         1.32 (1.16, 1.52)
 Yes                             219 (74)               76 (26)              250 (71)            104 (29)           1.19 (0.84, 1.69)
Ever smoked
 No                              759 (75)              248 (25)              669 (70)            291 (30)           1.34 (1.10, 1.64)          0.72         1.32 (1.16, 1.52)
 Yes                             792 (72)              301 (28)              730 (68)            351 (32)           1.31 (1.09, 1.58)
Asthma
 No                            1,442 (75)              492 (25)            1,310 (69)            586 (31)           1.34 (1.16, 1.55)          0.70         1.33 (1.16, 1.52)
 Yes                             109 (66)               57 (34)               89 (61)             56 (39)           1.25 (0.78, 2.01)
Alcohol (grams per day)
 ≤2.32                           753 (74)              269 (26)              738 (70)            311 (30)           1.19 (0.98, 1.45)          0.29         1.30 (1.13, 1.50)
 >2.32                           763 (75)              259 (25)              623 (68)            291 (32)           1.43 (1.17, 1.75)
Any acetaminophen use
 No                            1,190 (76)              373 (24)            1,076 (71)            431 (29)           1.30 (1.10, 1.53)          0.83         1.32 (1.15, 1.52)
 Yes                             361 (67)              176 (33)              323 (60)            211 (40)           1.41 (1.09, 1.82)
Any aspirin or ibuprofen use
 No                              936 (77)              285 (23)              901 (71)            361 (29)           1.32 (1.10, 1.59)          0.94         1.34 (1.17, 1.53)
 Yes                             615 (70)              264 (30)              498 (64)            281 (36)           1.36 (1.11, 1.68)
Adjusted for all variables          1,551                   549                 1,399                 642                      -                    -          1.32 (1.15, 1.53)
    a
      Adjusted for reference age (continuous), study center, and study phase.
    b
      P for interaction from likelihood ratio tests comparing models with main effects and interaction terms to models with main effects only.
    c
      Adjusted for reference age (continuous), study center, study phase, and each variable listed (individually). BMI, height, weight, and ovulatory cycles were adjusted for with
indicators for quartiles and parity (nulliparous, 1, 2, ≥2), breastfeeding (never, <4, 4–9, 10–19, >19 months), and OC use (never, <23, 23–49, 50–96, >96 months) were adjusted for
with indicators for categories.
    d
      Adjusted for reference age only.
    e
      Adjusted for reference age and study center.
    f
     Adjusted for reference age, study center, and study phase.
    g
      Family history of ovarian or early onset breast cancer in a mother or sister.



association was significantly greater for women who were                                    use was found in both women who had used estrogen alone or
African American, had no personal history of breast cancer,                                 estrogen plus progesterone. Too few women used progesterone
had a tubal ligation or hysterectomy, were premenopausal, or                                only HT or estrogen creams or suppositories to examine risk
were postmenopausal and used HT. The latter finding, together                               with talc use in these groups (data not shown). The median
with the dose–response data, is illustrated in Figure 2. Among                              duration of HT use was 5 years. Subjects with <5 years of HT
the HT users, 92% used estrogen (alone or in combination),                                  use had an overall OR (95% CI) for EOC risk with ever-use
2% used progesterone alone, and 5% used creams or supposi-                                  of talc on genitals of 2.93 (1.86, 4.62). Subjects with ≥5 years
tories. Increased epithelial ovarian cancer risk with genital talc                          of HT use had an OR (95% CI) that was slightly lower, 1.73

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                                                                                P2.0048.6
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                                                                                            FIGURE 2. Associations between use
                                                                                            of talc on genitals (never/ever and
                                                                                            quartiles of talc-years) and ovarian
                                                                                            cancer by menopausal status and
                                                                                            postmenopausal hormone therapy.


(1.15, 2.62), but a clearer trend for increasing risk with talc-   for both pre- and post-menopausal women who were least
years was more apparent in the longer term HT users (data not      likely to have a genetic basis for their ovarian cancer, defined
shown). To explore the potential interaction between talc use      as women with no personal history of breast cancer, without a
and hysterectomy or tubal ligation, we restricted this analysis    primary relative with either ovarian cancer or premenopausal
to subjects who had either or both procedures (Table 3). For       breast cancer, and non-Jewish women (eTable 1; http://links.
premenopausal women, risk for EOC was increased in women           lww.com/EDE/B2). No important interactions were observed
who used talc before the procedure, while risk was elevated        for postmenopausal women, except for weight and BMI, HT
for use both before and after the procedure in postmenopausal      use, and the combined “genetic” variable.
women who used HT. No associations were seen in postmeno-                 Table 4 shows ORs stratified by menopausal status
pausal women who had not used HT. There were too few               and histologic subtype of epithelial ovarian cancer. Overall,
subjects who had used talc only after a hysterectomy or tubal      talc use increased risk for serous and endometrioid invasive
ligation to permit reliable estimates of risk.                     and serous borderline tumors with the dose–response most
       Returning to Table 2, we applied the convention that a      apparent for serous invasive cancer. For premenopausal
variable may be a confounder if adjustment yields a 10% dif-       women, both the overall associations and dose–responses
ference compared with the crude OR (or, in our study, com-         were stronger with serous invasive and serous borderline
pared with the OR of 1.33 adjusted for age, study center, and      tumors. Premenopausal women also had an increased risk
study phase). A 10% lower or greater change corresponds to         for mucinous borderline tumors at the highest quartile of
an OR ≤1.20 or ≥1.46. As seen in the far right column, the         talc use OR = 2.28 (1.23, 4.26) and a dose–response. For
OR of 1.33 for ovarian cancer risk was not materially changed      postmenopausal women, dose–responses were strongest for
after adjustment for any individual or all variables.              women with invasive serous and endometrioid tumors. Talc
       Because Figure 2 suggests that EOC risk with talc varies    use was not associated with clear cell or mucinous invasive
by menopausal status, we revisited the issue of interaction in     epithelial ovarian cancer regardless of menopausal status.
eTable 1 (http://links.lww.com/EDE/B2) in which subjects are       The ORs and dose–responses for the combined histologic
stratified by menopausal status. Although few significant inter-   subtypes relevant to pre- and post-menopausal women are
actions were seen, categories for several variables revealed       shown in Table 5. Except for a few categories, these were not
contrasting overall associations and/or clearer dose–responses     materially different than those illustrated in Figure 2. How-
(Fig. 3). For premenopausal women, these included women            ever, notably, premenopausal women and postmenopausal
with a BMI > 25, those who had breastfed, those who were not       HT-users with the relevant subtypes who had accumulated
current smokers, and those who consumed more than 2.32 g           >24 talc-years had ORs (95% CI) of 2.33 (1.32, 4.12) and
of alcohol per day. In addition, the association was stronger      2.57 (1.51, 4.36), respectively.

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TABLE 3. Effect of Tubal Ligation and Hysterectomy by Menopausal Status and Hormone Therapy on Association Between
Genital Talc Use and Ovarian Cancer
                                           Premenopausal                             Postmenopausal, Never Used HT                       Postmenopausal, Ever Used HT
Genital Talc Use
Among Women Who              Controls        Cases          Adjustedb           Controls         Cases           Adjustedb           Controls        Cases          Adjustedb
Had a Hysterectomy
or Tubal Ligationa            N (%)         N (%)         OR (95% CI)             N (%)         N (%)          OR (95% CI)            N (%)         N (%)         OR (95% CI)

Never used                   147 (79)       94 (71)      1.00 (referent)         139 (67)      113 (67)      1.00 (referent)         130 (77)       58 (48)      1.00 (referent)
Used both before              26 (14)       17 (13)      0.99 (0.48, 2.06)        45 (22)       36 (21)      1.00 (0.58, 1.72)        21 (13)       40 (33)      5.85 (2.88, 11.9)
  and after
Used before only               10 (5)       20 (15)      4.40 (1.73, 11.2)        20 (10)        16 (10)     0.99 (0.46, 2.10)         12 (7)       18 (15)      3.49 (1.39, 8.75)
Used after only                 3 (2)        1 (1)       0.33 (0.03, 3.60)         3 (1)          4 (2)      1.66 (0.34, 8.21)          5 (3)        5 (4)       2.11 (0.49, 9.17)
    a
     The median ages for tubal ligation and hysterectomy, respectively, were 34 and 39 for cases and 34 and 40 for controls.
    b
     Adjusted for reference age (continuous), study center, study phase (3, 4, 5), parity (nulliparous, 1, 2, ≥2), breastfeeding (never, <4, 4–9, 10–19, >19 months), OC use (never,
<23, 23–49, 50–96, >96 months), IUD (never, ever), endometriosis or painful periods, personal history of breast cancer, Jewish ethnicity, tubal ligation, and BMI (<22.2, 22.2–24.8,
24.9–28.6, >28.6).




FIGURE 3. Variables modifying the talc association in premenopausal women. aP heterogeneity from likelihood ratio tests com-
paring a model with ever/never talc use and the effect modifier to a model with these plus the interaction term between them.
b
 P heterogeneity from likelihood ratio tests comparing a model with indicators for each quartile of talc-years and the effect modi-
fier to a model with these plus their interacton terms.

                               DISCUSSION                                                    is associated with a 24% increased risk and no effect of non-
      We analyzed case–control data collected over 16 years                                  genital use of talc.19 There was general agreement on risk by
on talc use and epithelial ovarian cancer risk to address issues                             histologic type of epithelial ovarian cancer except that OCAC
related to definition of the exposure, bias and confound-                                    found an association with clear cell cancer and we did not. The
ing, effect modification, histologic heterogeneity, and dose–                                findings from OCAC and our study contrast with null results
response. Talc used regularly in the genital area was associated                             from the WHI cohort analysis17 raising the issue of recall bias
with a 33% increase in ovarian cancer risk overall while no                                  in case–control studies.
apparent risk was associated with talc used only in nongenital                                     Addressing recall bias, we conducted a sensitivity anal-
areas. Our results are consistent with a recent pooled analysis                              ysis that assumed truly nonexposed cases and controls were
from the OCAC which reported that use of powder on genitals                                  accurately classified as unexposed (i.e., specificity 99%) and

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                                                                      TABLE 4.       Genital Talc Applications by Histologic Type and Menopausal Status
                                                                                                              Serous Invasive             Mucinous Invasive          Endometrioid Invasive            Clear Cell Invasive                  Serous Borderline           Mucinous Borderline




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                                                                                             Controls     Cases      Adjusteda          Cases     Adjusteda          Cases       Adjusteda          Cases      Adjusteda   P Cases                  Adjusteda         Cases       Adjusteda   P
                                                                      Characteristic           %           %        OR (95% CI)          %       OR (95% CI)          %         OR (95% CI)          %        OR (95% CI) Het %                    OR (95% CI)         %         OR (95% CI) Het

                                                                      All women            N = 2,100 N = 968                   N = 95                 N = 327                   N = 114                        N = 250                   N = 147
                                                                       No use              74       65          1.00          78       1.00          67          1.00          74          1.00        0.13   70          1.00          78          1.00        0.20
                                                                       Any use             26       35    1.42 (1.19, 1.69) 22 0.87 (0.53, 1.44)     33    1.38 (1.06, 1.80)   26    1.01 (0.65, 1.57)        30    1.40 (1.03, 1.90)   22    1.02 (0.67, 1.54)
                                                                       No genital use      74       66          1.00          78       1.00          67          1.00          74          1.00               70          1.00          78          1.00
                                                                       ≤1 talc-year         7        7    1.30 (0.94, 1.79)    8 1.30 (0.60, 2.82)    8    1.30 (0.81, 2.07)    6    0.94 (0.42, 2.14)         8    1.38 (0.80, 2.36)    2    0.33 (0.10, 1.06)
                                                                       >1–5 talc-years      6        7    1.45 (1.05, 2.01)    3 0.57 (0.18, 1.85)    8    1.54 (0.96, 2.48)    7    1.44 (0.66, 3.13)         8    1.72 (1.02, 2.89)    6    1.31 (0.63, 2.71)
                                                                       >5–24 talc-years     7        9    1.33 (0.99, 1.79)    8 1.15 (0.54, 2.46)    8    1.14 (0.72, 1.80)    5    0.63 (0.27, 1.51)         8    1.18 (0.69, 2.00)   11    1.64 (0.92, 2.92)
                                                                       >24 talc-years       6       11    1.54 (1.15, 2.07)    2 0.38 (0.09, 1.60)    9    1.67 (1.06, 2.63)    8    1.35 (0.64, 2.84)         6    1.55 (0.87, 2.77)    3    0.84 (0.32, 2.16)
                                                                       P trend                                  0.003                  0.24                      0.04                      0.64        0.16               0.16                      0.76        0.55
                                                                      Premenopausal        N = 932 N = 282                     N = 51                 N = 177                   N = 56                         N = 175                   N = 108
                                                                       No use              79       70          1.00          78       1.00          70          1.00          79          1.00        0.49   72          1.00          78          1.00        0.44
                                                                       Any use             21       30    1.43 (1.04, 1.98) 22 1.04 (0.52, 2.10)     30    1.34 (0.91, 1.98)   21    0.87 (0.44, 1.75)        28    1.56 (1.06, 2.31)   22    1.25 (0.75, 2.06)
                                                                                                                                                                                                                                                                                                                                                                                              65953




                                                                       No genital use      79       70          1.00          78       1.00          71          1.00          79          1.00               72          1.00          78          1.00




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                                                                       ≤1 talc-year         7        5    0.71 (0.38, 1.34) 14 1.81 (0.75, 4.37)      9    1.13 (0.60, 2.11)    4    0.33 (0.08, 1.47)         9    1.51 (0.82, 2.80)    1    0.13 (0.02, 0.99)
                                                                       >1–5 talc-years      5        7    1.71 (0.94, 3.12)    4 1.01 (0.23, 4.42)    7    1.58 (0.77, 3.27)    9    2.41 (0.83, 7.01)         7    1.58 (0.78, 3.21)    6    1.57 (0.66, 3.74)
                                                                       >5 talc-years        9       18    1.85 (1.21, 2.80)    4 0.44 (0.10, 1.90)   13    1.33 (0.77, 2.31)    9    0.87 (0.32, 2.38)        12    1.66 (0.96, 2.88)   15    2.28 (1.23, 4.26)
                                                                       P trend                                  0.003                  0.24                      0.34                      0.88        0.06               0.09                      0.005       0.28
                                                                      Postmenopausal       N = 1,168 N = 686                   N = 44                 N = 150                   N = 58                         N = 75                    N = 39
                                                                       No use              70       63          1.00          77       1.00          63          1.00          69          1.00        0.29   65          1.00          77          1.00        0.43
                                                                       Any use             30       37    1.36 (1.10, 1.67) 23 0.70 (0.34, 1.46)     37    1.36 (0.94, 1.97)   31    1.10 (0.61, 1.99)        35    1.15 (0.69, 1.91)   23    0.80 (0.37, 1.75)
                                                                       No genital use      70       64          1.00          77       1.00          63          1.00          69          1.00               65          1.00          77          1.00
                                                                       ≤5 talc-years       13       15    1.44 (1.07, 1.93)    5 0.34 (0.08, 1.46)   15    1.39 (0.82, 2.33)   14    1.32 (0.58, 2.99)        16    1.40 (0.70, 2.79)   10    1.24 (0.41, 3.77)
                                                                       >5–24 talc-years     8        9    1.19 (0.83, 1.71) 14 1.67 (0.66, 4.20)      9    1.15 (0.61, 2.19)    3    0.39 (0.09, 1.69)         8    1.11 (0.45, 2.73)    8    1.03 (0.30, 3.55)
                                                                       >24 talc-years       9       12    1.33 (0.96, 1.85)    5 0.45 (0.10, 1.91)   13    1.60 (0.93, 2.77)   14    1.59 (0.70, 3.60)        11    0.99 (0.44, 2.21)    5    0.39 (0.09, 1.76)
                                                                       P trend                                  0.13                   0.49                      0.12                      0.44        0.58               0.91                      0.23        0.29
                                                                          a
                                                                           Adjusted for reference age (continuous), study center, study phase (3, 4, 5), parity (nulliparous, 1, 2, ≥2), breastfeeding (never, <4, 4–9, 10–19, >19 months), OC use (never, <23, 23–49, 50–96, >96 months), HT use
                                                                      (premenopausal, postmenopausal never used, postmenopausal used HT), IUD (never, ever), endometriosis or painful periods, personal history of breast cancer, Jewish ethnicity, tubal ligation, and BMI (<22.2, 22.2–24.8, 24.9–28.6,
                                                                      >28.6).
                                                                                                                                                                                                                                                                                                                                                           Case 3:16-md-02738-MAS-RLS Document 9888-7 Filed 05/29/19 Page 137 of 164 PageID:




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TABLE 5. Associations Between Genital Talc Use (Never/Ever and Quartiles of Talc-years) and Ovarian Cancer by Menopausal
Status and Postmenopausal Hormone Therapy Among Restricted Histologic Types
                                    Premenopausal                                Postmenopausal, Never Used HT                          Postmenopausal, Ever Used HT

                     Controls         Casesa           Adjustedb            Controls        Casesa            Adjustedb           Controls         Casesa           Adjustedb
Genital Talc
Use                    N (%)          N (%)          OR (95% CI)             N (%)          N (%)          OR (95% CI)              N (%)          N (%)          OR (95% CI)

Never                735 (79)        531 (72)       1.00 (referent)         507 (69)       378 (69)       1.00 (referent)          309 (72)       152 (53)       1.00 (referent)
Ever                 197 (21)        211 (28)       1.42 (1.12, 1.81)       230 (31)       173 (31)       1.00 (0.78, 1.28)        122 (28)       133 (47)       2.32 (1.64, 3.27)
No genital use       735 (79)        531 (72)       1.00 (referent)         507 (69)       378 (69)       1.00 (referent)          309 (72)       152 (54)       1.00 (referent)
≤1                    70 (8)          47 (6)        0.90 (0.60, 1.37)        40 (6)         36 (7)        1.32 (0.80, 2.17)         28 (7)         28 (10)       2.02 (1.10, 3.70)
>1–5                  44 (5)          52 (7)        1.66 (1.06, 2.60)        52 (7)         32 (6)        0.81 (0.50, 1.32)         28 (7)         29 (10)       2.56 (1.40, 4.67)
>5–24                 59 (6)          68 (9)        1.54 (1.04, 2.28)        61 (8)         41 (8)        0.86 (0.55, 1.33)         26 (6)         30 (11)       2.18 (1.19, 4.00)
>24                   21 (2)          41 (6)        2.33 (1.32, 4.12)        70 (10)        56 (10)       1.00 (0.68, 1.49)         36 (8)         43 (15)       2.57 (1.51, 4.36)
P trend                                                  0.0006                                                 0.88                                                   0.001
    a
     Postmenopausal cases are restricted to serous and endometrioid invasive, premenopausal cases additionally include serous and mucinous borderline cases.
    b
     Adjusted for reference age (continuous), study center, study phase (3, 4, 5), parity (nulliparous, 1, 2, ≥2), breastfeeding (never, <4, 4–9, 10–19, >19 months), OC use (never,
<23, 23–49, 50–96, >96 months), IUD (never, ever), endometriosis or painful periods, personal history of breast cancer, Jewish ethnicity, tubal ligation, and BMI (<22.2, 22.2–24.8,
24.9–28.6, >28.6).



truly exposed cases were also correctly classified (sensitivity                              arguments that cases initiate talc use because of treatment of
99%). The OR of 1.33 in our study would be nullified if the                                  ovarian cancer or early symptoms of disease also lack merit
sensitivity of correctly classified controls fell to 82% or 18%                              because we censored exposures 1 year before the date of diag-
misclassification. Unfortunately, there are no external records                              nosis and most talc-users began the habit around age 20—a
to validate talc use reported by study participants to assess                                decade or more before the ovarian cancer diagnosis.
whether this degree of misclassification is reasonable. Some-                                       Whether the association is a result of confounding must
what analogous to talc and ovarian cancer is alcohol use and                                 also be addressed. A 1998 article identified BMI, smoking,
breast cancer. Nurses’ Health Study investigators examined                                   and alcohol use as potential correlates of talc use in the gen-
the latter association both with prospective data collected at                               eral population.26 In our study, powder users were more likely
baseline and retrospective data obtained by resurveying sub-                                 to be older, from more urban/suburban areas, heavier, asthma
jects after diagnosis.25 They found an (age adjusted) OR for                                 sufferers, and regular analgesics users. However, none of these
breast cancer of 1.42 associated with 30 or more grams of                                    or other Table 2 variables altered the overall association by
alcohol/day relative to nondrinkers from the prospective data                                more than 10%, providing no indication of confounding. Talc
compared with 1.33 from the retrospective data. This change                                  use was also greater in African Americans and notably associ-
between two analyses would occur if the sensitivity of con-                                  ated with a high, albeit imprecise, OR (and 95% CI) of 5.08
trols correctly recalling alcohol use dropped to 91% (or 9%                                  (1.32, 19.6). This finding clearly requires further study.
misclassification). This suggests some degree of misclas-                                           The observation that talc users, both case and control
sification in retrospective data but not as great as the 18%                                 subjects, were more likely to say they had asthma has not been
required to nullify the association between use of talc on                                   previously reported. The link between powder use and asthma
genitals and ovarian cancer risk in our study. No comparable                                 may not be fully appreciated from Table 2 since women who
study on talc comparing results from prospective versus ret-                                 used talc as a body powder but not to the genital area were
rospective data has been performed. However, several obser-                                  classified as nonexposed. Making no body or genital exposure
vations are incompatible with the possibility that recall bias                               the nonexposed referent group and asthma the outcome, the
explains the association: (1) ORs are generally lower in stud-                               ORs (and 95% CI) for asthma for body exposure to talc is
ies which asked about “ever use” of talc5,8,11 compared with                                 1.27 (0.80, 2.03) for cases and 1.02 (0.66, 1.57) for controls.
those that specified regular use,6,7,9,12,13 whereas higher ORs                              The comparable OR for genital use of talc with or without
would be expected if cases are more likely to recall limited                                 body use is 1.48 (1.00, 2.18) for cases and 1.45 (1.00, 2.10)
ever-use; (2) no association with nongenital talc use; (3) risk                              for controls. Sixty of 85 cases (70%) with asthma and 57 of 89
varies by histologic type; (4) the association is stronger in pre-                           (64%) controls reported that talc use predated asthma onset.
menopausal women who are closer in time to talc use and less                                 Although chance must be considered a possible explanation
likely to have forgotten it; and (5) ORs from recent studies11,13                            for this novel finding, talc is a cause of occupational asthma27
are lower than those from earlier ones,6,7 whereas increasing                                and respiratory distress has been reported in infants after
publicity about the association over time might lead to greater                              talc was accidentally inhaled.28 That asthma may be associ-
recall bias and higher ORs in more recent studies. Related                                   ated with use of talc is important not only because of health

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consequences on its own but also because it may shed light on       a common denominator could be prolactin since its levels
biologic mechanisms potentially relevant to the talc and ovar-      are higher in women who have greater BMI,32 breastfed,33
ian cancer association.                                             do not currently smoke,34 consume alcohol,35 and are post-
       Although we found no evidence of confounding, we did         menopausal and use HT.36 Like estrogen, prolactin may have
find several examples of effect modification of the associa-        multiple effects on immune cells, especially monocytes and
tion between talc and epithelial ovarian cancer. Overall, the       macrophages37 whose role in scavenging talc in tissue is
association was greater in women with no personal history of        described.38 These observations provide a framework for talc
breast cancer, those who had a tubal ligation or hysterectomy,      carcinogenicity in EOC involving chronic inflammation.9
in premenopausal women, and postmenopausal women who                       Biologic credibility of the talc/EOC association is
had used HT. Among these factors, perhaps the most impor-           enhanced by persuasive evidence that inert particles the size
tant is effect modification of the association by menopausal        of talc, present in the vagina, can migrate to the upper geni-
status and menopausal HT.                                           tal tract. In a technique called hysterosalpingoscintigraphy,
       Apparent lack of an elevated risk for epithelial ovar-       technetium-labeled albumen microspheres are placed in the
ian cancer from talc use in postmenopausal women without            vagina and their migration to the upper tract was confirmed
HT use has not been reported previously. Explanations might         using serial scintograms.39 The microspheres are 5 to 40 μm
include that there is no association with talc use in the absence   in diameter—a range which includes the size of sperm and
of endogenous or exogenous estrogen, fading memory of past          talc. Migration from the vagina is the obvious explanation for
exposures, women who will develop ovarian cancer from               why talc can be found in diseased (and some normal) ova-
talc use leave the at risk pool before they reach menopause,        ries.3 Unfortunately, no epidemiologic study of epithelial
or more complex interactions with multiple risk factors and         ovarian cancer and talc has taken the opportunity to determine
gene–environment interactions. Of possible relevance, Moor-         whether talc can actually be found in tissues removed at sur-
man et al.29 observed that reproductive events that clearly         gery and correlated with exposure to talc. A clue to talc’s pres-
affect risk in premenopausal women may not affect risk to the       ence is birefringent particles found when slides are examined
same degree in postmenopausal women. Whatever the expla-            under polarized-light microscopy. Although confirmation that
nation, our observation challenges the relevance of the WHI         the material is actually talc requires scanning electron micros-
study to the ovarian cancer/talc association since only post-       copy and X-ray dispersion spectroscopy, presence of bire-
menopausal women were enrolled in WHI and HT use was                fringence is a practical screening technique as illustrated by
examined only as a confounder, not an effect modifier.16 Fur-       a case report of a woman with ovarian cancer and long-term
ther study will be necessary to clarify the role that talc may      talc use who had talc in her pelvic lymph nodes first suggested
play in postmenopausal women who did not use HT with a              by birefringence.40
focus on those factors that may increase endogenous estrogen,              There are inherent limitations quantifying a dose–
such as greater BMI.                                                response due to a lack of metrics for how much talc is in an
       That the association is more apparent in premenopausal       “application,” how much enters the vagina, and how much
women and in postmenopausal women who used hormonal                 reaches the upper genital tract where, presumably, any delete-
therapy suggests that estrogen plays a role in the association.     rious effect is mediated. This may account for the failure to
In talc inhalation studies conducted by the National Toxi-          identify a dose–response in many papers on talc and ovarian
cology Program, only female rats developed lung tumors.30           cancer. Our 1999 study7 suggested that adjusting total applica-
Literature on airway inflammation from particulates is also         tions by whether the genital tract was “open” (i.e., excluding
relevant. Citing evidence that asthma may be exacerbated dur-       use after a tubal ligation or hysterectomy and examining use
ing pregnancy, Zhang et al.31 postulated this may be due to an      during times when ovulation was occurring) yielded signifi-
effect of estrogen on macrophage activity and inflammatory          cant dose–responses. Mills et al.10 found a dose–response by
response to particulates normally considered inert, like tita-      frequency of use. Wu et al.,12 looking at all types of body use,
nium dioxide (TiO2). Their in-vivo studies demonstrated that        found a dose–response with estimated applications. Merritt
macrophages from pregnant mice transplanted to nonpregnant          et al.11 reported a significant trend in risk for invasive serous
recipients conferred an inflammatory phenotype in response          ovarian cancer with years of talc use. The recent OCAC analy-
to TiO2. Such studies should be repeated with talc, another         sis reported no trend with increasing lifetime applications
particulate considered “inert.”                                     when restricted to talc users.19 However, an increase in risk
       An exploratory analysis of other potential effect modi-      with increasing applications was found for nonmucinous epi-
fiers led to several other observations that may have biologic      thelial ovarian cancer when nonusers were included. Virtually
relevance. The overall associations and dose–responses were         all papers that have looked at dose–response for talc and epi-
“stronger” for premenopausal women who had a greater BMI,           thelial ovarian cancer risk have included nonusers in the trend
had breastfed, were not current smokers, and consumed alco-         analysis. In our article, we calculated talc-years and showed
hol (Fig. 3). Due to the large number of associations tested,       that, overall, there is a significant trend for epithelial ovarian
chance must be the first explanation considered. However,           cancer risk and talc-years when nonusers are included, and the

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                        Exhibit 50
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                                Genital powder use and risk of ovarian cancer: a pooled analysis
                                of 8,525 cases and 9,859 controls
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                                The authors have no conflict of interest to disclose.
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                                  Abstract
                                        Genital powder use has been associated with risk of epithelial ovarian cancer in some, but not all,
                                        epidemiologic investigations, possibly reflecting the carcinogenic effects of talc particles found in
                                        most of these products. Whether risk increases with number of genital-powder applications and for
                                        all histologic types of ovarian cancer also remains uncertain. Therefore, we estimated the
                                        association between self-reported genital powder use and epithelial ovarian cancer risk in eight
                                        population-based case-control studies. Individual data from each study was collected and
                                        harmonized. Lifetime number of genital-powder applications was estimated from duration and
                                        frequency of use. Pooled odds ratios were calculated using conditional logistic regression matched
                                        on study and age and adjusted for potential confounders. Subtype-specific risks were estimated
                                        according to tumor behavior and histology. 8,525 cases and 9,859 controls were included in the
                                        analyses. Genital powder use was associated with a modest increased risk of epithelial ovarian
                                        cancer (odds ratio 1.24, 95% confidence interval 1.15–1.33) relative to women who never used
                                        powder. Risk was elevated for invasive serous (1.20, 1.09–1.32), endometrioid (1.22, 1.04–1.43),
                                        and clear cell (1.24, 1.01–1.52) tumors, and for borderline serous tumors (1.46, 1.24–1.72).
                                        Among genital powder users, we observed no significant trend (p=0.17) in risk with increasing
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                                        number of lifetime applications (assessed in quartiles). We noted no increase in risk among
                                        women who only reported non-genital powder use. In summary, genital powder use is a
                                        modifiable exposure associated with small-to-moderate increases in risk of most histologic
                                        subtypes of epithelial ovarian cancer.


                                  Keywords
                                        ovarian cancer; powder; talc; epidemiology


                                  INTRODUCTION
                                                  Powders that are commonly applied either directly to the genital, perineal, or rectal area
                                                  after bathing or indirectly to underwear, sanitary napkins, tampons, or stored contraceptive
                                                  devices may contain talc because of its softness, absorbency, and lack of clumpiness (1).
                                                  However, the presence of talc in commercially available powder formulations has varied
                                                  over time, even within particular brands of products, limiting the ability of most
                                                  epidemiologic studies to measure genital talc exposure accurately. Despite this, genital
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                                                  powder use, but not use on other parts of the body, has been linked to increased risk of
                                                  ovarian cancer, suggesting that powder particles ascending the genital tract may predispose
                                                  to ovarian cancer development (2–4). Meta-analyses of observational studies show 33–35%
                                                  increased risk of ovarian cancer among women who have used genital powders (1, 4, 5), but
                                                  evidence for a dose-response relationship has been inconsistent. Though dose response was
                                                  not addressed in previous meta-analyses(1, 4, 5) some individual studies have reported
                                                  significant dose-response (4, 6–10) while others have not (9, 11–15).

                                                  Epidemiologic and biologic studies show differences in risk-factor profiles and molecular
                                                  characteristics between ovarian cancer subtypes defined by histology (serous, endometrioid,
                                                  mucinous, clear cell) and behavior (borderline, invasive) (16). For instance, serous tumors
                                                  are characterized by p53 mutations, while mucinous tumors have a high prevalence of
                                                  KRAS mutations (17) and are not generally associated with reproductive risk factors (16,
                                                  18). Since most early studies of powder use and ovarian cancer did not include analysis by


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                                              histologic subgroups (3, 6, 11, 19–21), histology-specific estimates were not available from
                                              these studies for meta-analysis. Most (2, 4, 8, 9, 22), but not all (10, 14, 15, 23),
                                              epidemiologic studies of genital powder use and risk of ovarian cancer that have evaluated
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                                              histologic subgroups have found the association to be strongest for serous invasive tumors.
                                              Such tumors comprise the most common variety of ovarian cancer and few previous studies
                                              have had sufficient statistical power to evaluate the association between genital powder use
                                              and risk of other histologic subtypes. In the present study, we evaluated associations
                                              between genital powder use and risk of ovarian cancer overall, by invasiveness and by
                                              histologic type in a pooled analysis of eight population-based case-control studies with
                                              relevant data from the Ovarian Cancer Association Consortium (OCAC), a consortium
                                              founded in 2005 to validate promising genetic associations in epidemiologic studies of
                                              ovarian cancer.

                                  MATERIALS AND METHODS
                                  Participating studies
                                              Studies participating in the OCAC consortium as of April 2010 that collected data on
                                              powder use were included. Each study was approved by an institutional ethics committee
                                              and all participants provided informed consent. Detailed description of the OCAC
                                              consortium is available elsewhere (24). Characteristics of the eight case-control studies
                                              contributing data to this analysis are presented in Table 1. Six studies were conducted in the
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                                              USA (DOV (14), HAW (25), HOP (26), NCO (27), NEC (4), USC (28)) one study in
                                              Australia (AUS (7)) and one study in Canada (SON (15)). Overall, our analyses included
                                              8,525 cases of ovarian, fallopian tube or peritoneal cancer and 9,859 controls. Five studies
                                              previously reported on powder use (AUS (7), DOV (14), NCO (27), NEC (4), SON (15),)
                                              three of which provided data for this analysis that had not been included in their previous
                                              powder-related publication (DOV, NEC, AUS). The remaining three studies have not
                                              previously published their genital powder-use data (HAW, HOP, USC).

                                  Exposure and covariate data
                                              Data collected from participants regarding genital powder use varied between studies.
                                              Harmonized analytic exposure variables were developed by comparing questionnaires
                                              between the eight participating studies. The majority of the studies have obtained
                                              information on duration and frequency of powder use, age at first powder use, use by sexual
                                              partners, and non-genital use (Table 1). We defined genital powder use as any type of
                                              powder (talc, baby, deodorizing, cornstarch, or unspecified/unknown) applied directly or
                                              indirectly (by application to sanitary pads, tampons, underwear) to the genital, perineal, or
                                              rectal area. Since study specific powder questions included varying degrees of detail
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                                              regarding type and method of application, genital powder definitions differ between studies.
                                              Criteria for regular genital powder use varied between studies from “ever use” (AUS) to
                                              “one year or longer” (DOV); the specific wording for this question is provided in Table 1.
                                              Use of body powders on sites other than the genital area was defined as non-genital powder
                                              use. Women who reported both genital and non-genital powder use were classified as genital
                                              users. Two studies (DOV, SON) did not collect data on non-genital use and therefore
                                              women assigned to “no powder use” for these studies could have a history of non-genital
                                              powder exposure. Extensive information on known and suspected risk factors for ovarian
                                              cancer was collected in each study, including oral contraceptive (OC) use, parity, tubal
                                              ligation history, body mass index (BMI), race, and ethnicity.

                                  Statistical methods
                                              Participants missing case/control status (n=17) or tumor histology (n=19) were excluded
                                              from the analysis. We also excluded 1,119 participants who answered “do not know” or

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                                             were missing data on genital powder use; most of these were from the NCO study which did
                                             not include genital powder questions for the first 720 participants. Furthermore, we excluded
                                             participants missing tubal ligation (n=55), OC duration (n=100), parity (n=3), or height or
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                                             weight (BMI) (n=179). To examine differences in characteristics between cases and
                                             controls, we evaluated two-sample t-statistics (age, BMI) and chi square statistics (OC use,
                                             nulliparity, tubal ligation, race/ethnicity, powder use).

                                             Study-specific odds ratios (ORs) and 95% confidence intervals (CI) were estimated using
                                             unconditional logistic regression and were summarized by forest plots, including study
                                             heterogeneity based on Cochran’s Q statistic. As no significant heterogeneity was observed
                                             between studies, we calculated pooled ORs and 95% CIs across the studies using conditional
                                             logistic regression matched on 5-year age groups and study. All analyses were adjusted for
                                             potential confounders: age (continuous), duration of oral contraceptive (OC) use (never use,
                                             use <2yrs, 2–<5yrs, 5–<10yrs, ≥10yrs), parity (0, 1, 2, 3, ≥4 children), tubal ligation history,
                                             BMI (quartiles based on distribution in controls), and race/ethnicity (non-Hispanic white,
                                             Hispanic white, black, Asian, other). Family history of breast or ovarian cancer were also
                                             considered as covariates but were not included in the final model.

                                             Subtype-specific estimates were calculated for subgroups of ovarian cancer defined by
                                             behavior (invasive, borderline) and histology (serous, mucinous, endometrioid, clear cell) by
                                             comparing each case group to all controls. As borderline endometrioid and clear cell tumors
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                                             are rare, we did not have sufficient numbers to evaluate those types separately.

                                             In order to measure cumulative dose of genital-powder use, we estimated lifetime number of
                                             powder applications by multiplying total months of use by frequency of use per month, for
                                             all direct and indirect genital-powder applications. Women who reported multiple types of
                                             genital powder exposure (on underwear, on sanitary napkins or pads, directly to genital area)
                                             during the same time period were assigned the number of genital powder applications equal
                                             to the most commonly used type rather than the sum of applications across all types of
                                             genital powder exposure. We reasoned that contemporaneous powder applications were
                                             unlikely to be independent events and therefore should not be treated cumulatively..
                                             Analyses of estimated lifetime number of applications excluded participants in the HOP
                                             study as data on age and frequency of use were not collected (n=2,224); genital powder
                                             users missing information on duration or frequency of use were omitted in the remaining
                                             studies (n=394). Never regular users of genital powders and women who only reported non-
                                             genital use were coded as having zero lifetime genital powder applications and comprised
                                             the reference group for this analysis. Categories were determined based on age-specific
                                             quartile cutpoints in controls (25th, 50th and 75th percentile cutpoints are 612, 1,872, and
                                             5,400 for participants < 40 years old; 612, 2,160, and 7,200 for 41–50 years; 720, 3,600, and
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                                             10,800 for 51–60 years; 1,440, 5,760, and 14,440 for 61–70; 840, 7,200, and 18,000 for > 70
                                             years). Trends were evaluated based on the median lifetime number of genital-powder
                                             applications for controls in each age-specific quartile using the Wald statistic and were
                                             performed both including and excluding never users of genital powders.

                                             We estimated the association between genital powder use and ovarian cancer risk within
                                             strata to evaluate potential modification of effect defined using a cutpoint BMI of 30 based
                                             on the World Health Organization’s definition of obesity, endometriosis, parity, tubal
                                             ligation/hysterectomy, and menopausal status. We used likelihood-ratio statistics comparing
                                             models with and without interaction terms to determine statistically significant interactions.
                                             To estimate calendar year of first use, we subtracted the years since first use (age at study
                                             entry minus age at first genital powder use) from median calendar year of the participant’s
                                             study. All analyses were performed in SAS v9.2 (SAS, Cary, NC) and Stata v9.2 (StataCorp,



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                                             College Station, TX). All p-values are two-sided. Analyses have been independently verified
                                             by two separate study groups (HAW and NCO).
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                                  RESULTS
                                             This pooled analysis of eight case-control studies included 9,859 controls and 8,525 ovarian
                                             cancer cases. Genital powder use was reported by 2,511 (25%) of the controls and 2,600
                                             (31%) of the cases, while powder use only on other (non-genital) parts of the body was
                                             reported by 1,533 (16%) of the controls and 1,282 (15%) of the cases (Table 2). The
                                             prevalence of genital powder use in controls varied widely between study sites, highest in
                                             AUS (45%) and lowest in HAW (15%, Table 3).

                                             In the pooled analysis, ever regular use of genital powder was associated with a modest
                                             increase in risk of ovarian cancer (OR=1.24, 95% CI=1.15–1.33, Table 3) relative to women
                                             who reported no powder use (AUS, HAW, HOP, NCO, NEC, USC) or no genital powder
                                             use (DOV, SON). We observed no heterogeneity in the risk associated with genital powder
                                             use between studies regardless of the reference group (p=0.61, Figure 1). Results were
                                             similar for genital powder users compared to a combined reference group including never
                                             users and women whose use of powder was exclusively non-genital (covariate-adjusted
                                             OR=1.25, 95% CI= 1.16–1.34; data not shown), reflecting the absence of an association
                                             between powder use on other parts of the body with ovarian cancer risk (Table 3).
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                                             Genital powder use was associated with a similar increased risk of borderline and invasive
                                             ovarian cancer overall (Table 4). For borderline tumors, the association was stronger for the
                                             serous subtype (OR=1.46, 95% CI=1.24–1.72; Table 4) and non-significant for the
                                             mucinous subtype. For invasive ovarian cancer, we observed small increases in risk of
                                             serous (OR=1.20, 95% CI=1.09–1.32), endometrioid (OR=1.22, 95% CI=1.04–1.43), and
                                             clear cell (OR=1.24, 95% CI=1.01–1.52) cancer but no significant increase in risk of
                                             mucinous cancer (OR=1.09, 95% CI= 0.84–1.42). Similarly, we observed no significant
                                             increase in risk when borderline and invasive mucinous tumors were considered together
                                             (data not shown). Risk associated with genital powder use was consistent across studies for
                                             borderline and invasive tumors as well as invasive serous, endometrioid, and clear cell
                                             subtypes (p for heterogeneity >0.1; Figures 2 a,b,c,d,e), but not for mucinous tumors
                                             (p=0.08; Figure 2f). Genital powder use was associated with increased risk of invasive
                                             mucinous tumors in SON, HOP (significantly), and USC (non-significantly) while in the
                                             remaining studies (HAW, NCO, AUS, DOV, and NEC) genital powder use was non-
                                             significantly associated with reduced risk.

                                             We evaluated cumulative genital-powder exposure as a composite variable of frequency and
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                                             duration of use. We observed similar increased risks of all non-mucinous subtypes of
                                             epithelial ovarian cancer combined across quartiles of genital powder compared to non-use:
                                             ORQ1=1.18, 95% CI=1.02–1.36, ORQ2=1.22, 95% CI=1.06–1.41, ORQ3=1.22, 95%
                                             CI=1.06–1.40, ORQ4= 1.37, 95% CI=1.19–1.58 (Table 5). Although a significant increase in
                                             risk with an increasing number of genital powder applications was found for non-mucinous
                                             epithelial ovarian cancer when non-users were included in the analysis (p-trend<0.0001), no
                                             trend in cumulative use was evident in analyses restricted to ever-users of genital powder (p-
                                             trend=0.17; Table 5). Taken together, these observations suggest that the significant trend
                                             test largely reflects the comparison of ever regular use to never use. Since tubal ligation or
                                             hysterectomy would block the transport of powder through the genital tract to the ovaries,
                                             we performed a sensitivity analysis excluding women who started genital powder use after
                                             these procedures. We observed similar associations when we excluded the 65 cases and 79
                                             controls who started genital powder use for the first time after surgery (ORQ1=1.19, 95%
                                             CI=1.03–1.38, ORQ2=1.19, 95% CI=1.03–1.38, ORQ3=1.21, 95% CI=1.04–1.39, ORQ4=


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                                             1.36, 95% CI=1.18–1.57). For studies that collected data on timing of powder use and tubal
                                             ligation/hysterectomy, we were able to identify timing of genital powder exposure in
                                             relation to surgery based on age of powder use and age at surgery. Restricting our exposure
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                                             to genital powder applications that occurred before tubal ligation or hysterectomy made no
                                             substantive difference in the results.

                                             The association between any genital-powder use and ovarian cancer risk was stronger
                                             among women with BMI < 30 kg/m2 (OR=1.28, 95% CI=1.17–1.39) than for women with
                                             BMI > 30 (OR=1.14, 95% CI=0.98–1.32, p-interaction=0.01). We observed no significant
                                             interactions between genital powder use and parity, reported history of endometriosis, tubal
                                             ligation/hysterectomy, or menopausal status (all p-interaction > 0.1). The association
                                             between genital powder use and ovarian cancer risk was similar for women who started use
                                             between 1952 and 1961 (OR=1.36, 95% CI=1.19–1.56), between 1962 and 1972 (OR=1.27,
                                             95% CI=1.11–1.46), and after 1972 (OR=1.31, 95% CI=1.15–1.51). However, we observed
                                             an attenuated association for women who started genital powder use before 1952 (OR=1.08,
                                             95% CI=0.93–1.25).

                                  DISCUSSION
                                             This pooled analysis of eight case-control studies suggests that genital powder use is
                                             associated with a modest 20–30% increase in risk of developing epithelial ovarian cancer,
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                                             including serous, endometrioid, and clear cell tumors, but is less relevant to invasive
                                             mucinous tumors. Our findings are consistent with and extend the findings of three meta-
                                             analyses that have reported an increased risk of epithelial ovarian cancer with genital-
                                             powder use (1, 4, 5) by including dose response and histology specific analyses. Our
                                             estimate of the overall association between genital powder use and ovarian cancer risk was
                                             slightly attenuated compared to previous estimates from meta-analyses. Possible reasons for
                                             the difference include the lack of restriction to published results, data harmonization
                                             between studies that allowed similar definitions for the exposure and covariates, and chance.
                                             Based on the consistency in the epidemiologic literature on talc-based powder and ovarian
                                             cancer risk, the International Agency for Research on Cancer (IARC) classified talc-based
                                             body powder as a class 2b carcinogen “possibly carcinogenic to human beings” (29).

                                             The biologic plausibility for the observed association between genital-powder use and
                                             ovarian cancer risk has been challenged because evidence for dose-response has been
                                             inconsistent (2, 4, 5, 9, 10, 15, 22). The lack of significant dose-response may reflect the
                                             difficulty inherent in accurate recollection of specific details of frequency and duration of
                                             genital-powder use. Also, because not all powder products contain talc, various products
                                             may differ in their potential carcinogenic effects. Alternatively, the association between
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                                             genital-powder exposure and ovarian cancer risk may not be linear and a modest exposure
                                             may be sufficient to increase cancer risk. Talc-containing powders are hypothesized to
                                             promote cancer development by ascending the female genital tract and interacting directly
                                             with the ovarian surface epithelium, leading to local inflammation characterized by
                                             increased rates of cell division, DNA repair, oxidative stress, and elevated inflammatory
                                             cytokines (13). Particles in solution easily ascend the genital tract (30, 31). Our finding of
                                             slightly attenuated associations following exclusion of women with powder exposure after
                                             tubal ligation or hysterectomy are not supportive of this hypothesis, but risk estimates in this
                                             subgroup analysis may have randomly differed from those including all women because of
                                             the reduction in sample size. Talc particles have been observed in the ovaries of humans
                                             (32) and in rodent models (33, 34), but little is known about the biologic effects of genital
                                             powder use.




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                                             In the current analyses of the various histological subtypes of ovarian cancer, we confirmed
                                             previous reports of increased risk of serous invasive tumors with genital-powder use (2, 4, 8,
                                             9, 22). We also observed significantly increased risk of both endometrioid and clear cell
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                                             invasive ovarian tumors with use of genital powder, and this finding was consistent across
                                             studies. It has been suggested that both endometrioid and clear cell ovarian tumors may
                                             originate from ectopic uterine endometrium (endometriosis) implanted on the ovary (17). In
                                             contrast, we observed no significant associations between genital powder use and either
                                             borderline or invasive mucinous ovarian cancer. The lack of a significant association for
                                             mucinous tumors may be due to the relatively small number of these tumors or could be an
                                             indication that powder exposure is not relevant to the pathogenesis of this histologic type.
                                             Studies have noted that ovarian cancer risk factors and molecular characteristics differ for
                                             mucinous tumors (16–18, 23, 35–39).

                                             Limitations of our pooled analysis include differences in the wording of questions about
                                             genital powder use between studies and the retrospective nature of the exposure
                                             ascertainment. Women who were classified as genital-powder users varied from “ever” use
                                             (AUS) or “ever regular” use (SON) to powder use for at least six months (HAW, HOP,
                                             NCO, NEC, USC) or at least one year (DOV). Differences in genital powder questions result
                                             in varying levels of misclassification of true genital powder exposure. However, since
                                             exposure definitions are the same for cases and controls within each study, misclassification
                                             genital powder exposure due to the question wording would be non-differential, leading to
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                                             an underestimate of the true association for any given study. These studies were
                                             retrospective in nature and therefore potentially susceptible to bias if cases were more likely
                                             to report genital-powder use than controls. Although non-genital powder use was not
                                             associated with ovarian cancer risk, it is nevertheless possible that any overreporting of
                                             powder use by cases might have been limited to reporting of genital powder. Our analyses
                                             were also limited by missing data on genital powder use; however, missingness was not
                                             associated with the distribution of any of the ovarian cancer risk factors examined and was
                                             thus not likely to bias our results. Strengths of our analysis include a large sample size and
                                             pooled analysis of individual data, allowing evaluation of the association of genital powder
                                             use with less common histologic subgroups of ovarian cancer, careful harmonization of the
                                             data based on comparison of study questionnaires, the use of a composite variable
                                             combining duration and frequency to assess dose-response relationships.

                                             In conclusion, our large pooled analysis of case-control studies shows a small-to-moderate
                                             (20–30%) increased risk of ovarian cancer with genital-powder use, most clearly pertaining
                                             to non-mucinous epithelial ovarian tumors. More work is needed to understand how genital
                                             powders may exert a carcinogenic effect, and which constituents (e.g. talc) may be involved.
                                             Since there are few modifiable risk factors for ovarian cancer, avoidance of genital powders
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                                             may be a possible strategy to reduce ovarian cancer incidence.

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                                             Figure 1.
                                             Association between genital powder use and ovarian cancer risk in eight studies, p-
                                             heterogeneity=0.61. Adjusted for age (continuous), oral contraceptive duration (never use,
                                             <2yrs, 2–<5yrs, 5–<10yrs, >=10yrs), parity (0, 1, 2, 3, 4+ children), tubal ligation history,
                                             BMI (quartiles), race/ethnicity (non-Hispanic white, Hispanic white, black, Asian, other).
                                             Studies listed in decreasing order of effect size standard error (funnel plot). No evidence of
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                                             heterogeneity based on Conchran’s Q statistic (p=0.61). AUS=Australian Cancer Study,
                                             DOV=Diseases of the Ovary and their Evaluation Study, HAW=Hawaii Ovarian Cancer
                                             Study, HOP=Hormones and Ovarian Cancer Prediction Study, NCO=North Carolina
                                             Ovarian Cancer Study, NEC=New England Case-Control Study of Ovarian Cancer,
                                             SON=Southern Ontario Ovarian Cancer Study




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                                             Figure 2.
                                             Association between genital powder use and subgroups of ovarian cancer defined by
                                             behavior and histology. Estimates are adjusted for the same covariates as in the model
                                             presented in figure 1.
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                                                                                                                                                                     Table 1
                                                                               Characteristics of eight studies included in the analysis of genital powder use and ovarian cancer

                                                                                Study*   Diagnosis Years   Controls   Cases                Histology†                                Behavior‡
                                                                                                                                                                                                                                                                             Terry et al.




                                                                                                                                                                                                                    Question used to define genital powder use
                                                                                                                               Serous      Mucinous     Endometrioid    Clear cell    Invasive    Borderline

                                                                                AUS††    2002–2006          1449      1432    889 (62%)    174 (12%)      132 (9%)       78 (5%)     1158 (81%)   274 (19%)     Have you ever used any sort of powder or talc on your
                                                                                                                                                                                                                genital area, in your underwear or on a sanitary pad or
                                                                                                                                                                                                                                      diaphragm?

                                                                                DOV††    2002–2009          1841      1565    905 (58%)    186 (12%)     201 (13%)       87 (6%)     1153 (74%)   412 (26%)       Before (reference date) did you ever use any of the
                                                                                                                                                                                                               following products routinely during one month or more?
                                                                                                                                                                                                               Powder on sanitary napkins or pads? Vaginal deodorant
                                                                                                                                                                                                               spray? Before (reference date) did you usually apply any
                                                                                                                                                                                                               powder to your genital (perineal) area after bathing? We
                                                                                                                                                                                                               are only interested in times when you did this for at least
                                                                                                                                                                                                                                  one year or longer.§
                                                                                HAW      1993–2008           755      481     222 (46%)    87 (18%)       69 (14%)      47 (10%)     392 (82%)    89 (19%)     Prior to (month/year of diagnosis||) did you ever use talc,
                                                                                                                                                                                                                baby, or deodorizing powder dusted or sprayed on your
                                                                                                                                                                                                                 body? By regularly I mean at least once a month for 6
                                                                                                                                                                                                                    months or more. Did you ever use talc, baby or
                                                                                                                                                                                                               deodorizing powder as a dusting powder to the genital or
                                                                                                                                                                                                               rectal area? As a dusting powder to sanitary napkins? As
                                                                                                                                                                                                                  a dusting powder to underwear? On a diaphragm or
                                                                                                                                                                                                                                      cervical cap?
                                                                                HOP      2003–2008          1489      735     433 (59%)     53 (7%)       75 (10%)       47 (6%)     568 (88%)    80 (12%)      As an adult and prior to (reference month/year) did you
                                                                                                                                                                                                               ever use talc or baby powder or deodorizing powder with
                                                                                                                                                                                                               talc at least once a month for 6 months or more in any of
                                                                                                                                                                                                                                                                                                                               65974




                                                                                                                                                                                                               the following ways: As a dusting powder or deodorizing
                                                                                                                                                                                                                spray more in any of the following ways: As a dusting
                                                                                                                                                                                                                 powder or deodorizing spray to your genital or rectal
                                                                                                                                                                                                               areas? On your sanitary napkin? On your underwear? On
                                                                                                                                                                                                                             your diaphragm or cervical cap?

                                                                                NCO††    1999–2008           650      786     489 (62%)     71 (9%)      100 (13%)       65 (8%)     636 (81%)    148 (19%)      Did you ever regularly use cornstarch, talc, baby or
                                                                                                                                                                                                               deodorizing powders (dusted or sprayed) at least 1 time
                                                                                                                                                                                                               per month for at least 6 months? If yes, please tell me if
                                                                                                                                                                                                               you used cornstarch, talc, baby or deodorizing powders
                                                                                                                                                                                                               in any of the following ways: directly to your genital or




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                                                                                                                                                                                                                   rectal areas? Applied to your sanitary napkins or
                                                                                                                                                                                                                  tampons? Applied to birth control devices such as
                                                                                                                                                                                                               cervical cap or diaphragm? applied to your underwear?

                                                                                NEC††    1992–2008          2329      2305    1234 (54%)   281 (12%)     352 (15%)      276 (12%)    1659 (77%)   486 (23%)    Did you ever regularly use powder on your body or your
                                                                                                                                                                                                                underwear (at least once per month for any amount of
                                                                                                                                                                                                                 time)? If yes, did you apply powder directly to your
                                                                                                                                                                                                                  genital or rectal areas? To your sanitary napkins or
                                                                                                                                                                                                                             tampons? To your underwear?

                                                                                SON††    1989–1992           564      449     254 (57%)    80 (18%)       71 (16%)       29 (6%)     365 (81%)    84 (19%)      Have you ever used sanitary napkins/tampons? If yes,
                                                                                                                                                                                                               could you tell me over what ages you’ve used them, for
                                                                                                                                                                                                                how many years, what percent of periods you’ve used
                                                                                                                                                                                                               them for, the usual number you’ve used for each period,
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                                                                                    Study*    Diagnosis Years      Controls    Cases                    Histology†                                    Behavior‡
                                                                                                                                                                                                                                      Question used to define genital powder use
                                                                                                                                           Serous      Mucinous      Endometrioid      Clear cell     Invasive    Borderline
                                                                                                                                                                                                                                 whether they were deodorant pads/tampons, and if you
                                                                                                                                                                                                                                  used talcum powder or starch on them? Have you ever
                                                                                                                                                                                                                                 regularly used talcum powder or starch on your vaginal
                                                                                                                                                                                                                                                                                             Terry et al.




                                                                                                                                                                                                                                             area after showering or bathing?
                                                                                    USC       1993–1997              782        772      396 (52%)     131 (17%)        75 (10%)        32 (4%)      549 (73%)    205 (27%)       Prior to (reference month/year), did you ever regularly
                                                                                                                                                                                                                                 use talc, baby, or deodorizing powder dusted or sprayed
                                                                                                                                                                                                                                on your body? By regularly I mean at least once a month
                                                                                                                                                                                                                                  for 6 months or more. Did you ever use talc, baby, or
                                                                                                                                                                                                                                deodorizing powder as a dusting powder to the genital or
                                                                                                                                                                                                                                rectal area? as a dusting powder to sanitary napkins? as a
                                                                                                                                                                                                                                     dusting powder to underwear? on a diaphragm or
                                                                                                                                                                                                                                                       cervical cap?

                                                                               *
                                                                                AUS = Australia Ovarian Cancer Study and Australian Cancer Study (Ovarian Cancer), DOV = Diseases of the Ovary and their Evaluation, HAW = Hawaiian Ovarian Cancer Study, HOP = Hormones
                                                                               and Ovarian Cancer Prediction, NCO = North Carolina Ovarian Cancer Study, NEC = New England Case-Control Study of Ovarian Cancer, SON = Southern Ontario Ovarian Cancer Study, USC =
                                                                               University of Southern California Study of Lifestyle and Women’s Health
                                                                               †
                                                                                    Cases listed by histology do not sum because mixed, other, undifferentiated, and unknown are not included.
                                                                               ‡
                                                                                    Cases listed by behavior do not sum to the total number of cases because 267 cases are missing behavior information.
                                                                               §
                                                                                 In a separate series of questions, participants were asked about powder use with diaphragm storage. Duration was calculated from ages of use. Information on duration, frequency, and timing of use was
                                                                               only collected on genital/perinal powder use after bathing.
                                                                               ||
                                                                                 Controls were asked “Have you ever regularly used…”
                                                                                                                                                                                                                                                                                                                                               65975




                                                                               **
                                                                                  NEC question varied slightly between the three study phases. Between 1992–1997 participants were asked, “As an adult and prior to (reference month/year), did you regularly use talc, baby, or
                                                                               deodorizing powders dusted or sprayed to your body in any of the following ways:”. Between 1998–2003, women were asked “Did you regularly apply cornstartch, talc, baby, or deodorizing body powder
                                                                               at least one time per month for six months or longer? If yes, please tell me if you regularly applied cornstarch, talc, baby or deodorizing body powders in any of the following ways:” Between 2003–2008
                                                                               participants were asked the question listed above.
                                                                               ††
                                                                                  These studies previously published on genital powder use and ovarian cancer risk. AUS, DOV, and NEC provided new data to the pooled analyses presented here that were not included in previous
                                                                               publications.




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                                                                                                      Table 2

                              Characteristics of cases and controls included in the pooled analysis*
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                                                            Controls (N=9,859)         Cases (N=8,525)
                                                            Mean (std) or N (%)      Mean (std) or N (%)
                                  Age                              55 (12)                  55 (12)
                                  OC use
                                    Never                         2995 (30)                3411 (40)
                                    Ever                          6864 (70)                5114 (60)
                                  Parous
                                    No                            1468 (15)                2196 (26)
                                    Yes                           8391 (85)                6329 (74)
                                  Tubal Ligation
                                    No                            7359 (75)                6994 (82)
                                    Yes                           2500 (25)                1531 (18)
                                  Body Mass Index                 26.5 (6.1)               27.0 (6.6)
                                  Race/Ethnicity
                                    Non-Hispanic White            8629 (88)                7433 (87)
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                                    Hispanic White                 197 (2)                  214 (3)
                                    Black                          273 (3)                  268 (3)
                                    Asian                          350 (4)                  313 (4)

                                    Other †                        407 (4)                  291 (4)

                                  Powder use ‡
                                    Never use                     5815 (59)                4643 (54)
                                    Non-genital use only          1533 (16)                1282 (15)
                                    Genital use                   2511 (25)                2600 (31)

                              *
                               All characteristics listed except age differed significantly (<0.01) between cases and controls. Cases include both borderline and invasive ovarian
                              cancers.
                              †
                               There are six cases and three controls missing race/ethnicity information.
                              ‡
                                  Categories for non-genital and genital powder use are mutually exclusive.
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                                                                                                  Table 3
                              Association between powder use and risk of ovarian cancer (borderline and invasive combined) by study site
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                                  Site                     Controls (%)(N= 9,859)     Cases (%)(N= 8,525)       Age-adjusted OR (95% CI)*        Multivariate OR (95% CI)*
                                  AUS
                                    No powder use                 305 (21)                   300 (21)                        1.00                             1.00
                                    Non-genital use only          486 (34)                   427 (30)                  0.85 (0.69–1.05)                 0.92 (0.74–1.14)
                                    Genital use                   658 (45)                   705 (49)                  1.04 (0.85–1.26)                 1.13 (0.92–1.38)

                                  DOV†
                                    No powder use                 1544 (83)                  1293 (83)                       1.00                             1.00
                                    Genital use                   297 (16)                   272 (17)                  1.14 (0.95–1.37)                 1.13 (0.93–1.36)
                                  HAW
                                    No powder use                 489 (65)                   326 (68)                        1.00                             1.00
                                    Non-genital use only          154 (20)                    81 (17)                  0.79 (0.58–1.07)                 0.69 (0.50–0.96)
                                    Genital use                   112 (15)                    74 (15)                  0.99 (0.72–1.37)                 0.99 (0.70–1.41)
                                  HOP
                                    No powder use                 989 (66)                   439 (60)                        1.00                             1.00
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                                    Non-genital use only          184 (13)                   102 (14)                  1.23 (0.94–1.61)                 1.23 (0.93–1.62)
                                    Genital use                   316 (21)                   194 (26)                  1.37 (1.11–1.69)                 1.34 (1.07–1.67)
                                  NCO
                                    No powder use                 391 (60)                   469 (60)                        1.00                             1.00
                                    Non-genital use only          137 (21)                   122 (16)                  0.75 (0.57–0.99)                 0.74 (0.56–0.99)
                                    Genital use                   122 (19)                   195 (25)                  1.33 (1.03–1.74)                 1.37 (1.05–1.80)
                                  NEC
                                    No powder use                 1239 (53)                  1129 (49)                       1.00                             1.00
                                    Non-genital use only          454 (19)                   421 (18)                  1.02 (0.87–1.19)                 1.04 (0.88–1.22)
                                    Genital use                   636 (27)                   755 (33)                  1.30 (1.14–1.49)                 1.28 (1.12–1.47)

                                  SON†
                                    No powder use                 364 (65)                   252 (56)                        1.00                             1.00
                                    Genital use                   200 (35)                   197 (44)                  1.43 (1.11–1.85)                 1.35 (1.03–1.76)
                                  USC
                                    No powder use                 494 (63)                   435 (56)                        1.00                             1.00
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                                    Non-genital use only          118 (15)                   129 (17)                  1.25 (0.94–1.66)                 1.14 (0.85–1.52)
                                    Genital use                   170 (22)                   208 (27)                  1.39 (1.10–1.77)                 1.36 (1.06–1.74)

                                  Pooled‡
                                    No powder use                 5815 (59)                  4643 (54)                       1.00                             1.00
                                    Non-genital use only          1533 (16)                  1282 (15)                 0.98 (0.90–1.07)                 0.98 (0.89–1.07)
                                    Genital use                   2511 (25)                  2600 (31)                 1.25 (1.16–1.34)                 1.24 (1.15–1.33)

                              *
                               Study-specific estimates were determined using unconditional logistic regression and pooled ORs were estimated using conditional logistic
                              regression conditioned on 5yr age groups and study. Multivariate models are adjusted for age (continuous), oral contraceptive duration (never use,
                              <2yrs, 2–<5yrs, 5–<10yrs, >=10yrs), parity (0,1,2,3,4+ children), tubal ligation history (no, yes), BMI (quartiles), race/ethnicity (non-Hispanic
                              white, Hispanic white, black, Asian, other).
                              †
                                  Information on non-genital powder use was not collected in the SON and DOV study



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                              ‡
                                  p-value for heterogeneity between multivariate study specific ORs equal to 0.61; calculated using Conchran’s Q statistic test
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                                                        Cancer Prev Res (Phila). Author manuscript; available in PMC 2014 August 01.
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                                                                                                                                                                               Table 4
                                                                               Association between powder use and risk of ovarian cancer by behavior and histology

                                                                                                                          Model 1*                                                         Model 2*
                                                                                                                                                                                                                                                                                         Terry et al.




                                                                                                            No powder use    Genital powder use                         No genital powder use      Genital powder use
                                                                                                               n (%)                  n (%)          OR (95% CI)†                n (%)                    n (%)            OR (95% CI)†
                                                                                   Controls                   5815 (59)           2511 (25)                                    7348 (75)                2511 (25)
                                                                                     All borderline cases     1035 (58)              504 (28)       1.29 (1.14–1.48)           1247 (72)                 504 (28)          1.30 (1.15–1.47)
                                                                                       Serous                 567 (57)               300 (30)       1.46 (1.24–1.72)            700 (70)                 300 (30)          1.45 (1.24–1.69)
                                                                                       Mucinous               409 (60)               184 (27)       1.17 (0.96–1.42)            502 (73)                 184 (27)          1.19 (0.98–1.43)
                                                                                     All invasive cases       3470 (54)           2009 (31)         1.21 (1.12–1.32)           4471 (69)                2009 (31)          1.23 (1.14–1.32)
                                                                                       Serous                 1952 (53)           1197 (32)         1.20 (1.09–1.32)           2519 (68)                1197 (32)          1.24 (1.13–1.35)
                                                                                       Mucinous               206 (57)               94 (26)        1.09 (0.84–1.42)            269 (74)                 94 (26)           1.06 (0.82–1.36)
                                                                                       Endometrioid           568 (55)               304 (30)       1.22 (1.04–1.43)            723 (70)                 304 (30)          1.20 (1.03–1.40)
                                                                                       Clear Cell             327 (54)               187 (31)       1.24 (1.01–1.52)            420 (69)                 187 (31)          1.26 (1.04–1.52)

                                                                               *
                                                                                In model 1, the reference group is restricted to women with no powder use except for the DOV and SON studies as these did not collect data on non-genital powder use. The number of cases who reported
                                                                               non-genital powder use was 212 (13%) of all borderline cases, 133 (13%) serous borderline, 93 (14%) mucinous borderline, 1001 (15%) of all invasive, 567 (15%) serous invasive, 63 (17%) mucinous
                                                                               invasive, 155 (15%) endometrioid invasive, 93 (15%) clear cell invasive. In model 2, the reference group includes all women who did not use genital powders (non-users and non-genital users combined).
                                                                               †
                                                                                                                                                                                                                                                                                                                                           65979




                                                                                 ORs were estimated using conditional logistic regression conditioned on 5yr age groups and adjusted for age (continuous), oral contraceptive duration (never use, <2yrs, 2–<5yrs, 5–<10yrs, >=10yrs),
                                                                               parity (0,1,2,3,4+ children), tubal ligation history (no, yes), BMI (quartiles), race/ethnicity (non-Hispanic white, Hispanic white, black, Asian, other).




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                                                                                                                                                                                 Table 5
                                                                               Association between estimated lifetime applications of genital powder and risk of ovarian cancer (borderline and invasive combined)

                                                                                   Lifetime number of applications*                          All Cases (N= 7,587)          Non-mucinous cases (N= 6,361)
                                                                                                                                                                                                                                                                                                Terry et al.




                                                                                                                       Controls (%)      Cases (%)     OR† (95 % CI)        Cases (%)      OR† (95 % CI)
                                                                                     Never users                         6175 (76)       5384 (71)           1.00           4472 (70)            1.00
                                                                                     Quartile 1                            509 (6)         534 (7)     1.14 (1.00–1.31)      467 (7)       1.18 (1.02–1.36)
                                                                                     Quartile 2                            512 (6)         541 (7)     1.23 (1.08–1.41)      456 (7)       1.22 ( 1.06–1.41)
                                                                                     Quartile 3                            497 (6)         542 (7)     1.22 (1.07–1.40)      457 (7)       1.22 (1.06–1.40)
                                                                                     Quartile 4                            486 (6)         586 (8)     1.32 (1.16–1.52)      509 (8)       1.37 (1.19–1.58)

                                                                                     p-trend‡                                                                0.17                                0.17

                                                                               *
                                                                                Age specific 25th, 50th and 75th percentile cutpoints are 612, 1,872, and 5,400 for participants < 40 years old; 612, 2,160, and 7,200 for 41–50 years; 720, 3,600, and 10,800 for 51–60 years; 1,440, 5,760,
                                                                               and 14,440 for 61–70; 840, 7,200, and 18,000 for > 70 years.
                                                                               †
                                                                                 ORs were estimated using conditional logistic regression conditioned on 5yr age groups and adjusted for age (continuous), oral contraceptive duration (never use, <2yrs, 2–<5yrs, 5–<10yrs, >=10yrs),
                                                                               parity (0,1,2,3,4+ children), tubal ligation history (no, yes), BMI (quartiles), race/ethnicity (non-Hispanic white, Hispanic white, black, Asian, other).
                                                                               ‡
                                                                                Trend excludes never users.
                                                                                                                                                                                                                                                                                                                                                  65980




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